          Case: 22-1298    Document: 15            Page: 1       Filed: 04/07/2022

                                     2022-1298

                                        IN THE
                United States Court of Appeals
                    for the Federal Circuit
                              ________________________________


   CARBON ACTIVATED TIANJIN CO., LTD., CARBON ACTIVATED
 CORPORATION, DATONG JUQIANG ACTIVATED CARBON CO., LTD.,
    BEIJING PACIFIC ACTIVATED CARBON PRODUCTS CO., LTD.,
 NINGXIA GUANGHUA CHERISHMET ACTIVATED CARBON CO., LTD.,
            NINGXIA MINERAL & CHEMICAL LIMITED,
             SHANXI SINCERE INDUSTRIAL CO., LTD.,

                                                                   Plaintiffs-Appellants,
                                            v.
          UNITED STATES, CALGON CARBON CORPORATION,
                  CABOT NORIT AMERICAS, INC.,
                                                                   Defendants-Appellees.
          Appeal from the United States Court of International Trade in
             Case No. 20-cv-00007, Chief Judge Mark A. Barnett

NONCONFIDENTIAL OPENING BRIEF FOR PLAINTIFFS-APPELLANTS
                              ________________________________


                                                   Francis J. Sailer
                                                   Jordan C. Kahn
                                                   Dharmendra N. Choudhary

                                                   GRUNFELD, DESIDERIO, LEBOWITZ,
                                                   SILVERMAN & KLESTADT LLP
                                                   1201 New York Ave., NW, Ste. 650
                                                   Washington, DC 20005
                                                   (202) 783-6881

                                                   Counsel to Plaintiffs-Appellants

Dated: April 7, 2022
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FORM 9. Certificate of Interest                                                                      Form 9 (p. 1)
                                                                                                        July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                   CERTIFICATE OF INTEREST

            Case Number 22-1298
   Short Case Caption Carbon Activated Tianjin Co., Ltd. v. US
                                  &DUERQ$FWLYDWHG7LDQMLQ&R/WG&DUERQ$FWLYDWHG&RUSRUDWLRQ'DWRQJ-XTLDQJ$FWLYDWHG
   Filing Party/Entity &DUERQ&R/WG%HLMLQJ3DFLILF$FWLYDWHG&DUERQ3URGXFWV&R/WG1LQJ[LD*XDQJKXD
                                  &KHULVKPHW$FWLYDWHG&DUERQ&R/WG1LQJ[LD0LQHUDO &KHPLFDO/LPLWHG6KDQ[L6LQFHUH
                                  ,QGXVWULDO&R/WG
 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date: 4/7/2022                                     Signature:       /s/ Francis J. Sailer

                                                     Name:            Francis J. Sailer
                   Case: 22-1298                  Document: 15      Page: 3      Filed: 04/07/2022



FORM 9. Certificate of Interest                                                                      Form 9 (p. 2)
                                                                                                        July 2020


      1. Represented                                  2. Real Party in            3. Parent Corporations
          Entities.                                       Interest.                  and Stockholders.
    Fed. Cir. R. 47.4(a)(1).                        Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of                        Provide the full names of       Provide the full names of
 all entities represented                         all real parties in interest    all parent corporations
 by undersigned counsel in                        for the entities. Do not        for the entities and all
 this case.                                       list the real parties if        publicly held companies
                                                  they are the same as the        that own 10% or more
                                                  entities.                       stock in the entities.

                                                  ‫܆‬
                                                  ✔ None/Not Applicable           ‫܆‬
                                                                                  ✔ None/Not Applicable




Carbon Activated Tianjin Co., Ltd.


Carbon Activated Corporation

Datong Juqiang Activated Carbon Co., Ltd.



 Beijing Pacific Activated Carbon Products Co.,
                     Ltd.


   Ningxia Guanghua Cherishmet Activated
               Carbon Co., Ltd.



 Ningxia Mineral & Chemical Limited



 Shanxi Sincere Industrial Co., Ltd.




                                                     Additional pages attached
                        Case: 22-1298                      Document: 15                         Page: 4           Filed: 04/07/2022



FORM 9. Certificate of Interest                                                                                                       Form 9 (p. 3)
                                                                                                                                         July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
               None/Not Applicable                                                                Additional pages attached

        Brandon M. Petelin

             Elaine F. Wang




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
               None/Not Applicable                                                                Additional pages attached
    Carbon Activated Tianjin Co., Ltd. v. United States,   Carbon Activated Tianjin Co., Ltd. v. United States,
 U.S. Court of International Trade Case No. 21-00131 MAB   U.S. Court of International Trade Consol. Case No.
                                                           22-00017 MAB




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔            None/Not Applicable                                                                Additional pages attached
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      The confidential material deleted from pages 6-7, 10, 22, 26-28, 45, 52, and
59 consists of business proprietary information submitted to, or released by, the
U.S. Department of Commerce under administrative protective order, Appxi-iv, the
disclosure of which is protected by statute, 19 U.S.C. § 1677f.




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                      STATEMENT OF RELATED CASES
      No appeal in or from the same proceeding in the lower court was previously

before this or any other appellate court. The only cases known to counsel that could

directly affect or be directly affected by this Court’s decision in this appeal are:

   1. Carbon Activated Tianjin Co. v. United States, Ct. Int’l Trade Case
      No. 21-cv-00131-MAB – challenges the twelfth administrative review
      of the antidumping duty order on certain activated carbon from the
      People’s Republic of China, which immediately follows the eleventh
      administrative review challenged in this appeal; and
   2. Carbon Activated Tianjin Co. v. United States, Ct. Int’l Trade Consol.
      Case No. 22-cv-00017-MAB – challenges the thirteenth
      administrative review of the antidumping duty order on certain
      activated carbon from the People’s Republic of China.




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                                       2022-1298
                                         IN THE
                 United States Court of Appeals
                     for the Federal Circuit
                                ________________________________


   CARBON ACTIVATED TIANJIN CO., LTD., CARBON ACTIVATED
 CORPORATION, DATONG JUQIANG ACTIVATED CARBON CO., LTD.,
    BEIJING PACIFIC ACTIVATED CARBON PRODUCTS CO., LTD.,
 NINGXIA GUANGHUA CHERISHMET ACTIVATED CARBON CO., LTD.,
            NINGXIA MINERAL & CHEMICAL LIMITED,
             SHANXI SINCERE INDUSTRIAL CO., LTD.,

                                                                    Plaintiffs-Appellants,
                                              v.

           UNITED STATES, CALGON CARBON CORPORATION,
                   CABOT NORIT AMERICAS, INC.,
                                                                    Defendants-Appellees.
          Appeal from the United States Court of International Trade in
             Case No. 20-cv-00007, Chief Judge Mark A. Barnett

NONCONFIDENTIAL OPENING BRIEF FOR PLAINTIFFS-APPELLANTS
                                ________________________________


                                  JURISDICTION
      Plaintiffs-Appellants appeal from a final judgment of the U.S. Court of

International Trade (“CIT”), entered on October 22, 2021. Appx1-2. The CIT had

jurisdiction pursuant to 19 U.S.C. § 1516a(a)(2)(B)(iii) and 28 U.S.C. § 1581(c).

Appx39. This Court has appellate jurisdiction under 28 U.S.C. § 1295(a)(5),

granting the right to appeal from final CIT judgments. Plaintiffs-Appellants timely

filed a notice of appeal on December 22, 2021, of the CIT’s final judgment.

Appx182; 28 U.S.C. § 2645(c); FRAP 4.


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                               INTRODUCTION
      Plaintiffs-Appellants contest their antidumping duty (“ADD”) rates assigned

by the U.S. Department of Commerce (“Commerce” or “Department”), in the

eleventh administrative review (“AR11”) of the ADD order on activated carbon

from the People’s Republic of China (“China”). The AR11 period of review

(“POR”) spanned April 1, 2017 through March 31, 2018. Commerce’s AR11 ADD

rates are neither supported by substantial evidence nor in accordance with law.

                     ISSUES PRESENTED FOR REVIEW
      1.    Whether Commerce unlawfully valued coal tar pitch in AR11.

      2.    Whether Commerce unlawfully valued bituminous coal in AR11.

      3.    Whether Commerce unlawfully selected Malaysia as the primary
            surrogate country in AR11.

                           STATEMENT OF THE CASE
      This case appeals Commerce’s ADD rates in AR11 of the ADD order on

activated carbon from China, initially assigned in Activated Carbon from China, 84

Fed. Reg. 68,881 (Dec. 17, 2019), Appx37-39 (“Final Results”). Commerce’s

rationale was set forth in the Issues and Decision Memorandum (“IDM”) (Dec. 11,

2019), Appx3-36. Plaintiffs-Appellants sought judicial review by the CIT of the

Final Results pursuant to 19 U.S.C. § 1516a(a)(2)(B)(iii) and 28 U.S.C. § 1581(c),

as CIT No. 20-00007.

      This appeal comes to this Court after the CIT affirmed Commerce’s


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redetermined AR11 ADD rates. The CIT in April 2021 ordered remand for

Commerce to reconsider the ADD rates assigned in AR11. Carbon Activated

Tianjin Co. v. United States, 503 F.Supp.3d 1278 (CIT 2021), Appx77-92 (“CA

I”). Commerce subsequently revised its ADD rates assigned in AR11 in its Final

Results of Redetermination (July 1, 2021), Appx93-135 (“Remand”). The CIT in

October 2021 affirmed Commerce’s redetermination. Carbon Activated Tianjin

Co., CIT Slip Op. 21-149 (CIT Oct. 22, 2021), Appx136-159 (“CA II”).

                           STATEMENT OF FACTS
      A.    AR11 Initiation Through Preliminary Results
      Commerce in June 2018 initiated AR11 of the ADD order on activated

carbon from China for sales including those of Plaintiff-Appellants: Carbon

Activated Tianjin Co., Ltd., and its U.S. affiliate Carbon Activated Corporation

(collectively, “CA”); and Datong Juqiang Activated Carbon Co., Ltd. (“DJAC”).

Initiation of Antidumping and Countervailing Duty Administrative Reviews, 83

Fed. Reg. 26,258, 26,260-63 (June 6, 2018), Appx183-188. Commerce in July

2018 selected CA and DJAC (collectively, “Respondents”) as mandatory

respondents for individual examination in AR11. Commerce Memorandum (July 3,

2018), Appx193-198.

      Commerce’s Office of Policy (“OP”) in September 2018 provided a list of

potential surrogate countries for China to value factors of production (“FOP”)


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when constructing normal value (“NV”). Commerce Preliminary Decision

Memorandum (“PDM”) (June 10, 2019), at 4, Appx4458. The OP list included

Romania and Malaysia among “countries that are at the same level of economic

development as China.” Id. § 1677b(c)(4)(A); Commerce Letter to Interested

Parties (Sept. 14, 2018), Appx294-295 (“SC Memo”), Attachment: Commerce

Memorandum, Appx296-302 (“OP List”).

      Respondents in October 2018 informed Commerce that Romania was a

“significant producer{} of comparable merchandise,” 19 U.S.C. § 1677b(c)(4)(B):

“Romania has significant domestic production of activated carbon and comparable

merchandise,” as shown by “the 2017 financial statement of Romcarbon SA” – a

Romanian producer of activated carbon, inter alia. Letter from Grunfeld,

Desiderio, Lebowitz, Silverman & Klestadt (“GDLSK”) to Commerce (Oct. 12,

2018), Appx344-382 (“SC Comments”), at 3, Appx346. Indeed, Commerce used

the 2016 Romcarbon financial statements in the preceding tenth administrative

review (“AR10”). 19 C.F.R. § 351.408(c)(2); Activated Carbon from China, 83

Fed. Reg. 53,214 (Oct. 22, 2018) (final results), IDM at 28 (“Romcarbon’s

financial statements are the best available information”); Calgon Carbon Corp. v.

United States, 443 F.Supp.3d 1334, 1352 (CIT 2020).

      Respondents thereafter reported their material inputs, including coal tar pitch

and bituminous coal. DJAC Section D Questionnaire Response (Sept. 7, 2018),


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Appx250-293 (“DJAC DQR”), Part 1 Exhibits D-1 & D-5, Appx252-270,

Appx277-278, Part 2 Exhibits D-1 & D-5, Appx281-293; CA Section D

Questionnaire Response, Part I (Sept. 28, 2018) Appx303-343 (“CA DQR I”),

Attachment B, Exhibits D-1 & D-5, Appx306-316, Attachment C Exhibits D-1 &

D-5, Appx317-327, Attachment D, Exhibits D-1 & D-5, Appx329-334, Appx338-

343; CA Section D Questionnaire Response Part II (Oct. 22, 2018), Appx383-414

(“CA DQRII”), Attachment A, Exhibits D-1 & D-5, Appx389-399, Attachment B

Exhibits D-1 & D-5, Appx403-414; CA Section D Questionnaire Response Part III

(Nov. 1, 2018), Appx415-429, Attachment A Exhibits D-1 & D-5, Appx419-429.

      Respondents in November 2018 submitted surrogate values (“SV”),

including import data from various countries and the 2017 Romcarbon financial

statements. Letter from GDLSK to Commerce (Nov. 9, 2018) (“First SV

Submission”), Exhibits 1-4, Appx430-439, Exhibit 9, Appx1018-1253. This

submission contained extensive background on the critical coal tar pitch FOP

(a/k/a coal tar) – “i.e., coal tar that is utilized to produce pitch” – used in activated

carbon production. Id. Exhibits 5A–5K, Appx439-1017; Case Brief of

Respondents (Oct. 7, 2019), Appx5288-5338 (“Case Brief”) at 29, Appx5324.

      Subsequently, Respondents distinguished coal tar pitch from pitch,

explaining that “while pitch is the single most predominant constituent of coal tar

(a/k/a, coal tar pitch), it is not identical to coal tar, which is comprised of several


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other impurities.” Letter from GDLSK to Commerce (May 29, 2019), Appx4436-

4454 (“Pre-Prelim Comments”) at 15, Appx4450. When reporting this input,

Respondents described it as “coal tar pitch.” DJAC DQR, Part 2 Exhibits D-1 & D-

5, Appx281-293; CA DQRII, Attachment A Exhibits D-1 & D-5, Appx389-399,

Attachment B Exhibits D-1 & D-5, Appx403-414.

       Respondents in February and March 2019 responded to Commerce’s

requests concerning particular FOPs. They submitted evidence that DJAC and

CA’s suppliers utilized coal tar pitch with pitch concentrations of [ # ]% and

[ # ]%, respectively. Id.; DJAC Supplemental Questionnaire Response (Feb. 12,

2019), Appx1515-1541 (“DJAC SDQR”), at 32, Appx1519, Exhibit SD-53,

Appx1533-1536; CA Response to Section D Part I Supplemental Questionnaire

(Feb. 21, 2019), Appx1542-1552 (“CA SDQR I”), Exhibit SD-6, Appx1547-1548.

       For the most significant FOP, bituminous coal,1 DJAC reported with

supporting evidence that: “The gross calorific value of the bituminous coal DJAC

purchased is approximately [     #s      ] Kcal/Kg. . . . To the best of [ company

name                                                                             ]



1
      Bituminous coal constituted [ # ]% of DJAC’s NV. Memorandum of Law
(June 24, 2020), Addendum, Appx5384. For CA, this input constituted [ # ]%
of NV, but was critical as a component of mixture ([ # ]% of NV) and the
underlying raw material for the carbonized materials FOPs ([ # ]% of NV).
Appx5385. As such, the total impact of bituminous coal on CA’s NV was [ # ]%.

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knowledge, the gross calorific value of the non-coking bituminous coal it

purchased is approximately [       #s     ] Kcal/Kg.” DJAC SDQR, at 8, 32,

Appx1518-1519, Exhibits SD-12–13, Appx1524-1529, SD-56, Appx1537-1541.

Similarly, CA reported with evidence that, for one of its suppliers, “[ company

name             ] bituminous coal’s test reports provid{ing} . . . its heat value

works out to be [ # ] Kcal/Kg.”2 Case Brief at 28, Appx5323 (citing CA

Response to Section D Parts II and III Supplemental Questionnaire (Mar. 15,

2019), Appx1553-1568 (“CA SDQR II/III”), Exhibit SD-15, Appx1566-1568).

       CA was unable to report the calorific value of the bituminous coal utilized

by its supplier, [ company name          ] (“Supplier C”), or that utilized by

[ company name                                                   ] to produce

activated material sent to [ company name                                        ], a

supplier of subject merchandise to CA. See CA SDQR II/III at 2-3, Appx1557-

1558; Case Brief at 28, Appx5323.

       In their May 2019 SV submission, Respondents provided SV data from

Romania for virtually every FOP – including bituminous coal, the most significant

input (note 1, supra). Letter from GDLSK to Commerce (May 13, 2019) (“Final



2
      This calculation used an empirical formula previously employed by
Commerce. Case Brief at 28 n.42, Appx5323 (citing Silicon Metal from China, 76
Fed. Reg. 3084 (Jan. 19, 2011) (final results), IDM Comment 6).

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SV Submission”), Exhibits 1-2B, Appx1666-1817. The import data provided for

Romania and other countries pertained precisely to the 12-month AR11 POR, but –

due to the automatically programmed Trade Data Monitor (“TDM”) allowing

downloads of the raw data (only in batches of three consecutive years ) which was

then sorted through a “macro” (limited to the POR) – was presented as in the table

below, with the “2016-2018” span referencing the initial three year download and

“2018” as the year in which the POR concluded and to which the underlying data –

Value (USD), Quantity (KG), Unit Value (USD/KG) – pertained:

                          Year Ending: March, 2016 ‐ 2018
                                                              2018
                                                    Value    Quantity        Unit Value
Partner                                Unit         (USD)     (KG)           (USD/KG)

Id. Exhibit 2, Appx1675-1817; Comments in Opposition to Remand (July 30,

2021), Appx5500-5516 (“Remand Comments”), at 10, Appx5509.

      In their May 2019 comments, Respondents requested that Commerce:

    select Romania over Malaysia as the primary surrogate country;

    use Harmonized Tariff Schedule (“HTS” or “HS”) 2701.19 to value
     bituminous coal with calorific value less than 5,833 kcal/kg, and reject
     the aberrational Malaysian HTS 2702.12 import data; and

    value coal tar pitch, their second most significant input (Appx5384-
     5385), using import data under HTS 2706.00 (“Tar distilled from coal,
     from lignite or from peat”) and – with the absence of Romanian HTS
     2706.00 data – use Russian HTS 2706.00 data, Final SV Submission
     Exhibit 2B, Appx4376-4378.

Pre-Prelim Comments at 2-18, Appx4437-4453.

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      Commerce in June 2019 preliminarily calculated Respondents’ ADD rates.

Activated Carbon from China, 84 Fed. Reg. 27,758, 27,759 (June 14, 2019),

Appx5285-5287 (“Preliminary Results”). The weighted-average thereof was

assigned as the “separate rate” for exporters including those participating as

Plaintiffs-Appellants. Commerce preliminarily “selected Malaysia as the primary

surrogate country, and Romania as the secondary surrogate country for purposes of

valuing the financial ratios.” PDM at 16, Appx4470. Commerce found that

Romania was: economically comparable to China; and a significant producer of

merchandise comparable to activated carbon. Id. at 13-14, Appx4467-4468.

Commerce preliminarily employed Malaysian SVs to calculate Respondents’ ADD

margins, but calculated ratios using 2017 Romcarbon data, not Malaysian financial

statements submitted by Defendants-Appellees Calgon Carbon Corporation and

Cabot Norit Americas, Inc. (collectively, “Petitioners”):

      . . . the petitioners provided audited 2017 financial statements for two
      Malaysian companies that produce identical or comparable
      merchandise . . . . However, these financial statements lack usable
      financial data in that neither of them have separate line items
      breaking down the cost of raw materials and energy. Therefore,
      although Commerce has a strong preference to value all FOPs in a
      single surrogate country, Commerce preliminarily determines that
      the audited 2017 financial statements from the Romanian
      company Romcarbon, are the only remaining financial statements
      on the record suitable for use in calculating surrogate financial
      ratios.

PDM at 15-16, Appx4469-4470 (emphases added) (footnotes omitted).


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      Commerce preliminarily valued all bituminous coal using Malaysian import

data under HTS 2701.12. Commerce Memorandum (June 10, 2019), Appx4489-

5284 (“Prelim SV Memo”), at 4, Appx4492, Attachment 1, Appx4502. Commerce

further preliminarily valued all coal tar pitch – referred to as both “coal tar pitch”

and “coal tar” – using Malaysian import data under HTS 2706.00.3 Id. at 5,

Attachment 1, Appx4432, Appx4502.

      B.     Case Briefing Through Final Results
      In October 2019, Respondents requested that Commerce select Romania and

not Malaysia as China’s primary surrogate country. Case Brief at 1-9, 36-37,

Appx5296-5304, Appx5331-5332. Respondents further asked that, irrespective of

the surrogate country selected, bituminous coal – the most significant FOP (note 1,

supra) – reported as having a calorific value of [       #s       ] kcal/kg should be

valued under HTS 2701.19, covering “Other Coal,” as opposed to HTS 2701.12

covering “Bituminous coal” in accordance with Subheading Note 2 to HTS

Chapter 27. Id. at 26-28, Appx5321-5323. To value bituminous coal with unknown




3
       Commerce preliminarily referred to “coal tar” and “coal tar pitch”
interchangeably, indicating valuation of coal tar under HTS 2706.00 and coal tar
pitch under HTS 2708.10. Prelim SV Memo at 5, Appx4493. Yet the
accompanying spreadsheet only referenced “coal tar” as a FOP valued under HTS
2706.00. Id. Attachment 1, Appx4502. Commerce in the Final Results confirmed
that, “for the Preliminary Results, only HS Code 2706.00 was used to value coal
tar pitch for both” Respondents. IDM at 18 n.106, Appx20.

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calorific value, Respondents requested averaging Romanian HTS 2701.12 and

2701.19 data. Id. at 28, Appx5323. Respondents also demonstrated the unreliability

of Malaysian HTS 2701.12 import data. Id. at 9-16, Appx5304-5311.

      Respondents further emphasized that Commerce should value their coal tar

pitch under HTS 2706.00 instead of 2708.10 (“Pitch from coal and other mineral

tars”).4 Id. at 29-30, Appx5234-5325. Respondents also demonstrated that, because

the average unit value (“AUV”) of Malaysian HTS 2706.00 import data used to

value coal tar pitch was anomalous in relation to the AUV of pitch reported in

Malaysian HTS 2708.10, the preliminary SV for coal tar pitch was unreliable. Id.

at 21-24, Appx5316-5319. Further, because there was no import data reported in

Romanian HTS 2706.00, Respondents requested valuation of their coal tar pitch

using Russian HTS 2706.00. Id.

      Commerce in December 2019 assigned the following final ADD rates:

$1.02/kg for CA; $0.86/kg for DJAC; and the $0.89/kg weighted-average separate

rate. Appx38. Commerce kept Malaysia as the primary surrogate country, but

reversed its preliminary position in finding that Romania was not a significant



4
      Respondents inadvertently challenged coal tar pitch being valued under HTS
2708.10 and requested valuation under 2706.00. Case Brief at 21-22, Appx5316-
5317; note 3, supra. Respondents reported only “coal tar pitch” that Commerce
preliminarily valued correctly under HTS 2706.00. IDM at 18 n.106, Appx20.
Respondents’ premature request for a switchover from HTS 2708.10 to 2706.00
did not affect their coal tar pitch argument for the Final Results.
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producer of comparable merchandise. IDM at 5-9, Appx7-11. Accordingly,

Commerce dismissed Respondents’ demonstration of Romanian SV data

superiority as “moot.” Id. at 8, Appx10.

      Commerce nevertheless employed Romanian data to value both bituminous

coal and surrogate financial ratios. Id. at 9-16, 20-23, Appx11-18, Appx22-24.

Commerce Memorandum (Dec. 11, 2019), 5374-5380 (“Final SV Memo”) at 2,

Attachment 1, Appx5375, Appx5376-5380. Commerce employed the Romanian

HTS 2701.12 import data – as submitted by Respondents – to value all bituminous

coal. Id. n.*, Appx5378. Commerce, however, rejected Respondents’ request to use

HTS 2701.19 for the bituminous coal having a calorific value less than 5,833

kcal/kg, claiming a lack of evidence supporting Respondents’ preferred HTS

2701.19, but agreeing that Malaysian HTS 2701.12 import data were unusable:

      With regards to the alleged aberrancy of the Malaysian import data
      under HS 2701.12, we agree with the mandatory respondents that
      the reliability of the Malaysian data under HS 2701.12 is called
      into question by the corresponding import data reported under
      HS 2701.12 from other OP List countries.

IDM at 14-16, Appx16-18 (emphasis added) (footnotes omitted).

      Commerce further finalized its use of Romcarbon data and found that coal

tar pitch was essentially pitch meriting classification under HTS 2708.10, valued

using Malaysian import data. Id. at 16, Appx18; Final SV Memo at 2, Attachment




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1, Appx5375-5378. In doing so, Commerce ignored Respondents’ demonstration

as to Malaysian HTS 2706.00 import data unreliability:

      {CA} stated in its response that the coal tar pitch that its supplier used
      to produce the subject merchandise during the POR “is commonly
      known as ‘pitch’ in the industry, which is solid at normal
      temperatures.” Additionally, for those producer-suppliers that used
      binder materials, both {DJAC} and {CA} reported the input as “coal
      tar pitch,” not “coal tar.” Also, record evidence indicates that coal tar,
      through the fractionated distillation process, yields two different types
      of coal tar pitch: binder and impregnating grade. There is no
      information on the record that substantiates the mandatory
      respondents’ assertion that HS 2708.10 covers 100 percent pure
      pitch distilled in a tar workshop. Therefore, upon reconsideration
      for these final results, we find that imports under the subheading HS
      2706.00 do not represent the best available information for valuing
      coal tar, because the record evidence supports a conclusion that HS
      2706.00 covers coal tar, which is a by-product of the coke
      production process, whereas HS 2708.10 covers pitch, a product
      of the coal tar distillation process. Accordingly, the mandatory
      respondents’ argument that the Malaysian SV under HS 2706.00
      is anomalous because it is higher than the Malaysian AUV under HS
      2708.10 (i.e., the more value-added product) is moot, because we are
      not using HS 2706.00 to value the respondent’s coal tar pitch input
      for the final results.

      Therefore, for these final results, we find that the Malaysian import
      data under HS 2708.10, constitute the best available information
      on the record to value the coal tar pitch . . . , because HS 2708.10 is
      product-specific in that it is a provision for “Pitch from Coal and
      Other Mineral Tars.”5

IDM at 19, Appx21 (emphases added) (footnote omitted).



5
       As in the Preliminary Results, the Final Results referred to “coal tar” and
“coal tar pitch” interchangeably. See Final SV Memo at 2 (referencing “coal tar”),
Attachment 1 (referencing “coal tar pitch”) Appx5375, Appx5378.
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      C.     CA I

      Respondents appealed the Final Results to the CIT in January 2020, and the

Plaintiffs-Appellants assigned the separate rate were authorized to intervene.

Summons (Jan. 14, 2020); Order (Jan. 24, 2020). Appx173-174. The CIT in April

2021 remanded several issues. The choice of primary surrogate country was

remanded becauset Commerce “failed to adequately explain or support with

substantial evidence its selection of Malaysia and rejection of Romania as the

primary surrogate country.” Appx84. The CIT also remanded Commerce’s

valuation of bituminous coal without regard to Subheading Note 2 to HTS Chapter

27, in contravention of agency practice that recognizes such notes apply

universally to all countries. Appx87.

      The CIT did, however, affirm Commerce’s valuation of coal tar pitch using

Malaysian HTS 2708.10 data, conceding that the “issue presents a close call.”

Appx88-89. The CIT, acknowledging “that the agency had departed from its

treatment of coal tar pitch in AR10,” nonetheless affirmed the rationale that

because “coal tar pitch is referred to as ‘pitch’ in common parlance, Commerce

was within its discretion to identify HS 2708.10 instead of HS 2706.00 as the best

available information.” Appx88. Finally, the CIT found that Respondents failed to

exhaust administrative remedies for arguments based on “the ENs to HS 2706” and




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“aberrancy of Malaysian import data under HS 2708.10 based on the

predominance of Spanish exports in the average unit values.” Appx88.

      Commerce in May 2021 issued its Draft Results of Redetermination (May

28, 2021), Appx5386-5406 (“Draft Remand”). Respondents filed comments

thereon. Letter from GDLSK to Commerce (June 8, 2021), Appx5407-5431

(“Draft Remand Comments”). Commerce – over Respondents’ objection – twice

rejected and required resubmission redacting references to prior Commerce and

U.S. International Trade Commission (“ITC”) actions, claimed to constitute

untimely new factual information. Letters from GDLSK to Commerce (June 14 &

23, 2021), Appx5434-5458, Appx5469-5493; Letter from GDLSK to Commerce

(June 15, 2021), Appx5460-5464 (“Request for Reconsideration”); Letter from

Commerce to GDLSK (June 23, 2021), Appx5469-5493 (“Reconsideration

Denial”).

      Commerce in July 2020 issued its Remand. For bituminous coal, Commerce

reconsidered its initial valuation of Romanian HTS 2701.12 data by recognizing

the universality of Subheading Note 2 to HTS Chapter 27. Remand at 3-8,

Appx95-100. Consequently, for the bituminous coal input used by DJAC, DJAC’s

supplier, and one of CA’s suppliers for which record evidence demonstrated heat

values below 5,833 kcal/kg, Commerce determined a SV “using import data

reported under Malaysian HS subheading 2701.19.” Id. at 7, Appx99. For the


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bituminous coal of unknown heat value, Commerce “continue{d} to use Romanian

import data reported under HS 2701.12.” Id. Commerce denied Respondents’

requests to: use Romanian HTS 2701.19 to value bituminous coal having both a

known and unknown calorific value; or, alternatively, use Romanian HTS 2701.19

to value bituminous coal having known calorific value and use an average of the

data under Romanian HTS 2701.12 and 2701.19 for bituminous coal having

unknown calorific value. Id. at 24-30, Appx116-122.

      Commerce kept Malaysia as the primary surrogate country, despite

conceding that Romania was a significant producer of comparable merchandise. Id.

at 10-16, Appx102-107. Commerce found that both countries offered quality data

but favored Malaysia, notwithstanding reliance on Romanian financial data and

Romanian HTS 2701.12 for the most significant material input – bituminous coal

(with unknown calorific value). In addition, to support Malaysia, Commerce found

that for carbonized material, Malaysia alone afforded product-specific SV:

      The record contains complete, publicly-available, contemporaneous,
      and input-specific Malaysian data for nearly all of the inputs . . .
      including the bituminous coal input used to produce nearly the
      entire production volume of the subject merchandise reported in both
      mandatory respondents’ respective FOP databases – with the
      exception of the financial ratios . . . . Further, the record also
      contains complete, publicly-available, and contemporaneous and
      input-specific Romanian data for nearly all of the inputs used by
      the two mandatory respondents to produce the subject
      merchandise during the POR.



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      We have considered the quality of data on the record and find that, on
      the basis of input specificity of the available data, the Malaysian SV
      data are superior to those of Romania. Malaysia is one of only a
      small number of countries with an HS subheading that includes a
      tariff classification at the ten-digit level that is specific to coconut-
      shell charcoal (i.e., HTS subheading 4402.90.1000), a direct
      material that is consumed in significant quantities in the
      production of subject merchandise by the mandatory
      respondents. On the other hand, Romania only provides a six-digit
      basket category HS subheading, 4402.90, which covers wood-based
      charcoal and also includes nut-based charcoal, which is an input not
      used by the mandatory respondents. Further, although Malaysia
      provides multiple financial statements from producers of identical
      (and thus comparable) merchandise which are representative of the
      experience of the mandatory respondents, they do not provide
      breakouts for raw material, labor, and energy. In contrast, the one
      Romanian financial statement on the record provides the
      specificity needed to calculate the financial ratios because it
      provides breakouts for these categories of expenses. Therefore, we
      continue to select Malaysia as the primary SC for these final results of
      redetermination, because it provides the best available information
      from which to value the mandatory respondent’s FOPs. . . .

      {W}e continue to use the Romcarbon financial statements for the
      calculation of the surrogate financial ratios, as they are the only
      financial statements on the record which present the financial data in a
      manner that is feasible for the calculation of these ratios.

Remand at 15-16, Appx107-08 (emphases added).

      To support Malaysia, Commerce for the first time questioned the

contemporaneity of Respondents’ Romanian data. According to Commerce, “the

Romanian import data that the Respondents placed on the record is not POR-

specific because the data cover the period 2016-2018, whereas the Malaysian data

under HS 2701.19 is contemporaneous with the POR (i.e., April 2017-March


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2018).” Id. at 38, Appx130. Yet the Draft Remand had not questioned the

contemporaneity of Respondents’ Romanian data, asserting that the record

contained “contemporaneous . . . Romanian data for nearly all of the inputs used by

the two mandatory respondents.” Draft Remand at 14-15, Appx5399-4000.

      D.    CA II
      The CIT in October 2021 affirmed Commerce’s Remand, rejecting all of

Respondents’ challenges (Appx141-159),6 and finding proper valuation of

bituminous coal with unknown calorific value using Romanian HTS 2701.12, and

with known calorific value under Malaysian HTS 2701.19. Appx142-150. The CIT

further affirmed surrogate selection, noting “Commerce has provided a reasoned

explanation as to why it selected Malaysia as the primary surrogate country: the

specificity of the HS number for a known input (coconut-shell charcoal) and data

that was more contemporaneous with the POR.” Id. at 17-21, Appx152-156.

Commerce in November 2021 assigned the following redetermined ADD rates:

$0.94/kg for CA; $0.55/kg for DJAC; and the $0.61/kg weighted-average separate

rate. Appx161. This appeal followed. Appx182.

                           SUMMARY OF ARGUMENT
1.    Commerce’s AR11 valuation of coal tar pitch as pitch is unlawful. Its




6
       Although Respondents challenged financial ratios in the Remand, those
issues are not being appealed.
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nomenclature-based rationale contrasts with CIT findings in AR10 and

Commerce’s findings in the twelfth administrative review (“AR12”), both properly

focusing on the input’s essential character. Commerce’s AR11 deviance ignored

the input’s essential character by misplacing reliance on the distillation process

common to coal tar pitch and pitch. Respondents’ input is at most partially distilled

coal tar specifically covered in HTS 2706.00, and Commerce’s valuation of it as

pure pitch (HTS 2708.10) included an unlawful disjunctive analysis contradicted

by both the complete tariff language and Explanatory Notes – sources of which this

Court should take judicial notice in properly interpreting subheading HTS 2706.00.

      Malaysian import data are unreliable under both HTS 2706.00 and 2708.10.

Pitch is a value-added product of coal tar pitch, yet is less than half of its value –

evidencing distortion likely due to the Spanish imports having been incorrectly

recorded in both of the subheadings. This data demonstration is not barred by the

exhaustion doctrine, as Commerce confused this issue by misstating the input in its

preliminary valuation. Commerce should have used Russian import data, per its

tie-breaking practice using data from the country with the most exports.

2.    Commerce unlawfully valued bituminous coal by valuing different types

using different countries. For the input having unknown calorific value, Commerce

improperly applied a contorted analysis of tariff terms and relied on an incomplete

description of covered goods. Commerce impermissibly speculated as to the heat


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value to favor one subheading over the other when it was compelled to average

values per agency precedent when more than one applies. The impropriety of

Commerce using one subheading to value this bituminous coal is confirmed by its

not having requested such information and findings in prior reviews. For the input

having known calorific value, Commerce should not have used Malaysian data

given: the recognized aberrancy of a related subheading; and the distortion

resulting from mixing country data, in contravention of agency regulation.

3.    Commerce unlawfully selected Malaysia as the primary surrogate country.

Romania proffers superior data quality for bituminous coal and viable financial

data unavailable in Malaysia, which controls surrogate country selection per

Commerce policy. Commerce inexplicably deviated from its practice by declining

to credit both datasets, notwithstanding their outsized impact on NV. Instead, after

the CIT invalidated the original basis for Malaysia, Commerce advanced meritless

bases to retain that selection. Despite Commerce’s strained suggestions, Romanian

data are contemporaneous, and coconut-shell charcoal does not favor Malaysia.

                                  ARGUMENT
I.    STANDARD OF REVIEW
      This Court reviews decisions of the CIT de novo, applying anew the same

standard used by the CIT. Downhole Pipe & Equip., L.P. v. United States, 776

F.3d 1369, 1373 (Fed. Cir. 2015). In appeals of final ADD determinations, this



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Court holds unlawful and remands any administrative determination by Commerce

that is “unsupported by substantial evidence on the record or otherwise not in

accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i). Substantial evidence is “such

relevant evidence as a reasonable mind might accept as adequate to support a

conclusion.” Universal Camera Corp. v. N.L.R.B., 340 U.S. 474, 477 (1951). It

must be “more than a scintilla, and must do more than create a suspicion of the

existence of the fact to be established.” N.L.R.B. v. Columbian Enameling &

Stamping Co., 306 U.S. 292, 300 (1939).

      In making the evidentiary judgment, this Court “reviews the record as a

whole, including any evidence that fairly detracts from the substantiality of the

evidence” and determines “whether the evidence and reasonable inferences from

the record support {the agency’s} finding.” Gallant Ocean (Thailand) Co. v.

United States, 602 F.3d 1319, 1323 (Fed. Cir. 2010) (internal quotation marks &

citation omitted). Commerce must provide a “rational connection between the facts

found and the choice made.” Burlington Truck Lines, Inc. v. United States, 371

U.S. 156, 168 (1962).

      Commerce by statute, “in valuing {FOPs} . . . shall utilize, to the extent

possible, the prices or costs of {FOPs} in one or more market economy

countries that are – (A) at a level of economic development comparable to that of

the nonmarket economy; and (B) significant producers of comparable


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merchandise.” Id. (emphases added). 19 U.S.C. § 1677b(c)(4) (emphasis added).

Such “valuation . . . shall be based on the best available information regarding

the values of such factors in a market economy country or countries.” Id.

§ 1677b(c)(1)(B) (emphasis added).

II.   COMMERCE UNLAWFULLY VALUED COAL TAR PITCH
      The Final Results improperly determined that Respondents’ coal tar pitch

([ # ]% pitch content) was pitch and valued it based on Malaysian import data

under HTS 2708.10 (“Pitch from coal and other mineral tars”). IDM at 18-19,

Appx20-21. As set forth below: (a) Commerce’s choice contradicts its selection of

HTS 2706.00 in both AR10 and AR12, as well as record evidence; (b) the

language of Malaysian HTS 2706.00 and Harmonized System of Nomenclature

(“HSN”) Explanatory Notes (“EN”) specifically covering the input are judicially

noticeable; (c) Malaysian import data under both HTS 2706.00 and 2708.10 are

unreliable; and (d) Russian import data under HTS 2706.00 should be used to

value Respondents’ coal tar pitch.

      A.     Commerce Contradicts AR10 and AR12 Findings
      Commerce’s choice of HTS 2708.10, diametrically opposite its AR10 and

AR12 choices of HTS 2706.00, is premised mainly on the name of the input used

by Respondents and commercial parlance, and secondarily, upon the mere

commonality of distillation processes it shares with pitch.



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      1.     Nomenclature is not controlling
      Commerce treated coal tar pitch as pitch by underscoring the “name” of the

input, as used by Respondents and in commercial parlance. Specifically,

Commerce emphasized Respondents’ description of “the input as ‘coal tar pitch,’

not ‘coal tar’” alongside CA’s statement that coal tar pitch was “commonly known

as ‘pitch’ in the industry.” IDM at 19, Appx21. However, Commerce’s conclusory

findings that coal tar pitch was synonymous with pitch under HTS 2708.10 ignored

the input’s essential character, while misconstruing CA’s caution that coal tar pitch

becomes conflated with pitch in commercial parlance. CA SDQR II/III at 4,

Appx1559.

      The CIT echoed Commerce’s parlance-based rationale – “given that coal tar

pitch is referred to as ‘pitch’ in commercial parlance” – to improperly affirm that

“Commerce was within its discretion to identify HS 2708.10 instead of HS

2706.00 as the best available information.” Appx88. Yet this rationale directly

contradicts the CIT’s AR10 findings on a similar record, which refuted that the

input’s common name is dispositive for classification and affirmed Commerce’s

choice of HTS 2706.00 for the identical input (with comparable pitch content):

      Respondents’ filings with Commerce use inconsistent terminology to
      describe coal tar—interchangeably referred to as “coal tar
      pitch”—as distinct from pitch. . . . Respondents explained in their
      case brief that coal tar with . . . pitch content is “crude coal tar,” not
      pitch. . . .


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      {S}ubstantial evidence supports the agency’s conclusion that coal tar
      and pitch are distinct inputs notwithstanding Respondents’
      inconsistent use of terminology. . . . Commerce identified
      substantial evidence upon which to support its conclusion that
      Respondents consumed coal tar (e.g., coal tar pitch) and pitch as
      separate inputs. . . .
      The court discerns from Commerce’s discussion that the separate
      inputs of coal tar and pitch reflect what the “inputs actually
      were,” based on pitch content of the input material and not simply
      the label Respondents attached to the input.

Calgon, 443 F.Supp.3d at 1343-44 (emphases added) (citations omitted). (AR10,

unlike AR11, also involved a separate FOP for pitch). The CIT’s AR11 affirmance

thereby cannot be reconciled with its prior contrary AR10 findings.

      Commerce’s parlance-based analysis is also misleading, as evidenced by its

own inconsistent description of the input – sometimes as “coal tar pitch” and at

other times as “coal tar” – while valuing it, both preliminarily under HTS 2706.00

and under HTS 2708.10 in the Final Results. Prelim SV Memo at 5, Attachment 1

(emphasis added), Appx4493, Appx4502; Final SV Memo at 2, Attachment 1,

Appx5375, Appx5378. Applying Commerce’s parlance-based rationale to its own

nomenclature, Respondents’ coal tar pitch would be considered coal tar. Therefore,

the input’s name per se – whether coal tar, coal tar pitch, or pitch – is not

determinative of its classification; instead, it should be determined “based on

pitch content of the input material and not simply the label Respondents

attached to the input.” Calgon, 443 F.Supp.3d at 1344 (emphases added).


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      Commerce in AR11 also directly contradicted its subsequent AR12 finding

that “for these final results, we have continued to value the coal tar pitch input used

by both of the mandatory respondents based on the Malaysian import data under

HS 2706.00.” Activated Carbon from China, 86 Fed. Reg. 10,539 (Feb. 22, 2021)

(final results), IDM Comment 3. Therefore, Commerce’s AR11 choice of HTS

2708.10 presents an unlawful, unexplained departure from the agency’s regular

choice of HTS 2706.00 for coal tar pitch. SKF USA, Inc. v. United States, 263 F.3d

1369, 1382 (Fed. Cir. 2001) (“agency action is arbitrary when the agency offer{s}

insufficient reasons for treating similar situations differently”).

      2.     Commerce ignored the input’s essential character
      Commerce unpersuasively equated coal tar pitch with pitch under HTS

2708.10 by conflating (a) “coal tar, through the fractionated distillation process,

yield{ing} two different types of coal tar pitch” with (b) “HS 2708.10 cover{ing}

pitch, a product of the coal tar distillation process.” IDM at 19, Appx21. Using

distillation as a strawman, Commerce equates coal tar pitch with pitch while

rejecting the argument “that HS 2708.10 covers 100% pure pitch distilled in a tar

workshop.” Id. In other words, citing distillation as a common intervening step

underlying production of coal tar pitch and pitch, Commerce classified coal tar

pitch under the HTS subheading for pitch – i.e., 2708.10.

      Conversely, Commerce rejected HTS 2706.00 by isolating coal tar pitch


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from coal tar “because the record evidence supports a conclusion that HS 2706.00

covers coal tar.” Id. Commerce’s decision was unlawful because the agency must

“do more than create a suspicion of the existence of the fact to be established.”

Columbian Enameling, 306 U.S. at 300. Commerce’s choice of HTS 2708.10 is

also inconsistent with the essential character of coal tar pitch, which at most is a

partially distilled coal tar – containing [ #s ]% pitch – [ comparison        ] than

the 60% pitch content in undistilled coal tar (Case Brief at 29-30 & nn.47-48,

Appx5324-5325), and far from 100% pitch.

      The CIT improperly endorsed rejection of HTS 2706.00 since “coal tar

generally has a lower pitch content than coal tar pitch consumed by Respondents.”

Appx88. Specifically, the test reports on the record detract from that finding by

prescribing the minimum pitch content is less than 60% for use in Respondents’

production. DJAC SDQR Exhibit SD-53, Appx1533-1536; CA SDQR I Exhibit

SD-6, Appx1547-1548. Because to produce subject merchandise, undistilled coal

tar (<60% pitch), is equally suitable as coal tar pitch ([ #s ]% pitch),

Commerce’s rejection of coal tar pitch as being comparable with coal tar under

HTS 2706.00 – while equating it with pitch under HTS 2708.10 – is unsupported

by substantial evidence. HTS 2708.10 is also inconsistent with Commerce’s choice

of HTS 2706.00 for the same input with comparable pitch content in AR10 and

AR12.


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             3.     Commerce’s disjunctive analysis is unlawful
      Commerce’s choice of HTS 2708.10 is further unsupported because it lacked

a comparative side-by-side evaluation of competing HTS subheadings:

    2706.00 - Tar distilled from coal, from lignite or from peat; and

    2708.10 - Pitch from coal and other mineral tars.

These subheadings should have been compared in relation to the input: coal tar

pitch containing [ #s ]% pitch content. Coal tar is indisputably qualified by its

pitch concentration: “Since pitch constitutes over 50% of crude tar, its utilization

has a major effect on the economics of tar processing.” Respondents’ First SV

Submission Exhibit 5G: SCIENTIFIC ENCYCLOPEDIA at 681, Appx834. Coal tar pitch

can contain up to 60% pitch. Id., Exhibit 5K at 13, Appx922.

      Coal tar pitch ([ #s ]% pitch) is therefore comparable, in terms of pitch

content, to coal tar (60% pitch) under HTS 2706.00. With the record lacking

evidence that pitch in HTS 2708.10 is anything other than 100% pure pitch, coal

tar pitch merits coverage in HTS 2706.00 otherwise the same discrete input – i.e.,

coal tar/coal tar pitch (<100% pitch content) – would be covered simultaneously

under both HTS 2706.00 and 2708.10. This cannot be the intended outcome for a

common input. Commerce presents a disjunctive analysis, through its subsidiary

rationale that “there is no information on the record that substantiates the

mandatory respondents’ assertion that HS 2708.10 covers 100% pure pitch distilled


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in a tar workshop.” IDM at 19, Appx21. This rationale is both impermissibly

speculative, Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1327 (Fed. Cir.

2009), and incorrect. Section II.B, infra.

      B.     HTS 2706.00 Is Compelled By Tariff Language and ENs
      Coal tar pitch ([ #s ]% pitch) could be either an undistilled coal tar or a

partially distilled coal tar. Under its plain language, HTS 2706.00 specifically

covers both products, a fact confirmed by the publicly-available and judicially

noticeable Malaysian HTS. The HTS 2706.00 description, as publicly accessible

from the Malaysian Customs website,7 provides as follows:8


HEADER SUB ITEM FULL HS DESCRIPTION
2706   00 0000 2706000000 Tar distilled from coal, from lignite or from
                          peat, and other mineral tars, whether or not
                          dehydrated or partially distilled, including
                          reconstituted tars.

(Emphases added).

      Identical scope language in Malaysian HTS 2706.00 is provided in




7     Available at: http://mysstext.customs.gov.my/tariff/home.

8     This result is obtained using the following search terms:
     Tariff Type : MPCEPA or MJEPA or MNZFTA or MICECA or MCFTA or
      MAFTA or MTFTA
     Search Criteria: HS Code
     Keyword: 2706

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WorldTariff,9 a subscription-based database that Commerce considers publicly-

available. See Mattresses from China, 84 Fed. Reg. 56,761 (Oct. 23, 2019) (final

determination), IDM Comment 7 (Commerce considers a subscription service

publicly-available when “{t}here is no evidence on the record indicating that the

subscription service is not available to the public at large”). The accuracy of the

subheading language is corroborated by identical language in the 6-digit HTS of

the United States (“HTSUS”) subheading 2706.00,10 also judicially noticeable.

      Therefore, the HTS 2706.00 language plainly establishes that coal tar pitch

“is properly classified under subheading {2706.00}, HTSUS, because the goods

indisputably fit within the plain language of that unambiguous subheading.”

Deckers Corp. v. United States, 532 F.3d 1312, 1318 (Fed. Cir. 2008). This Court

has determined that interpretation of tariff provisions is a question of law:

      Classifying articles under the HTSUS is a two-step process. A court
      first determines the proper meaning of specific terms in the tariff
      provisions, which is a question of law that we review without
      deference. Otter Prods., 834 F.3d at 1375. Next, the court determines
      under which subheading the subject merchandise is most
      appropriately classified, which is a question of fact that we review for
      clear error. Id. But when, as here, there is no dispute as to the nature
      of the merchandise, the two-step classification analysis “collapses
      entirely into a question of law.” Id.



9     WorldTariff, available at www.worldtariff.com, is a global online database
for Harmonized System classification numbers and tariff descriptions covering
over 208 countries.
10
      Available at: https://hts.usitc.gov/current.
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Gerson Co. v. United States, 898 F.3d 1232, 1235 (Fed. Cir. 2018)

      Thus, whether HTS 2706.00 covers coal tar pitch is a question of law since

there is no dispute about the essential material facts of the input. Commerce, using

a truncated description of HTS 2706.00, reached an incorrect and unlawful finding

that conflated “Tar distilled from coal, from lignite or from peat” with “Tar

distilled from coal, from lignite or from peat, and other mineral tars, whether or not

dehydrated or partially distilled, including reconstituted tars.”

      Precedent supports taking judicial notice of the publicly-available tariff

provisions to arrive at the correct classification. In Xiping Opeck Food Co. v.

United States, where Commerce similarly based its findings on a truncated HTS

subheading description, the CIT supported its findings by taking judicial notice of

the full description:

      {B}ecause in the Final Results Commerce provided only a narrative
      description of the products TARIC subheading 0306.39.10 . . . covers,
      the determination was unsupported by substantial evidence. . . .

      It is well established that courts may take judicial notice of the texts of
      statutes both domestic and foreign. See, e.g., Micron Tech., Inc. v.
      United States, 31 C.I.T. 2031, 2038 n.9, 535 F. Supp. 2d 1336, 1343
      n.9 (2007) (taking judicial notice of Korean law). The court, having
      done so, finds that Commerce’s claims of the contents of the products
      described by TARIC subheading 0306.39.10 . . . are supported by
      substantial evidence.
2021 WL 5985587, *7-8 (CIT Dec. 17, 2021) (footnote omitted). The CIT




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undertook steps to access the online TARIC Database.11 HTS 2706.00, available

on the Malaysian Customs website, is likewise judicially noticeable.12

      Additional support for the classification of coal tar pitch under HTS 2706.00

is provided by the publicly-available and judicially noticeable HSN EN: “The

heading also includes dehydrated or partially distilled tars.” World Customs

Organization HSN ENs,13 HTS 2706.00 (emphasis added). Yet CIT rejected

Respondents’ demonstration of ENs to HTS 2706.00 as “precluded by the doctrine

of administrative exhaustion.” Appx89. This determination is wrong because ENs

are judicially noticeable as a cognizable “legal reference” akin to “judicial

precedent.” Jiangsu Senmao Bamboo & Wood Indus. Co. v. United States, 322

F.Supp.3d 1308, 1324 (CIT 2018). Respondents properly cited the HSN ENs as

“an international legal reference essential to the proper interpretation of” HTS

2706.00 to “draw on information in the public realm to highlight any perceived

inaccuracies in” the AR11 IDM. Id. at 1323-25; ADDs; Countervailing Duties, 62

Fed. Reg. 27,296, 27,332 (May 19, 1997) (final rule); see Otter Products, LLC v.



11
       Xiping, 2021 WL 5985587, *5 & n.17
(“https://ec.europa.eu/taxation_customs/dds2/taric/taric_consultation.jsp?Lang=en
(change reference date to September 1, 2017; then retrieve measures for goods
code ‘0306’; then click ‘Frozen’ and ‘Live, Fresh or Chilled’ under the ‘0306’
heading; and then click ‘0306 19’ and ‘0306 39’)”).
12
      The website and steps to follow are set forth in nn.8, supra.
13
      Available at: http://harmonizedsystem.wcoomdpublications.org/.
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United States, 70 F.Supp.3d 1281, 1287 (CIT 2015) (“court may look to the {ENs}

to help construe the relevant chapters where appropriate”).

      In sum, proper tariff interpretation is a question of law; this Court should

take judicial notice of the full language of Malaysian HTS 2706.00 in the

Malaysian Customs and Worldtariff databases, as well as relevant HSN ENs, to

invalidate Commerce’s choice of HTS 2708.10 to value coal tar pitch.

      C.     Malaysian Import Data Are Unreliable

      Respondents established that the $1,629.50/MT coal tar average unit value

(“AUV”) from Malaysian HTS 2706.00 is anomalous and unreliable because it

significantly exceeds the $722.87/MT AUV of the value-added pitch product

reported in Malaysian HTS 2708.10. Case Brief at 21-22, Appx5316-5317. The

Final Results bypassed this demonstration, reasoning that “the mandatory

respondents’ argument . . . is moot, because we are not using HS 2706.00 to

value the respondent’s coal tar pitch input.” IDM at 19, Appx21 (emphasis added).

Commerce summarily concluded “the Malaysian import data under HS 2708.10,

constitute the best available information on the record to value the coal tar pitch.”

Id.

      Commerce’s classification under HTS 2708.10, besides being contradicted

by the plain terms of HTS 2706.00 (Section II.B, supra), is neither

supported by substantial evidence nor the best available information.


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      Although pitch in HTS 2708.10 is a value-added product of coal tar in HTS

2706.00, the Malaysian HTS 2708.10 AUV is less than half of the 2706.00 AUV,

Petitioners’ SV Submission (Nov. 9, 2018), Attachment 1, Appx1416-1417 –

rendering both datasets potentially distorted and unreliable. Distortion is likely due

to the interchangeably-referenced products being conflated and entered under

incorrect HTS subheadings. Therefore, Commerce’s choice of HTS 2708.10,

which is undermined by the HTS 2706.00 AUV, is unsupported by substantial

evidence. This choice is also inconsistent with agency precedent declining to

employ SVs where values are demonstrably unreasonable in relation to other

record data. See, e.g., Artist Canvas from China, 77 Fed. Reg. 16,116 (Mar. 22,

2006), IDM Comment 4 (Commerce declines aberrational SV data where

unbleached canvas prices were higher than bleached canvas prices); An Giang

Fisheries Imp. & Exp. Joint Stock Co. v. United States, 179 F.Supp.3d 1256, 1275

(2016), aff’d after remand, 236 F.Supp.1352, 1356-57 (2017) (Commerce on

remand eliminates aberrational rice husk SV exceeding the value of rice).

      The aberrant nature of SVs in Malaysian HTS 2708.10 (and 2706.00) is

corroborated by an overwhelming majority of imports under both HTS

subheadings originating from the same country, Spain. The chart below provides a

breakout of the value, quantity and AUV of total imports and Spanish imports

under Malaysian HTS 2708.10 and 2706.00.


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                             HTS 270810                               HTS 270600

                     Value        Qty         AUV            Value       Qty        AUV
                     (RM)         (kg)      (RM/kg)          (RM)        (kg)     (RM/kg)
  Total Usable
                   15843541 5285434               3.00       770668     112176     6.87
  Import data
 Spanish portion 13724909 4368820                 3.14       579044     108000     5.36

    Spanish
 imports as % of    86.63%      82.66%                       75.14%     96.28%
     Total

See Prelim SV Memo, Exhibit 1, Appx4512-4513.
      Because Spanish exports contributed predominantly to Malaysian imports

under both HTS headings (75% to 96%), the Malaysian import AUVs for coal tar

and pitch essentially mirror Spanish export AUVs for coal tar and pitch. Without

evidence that pitch in Spain was being sold for less than coal tar, Spanish data

reported under Malaysian HTS 2708.10 (and 2706.00) are unreliable.

      The CIT nonetheless affirmed Commerce, reasoning that Respondents

“failed to exhaust their arguments regarding the aberrancy of Malaysian import

data under HS 2708.10 based on the predominance of Spanish exports in the

average unit values.” Appx89. Because Commerce selected HTS 2708.10 for the

first time in the Final Results, Respondents’ aberrancy arguments are not barred by

exhaustion. This Court should not credit the CIT’s strawman argument that

“Respondents’ administrative case brief presented arguments against the use of HS

2708.10 based on Respondents’ understanding that Commerce had preliminarily
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used that subheading to value {CA}’s coal tar pitch.” Id. The Preliminary Results

did not use HTS 2708.10, despite stating it did. Prelim SV Memo at 5, Attachment

1, Appx4493, Appx4502; IDM at 18 n.106, Appx20. Given the confusion caused

by Commerce, the agency must correct its input misclassification and use of

aberrant SV.

      D.       Russian HTS 2706.00 Affords the Most Reliable SV
      Respondents established that for coal tar pitch, Russian HTS 2706.00

afforded the most reliable SV ($163/MT), since that AUV satisfied the criterion of

the largest quantity of imports under Commerce’s tie-breaking methodology for

selecting the best alternative SV from a secondary surrogate country. Case Brief at

22-24, Appx5317-5319; Calgon Carbon Corp. v. United States, 2017 WL 384685,

*2 (Jan. 27, 2017) (approving Commerce’s tie-breaking methodology for selecting

SVs with most imports). This AUV is also consistent with the Russian HTS

2708.10 AUV ($433.95/MT). Case Brief at 23-24, Appx5318-5319.

      Remand is warranted because Commerce – and CIT – failed to address this

argument. When the primary surrogate country does not afford a reliable SV,

Commerce selects SVs based on the most imports under the applicable HTS

subheading from a secondary surrogate country, as it did in AR10 when valuing

coal tar under HTS 2706.00 using Mexican data when the primary surrogate

country was Thailand. Activated Carbon from China, 83 Fed. Reg. 53,214 (Oct.


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22, 2018) (final results), IDM Comment 2 (“Mexican imports represent the largest

volume”).

      Russia reported the largest quantity of imports under HTS 2706.00 in AR11,

as shown below for such import data from all potential surrogate countries.

                                                                AUV
               Country       Value ($)        Qty (kg)
                                                               ($/kg)
                 Brazil       84,890              89,925      0.94401
              Kazakhstan       4,800              21,700       0.2212
               Malaysia       182,791         112,176          1.6295
                Mexico        228,942         727,130         0.31486
                Russia       8,512,499      52,117,211        0.16333

Respondents’ Final SV Submission Exhibit 2B, Appx1707-1817 (no imports in

Romania).

      The $163/MT Russian AUV represents the broadest market average and

affords the most probative, reliable SV. Further, Russia is on the OP List and

undeniably economically comparable to China. OP List, Appx298. Russia is also a

significant producer of activated carbon, with total domestic production of

11,425,000 kg in 2017 and 14,285,000 kg in 2018. Final SV Submission Exhibit

12 at 12-14, Appx4312-4314. Thus, the reliable and corroborated $163/MT

Russian coal tar AUV represents the proper SV for coal tar pitch.




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III.   COMMERCE UNLAWFULLY VALUED BITUMINOUS COAL
       Commerce initially valued all bituminous coal under Romanian HTS

2701.12, agreeing with Respondents “that the Malaysian bituminous coal value

under HS code 2701.12 . . . is aberrational.” IDM at 14, Appx16. Commerce on

remand recognized the universality of the harmonized “Thai Note 2 to Chapter 27

{which} explains {that} ‘bituminous coal’ means coal having a volatile matter

limit (on a dry, mineral-matter-free basis) exceeding 14 percent and a calorific

value limit equal to or greater than 5,833 kcal/kg)”, and concluded, “we now find

that Malaysian {or Romanian} HS subheading 2701.19 covers the same

merchandise as Thai HS subheading 2701.19.” Remand at 7, Appx99.

       Accordingly, Commerce recognized that: “bituminous coal” in HTS 2701.12

described coal fulfilling the criteria of, inter alia, a calorific value ≥5,833 kcal/kg;

and, conversely, technical grade bituminous coal having a calorific value <5,833

kcal/kg merited valuation under HTS 2701.19 for “Other Coal.” Remand at 3-7,

Appx95-99. Commerce thereafter “use{d} import data reported under Malaysian

HS subheading 2701.19 to value the bituminous coal input” with heat value <5,833

kcal/kg. Id. at 3, Appx95. Yet for bituminous coal with unknown heat value,

Commerce “continue{d} to use Romanian import data reported under HS

2701.12.” Id. at 4, Appx96.




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       As shown below, bituminous coal: (a) having unknown heat value should be

valued based either by averaging Romanian HTS 2701.12 and 2701.19 data, or

exclusively with Romanian HTS 2701.19; and (b) with known heat value <5,833

kcal/kg should be valued using Romanian HTS 2701.19 data.

      A.     Bituminous Coal Having Unknown Calorific Value
      To value “bituminous coal {having unknown heat value} used by {CA}’s

other supplier, Supplier C, and by {CA}’s uncooperative supplier,” Commerce

unlawfully “continue{d} to use Romanian import data reported under HS

2701.12.” Remand at 4, Appx96.

      1.     Commerce unlawfully interpreted HTS 2701.12 and 2701.19
      Commerce first reasoned that “while we have now applied the Thai HS

subheading notes to the Malaysian {or, Romanian} HS 2701.12 for {the Remand},

we still lack record evidence to depart from using HS 2701.12 to value the

bituminous coal used by Supplier C and the uncooperative supplier.” Remand at

28, Appx120. Conversely, Commerce rejected HTS 2701.19, claiming it “cannot

consider the application of HS 2701.19 with the description ‘Other Coal,’ without

record evidence to demonstrate that the coal input the mandatory respondents

identify as ‘bituminous coal’ is actually of the kind and grade that is more

appropriately classified under HS 2701.19 (Other Coal).” Id.




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      Commerce’s interpretation of HTS 2701.12 and 2701.19 should be rejected

as unlawful. As this Court held in Gerson:

      Classifying articles under the HTSUS is a two-step process. A court
      first determines the proper meaning of specific terms in the tariff
      provisions, which is a question of law that we review without
      deference.

898 F.3d at 1235.

      The language of all three harmonized HTS subheadings under HTS 2701 is:

    2701.11 – Anthracite coal

    2701.12 – Bituminous coal

    2701.19 – Other coal

CAC SDQR I at 19, Exhibit SD-27, Appx1546, Appx1552.

      Given that “bituminous coal” for purposes of HTS 2701.12 indisputably

means only such coal that, inter alia, satisfy the criteria of heat value ≥5,833

kcal/kg, “Other coal” in HTS 2701.19 encompasses all other types and grades of

coal except two discrete categories: (i) anthracite coal; and (ii) “bituminous coal”

as defined in Subheading Note 2 having heat value ≥5,833 Kcal/Kg.

      Commerce recognized the restrictive nature of “Note 2 {which} limits HS

2701.12, inter alia, to bituminous coal with ‘a calorific value limit equal to or

greater than 5,833 kilocalorie (kcal)/kilogram (kg).’” Remand at 2, Appx94

(emphasis added). Commerce nevertheless for coal with indeterminate heat value

improperly “continue{d} to use Romanian import data reported under HS 2701.12”
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– reasoning that it “d{id} not have record evidence, such as test reports for the

bituminous coal input used by these suppliers, that would support valuing this

input using imports under subheading 2701.19.” Remand at 7, Appx99.

      Commerce’s analysis is contorted. In contrast to “Bituminous coal” in HTS

2701.12, which is circumscribed by the heat value range ≥5,833 Kcal/Kg, no such

condition attaches to “other coal” in HTS 2701.19. Yet Commerce misconstrued

Subheading Note 2 by engrafting an analogous restrictive stipulation to HTS

2701.19 (“Other coal”), and improperly requiring evidence of heat value of coal

<5,833 Kcal/Kg. Commerce’s claim that it “lack{ed} record evidence to depart

from using HS 2701.12,” Remand at 28, Appx120, is also erroneous – there is no

basis for that subheading to be the default for coal described technically as

bituminous coal, but lacking heat value information.

      As its second rationale for HTS 2701.12, Commerce underscores the “plain

reading of the HS descriptions,” reasoning that “the plain language description of

the {Global Trade Atlas (‘GTA’)} data for HS 2701.12 (Bituminous Coal, Not

Agglomerated) matches the mandatory respondents’ description of their input (i.e.,

bituminous coal) and supports Commerce’s decision to rely on this HS category

for the input.” Id. By divorcing the HTS 2701.12 description – “bituminous coal” –

from its integrally appended Subheading Note 2, which prescribes the calorific

value attribute of input as ≥5,833 Kcal/Kg, Commerce impermissibly detached an


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essential product specificity attribute of coal categorized in HTS 2701.12.

Consequently, its interpretation of HTS 2701.12 is distorted by reliance on an

incomplete description. Since the coal input lacking evidence of heat value fails the

threshold calorific value criteria, it ipso facto cannot be classified under HTS

2701.12; instead, such indeterminate heat value coal would be automatically

categorized under the residual “catch-all” subheading HTS 2701.19. Thus,

Commerce’s selection of HTS 2701.12 for unknown heat value coal is unlawful;

the correct classification must be “based on {heat value} of the {coal} input

material and not the label Respondents attached to the input.” Calgon, 443

F.Supp.3d at 1344 (emphases added).

      The CIT likewise erred in endorsing Commerce’s “rel{iance} on the plain

meaning of HS descriptions” based on “Mid Continent Steel & Wire, Inc. v. United

States, . . . 321 F.Supp.3d 1313, 1325 ({CIT} 2018) (sustaining use of a {SV}

based on the HS description that best matched the description provided by the

respondent).” Appx146. Mid Continent involved two HTS headings with complete

descriptions not requiring Chapter notes for proper interpretation. 321 F.Supp.3d at

1324-25. Here, HTS 2701.12 cannot be properly interpreted without considering

Subheading Note 2. Moreover, Mid Continent involved an input with two product

attributes described in different HTS headings, and Commerce selected the one

describing the more significant attribute. Id. Mid Continent’s matching


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methodology is inapposite here since comparing the input’s name – i.e.,

bituminous coal (with unknown heat value) – with the descriptions in HTS 2701.12

(overlooking Note 2) and 2701.19, favors HTS 2701.12, which, as demonstrated

supra, is an unlawful SV choice.

      2.    HTS 2701.12 alone is unlawful
      Commerce’s choice of HTS 2701.12 alone impermissibly presumes that all

unknown heat value coal had calorific content ≥5,833 Kcal/Kg. This choice is both

unsupported by substantial evidence and undermined by all determinate calorific

values of coal being invariably <5,833 Kcal/Kg, which Commerce valued under

HTS 2701.19.

      The CIT rejected Respondents’ arguments, reasoning that “any basis for

Commerce to apply HS 2701.19 was equally speculative.” Appx145 (emphasis

added). Thus, CIT acknowledged Commerce’s choice of HTS 2701.12 was

speculative. “It is well established that speculation does not constitute

substantial evidence.” Lucent, 580 F.3d at 1327 (emphasis added). Therefore,

CIT’s conclusion “that substantial evidence supports Commerce’s decision to

value bituminous coal of unknown calorific value under HS 2701.12” is internally

inconsistent and irreconcilable. Appx145.

      On this record, Commerce should lawfully value bituminous coal through:

   1. a simple average of AUVs in HTS 2701.12 and 2701.19, as the record
      does not favor one HTS classification over the other. Specifically,

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        having correctly found Malaysian HTS 2701.12 data unreliable (IDM
        at 14, Appx16), Commerce should average AUVs from Romanian
        HTS 2701.12 and 2701.19 because averaging Romanian HTS 2701.12
        and Malaysian HTS 2701.19 AUVs introduces distortions by mixing
        SVs for two grades of the same input from different countries; or

     2. the residual catch-all subheading HTS 2701.19. Commerce’s rationale
        that classification under HTS 2701.19 requires evidence of heat value
        <5,833 kcal/kg is baseless and unsupported by Subheading Note 2.
        Section III.A.1, supra.

        Employing an averaging methodology is supported by applicable precedent.

Where the specificity attribute necessary to pinpoint the precise HTS classification

for an input is lacking due to potential classification under multiple HTS

subheadings, Commerce averages data under those multiple HTS codes to obtain a

more representative and reliable SV. Xanthan Gum from China, 82 Fed. Reg.

11,434 (Feb. 23, 2017) (final results), IDM Comment 11; Draft Remand

Comments at 9-10 & nn.19-20, Appx5415-5416 (providing agency precedent).14

        Commerce’s choice of HTS 2701.12 is premised on its misguided goal for

only one best HTS subheading for the input, consistent with the General

Interpretative Rules that “a classification system must associate each individual

product with a single heading (and, . . . , subheading), to which that product can be


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      Commerce improperly required redaction of these references to avoid
consideration of adverse precedent. Reconsideration Denial, Appx5467-5468. As
such documents “can be accurately and readily determined from sources whose
accuracy cannot reasonably be questioned,” they are judicially noticeable. Fed.
Rule Evid. 201(b)(2); Calgon Carbon Corp. v. United States, 145 F.Supp.3d 1312,
1327 (CIT 2016).
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simply and unequivocally assigned.” Remand at 6, Appx98. However, Commerce

erroneously conflated its core task of accurately valuing the input with

classification. See Downhole, 776 F.3d at 1379 (“Commerce was not required to

engage in a classification analysis . . . ; rather, it was required to determine which

of the competing subheadings constituted the best available information for

valuing the . . . input.”); SolarWorld Americas, Inc. v. United States, 910 F.3d

1216, 1224 (Fed. Cir. 2018).

      Unlike classification requiring the single best HTS subheading for

determining the duty rate, Commerce’s valuation is unconstrained from using

multiple subheadings if an input is potentially covered by more than one. Indeed,

Commerce recently valued an input averaging two HTS subheadings covering

parts of the input. Mobile Access Equipment from China, 87 Fed. Reg. 9,576 (Feb.

22, 2022) (final determination), IDM Comment 6 (“because HTS subheading

8501.32 encompasses both of the applicable HTS eight-digit subheadings …, we

continue to find that HTS subheading 8501.32 is the most representative and

accurate AUV. . . . {P}etitioner’s suggested HTS subheading encompasses only

one of the features”).

      Thus, absent the calorific value attribute of coal, Commerce’s sole reliance

on HTS 2701.12 instead of 2701.19 (exclusively or by averaging) is unsupported

by substantial evidence.


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      3. Commerce’s remaining rationales are meritless
      Commerce unpersuasively claims that unknown heat value coal “comprises

a small percentage of the volume of subject merchandise reported in {CA’s} FOP

database.” Remand at 28, Appx120. There is no de minimis exception permitting

Commerce to ignore the statutorily mandated best available information standard

in favor of a speculative and potentially distortive SV choice. Moreover, Supplier

C purchased [    #   ] MT of bituminous coal during the POR, a significant

volume. CA DQR I Attachment D Exhibit D-5, Appx339. Further, a distortive SV

for Supplier C’s unknown heat value coal also impacted CA’s uncooperative

supplier, whose FOPs were valued using Supplier C data.

      Commerce mischaracterizes the record in claiming that “Respondents also

failed to provide any evidence to support their alternative claim” to average HTS

2701.12 with HTS 2701.19. Remand at 29, Appx121. Commerce specifically

required only DJAC and [ name ] to provide bituminous coal calorific value

information; those respondents evidenced their heat value as <5,833 kcal/kg.

DJAC SDQR at 7-8 (Q.15), 32 (Q.58), Exhibits SD-12–13 (Q.15), SD-53 (Q.58),

SD-56 (Q.58), Appx1517-19, Appx1524-29, Appx1535, Appx1537-41.

Conversely, Commerce never asked CA’s Supplier C to provide calorific value for

its bituminous coal input. CA SDQR I at 19 (Q.29), Appx1546. Commerce

acknowledges asking Supplier C to provide supporting documentation for only


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“smoke coal,” which evidences calorific value as <5,833 kcal/kg. Id.; Remand at

26, Appx118.

      Commerce thereafter improperly relied on the absence of Supplier C’s

bituminous coal calorific value to value the input under HTS 2701.12. Remand at

7, 26-27, Appx99, Appx118-119. Without asking Supplier C to evidence

bituminous coal’s calorific value, and record evidence showing the input’s known

heat values are consistently below the HTS 2701.12 threshold, Commerce is

precluded from – as the CIT stated when remanding the first review (“AR1”) –

“impos{ing} a de facto adverse facts available rate.” Calgon Carbon Corp. v.

United States, 35 CIT 234, 244 (2011) (emphasis added). While Commerce

distinguishes AR1 based on its verification context, it recognized that “Commerce

had an obligation to treat the other respondent fairly by giving it a similar

opportunity.” Remand at 27, Appx119. Here, Commerce did not afford Supplier C

a “similar opportunity” to evidence that its bituminous coal calorific value was

<5,833 kcal/kg. Id.; Calgon, 35 CIT at 244. The CIT’s retort that “{u}nlike the

respondent in {AR1}, {CA} had an opportunity to substantiate its claim that

smoke coal and bituminous coal had similar calorific values, but failed to do so”

ignores that Commerce chose not to ask this of Supplier C. Appx146.

      Commerce’s strained reliance on the second review (“AR2”) to support the

Remand’s speculative valuation of bituminous coal of unknown heat value is


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unavailing. Remand at 8 n.30, 30 n.128, Appx100, Appx122. AR2 is

distinguishable as involving two different types of SV sources to value steam coal:

Coal India Limited (“CIL”) data; and Indian HTS 2701.19.20. Activated Carbon

from China, 75 Fed. Reg. 70,208 (Nov. 17, 2010) (final results), IDM at 17-19.

Commerce there valued coal with specific heat values using CIL data and

unknown heat values using HTS 2701.19.20. Without any request to value

unknown heat value by averaging CIL and HTS 2701.19.20 data, the issue of

averaging two data sources was not presented in AR2. Indeed, the choice of HTS

2701.19.20 for unknown heat value coal in AR2 supports using the 6-digit HTS

2701.19 for valuing Supplier C’s bituminous coal with unknown heat value.

      Ultimately, Commerce ignored the lack of heat value evidence to support

one HTS subheading over the other; averaging HTS 2701.12 and 2701.19 is

required to achieve the best available information.

             B.     Bituminous Coal Having Known Calorific Value
      Commerce improperly used Malaysian HTS 2701.19 to value bituminous

coal having known calorific value. Remand at 7, Appx99. Having found Malaysian

HTS 2701.12 “aberrant and unreliable,” id. at 26, Appx118, Commerce should be

skeptical of Malaysian HTS 2701.19 covering the same input of lower heat value.

      Commerce reasoned that “the AUV under Malaysian HS subheading

2701.19 is reliable, as there is no indication that the AUV is unusable as a result of


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being, for example, aberrantly high or based on a limited amount of imports.” Id. at

7, Appx99. The CIT disfavored discarding Malaysian HTS 2701.19 data “simply

because the agency separately found Malaysian HS 2701.12 data to be distorted.”

Appx149. Such rationale, however, ignores Commerce’s statutory mandate to

select the best available information rather than relying on data simply because it

was not disqualified as aberrant. Given the likelihood of Malaysian importers

conflating HTS 2701.12 and 2701.19 when entering bituminous coal of different

heat values, there is high risk that the HTS 2701.12 distortion permeated 2701.19.

      The CIT also improperly cited “Jinan Farmlady Trading Co. v. United

States, . . . 228 F. Supp. 3d 1351, 1356–57 ({CIT} 2017) (finding Commerce’s

determination that data was not aberrational reasonable when respondent had not

provided demonstrative evidence).” Appx149. Jinan is distinguishable since it

involved a different issue, i.e., whether a partner country’s AUV was unreliable

when it was significantly higher or lower than the overall AUV. Jinan, 228

F.Supp.3d at 1356-57. Moreover, that record had only one HTS choice for the

input, whereas this record proffers an alternative choice – Romanian HTS 2701.19.

      For HTS 2701.19 SV data, Romania proffers a qualitatively superior choice

compared to Malaysia because – unlike Malaysian HTS 2701.12 – Romanian HTS

2701.12 data are undistorted. Moreover, Commerce acknowledged that Romanian

data are necessary to value bituminous coal. Remand at 7, Appx99. Commerce


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should therefore have valued all bituminous coal using Romanian data in

accordance with its policy underlying surrogate valuation to minimize distortion

occurring when using data from multiple countries. Clearon Corp. v. United States,

2013 Ct. Intl. Trade LEXIS 27, *21 (Feb. 10, 2013); Peer Bearing Co.-Changshan

v. United States, 804 F.Supp.2d 1337, 1353 (CIT 2011).

      Commerce’s choice of Malaysian HTS 2701.19 contradicts its single

country regulatory preference by using data from multiple countries to value the

same input. 19 C.F.R. § 351.408(c)(1). Commerce explained years ago: “unless

the record convincingly demonstrates that factor values are unreliable, the

Department generally prefers to stay within the same country for factor valuation

wherever possible because it leads to more consistent results than picking and

choosing factor values from different countries.” Silicomanganese from China, 65

Fed. Reg. 31,514 (May 18, 2000) (final results), IDM § A.5. The record

“conclusively demonstrates” that Malaysian HTS 2701.12 bituminous coal data are

“unreliable,” without any concerns for Romanian data. Id.; Remand at 7, 26,

Appx99, Appx118.

      Therefore, Commerce has no basis to employ data from different countries

to value the two types of bituminous coal, given the indisputably reliable

Romanian data under both HTS 2701.12 and 2701.19 – which also make Romania

the superior primary surrogate country. Section IV, infra.


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IV.   COMMERCE UNLAWFULLY SELECTED MALAYSIA AS THE
      SURROGATE COUNTRY FOR CHINA
      Commerce initially selected Malaysia as the primary surrogate country for

China in AR11 based on Romania’s supposed lack of significant production. IDM

at 7-8, Appx9-10. After this flawed rationale was rejected by the CIT, Commerce

conceded Romania satisfied all statutory criteria but retained Malaysia, claiming

superior data quality. Appx84-86, Remand at 11-15, Appx103-107. However, as

set forth below, Commerce unlawfully retained Malaysia because: (1) its policy

prefers the country having the best data; (2) Romania clearly provided superior

data; and (3) the new bases espoused on remand are meritless.

      A.     Criteria for Surrogate Country Selection

      Commerce’s surrogate country selection policy underscores the fundamental

objective: to most accurately value FOPs “based on the best available

information.” Commerce Policy Bulletin No. 04.1 (Mar. 1, 2004), Appx71-75

(“Policy 04.1”) (quoting 19 U.S.C. § 1677b(c)(1)(B)) (emphasis added). Data

considerations are Commerce’s stated fundamental policy goal behind the selection

of a surrogate country. Id., Appx74 (“the country with the best factors data is

selected as the primary surrogate country. Even if no issues arise regarding

economic comparability and significant production, data quality is a critical

consideration affecting surrogate country selection.”) (Emphasis added).




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      Therefore, the most accurate SV data are the paramount objective behind

identifying a primary surrogate country. At the outset of AR11, Commerce

accordingly sought the following information beyond the statutory criteria:

“availability and quality of data for the major {FOPs}”; and “availability and

quality of financial statements.” SC Memo at 1-2, Appx294-295. Such solicitation

confirms that data quality for major input SVs and financial statements is key when

selecting surrogate country.

      B.     Romania Provides Superior Data Quality
      Commerce recognized that “the three Malaysian financial statements . . .

lack usable financial data in that none of them have separate line items breaking

down the cost of raw materials and energy.” Remand at 15, Appx107. Commerce

thus continued using Romcarbon financial data, but nevertheless selected Malaysia

because that country provides “data for nearly all of the inputs used by the two

mandatory respondents to produce the subject merchandise during the POR –

including the bituminous coal input used to produce nearly the entire production

volume of the subject merchandise reported in both mandatory respondents’

respective FOP databases – with the exception of the financial ratios.” Id. at 14,

Appx106 (emphases added).

      Commerce’s bituminous coal rationale is contradicted by the record.

Commerce rejected the unreliable Malaysian HTS 2701.12 data for valuing


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higher calorific value (≥5,833 kcal/kg) bituminous coal. IDM at 14, Appx16.

Consequently, Commerce acknowledges the continued necessity of using

Romanian HTS 2701.12 to value the significant volume of Supplier C’s and CA’s

uncooperative supplier of bituminous coal. Remand at 7, Appx99; Section III.A,

supra. Because Malaysia, unlike Romania, demonstrably fails to afford a reliable

SV for both grades of the most significant input – bituminous coal – the inaccurate

valuation distorted ADD margins.

      Beyond bituminous coal, financial ratios represent [ # ]% of both

Respondents’ NV. Memorandum of Law (June 24, 2020), Addendum, Appx5384-

5385. This outsized impact on NV must be considered when selecting surrogate

countries per Commerce’s court-affirmed practice. See, e.g., Steel Nails from

China, 78 Fed. Reg. 16,651 (Mar. 18, 2013) (final results), IDM Comment 1D;

Jiaxing Brother Fastener Co. v. United States, 11 F.Supp.3d 1326, 1333 (CIT

2014), aff’d, 822 F.3d 1289, 1297 (Fed. Cir. 2016). Commerce unpersuasively

distinguishes this precedent by tying its basis for surrogate country selection to

“the main input: steel,” rather than financial statements. Remand at 37, Appx129.

Yet based on this rationale, only Romania qualifies as the surrogate country

because it alone affords usable and reliable SV data for “the main input:”

bituminous coal. Id.; Memorandum of Law Addendum, Appx5384-5385 ([ # ]%

for DJAC and [ # ]% for CA, supra n.1).


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      Moreover, Commerce has relied solely on financial statements in selecting

surrogate countries because overhead, SG&A, and profit ratios – applied to the

total cost of material, labor and energy – represent three expenses invariably

driving NV. Cased Pencils from China, 78 Fed. Reg. 42,932 (July 18, 2013), IDM

Comment 1 (“in evaluating the two countries for purposes of selecting a primary

surrogate, we have relied on data availability as the deciding factor. . . . {T}he

Philippines is the better choice because of the superiority of the Philippine

financial data for deriving surrogate financial ratios”) (emphasis added).

Commerce’s practice to select surrogate countries based on financial statements

has been affirmed. Tianjin Wanhua Co. v. United States, 253 F.Supp.3d 1318,

1324 (CIT 2017) (“Relying on a ‘preference for selecting the financial

statements of a producer of identical merchandise over a producer of comparable

merchandise,’ Commerce . . . selected Indonesia as the primary surrogate country .

. . . The court therefore sustains Commerce’s selection of Indonesia”). In a mirror

image scenario, the CIT recently affirmed Commerce’s selection of Romania based

solely on superior financial data:

      . . . the court concludes that Commerce acted within its discretion
      when selecting the single, superior Romanian financial statement
      to the three Malaysian statements. While there are three
      Malaysian financial statements, as Commerce noted, none of them
      segregate energy costs and all of them ambiguously account for
      overhead expenses. . . . Meanwhile, Sigstrat’s financial statement has
      a line item for “production overhead” and an itemized expense for
      energy costs. . . . Commerce acted based on substantial evidence and

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      within its discretion to determine that the Romanian financial
      statement was superior to the Malaysian financial statements for
      purposes of surrogate country selection.
Ancientree Cabinet Co. v. United States, 532 F.Supp.3d 1241, 1258 (CIT 2021)

(emphases added).

      Likewise here, unlike Romcarbon, all three Malaysian “financial statements

lack usable financial data since {none} of them have separate line items breaking

down the cost of raw materials and energy.” PDM at 16, Appx4470. Thus,

compelling precedent supports selecting Romania as the primary surrogate country

in AR11. Given longstanding precedent supporting selection of a surrogate country

based on the availability of superior financial statements, Commerce fails to

support choosing Malaysia without such data. “An agency action is arbitrary when

the agency offer{s} insufficient reasons for treating similar situations differently.”

SKF, 263 F.3d at 1382.

      The CIT endeavored to minimize this extensive administrative and judicial

precedent, asserting the lack of “authority indicating that Commerce must base the

selection of a primary surrogate country on the quality of financial data.”

Appx156. Rather than advance such an absolutist view, Respondents submit that in

this case Commerce was required to explain its deviation from practice – given the

ample precedent where “the source of financial ratios {is used} to determine the

primary surrogate country,” as well as where “a production input’s outsized impact


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on {NV} led Commerce to prioritize that input in selecting a surrogate country.”

Appx154-155. While material inputs may not be the same as financial data, given

their “outsized impact” on NV in AR11 and Commerce’s routine reliance on

financial data to justify its surrogate country, the selection of Malaysia in AR11 is

unsupported by substantial evidence.

      By contrast with Malaysia’s lack of viable financial information, data

considerations do not disqualify Romania. Indeed, Commerce acknowledges

Romania’s superiority: “the record also contains complete, publicly-available

contemporaneous, and input-specific Romanian data for nearly all of the

inputs used by the two mandatory respondents to produce subject merchandise

during the POR.” Remand at 14-15, Appx106-107 (emphasis added). Coal tar

pitch, the only input for which Romanian data are unavailable, does not support

Malaysia because Russian data should be used as the SV. Section II, supra.

      In sum, because Malaysia manifestly provides inferior SV data, its selection

was not “based on the best available information” as required by statute and

Commerce policy. 19 U.S.C. § 1677b(c)(1)(B); Policy 04.10, Appx71.

      C.     Commerce’s New Bases To Favor Malaysia Are Without Merit
      The entirely new bases that Commerce developed in its strained effort to

salvage its selection of Malaysia do not withstand scrutiny.




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      1.     Romanian data are contemporaneous
      First, Commerce incorrectly claims that “the Romanian import data . . .

Respondents placed on the record is not POR-specific because the data cover . . .

2016-2018, whereas the Malaysian data under HS 2701.19 is contemporaneous

with the POR (i.e., April 2017-March 2018).” Remand at 36, Appx128 (footnote

omitted). Respondents did in fact submit POR-specific data, although the auto-

generated heading was titled “2016-2018” because the data source is programmed

to automatically download three years of data before a “macro” is used to filter

POR-specific data. Final SV Submission Exhibit 2A-B, Appx1673-1817; Remand

Comments at 10, Appx5509. The CIT affirmed Commerce because this

explanation “is not part of the administrative record.” Appx154.

      This Court should reject Commerce’s contemporaneity finding. That

Commerce used Respondents’ Romanian HTS 2701.12 data is fatal to the claim

that they are not from the POR. Final SV Memo, Attachment 1 n.*, Appx5378.

Moreover, Commerce practice uses GTA data to corroborate TDM data:

      {B}ecause neither the petitioners nor the respondents submitted data
      using Commerce’s preferred {GTA} source in providing import data
      to the record for potential surrogates (instead providing info from
      {TDM} for Malaysia . . .), we have downloaded data for the identical
      HTS subcategories to corroborate the Malaysian data submitted, and
      used the GTA data for the purposes of this preliminary determination.

Steel Propane Cylinders China, 83 Fed. Reg. 66,675 (Dec. 27, 2018) (preliminary

determination), PDM Comment VI.B.

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      Commerce accordingly downloaded GTA Romania HTS 2701.12 import

data used in the Final Results. Final SV Memo at 2, Appx5375. The GTA AUV of

$136.51/MT corroborates the TDM AUV of $136.1/MT, Respondents’ Final SV

Submission Exhibit 2A, Appx1676, thereby undermining Commerce’s rationale.

Notably, neither Commerce nor Petitioners at any point before the Remand

questioned the POR-specific nature of the Romanian data. See Draft Remand at 8-

15, Appx5394-5400. The explanation is not part of the record because Commerce

never questioned the data during the administrative process.

      Beyond being unfair, Commerce’s newfangled and post-hoc

contemporaneity rationale violates the statutory prohibition against making adverse

findings in response to a “request for information” based on a perceived deficiency

without providing notice and an opportunity to cure. 19 U.S.C. § 1677m(d). The

CIT erroneously found that the statute does not apply because SV “data is

submitted to Commerce on a party’s own initiative, not in response to a request by

Commerce.” Appx154. Yet Commerce routinely uses SV data provided by parties

to calculate ADD margins, as it did in AR11, and recognizes SV data as a distinct

category of factual information. 19 C.F.R. § 351.301(c)(3)(iv). The SV solicitation

in AR11, SC Memo, Appx294-295, constituted “a request for information” under

the plain statutory intent. 19 U.S.C. § 1677m(d); see Chevron U.S.A., Inc. v.

Natural Res. Defense Council, 467 U.S. 837, 842-45 (1984).


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         Moreover, it is unreasonable for Commerce to avoid its statutory obligation

by styling its SV data requests as mere voluntary solicitation. Id. The statute

protects against Commerce taking adverse action because of perceived deficiencies

in critical information submitted by parties without providing an opportunity to

explain or cure – as occurred with the Romanian data in AR11. Since these data

were submitted well before the Preliminary Results, there is no statutory basis to

excuse Commerce from failing to “inform” Respondents that the data were

perceived to be “deficient{}” and “provide an opportunity to remedy or explain.”

19 U.S.C. § 1677m(d). Commerce’s use of the data reveals the absence of any real

concern; the finding instead constitutes a pretext to retain Malaysia.

         2.    Coconut-shell charcoal does not provide a basis to favor Malaysia
         The other post-hoc rationalization advanced by Commerce is similarly

without merit:

         Malaysia is one of only a small number of countries with an HS . . .
         ten-digit level that is specific to coconut-shell charcoal (i.e., HTS
         subheading 4402.90.1000), a direct material that is consumed in
         significant quantities in the production of subject merchandise by
         the mandatory respondents. . . . Romania only provides a six-digit
         basket category HS subheading, 4402.90, which covers wood-based
         charcoal and also includes nut-based charcoal, which is an input not
         used by the mandatory respondents.
Remand at 15, Appx107 (emphasis added). Record evidence refutes Commerce’s

claim.




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        The CIT correctly concluded that “{CA}’s suppliers do not use coconut

shell charcoal.” Appx152-153. CA used significant amounts of coal-based

carbonized material, accounting for [ # ]% of its NV. Memorandum of Law

Addendum, Appx5385. In contrast, DJAC’s coconut-shell charcoal consumption

accounted for [ #     ]% of its NV. Id., Appx5384. Thus, SV of the major input,

coal-based carbonized material, not minor input coconut-shell charcoal, should

drive the surrogate country selection.

        Coal-based carbonized material significantly differs from coconut-shell

charcoal in terms of properties and cost. In CA’s sales database, several customers

are [ description      ] companies – e.g., [ company

names       ]. CA Third Supplemental Section C Questionnaire Response (Apr. 5,

2019) Exhibit 3SC-4, Appx1588-1657. As detailed infra, ITC reports confirm that

coal-based charcoal, not coconut-shell charcoal, are suitable and cost-effective for

water purification. Commerce incorrectly asserts that Malaysian HTS

4402.90.1000 for coconut-shell charcoal affords greater product specificity

compared with Romanian HTS 4402.90, which encompasses coconut-shell

charcoal and wood charcoal. Remand at 15, Appx107. To the contrary, Romanian

HTS 4002.90 is a superior SV for all of CA suppliers’ coal-based carbonized

material.




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      First, the ITC explains that coconut-shell charcoal is a very different input

from coal-based carbonized material. Commerce improperly required that

Respondents’ Draft Remand Comments redact ITC publication references.

Reconsideration Denial, Appx5469-5493. But they not only “can be accurately and

readily determined from sources whose accuracy cannot reasonably be

questioned,” they are relied upon by the Department itself when not on the record

because they “can be accessed directly” from the ITC website. Fed. Rule Evid.

201(b)(2); Diamond Sawblades from China, 85 Fed. Reg. 78,827 (Dec. 7, 2020),

IDM n.13; Diamond Sawblades from China, 79 Fed. Reg. 40,062 (July 11, 2015),

IDM n.8. In its 2018 sunset review, the ITC noted the differences between

coconut-shell and coal-based activated carbon:

      Coal is the primary raw material for activated carbon in both the
      United States and China. Coal-based activated carbon is used widely
      by municipal water treatment authorities to remove undesirable tastes
      and odors from drinking water and to eliminate contaminants from
      industrial waste water. . . . Coconut-based activated carbon is used
      primarily in the gold mining and cigarette filter industries, as well as
      being a price premium product for home water filters. . . .
      Other common raw materials for making activated carbon are wood . .
      ..

      Certain activated carbon made from coconut shells typically has
      different properties from certain activated carbon made from
      coal. Specifically, coconut-based activated carbon usually has greater
      hardness and smaller pore sizes than coal-based activated carbon.
      These differences may make coconut-based carbon better than coal
      based carbon for certain applications, such as gold mining and
      manufacturing filters for cigarettes.

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Activated Carbon from China, USITC Pub. 4797 (June 2018), at 9, I-10–12

(emphasis added).

      The chart below summarizes the fundamental dissimilarities:

        Coconut-shellbased charcoal                Coal-based charcoal
       Greater hardness                     Lower hardness
       Smaller pore sizes                   Larger pore sizes
                             Different pore distribution
       Uses: Cigarette filters, home Uses: Processing drinking water,
       water filters, gold mining    filtering air and gases

Id.; Activated Carbon from China, USITC Pub. 3913 (Apr. 2007), at 26-27 (“there

is very little interchangeability between coal-based and coconut-based

activated carbon. . . . The limited interchangeability of coconut-based and

coal-based activated carbons is further confirmed by record evidence indicating a

lack of customer overlap for the two products. . . . This shows that coconut- and

coal-based activated carbons are being sold to different markets, demonstrating

limited substitutability between the two”) (emphasis added). Given such

fundamental dissimilarities, coconut-shell charcoal is unsuitable for valuing coal-

based carbonized material.

      Second, Commerce has accepted that wood and nut charcoal can be used to

produce activated carbon: “Petitioners correctly state that activated carbon may

be manufactured from wood or nut charcoal, in addition to coal.” Activated


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Carbon from China, 78 Fed. Reg. 70,533 (Nov. 20, 2013) (final results), IDM

Comment 6 (emphasis added) (footnotes omitted). Therefore, both wood- and nut-

based charcoal can be used as carbonized materials to produce subject

merchandise.

      In the fourth administrative review (“AR4”), Commerce valued coal-based

carbonized materials using HTS 4402 (averaging both wood and nut-based and

coconut shell-based charcoal) – a decision affirmed by this Court:

      Wood charcoal is also a type of charcoal and can also be used to
      create the subject merchandise. . . .

      Commerce’s past practice does not demonstrate that coconut shell
      charcoal is a better match for coal-based carbonized material
      than the broader Philippine import data category, which includes
      wood charcoal and coconut shell charcoal. . . .

Jacobi Carbons AB v. United States, 619 Fed. Appx. 992, 999 (Fed. Cir. 2015)

(nonprecedential) (emphasis added). Therefore, this Court in AR4 affirmed

Commerce’s decision that: (a) wood charcoal could be used to produce the subject

merchandise; and (b) between wood charcoal and coconut-shell charcoal, the latter

is not more comparable to coal-based carbonized materials.

      The AR11 record does not contain any evidence detracting from this

conclusion. Therefore, as compared to the Malaysian HTS 4402.90.1000 data for

coconut-shell charcoal only, the choice of Romanian HTS 4402.90 – which

encompasses both coconut-shell charcoal and wood- and nut-based charcoal –


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affords a more reliable, representative and undistorted SV for all of CA’s

suppliers’ coal-based carbonized material.

      Third, Romanian HTS 4402.90 provides vastly superior data quality than

Malaysian HTS 4402.90.1000. Romanian HTS 4402.90 import data are based on

imports from 23 partner countries with a total quantity of 27,152,840 kg. Final SV

Submission Exhibit 2A, Appx1680. Malaysian HTS 4402.90.1000 import data are

based on imports from only four partner countries with a total quantity of merely

336,395 kg. Petitioners’ SV Submission, Attachment 1, Appx1418. Therefore, the

Romanian data are 81 times more representative of a broad market average.

      In sum, Romanian HTS 4402.90 is vastly superior to Malaysian HTS

4402.90.1000 for valuing a major input, coal-based carbonized material.

      The CIT erroneously supported Malaysia “because Commerce needed to

value coconut shell charcoal for at least one of the respondents, and because

Malaysia – and not Romania – was able to provide data at that level of specificity.”

Appx153. A more specific Malaysian SV for a minor input does not compel

selection of Malaysia – inferior in overall SV data quality – as the primary

surrogate country; at most, Malaysia could be a secondary surrogate.

      As such, the Remand’s reliance on an additional metric – carbonized

material SV – to support maintaining Malaysia as the primary surrogate country is

demonstrably misguided and undermined by both record evidence and


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longstanding precedent. It cannot be said that Malaysian data constitute “the best

available information” in AR11. 19 U.S.C. § 1677b(c)(1)(B) (emphasis added).

Given the lack of Malaysian data for surrogate financial ratios (that account for a

large portion of NV) and a portion of the bituminous coal, “a reasonable mind”

could not conclude that Malaysia is an appropriate primary surrogate country for

AR11. Globe Metallurgical Inc. v. United States, 781 F.Supp.2d 1340, 1348 (CIT

2011) (quotation omitted).

                                  CONCLUSION
      Based on the foregoing, Plaintiff-Appellants respectfully request that the

CIT’s judgment be reversed and remanded.

                                        Respectfully submitted,
                                       _/s/ Francis J. Sailer __
                                       Francis J. Sailer
                                       Jordan C. Kahn
                                       Dharmendra N. Choudhary

                                       GRUNFELD, DESIDERIO, LEBOWITZ,
                                       SILVERMAN & KLESTADT LLP
                                       1201 New York Ave., NW
                                       Suite 650
                                       Washington, DC 20005
                                       (202) 783-6881

                                       Counsel to Plaintiffs-Appellants
Dated: April 7, 2022




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                                2022-1298
                       CERTIFICATE OF COMPLIANCE

      1.    This brief complies with the type-volume limitations of Federal Rule

of Appellate Procedure 32(a)(7)(B) because it contains less than 14,000 words.

This brief contains 13,869 words, excluding the parts exempted by Federal Rule of

Appellate Procedure 32(f) and Federal Circuit Rule 32(b)(2).

      2.    This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the typestyle requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally

spaced typeface using Microsoft Office Word in Times New Roman 14-point font.



Dated: April 7, 2022                              /s/ Francis J. Sailer
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FORM 30. Certificate of Service                                                             Form 30
                                                                                           July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                                  CERTIFICATE OF SERVICE

           Case Number 22-1298
   Short Case Caption Carbon Activated Tianjin Co., Ltd. v. US


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Mollie Lenore Finnan               PO Box 480 Ben Franklin Station Washington, DC 20044
                                   mollie.l.finnan@usdoj.gov

Ashlande Gelin                     900 7th Street SW Washington, DC 20024
                                   ashlande.gelin@trade.gov

John M. Herrmann                   3050 K Street, NW Washington, DC 20007
                                   JHERRMANN@KELLEYDRYE.COM

Melissa M. Brewer                  3050 K Street, NW Washington, DC 20007
                                   mbrewer@kelleydrye.com

Robert Alan Luberda                3050 K Street, NW Washington, DC 20007
                                   aluberda@kelleydrye.com
        Additional pages attached.
        04/07/2022
  Date: _________________                     Signature:       /s/ Francis J. Sailer

                                              Name:            Francis J. Sailer
              Case: 22-1298          Document: 15          Page: 76         Filed: 04/07/2022



FORM 31. Certificate of Confidential Material                                                    Form 31
                                                                                                July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                    CERTIFICATE OF CONFIDENTIAL MATERIAL

             Case Number: 22-1298

  Short Case Caption:            Carbon Activated Tianjin Co., Ltd. v. US



 Instructions: When computing a confidential word count, Fed. Cir. R.
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        04/07/2022
  Date: _________________                          Signature:        /s/ Francis J. Sailer

                                                                     Francis J. Sailer
                                                   Name:
Case: 22-1298   Document: 15   Page: 77   Filed: 04/07/2022




         Addendum
          Case:
        Case     22-1298   Document:
             1:20-cv-00007-MAB       15 77
                               Document Page: 78 10/22/21
                                           Filed   Filed: 04/07/2022
                                                             Page 1 of 2




                UNITED STATES COURT OF INTERNATIONAL TRADE


 CARBON ACTIVATED TIANJIN CO., LTD.,
 CARBON ACTIVATED CORPORATION,
 AND DATONG JUQIANG ACTIVATED
 CARBON CO., LTD.,

                         Plaintiffs,

        and

 BEIJING PACIFIC ACTIVATED CARBON
 PRODUCTS CO., LTD., NINGXIA
 GUANGHUA CHERISHMET ACTIVATED
 CARBON CO., LTD., NINGXIA MINERAL &
 CHEMICAL LIMITED, AND SHANXI                         Before: Mark A. Barnett, Chief Judge
 SINCERE INDUSTRIAL CO., LTD.,                        Court No. 20-00007

                         Plaintiff-Intervenors,

          v.

 UNITED STATES,

                         Defendant,

        and

 CALGON CARBON CORPORATION AND
 CABOT NORIT AMERICAS, INC.,

                         Defendant-Intervenors.



                                           JUDGMENT

       This case having been duly submitted for decision, and the court, after due

deliberation, having rendered a decision herein; now therefore, in conformity with said

decision, it is hereby




                                              Appx1
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           Case     22-1298   Document:
                1:20-cv-00007-MAB       15 77
                                  Document Page: 79 10/22/21
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                                                                Page 2 of 2




Court No. 20-00007                                                                   Page 2

          ORDERED that the U.S. Department of Commerce’s final results in the eleventh

administrative review of the antidumping duty order on certain activated carbon from the

People’s Republic of China, see Certain Activated Carbon From the People’s Republic

of China, 84 Fed. Reg. 68,881 (Dep’t Commerce Dec. 17, 2019) (final results of

antidumping duty admin. review; 2017–2018), as amended by the Final Results of

Redetermination Pursuant to Court Remand, ECF No. 68-1, are SUSTAINED; and it is

further

          ORDERED that the subject entries must be liquidated in accordance with the

final court decision, including all appeals, as provided for in section 516A(e) of the Tariff

Act of 1930, as amended, 19 U.S.C. § 1516a(e) (2018).



                                                  /s/   Mark A. Barnett
                                                  Mark A. Barnett, Chief Judge

Dated: October 22, 2021
      New York, New York




                                           Appx2
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                  Barcode:3919699-01 A-570-904 REV - Admin Review 4/1/17 - 3/31/18



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WH[WLOHIDEULFPDGHRIRUFRQWDLQLQJDFWLYDWHGFDUERQILEHUV,WLVXVHGLQPDVNVDQGILOWHUVDQG
FORWKLQJRIYDULRXVW\SHVZKHUHDZRYHQIRUPDWLVUHTXLUHG
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$Q\DFWLYDWHGFDUERQPHHWLQJWKHSK\VLFDOGHVFULSWLRQRIVXEMHFWPHUFKDQGLVHSURYLGHGDERYH
WKDWLVQRWH[SUHVVO\H[FOXGHGIURPWKHVFRSHLVLQFOXGHGZLWKLQWKHVFRSH7KHSURGXFWVVXEMHFW
WRWKHRUGHUDUHFXUUHQWO\FODVVLILDEOHXQGHUWKH+DUPRQL]HG7DULII6FKHGXOHRIWKH8QLWHG6WDWHV
  +686 VXEKHDGLQJ$OWKRXJKWKH+686VXEKHDGLQJLVSURYLGHGIRUFRQYHQLHQFH
DQGFXVWRPVSXUSRVHVWKHZULWWHQGHVFULSWLRQRIWKHVFRSHRIWKHRUGHULVGLVSRVLWLYH
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%DVHGRQRXUUHYLHZDQGDQDO\VLVRIWKHFRPPHQWVUHFHLYHGIURPWKHLQWHUHVWHGSDUWLHVZHPDGH
FHUWDLQFKDQJHVWRRXUPDUJLQFDOFXODWLRQVIRU&DUERQ$FWLYDWHG'DWRQJ-XTLDQJDQGWKH
VHSDUDWHUDWHFRPSDQLHV6SHFLILFDOO\ZH
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     UHYLVHGWKHELWXPLQRXVFRDOVXUURJDWHYDOXH 69 
     UHYLVHGWKHFRDOWDU69
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     DSSOLHGDGYHUVHIDFWVDYDLODEOH $)$ LQYDOXLQJWKHPHUFKDQGLVHSURGXFHGE\&DUERQ
         $FWLYDWHG¶VXQDIILOLDWHGVXSSOLHU6XSSOLHU;DQG

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  See0HPRUDQGD³$QWLGXPSLQJ'XW\$GPLQLVWUDWLYH5HYLHZRI&HUWDLQ$FWLYDWHG&DUERQIURPWKH3HRSOH¶V
5HSXEOLFRI&KLQD)LQDO5HVXOWV&DOFXODWLRQ0HPRUDQGXPIRU&DUERQ$FWLYDWHG´ &DUERQ$FWLYDWHG¶V)LQDO
&DOFXODWLRQ0HPRUDQGXP DQG³$QWLGXPSLQJ'XW\$GPLQLVWUDWLYH5HYLHZRI&HUWDLQ$FWLYDWHG&DUERQWKH
3HRSOH¶V5HSXEOLFRI&KLQD)LQDO5HVXOWV0DUJLQ&DOFXODWLRQIRU'DWRQJ-XTLDQJ$FWLYDWHG&DUERQ&R/WG´
  'DWRQJ-XTLDQJ¶V)LQDO&DOFXODWLRQ0HPRUDQGXP ERWKGDWHGFRQFXUUHQWO\ZLWKWKLVPHPRUDQGXPsee also
0HPRUDQGXP³(OHYHQWK$GPLQLVWUDWLYH5HYLHZRI&HUWDLQ$FWLYDWHG&DUERQIURPWKH3HRSOH¶V5HSXEOLFRI&KLQD
6XUURJDWH9DOXHVIRUWKH)LQDO5HVXOWV´GDWHGFRQFXUUHQWO\ZLWKWKLVPHPRUDQGXP )LQDO690HPRUDQGXP 
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              Filed By: Jinny Ahn, Filed Date: 12/12/19 10:40 AM, Submission Status: Approved


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      FRUUHFWHGFHUWDLQHUURUVLQ'DWRQJ-XTLDQJ¶VPDUJLQFDOFXODWLRQSURJUDP
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&RPPHQW6HOHFWLRQRIWKH3ULPDU\6XUURJDWH&RXQWU\

Respondents’ Comments:
x &RPPHUFHVKRXOGVHOHFW5RPDQLDDVWKHSULPDU\VXUURJDWHFRXQWU\IRUWKHILQDOUHVXOWV
   EHFDXVHLWSURYLGHVWKHEHVWDQGPRVWUHOLDEOH69IRUELWXPLQRXVFRDO +DUPRQL]HG6FKHGXOH
    +6 VXEKHDGLQJ DQGILQDQFLDOUDWLRV5RPDQLDDOVRDIIRUGVUHOLDEOH69VIRUDOO
   RWKHUPDWHULDODQGQRQPDWHULDOLQSXWV H[FHSWFRDOWDUZKLFKVKRXOGEHYDOXHGEDVHGRQ
   5XVVLDQLPSRUWGDWDLQ+6 
x ,QHYDOXDWLQJWKHFRPSDUDWLYHTXDOLW\RI69GDWDDYDLODEOHIURPWZRRUPRUHFRXQWULHV
   &RPPHUFH¶VHVWDEOLVKHGSUDFWLFHLVWRZHLJKWKHPHULWVRI69VIRUSULQFLSDOPDWHULDOLQSXWV
   DQGILQDQFLDOUDWLRVWKDWDFFRXQWIRUDVLJQLILFDQWSURSRUWLRQRIWKHQRUPDOYDOXH 19 
x $SSO\LQJWKLVSULQFLSOHFRQILUPVWKDWDVFRPSDUHGWR0DOD\VLD5RPDQLDDIIRUGVDYDVWO\
   VXSHULRUVXUURJDWHFRXQWU\FKRLFH
x %LWXPLQRXVFRDOLVRQHRIWKHPRVWVLJQLILFDQWLQSXWVFRQVXPHGLQWKHSURGXFWLRQRIVXEMHFW
   PHUFKDQGLVHDVVXFKLWSUHGRPLQDQWO\FRQWULEXWHVWRZDUGVWKH19EXLOGXSDQGWKHUHVXOWLQJ
   GXPSLQJPDUJLQ7KH0DOD\VLDQ69EDVHGRQLPSRUWGDWDXQGHU+6 i.e.86
   GROODU 86' PHWULFWRQ 07 LVDEHUUDQWO\KLJKXQUHOLDEOHDQGFRQWUDGLFWHGE\UHFRUG
   HYLGHQFH 
x $OOWKUHH0DOD\VLDQILQDQFLDOVVWDWHPHQWVWKDWDUHFXUUHQWO\RQWKHUHFRUGDUHLQVXIILFLHQWO\
   GLVDJJUHJDWHGDQGIDLOWR\LHOGDFFXUDWHILQDQFLDOUDWLRV
       o ,QWKHPreliminary Results&RPPHUFHYDOXHGILQDQFLDOUDWLRVEDVHGRQ5RPDQLDQ
           FRPSDQ\5RPFDUERQ6$ 5RPFDUERQ VWDWLQJWKDWWKHRWKHUILQDQFLDOVWDWHPHQWV
           FRQVLGHUHGIRUWKHSUHOLPLQDU\UHVXOWV ILQDQFLDOVWDWHPHQWVIURPWKHWZR0DOD\VLDQ
           FRPSDQLHV&HQWXU\&KHPLFDO:RUNV¶DQG7HQ0HQJ.HRQJ IDLOHGWRLWHPL]HWKHFRVW
           RIUDZPDWHULDOVDQGHQHUJ\
       o ,QWKHLUILQDO69VXEPLVVLRQ GDWHG0D\ WKHSHWLWLRQHUVVXEPLWWHGWKH
           ILQDQFLDOVWDWHPHQWVRIDQDGGLWLRQDO0DOD\VLDQFRPSDQ\%UDYR*UHHQ6GQ%KG
            %UDYR*UHHQ +RZHYHUOLNHWKHILQDQFLDOVWDWHPHQWVIURPWKHRWKHUWZR0DOD\VLDQ
           FRPSDQLHV%UDYR*UHHQ¶VILQDQFLDOVWDWHPHQWVIDLOWRLWHPL]HWKHFRVWRIUDZ
           PDWHULDOVODERUDQGHQHUJ\
x 5RPDQLDSURYLGHVVXSHULRUTXDOLW\DQGPRUHUHOLDEOHGDWDIRUELWXPLQRXVFRDODQGILQDQFLDO
   VWDWHPHQWVDVZHOODVIRUDOORWKHULQSXWV)LUVWWKH5RPDQLDQELWXPLQRXVFRDO ! 
   NLORFDORULH NFDO NLORJUDP NJ 69RI86'07XQGHU+6VXEKHDGLQJLV


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    Id.DW FLWLQJCertain Steel Nails from the People’s Republic of China; Final Results of Third Antidumping Duty
Administrative Review; 2010-2011)5 0DUFK Jiaxing Brother Fastener Co. v United States
)6XSSG &,7 DQGTri Union Frozen Prods. v. United States)6XSSG &,7 
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              Filed By: Jinny Ahn, Filed Date: 12/12/19 10:40 AM, Submission Status: Approved


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                    Barcode:3919699-01 A-570-904 REV - Admin Review 4/1/17 - 3/31/18



      UHOLDEOHDQGFRUURERUDWHGE\69GDWDIURPDOORWKHUFRXQWULHVOLVWHGRQWKH23/LVW YDU\LQJ
      LQWKHUDQJH86'07 $OVRWKH5RPFDUERQILQDQFLDOVWDWHPHQWVSURYLGHGLVFUHWH
      EUHDNRXWVIRUDOORIWKHLPSRUWDQWFRVWHOHPHQWVLQFOXGLQJUDZPDWHULDOVHQHUJ\DQGODERU
x 7KHSHWLWLRQHUVGLGQRWREMHFWWRWKHFKRLFHRI5RPDQLDLQWKHLU69UHEXWWDOVXEPLVVLRQDQG
      SUHSUHOLPLQDU\FRPPHQWV7KHUHIRUH&RPPHUFHVKRXOGVHOHFW5RPDQLDDVWKHSULPDU\
      VXUURJDWHFRXQWU\
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Petitioners’ Rebuttal Comments:
x )RUWKHPreliminary Results&RPPHUFHFRUUHFWO\VHOHFWHG0DOD\VLDDVWKHSULPDU\VXUURJDWH
      FRXQWU\EHFDXVH0DOD\VLDSURYLGHVWKHEHVWDQGPRVWUHOLDEOH69VIRUSULQFLSDOLQSXWVDQG
      ILQDQFLDOUDWLRV0DOD\VLDDOVRVDWLVILHVHDFKRIWKHWKUHHVWDWXWRU\FULWHULD  LWLVDWWKH
      VDPHOHYHORIHFRQRPLFGHYHORSPHQWDV&KLQD  LWLVDVLJQLILFDQWSURGXFHURILGHQWLFDO
      PHUFKDQGLVHDQG  LWSURYLGHVTXDOLW\DQGFRPSOHWHLQIRUPDWLRQWRYDOXHWKHPDQGDWRU\
      UHVSRQGHQWV¶IDFWRUVRISURGXFWLRQ )23 
x &RPPHUFHFRUUHFWO\XVHGWKH0DOD\VLDQLPSRUWYDOXHIRU+6VXEKHDGLQJ
       ELWXPLQRXVFRDO WRYDOXHWKHELWXPLQRXVFRDOXVHGE\WKHPDQGDWRU\UHVSRQGHQWVIRUWKH
      Preliminary Results.18 
x ,I&RPPHUFHGRHVQRWUHO\RQWKH0DOD\VLDQLPSRUWYDOXHXQGHU+6WRYDOXH
      ELWXPLQRXVFRDOLWVKRXOGUHO\RQ%UD]LOLDQLPSRUWVXQGHUEHFDXVH%UD]LOLDQLPSRUW
      YROXPHH[FHHGVWKHFRPELQHGLPSRUWYROXPHRIDOOILYHRWKHU23/LVWFRXQWULHV
x $V0DOD\VLDLVDPDMRUSURGXFHURIDFWLYDWHGFDUERQ DVUHIOHFWHGLQERWKLWVWUDGHVWDWLVWLFV
      DQGWKHSUHVHQFHRIPXOWLSOHVLJQLILFDQWSURGXFHUVRIDFWLYDWHGFDUERQ DQGDFRFRQXW
      FKDUFRDOLPSRUWYDOXHLVDYDLODEOHRQO\IRU0DOD\VLDWKHXVHRI0DOD\VLDQ69VIRUDOOEXW+6
      ZRXOGFRQIRUPZLWK&RPPHUFH¶VSUDFWLFH
x 7KDW&RPPHUFHFKRVHWRGHSDUWIURP0DOD\VLDIRURQH69ILQDQFLDOUDWLRVGRHVQRW
      GHPRQVWUDWHWKDW0DOD\VLDLVQRWWKHEHVWVXUURJDWHFRXQWU\,QSDVWLQVWDQFHVOLNHLQWKH
      Preliminary Results&RPPHUFHKDVFKRVHQDSULPDU\VXUURJDWHFRXQWU\DQGUHOLHGRQ
      LQIRUPDWLRQIURPDVHFRQGDU\FRXQWU\IRURQHRUWZRVXUURJDWHYDOXHV
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EDVHGRQWKHEHVWDYDLODEOHLQIRUPDWLRQUHJDUGLQJWKHYDOXHVRIVXFKIDFWRUVLQDPDUNHWHFRQRP\
  0( FRXQWU\RUFRXQWULHVFRQVLGHUHGWREHDSSURSULDWHE\&RPPHUFH,QDFFRUGDQFHZLWK
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   See&RPPHUFH¶V/HWWHU³&HUWDLQ$FWLYDWHG&DUERQIURPWKH3HRSOH¶V5HSXEOLFRI&KLQD &KLQD 5HTXHVWIRU
&RPPHQWVUH  (FRQRPLF'HYHORSPHQW  6XUURJDWH&RXQWU\DQG  6XUURJDWH9DOXH,QIRUPDWLRQ´GDWHG
6HSWHPEHU 23/LVW 
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   )RUGLVFXVVLRQRIRXUVHOHFWLRQRIWKHELWXPLQRXVFRDOVXUURJDWHYDOXH see &RPPHQW infra
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    Id.
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   See 3HWLWLRQHUV¶5HEXWWDO%ULHIDW FLWLQJFreshwater Crawfish Tail Meat from the People’s Republic of China:
Final Results of Antidumping Duty Administrative Review and Rescission of New Shipper Review; 2015–2016
)5 2FWREHU H[SODLQLQJWKDW&RPPHUFHVHOHFWHG7KDLODQGDVWKHSULPDU\VXUURJDWHFRXQWU\DQG
XVHGILQDQFLDOVWDWHPHQWVIURPD6RXWK$IULFDQSURGXFHU 
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                    Case: 22-1298                   Document: 15     Page: 85   Filed: 04/07/2022
                          Barcode:3919699-01 A-570-904 REV - Admin Review 4/1/17 - 3/31/18



GHYHORSPHQWFRPSDUDEOHWRWKDWRIWKH10(FRXQWU\DQG  VLJQLILFDQWSURGXFHUVRI
FRPSDUDEOHPHUFKDQGLVH$VDJHQHUDOUXOH&RPPHUFHVHOHFWVDVXUURJDWHFRXQWU\WKDWLVDW
WKHVDPHOHYHORIHFRQRPLFGHYHORSPHQWDVWKH10(FRXQWU\XQOHVVLWLVGHWHUPLQHGWKDWQRQH
RIWKHFRXQWULHVDUHYLDEOHRSWLRQVEHFDXVHHLWKHU D WKH\DUHQRWVLJQLILFDQWSURGXFHUVRI
FRPSDUDEOHPHUFKDQGLVH E GRQRWSURYLGHVXIILFLHQWUHOLDEOHVRXUFHVRISXEOLFO\DYDLODEOH69
GDWDRU F DUHQRWVXLWDEOHIRUXVHEDVHGRQRWKHUUHDVRQV6XUURJDWHFRXQWULHVWKDWDUHQRWDW
WKHVDPHOHYHORIHFRQRPLFGHYHORSPHQWDVWKH10(FRXQWU\EXWVWLOODWDOHYHORIHFRQRPLF
GHYHORSPHQWFRPSDUDEOHWRWKH10(FRXQWU\DUHVHOHFWHGRQO\WRWKHH[WHQWWKDWGDWD
FRQVLGHUDWLRQVRXWZHLJKWKHGLIIHUHQFHLQOHYHOVRIHFRQRPLFGHYHORSPHQW7RGHWHUPLQH
ZKLFKFRXQWULHVDUHDWWKHVDPHOHYHORIHFRQRPLFGHYHORSPHQW&RPPHUFHJHQHUDOO\UHOLHVRQ
*URVV1DWLRQDO,QFRPH *1, GDWDIURPWKH:RUOG%DQN¶V:RUOG'HYHORSPHQW5HSRUW
)XUWKHU&RPPHUFHQRUPDOO\SUHIHUVWRYDOXHDOO)23VIURPDVLQJOHVXUURJDWHFRXQWU\EHFDXVH
GHULYLQJVXUURJDWHGDWDIURPRQHVXUURJDWHFRXQWU\OLPLWVWKHDPRXQWRIGLVWRUWLRQLQWURGXFHG
LQWRWKHFDOFXODWLRQVLQWKDWDGRPHVWLFSURGXFHUZRXOGEHPRUHOLNHO\WRSXUFKDVHDSURGXFW
DYDLODEOHLQWKHGRPHVWLFPDUNHW
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VXUURJDWHFRXQWU\+RZHYHUZHXVHG5RPDQLDQILQDQFLDOVWDWHPHQWVIRUWKHSXUSRVHRI
FDOFXODWLQJWKHILQDQFLDOUDWLRVEHFDXVHWKHILQDQFLDOVWDWHPHQWVIURPWKH5RPDQLDQ
FRPSDQ\5RPFDUERQDUHWKHRQO\ILQDQFLDOVWDWHPHQWVRQWKHUHFRUGVXLWDEOHIRUXVHLQ
FDOFXODWLQJVXUURJDWHILQDQFLDOUDWLRV$VGHWDLOHGEHORZZHFRQWLQXHWRILQGWKDW0DOD\VLDLV
WKHDSSURSULDWHSULPDU\VXUURJDWHFRXQWU\LQWKLVUHYLHZ

Economic Comparability

0DOD\VLDDQG5RPDQLDDUHERWKHFRQRPLFDOO\FRPSDUDEOHWR&KLQDDVERWKFRXQWULHVDUHRQWKH
23/LVWDQGDUHWKHUHIRUHGHWHUPLQHGEDVHGRQSHUFDSLWD*1,WREHDWWKHVDPHOHYHORI
HFRQRPLFGHYHORSPHQWDV&KLQD
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Significant Producer of Comparable Merchandise

6HFWLRQ F  % RIWKH$FWVWDWHVWKDW&RPPHUFHVKDOOYDOXH)23VWRWKHH[WHQWSRVVLEOHLQ
DVXUURJDWH0(FRXQWU\WKDWLVDVLJQLILFDQWSURGXFHURIFRPSDUDEOHPHUFKDQGLVH1HLWKHUWKH
VWDWXWHQRU&RPPHUFH¶VUHJXODWLRQVSURYLGHIXUWKHUJXLGDQFHRQZKDWPD\EHFRQVLGHUHG
FRPSDUDEOHPHUFKDQGLVH*LYHQWKHDEVHQFHRIDQ\GHILQLWLRQLQWKHVWDWXWHRUUHJXODWLRQV
&RPPHUFHORRNVWRRWKHUVRXUFHVVXFKDVWKH3ROLF\%XOOHWLQIRUJXLGDQFHRQGHILQLQJ
FRPSDUDEOHPHUFKDQGLVH7KH3ROLF\%XOOHWLQVWDWHVWKDW³LQDOOFDVHVLILGHQWLFDOPHUFKDQGLVHLV
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SURGXFHGWKHFRXQWU\TXDOLILHVDVDSURGXFHURIFRPSDUDEOHPHUFKDQGLVH´7KHUHIRUHLIWKH
UHFRUGFRQWDLQVDSURGXFHURILGHQWLFDOPHUFKDQGLVHWKHUHTXLUHPHQWRIFRPSDUDEOHPHUFKDQGLVH
XQGHUVHFWLRQ F  RIWKH$FWLVVDWLVILHG7KHUHLVQRQHHGWRORRNIXUWKHUDWFRXQWULHVZLWK
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)XUWKHUWKH$FWGRHVQRWGHILQHWKHSKUDVH³VLJQLILFDQWSURGXFHU´+RZHYHUWKHVWDWXWHJUDQWV
&RPPHUFHGLVFUHWLRQWRH[DPLQHYDULRXVGDWDVRXUFHVWRGHWHUPLQHWKHEHVWDYDLODEOH
LQIRUPDWLRQ/HJLVODWLYHKLVWRU\VXJJHVWVWKDW&RPPHUFHPD\FRQVLGHUDFRXQWU\WRTXDOLI\DV
D³VLJQLILFDQWSURGXFHU´LIDPRQJRWKHUWKLQJVLWLVD³QHWH[SRUWHU´RILGHQWLFDORUFRPSDUDEOH
PHUFKDQGLVH+RZHYHUWKDWWH[WGRHVQRWGHILQHWKHSKUDVH³QHWH[SRUWHU´RUH[SODLQZKHWKHUD
SRWHQWLDOVXUURJDWHFRXQWU\PXVWFRQVWLWXWHDQHWH[SRUWHULQWHUPVRITXDQWLW\YDOXHRUERWKWR
ILWWKHH[DPSOHSURYLGHGLQWKHOHJLVODWLYHKLVWRU\0RUHRYHUZKLOHWKHOHJLVODWLYHKLVWRU\
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VXUURJDWHFRXQWU\TXHVWLRQLQJWKHUHOLDELOLW\RI0DOD\VLDQLPSRUWGDWDIRUFHUWDLQLQSXWVDQGWKH
0DOD\VLDQILQDQFLDOVWDWHPHQWVRQWKHUHFRUG6SHFLILFDOO\WKHUHFRUGFRQWDLQVILQDQFLDO
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LQGLFDWHWKDWWKHLUSULQFLSDOEXVLQHVVDFWLYLW\LVWKHPDQXIDFWXUHRIDFWLYDWHGFDUERQZKLFKLV
LGHQWLFDOWRWKHVXEMHFWPHUFKDQGLVHLQWKLVSURFHHGLQJ$FFRUGLQJO\IRUWKHILQDOUHVXOWVRIWKLV
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6XUURJDWH&RXQWU\&RPPHQWV$GPLQLVWUDWLYH5HYLHZRIWKH$QWLGXPSLQJ'XW\2UGHURQ&HUWDLQ$FWLYDWHG
&DUERQIURPWKH3HRSOH¶V5HSXEOLFRI&KLQD´GDWHG2FWREHUDW([KLELW7KHH[SRUWYROXPHVIRUWKH23
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EHFDXVHLWVDWLVILHVWKHVWDWXWRU\UHTXLUHPHQWVIRUVHOHFWLRQDVDVXUURJDWHFRXQWU\DQGLWSURYLGHV
VWURQJHUHYLGHQFHRISURGXFWLRQRIWKHVXEMHFWPHUFKDQGLVHLQWKHIRUPRIPXOWLSOHILQDQFLDO
VWDWHPHQWV7KHUHFRUGFRQWDLQVLQIRUPDWLRQIURPPXOWLSOHFRXQWULHVWKDWDUHDWWKHVDPHOHYHORI
HFRQRPLFGHYHORSPHQWDQGDUHDOVRH[SRUWHUVRIDFWLYDWHGFDUERQ+RZHYHUEHFDXVHWKHUHDUH
PXOWLSOH0DOD\VLDQILQDQFLDOVWDWHPHQWVRQWKHUHFRUGDOORIZKLFKFRQWDLQHYLGHQFHRI
SURGXFWLRQRILGHQWLFDOPHUFKDQGLVHWKHUHLVPRUHGLUHFWHYLGHQFHRQWKHUHFRUGWKDW0DOD\VLDLV
DVLJQLILFDQWSURGXFHURILGHQWLFDOPHUFKDQGLVH7KHUHLVQRHTXLYDOHQWLQIRUPDWLRQRQWKHUHFRUG
ZLWKUHVSHFWWR5RPDQLDQSURGXFWLRQDQGWKHUHIRUHWKHUHFRUGLQWKLVFDVHGRHVQRWVXSSRUWD
ILQGLQJWKDW5RPDQLDVDWLVILHVVHFWLRQ F  % RIWKH$FWZKLFKUHTXLUHV&RPPHUFHWR
YDOXH)23VWRWKHH[WHQWSRVVLEOHLQDVXUURJDWHFRXQWU\WKDWLVDVLJQLILFDQWSURGXFHURI
FRPSDUDEOHPHUFKDQGLVH:LWKUHVSHFWWR5RPDQLDQVXUURJDWHYDOXHVRQWKHUHFRUGWKHUHLVRQO\
RQHILQDQFLDOVWDWHPHQWRQWKHUHFRUGIURPD5RPDQLDQFRPSDQ\5RPFDUERQ:KLOH
5RPFDUERQ¶VSURILWFHQWHUQRLQFOXGHVDQ³$FWLYH&RDO:RUNVKRS´ZKLFKLVGHGLFDWHGWRWKH
SURGXFWLRQRIDFWLYDWHGFDUERQLWVILQDQFLDOVWDWHPHQWVLQGLFDWHWKDWLWVSULQFLSDODFWLYLWLHVDUHWKH
PDQXIDFWXUHRISRO\HWK\OHQHSRO\SURS\OHQHSRO\YLQ\OFKORULGHSRO\VW\UHQHSURFHVVLQJILOWHUV
DQGSURWHFWLYHPDWHULDOV:HILQGWKDWWKLVLVQRWHYLGHQFHRI³VLJQLILFDQWSURGXFWLRQ´
HVSHFLDOO\DVFRPSDUHGWRWKHWKUHHILQDQFLDOVWDWHPHQWVIURP0DOD\VLDQDFWLYDWHGFDUERQ
SURGXFHUVRQWKHUHFRUG$FFRUGLQJO\EHFDXVHWKHUHLVUHFRUGHYLGHQFHLQGLFDWLQJWKDW0DOD\VLD
KDVGRPHVWLFSURGXFWLRQRILGHQWLFDOPHUFKDQGLVHLQWKHIRUPRIPXOWLSOHILQDQFLDOVWDWHPHQWV
IURPDFWLYDWHGFDUERQSURGXFHUVZHGHWHUPLQHWKDW0DOD\VLDSURYLGHVWKHEHVWDYDLODEOH
LQIRUPDWLRQRQWKHUHFRUGEHFDXVHLWLVWKHRQO\FRXQWU\RQWKH23/LVWWKDWLVDVLJQLILFDQW
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,IPRUHWKDQRQHSRWHQWLDOVXUURJDWHFRXQWU\VDWLVILHVWKHVWDWXWRU\UHTXLUHPHQWVIRUVHOHFWLRQDVD
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DQGUHOLDELOLW\7KHUHFRUGFRQWDLQVFRPSOHWHSXEOLFO\DYDLODEOHFRQWHPSRUDQHRXVDQG
VSHFLILF0DOD\VLDQGDWDIRUQHDUO\DOORIWKHLQSXWVXVHGE\WKHWZRPDQGDWRU\UHVSRQGHQWVWR
SURGXFHWKHVXEMHFWPHUFKDQGLVHGXULQJWKHSHULRGRIUHYLHZ 325 $GGLWLRQDOO\DV
GLVFXVVHGDERYHZHGRQRWUHDFKWKHDQDO\VLVRIGDWDUHOLDELOLW\ZLWKUHVSHFWWR5RPDQLDLQWKLV
UHYLHZ%HFDXVHDVGLVFXVVHGDERYHWKHUHFRUGGRHVQRWFRQWDLQVXIILFLHQWHYLGHQFH
GHPRQVWUDWLQJWKDW5RPDQLDSURYLGHVWKHEHVWDYDLODEOHLQIRUPDWLRQRQWKHUHFRUGDQ\DUJXPHQWV
SHUWDLQLQJWRWKHUHOLDELOLW\RIWKH5RPDQLDQGDWDIRUWKHSXUSRVHRIWKHVHOHFWLRQRIWKHSULPDU\
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UHVXOWV0DOD\VLDLVDWWKHVDPHOHYHORIHFRQRPLFGHYHORSPHQWDV&KLQDDVLJQLILFDQWSURGXFHU
RILGHQWLFDOPHUFKDQGLVHDQGJHQHUDOO\KDVUHOLDEOHGDWDZLWKZKLFKWRYDOXHWKHPDQGDWRU\
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UHVSRQGHQWV¶)23V+RZHYHUDOWKRXJK&RPPHUFHJHQHUDOO\KDVDSUHIHUHQFHIRUYDOXLQJDOO
IDFWRUVIURPDVLQJOHVXUURJDWHFRXQWU\DVGLVFXVVHGEHORZLQ&RPPHQWZHKDYHGHWHUPLQHG
WKDWWKH0DOD\VLDQGDWDIRUELWXPLQRXVFRDOLVQRWDSSURSULDWHIRUXVHLQWKHILQDOUHVXOWV
$GGLWLRQDOO\DVZHIRXQGLQWKHPreliminary ResultsZKLOHWKH0DOD\VLDQILQDQFLDOVSURYLGH
HYLGHQFHWKDW0DOD\VLDLVDSURGXFHURILGHQWLFDOPHUFKDQGLVHWKHRQO\ILQDQFLDOVWDWHPHQWVRQ
WKHUHFRUGZKLFKDUHXVDEOHIRUWKHFDOFXODWLRQRIWKHVXUURJDWHILQDQFLDOUDWLRVDUHWKH
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      FDWHJRU\FRYHULQJKLJKKHDWYDOXH i.e.VDPHRUKLJKHUWKDQNFDONJ ELWXPLQRXVFRDO
      LQDSSOLFDEOHWRWKHELWXPLQRXVFRDOZLWKDORZHUKHDWYDOXH i.e.OHVVWKDQNFDONJ 
      XVHGE\WKHPDQGDWRU\UHVSRQGHQWV7KHUHIRUHIRUWKHILQDOUHVXOWV&RPPHUFHVKRXOGXVH
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x 5HFRUGHYLGHQFHFRQILUPVWKDWGXULQJWKH325'DWRQJ-XTLDQJ'DWRQJ-XTLDQJ¶VVXSSOLHU
      DQGFHUWDLQVXSSOLHUVWR&DUERQ$FWLYDWHGXWLOL]HGELWXPLQRXVFRDOZLWKDKHDWYDOXHOHVVWKDQ
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      PDQDJHUVRI'DWRQJ-XTLDQJDQGLWVVXSSOLHUSURYLGHGLQWKHUHVSRQVHVFRQILUPWKDWWKH
      ELWXPLQRXVFRDOXWLOL]HGE\'DWRQJ-XTLDQJDQGLWVVXSSOLHUKDVDJURVVFDORULILFYDOXHEHORZ
      WKLVWKUHVKROG)XUWKHURQHRI&DUERQ$FWLYDWHG¶VVXSSOLHUV¶WHVWUHSRUWSURYLGHVWKH
      FKHPLFDOFRPSRVLWLRQLQFOXGLQJDVKDQGPRLVWXUHFRQWHQWRIELWXPLQRXVFRDOEDVHGRQ
      ZKLFKWKHPDQGDWRU\UHVSRQGHQWVZHUHDEOHWRFDOFXODWHLWVKHDWYDOXHZKLFKZRUNVRXWWREH
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   See&RPPHQWEHORZ
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   See5HVSRQGHQWV¶&DVH%ULHIDW
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   Id. FLWLQJ&DUERQ$FWLYDWHG¶V/HWWHU³&DUERQ$FWLYDWHG5HVSRQVHWR6HFWLRQ'6XSSOHPHQWDO4XHVWLRQQDLUH 3DUW
, ´GDWHG)HEUXDU\ &DUERQ$FWLYDWHG¶V)HE6XSS'453DUW, DW7KHPDQGDWRU\UHVSRQGHQWVVWDWHG
³$OWKRXJKWKHVHEUHDNRXWVZHUHLQGLFDWHGLQWKHFRQWH[WRI7KDLWDULIIWKH0DOD\VLDQWDULII DQGRWKHUFRXQWU\¶V
WDULIIDVZHOO FRQWDLQLGHQWLFDOEUHDNRXWVVLQFHWKH:&2WDULIIFODVVLILFDWLRQLVKDUPRQL]HGDWGLJLW+6OHYHO
)XUWKHURQDFFRXQWRIKDUPRQL]DWLRQQRWHVWR&KDSWHULQWKH7KDLDQGWKH0DOD\VLDQWDULIIVDUHLGHQWLFDO´ 
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    Id.
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   See'DWRQJ-XTLDQJ¶V)LQDO&DOFXODWLRQ0HPRUDQGXP
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   See5HVSRQGHQWV¶&DVH%ULHIDW
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   Id. FLWLQJWR'DWRQJ-XTLDQJ¶V/HWWHU³'-$&6XSSOHPHQWDO'UHVSRQVH´GDWHG)HEUXDU\ 'DWRQJ
-XTLDQJ¶V)HE6XSS'45 DWDQGDQG([KLELWV6'6'DQG6'7KHVHZHUHWHVWUHVXOWUHSRUWVWKDWGR
QRWGHPRQVWUDWHWKHFDORULILFYDOXHDQGVZRUQLQWHVWLPRQLHVE\WKH*HQHUDO0DQDJHUVRIWKHUHVSRQGHQWFRPSDQ\
'DWRQJ-XTLDQJDQGLWVVXSSOLHU 
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     EHORZWKHNFDONJWKUHVKROG7KHUHIRUHIRUWKHILQDOUHVXOWVLUUHVSHFWLYHRILWVFKRLFHRI
     VXUURJDWHFRXQWU\&RPPHUFHVKRXOGYDOXHELWXPLQRXVFRDOLQSXWEDVHGRQ+6IRU
     'DWRQJ-XTLDQJ'DWRQJ-XTLDQJ¶VVXSSOLHUDQGWKLVVXSSOLHURI&DUERQ$FWLYDWHG
x   :LWKUHJDUGWRELWXPLQRXVFRDOXVHGE\&DUERQ$FWLYDWHG¶VRWKHUVXSSOLHU6XSSOLHU&
     WKHUHLVQRUHFRUGLQIRUPDWLRQDERXWWKHKHDWFRQWHQWRIFRDO$FFRUGLQJO\WKHPRVW
     UHDVRQDEOHRSWLRQWRYDOXHVXFKELWXPLQRXVFRDOLVWRDSSO\DVLPSOHDYHUDJHRIVXUURJDWH
     YDOXHIURP+6+6DQG+6+6)XUWKHUVLQFH&RPPHUFHDSSOLHG6XSSOLHU
     &¶V)23GDWDWRFRPSXWHWKH19IRUDQH[FXVHGVXSSOLHUWKHVDPHVLPSOHDYHUDJHVXUURJDWH
     YDOXHVKRXOGEHDSSOLHGWRYDOXHWKHXQGHUO\LQJELWXPLQRXVFRDOLQWKHDFWLYDWHGPDWHULDO
     SURGXFHGE\WKLVH[FXVHGVXSSOLHU
x   (YHQLI+6ZDVDSSOLFDEOHWKH0DOD\VLDQLPSRUWYDOXHRI86'07XQGHU+6
     XVHGLQWKHPreliminary ResultsWRYDOXHELWXPLQRXVFRDOLVGHPRQVWUDEO\
     XQUHOLDEOHDQGLPSHDFKHGE\VXEVWDQWLDOUHFRUGHYLGHQFH
x   7KHSUHSRQGHUDQWSURSRUWLRQRILPSRUWV NJRXWRINJi.e.SHUFHQWRI
     WRWDOLPSRUWV UHSRUWHGLQ0DOD\VLDQ+6RULJLQDWHGIURPWKH3KLOLSSLQHV
     0RUHRYHUDFFRUGLQJWRWKH7UDGH'DWD0RQLWRU 7'0 GDWDVXEPLWWHGE\WKHPDQGDWRU\
     UHVSRQGHQWVGXULQJWKHSHULRGEHWZHHQLPSRUWVIURP3KLOLSSLQHVXQGHU+6
     WR0DOD\VLDZHUHUHFRUGHGLQRQO\RQHPRQWK$XJXVW7KLVIDFWUDLVHVWKH
     SRVVLELOLW\RIDQLQFRUUHFWUHSRUWLQJRIWKHGHVFULSWLRQRIJRRGVRQDFFRXQWRID
     PLVFODVVLILFDWLRQ$OVRDOHWWHUIURPWKH3KLOLSSLQH'HSDUWPHQWRI(QHUJ\HYLGHQFHVWKDW
     WKHUHZHUHQRH[SRUWVRIFRDOIURPWKH3KLOLSSLQHVWR0DOD\VLDGXULQJWKH325)XUWKHUD
     OHWWHUIURPWKH3KLOLSSLQH6WDWLVWLFVGHSDUWPHQWFRQWDLQLQJH[SRUWGDWDIRUJRRGV
     IURP&KDSWHURIWKH3KLOLSSLQHWDULIIVFKHGXOHVKRZVWKDWWKHUHZHUHQRH[SRUWVRIFRDOWR
     0DOD\VLDGXULQJWKH325
x   7KH0DOD\VLDQGRPHVWLFPDUNHWSULFHGDWDIRUELWXPLQRXVFRDOIRUWKH325REWDLQHGIURP
     WKH0DOD\VLDQ(QHUJ\&RPPLVVLRQDOVRGHPRQVWUDWHVWKDWWKH0DOD\VLDQLPSRUWGDWDXQGHU
     +6LVDEHUUDWLRQDO:KLOHWKHVHSULFHGDWDDUHH[SUHVVHGLQXQLWVRIHQHUJ\WKH\
     HQDEOHGHULYDWLRQRIWKHSULFHLQ86'07YDOXHIRUDQHTXLYDOHQWJUDGHRIELWXPLQRXVFRDO
     ZLWKDQDYHUDJHKHDWFRQWHQWRINFDO07ZKLFKLVFRPSDUDEOHWRWKHKHDWYDOXHRIWKH
     ELWXPLQRXVFRDOXVHGE\'DWRQJ-XTLDQJ'DWRQJ-XTLDQJ¶VVXSSOLHUDQG6XSSOLHU&
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   Id.DW FLWLQJ Silicon Metal From the People’s Republic of China: Final Results and Partial Rescission of
the 2008-2009 Administrative Review of the Antidumping Duty Order )5 -DQXDU\ DQG
DFFRPSDQ\LQJ,VVXHVDQG'HFLVLRQ0HPRUDQGXP ,'0 DW&RPPHQW ³8+9  $0 ZKHUH$LV
DVKSHUFHQWDJHDQG0LVPRLVWXUHSHUFHQWDJH´ 0DQGDWRU\UHVSRQGHQWVVWDWHGWKDWWKHIRUPXODWKDWWKH\XVHGZDV
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   7KHLGHQWLW\RIWKLVVXSSOLHULVEXVLQHVVSURSULHWDU\)RU6XSSOLHU&¶VLGHQWLW\see&DUERQ$FWLYDWHG¶V)LQDO
&DOFXODWLRQ0HPRUDQGXP
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   See5HVSRQGHQWV¶&DVH%ULHIDW
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    Id.DW FLWLQJ0DQGDWRU\5HVSRQGHQWV¶)LQDO6XUURJDWH&RPPHQWVGDWHG0D\ 5HVSRQGHQWV¶)LQDO69
6XEPLVVLRQ DW([KLELW% 
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    Id.DW FLWLQJ5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW$ 
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   Id.DW FLWLQJ 5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW% 
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   Id.DW FLWLQJ 5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW& 
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   Id. FLWLQJ5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW. 
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   Id. ,Q([KLELW.WRWKH5HVSRQGHQWV¶)LQDO696XEPLVVLRQPDQGDWRU\UHVSRQGHQWVSURYLGHGDFRQYHUVLRQFKDUW
GHPRQVWUDWLQJKRZWKH\GHULYHGWKH86'07YDOXHVIURPWKHGRPHVWLFELWXPLQRXVFRDOSULFHWKDWWKH\UHFHLYHG
IURPWKH0DOD\VLDQ(QHUJ\&RPPLVVLRQZKLFKZDVLQ5000%78YDOXHV)RUWKLVFDOFXODWLRQWKH\XVHGD
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x 0DOD\VLDQGDWDDUHDOVRLPSHDFKHGE\WKHFRUUHVSRQGLQJLPSRUWGDWDUHSRUWHGXQGHU+6
    IURPRWKHU23/LVWFRXQWULHVEHFDXVHDOWKRXJKWKH0DOD\VLDQLPSRUW$89RI
    86'07LVEDVHGRQPLQLPDOLPSRUWYROXPHV i.e.07 DFFRXQWLQJIRUSHUFHQWRI
    WKHWRWDOTXDQWLW\ i.e.07 DQGSHUFHQWRIWKHWRWDOYDOXH DW
    86' RIWKHDJJUHJDWHGLPSRUWVLQDOOVL[23/LVWFRXQWULHV i.e.86' LWLV
    DERXWSHUFHQWKLJKHUWKDQWKHZHLJKWHGDYHUDJHSULFHRIDOOLPSRUWVLQWKHVL[23/LVW
    FRXQWULHV i.e.86'07 $VVXFKWKHUHFRUGHYLGHQFHHVWDEOLVKHVWKDWWKH0DOD\VLDQ
    LPSRUWYDOXHXQGHU+6LVDEHUUDWLRQDO
x 0DOD\VLDQLPSRUWGDWDXQGHU+6 i.e.86'07 DUHDOVRLQFRQVLVWHQWZLWKWKH
    FRUUHVSRQGLQJ69GDWDDSSOLHGE\&RPPHUFHLQUHFHQWUHYLHZSURFHHGLQJV i.e.
    86'07IRU32586'07IRU325DQG86'07IRU325 
x &RQYHUVHO\WKH5RPDQLDQLPSRUW$89XQGHU+6IRUWKH325 i.e.86'07 
    LVZLWKLQDUHDVRQDEOHUDQJHRISHUFHQWRIWKHZHLJKWHGDYHUDJHSULFHRIDOOLPSRUWVLQWKH
    VL[23/LVWFRXQWULHVDQGWKHGDWD\LHOGVDUHOLDEOHVXUURJDWHYDOXHIRUKLJKKHDWYDOXH
    ELWXPLQRXVFRDO
x $OWHUQDWLYHO\WKH%UD]LOLDQLPSRUW$89RI86'07DOVRDIIRUGVDUHOLDEOH69VLQFHLW
    LVEDVHGRQWKHODUJHVWTXDQWLW\RILPSRUWV i.e.07 DPRQJWKH23/LVW
    FRXQWULHV7KHFKRLFHRI%UD]LOLDQ69GDWD GXHWRLWVPXFKKLJKHULPSRUWTXDQWLW\ LV
    VXSSRUWHGE\DJHQF\SUHFHGHQWDVDSSURYHGE\WKH&RXUWRI,QWHUQDWLRQDO7UDGH &,7 ,Q
    Calgon Carbon Corp. v. United StatesWKH&,7DSSURYHG&RPPHUFH¶VPHWKRGRORJ\WRSUHIHU
    D69GDWDVRXUFHWKDWZDVUHSUHVHQWDWLYHRIWKHKLJKHVWYROXPHRILPSRUWV
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Petitioners’ Rebuttal Comments:
x &RPPHUFHFRUUHFWO\XVHGWKH0DOD\VLDQLPSRUWYDOXHXQGHU+6WRYDOXHWKH
    ELWXPLQRXVFRDOXVHGE\WKHPDQGDWRU\UHVSRQGHQWVIRUWKHPreliminary ResultsDQGVKRXOG
    FRQWLQXHWRXVHWKHVDPHYDOXHWRYDOXHELWXPLQRXVFRDOLQSXWIRUWKHILQDOUHVXOWV
x 7KHPDQGDWRU\UHVSRQGHQWV¶DVVHUWLRQWKDW&RPPHUFHVKRXOGXVHLPSRUWYDOXHVIRU
    PHUFKDQGLVHFODVVLILHGXQGHU+6VXEKHDGLQJLVPHULWOHVVDVWKHPDQGDWRU\
    UHVSRQGHQWVIDLOHGWRVXEPLWGRFXPHQWVWRVXSSRUWWKHLUDVVHUWLRQRQWKHUHFRUG,QWKHLU
    ILQDO69VXEPLVVLRQWKHPDQGDWRU\UHVSRQGHQWVLGHQWLI\+6DVWKHSURSHU+6


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FRQYHUVLRQIDFWRU i.e.NJRIELWXPLQRXVFRDOLQSXW 00%78 GHULYHGXVLQJFHUWDLQFRQYHUVLRQUDWHV
WDNHQIURP;UDWHVPRQWKO\0DQGDWRU\UHVSRQGHQWVDUJXHWKDWWKHUHIRUHGXULQJWKH325WKHSULFHRIWKHH[DFW
VDPHHQHUJ\JUDGHRIELWXPLQRXVFRDOLQ0DOD\VLDUDQJHGIURPWR86'07EDUHO\RQHVL[WKWKHDYHUDJH
SULFHRI86'07WKHYDOXHSUHOLPLQDULO\XVHGWRYDOXHELWXPLQRXVFRDOLQSXWXVHGGXULQJWKH325 
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   Id.DW 7KHLPSRUWTXDQWLWLHVIRUDOOWKH23/LVWFRXQWULHVXQGHU+6DUHDVIROORZV07
 %UD]LO 07 0H[LFR 07 5XVVLD 07 5RPDQLD 07 .D]DNKVWDQ DQG
07 0DOD\VLD 
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    See5HVSRQGHQWV¶&DVH%ULHIDW
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   See 5HVSRQGHQWV¶&DVH%ULHIDW:HQRWHWKDWWKHWRWDOTXDQWLW\RILPSRUWVXQGHU+6IRUDOOVL[23
/LVW&RXQWULHVLV07 See5HVSRQGHQWV¶&DVH%ULHIDWsee also 5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW
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    See5HVSRQGHQWV¶&DVH%ULHIDW FLWLQJCalgon Carbon Corp. v. United States,QW¶O7UDGH5HS %1$ 
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      FDWHJRU\WRYDOXHELWXPLQRXVFRDOLQSXWDVWKHRWKHUFRDOLQSXWVDUHYDOXHGXVLQJ+6
      YDOXDWLRQVZKLFKLVFRQVLVWHQWZLWK&RPPHUFH¶VSUDFWLFHLQSULRUVHJPHQWV
x ,QLWVSUHSUHOLPLQDU\UHVXOWVFRPPHQWV&DUERQ$FWLYDWHGFLWHGWRLWV)HEUXDU\
      VXSSOHPHQWDOUHVSRQVHWRVXSSRUWLWVFODLPWKDW+6LVQHFHVVDU\WRYDOXHLWV
      ELWXPLQRXVFRDOLQSXW+RZHYHUWKDWUHVSRQVHPDNHVQRFODLPWKDWWKHELWXPLQRXVFRDO
      LQSXWXVHGE\&DUERQ$FWLYDWHGSRVVHVVHGSK\VLFDOFKDUDFWHULVWLFVWKDWZRXOGMXVWLI\XVLQJD
      69XQGHU+6,QVWHDGLQWKDWTXHVWLRQQDLUHUHVSRQVH&DUERQ$FWLYDWHGRQO\
      KLJKOLJKWHGWKHGLIIHUHQFHEHWZHHQWKHELWXPLQRXVPDWHULDOLQSXWDQGµVPRNHFRDO¶VWDWLQJ
      WKDW³ERWKELWXPLQRXVFRDODQGVPRNHFRDOEHORQJWRWKHVDPHWHFKQLFDOJUDGHRIELWXPLQRXV
      FRDO7KHGLIIHUHQFHEHWZHHQWKHWZRLVRIGHJUHHQRWRINLQG´
x )RU'DWRQJ-XTLDQJLQUHVSRQVHWR&RPPHUFH¶VLQVWUXFWLRQDVNLQJ'DWRQJ-XTLDQJWRVWDWH
      WKHNFDODQGKHDWYDOXHWKHDVKFRQWHQWPRLVWXUHFRQWHQWXVHIXOKHDWYDOXHDQGDQ\RWKHU
      GHILQLQJFKDUDFWHULVWLFVRIWKHELWXPLQRXVFRDOLWSXUFKDVHGLQFOXGLQJDOLVWRIHDFKVKLSPHQW
      REWDLQHGE\YHQGRU'DWRQJ-XTLDQJRQO\SURYLGHGDWHVWUHSRUWIRURQHELWXPLQRXVFRDO
      YHQGRUZKLFKGRHVQRWGHVLJQDWHDXVHIXOKHDWYDOXH'DWRQJ-XTLDQJIDLOHGWRSURYLGHWKH
      UHTXHVWHGLQIRUPDWLRQGHVSLWHKDYLQJUHSHDWHGWKRVHLQVWUXFWLRQVLQWKHKHDGLQJRILWV
      UHVSRQVH,QVWHDG'DWRQJ-XTLDQJFDOFXODWHGWKHKHDWYDOXHLQLWVEULHIXVLQJWKHDVKDQG
      PRLVWXUHFRQWHQWYDOXHV'DWRQJ-XTLDQJDOVRSURYLGHGDVZRUQLQGHFODUDWLRQE\LWVJHQHUDO
      PDQDJHUDWWHVWLQJWRWKHKHDWFRQWHQWYDOXHRIWKHELWXPLQRXVFRDOWKDW'DWRQJ-XTLDQJXVHG
      LQWKHSURGXFWLRQRIVXEMHFWPHUFKDQGLVH
x )RU'DWRQJ-XTLDQJ¶VVXSSOLHU'DWRQJ-XTLDQJFODLPHGWKDWWRWKHEHVWRILWVNQRZOHGJHWKH
      JURVVFDORULILFYDOXHRIWKHQRQFRNLQJELWXPLQRXVFRDOLWSXUFKDVHGLVORZHUWKDQ
      NFDONJ,QPDNLQJWKLVVWDWHPHQW'DWRQJ-XTLDQJSURYLGHGQRLQGLFDWLRQWKDWWKLVFODLP
      SHUWDLQHGWRELWXPLQRXVFRDOGLUHFWPDWHULDOVDVRSSRVHGWRHQHUJ\FRDOFRQVXPHG,QVWHDG
      RISURYLGLQJ&RPPHUFHZLWKDWHVWUHSRUWIRUELWXPLQRXVFRDOWKDWWKH\XVHGLQWKH
      SURGXFWLRQRIVXEMHFWPHUFKDQGLVH'DWRQJ-XTLDQJ¶VVXSSOLHUSURYLGHGDSXUFKDVHFRQWUDFW
      WKDWFRYHUVELWXPLQRXVFRDODQGRWKHULQSXWVDQGSURYLGHGDVZRUQLQGHFODUDWLRQE\LWV
      JHQHUDOPDQDJHUDWWHVWLQJWRWKHKHDWFRQWHQWYDOXHRIWKHELWXPLQRXVFRDOWKDW'DWRQJ
      -XTLDQJ¶VVXSSOLHUXVHGLQWKHSURGXFWLRQRIVXEMHFWPHUFKDQGLVHGXULQJWKH325
x 7KH0DOD\VLDQLPSRUWYDOXHXQGHU+6VXEKHDGLQJ i.e.86'07 LVQRW
      DEHUUDWLRQDOHYHQZKHQFRPSDUHGWRLPSRUWYDOXHVXQGHU+6VXEKHDGLQJIURPRWKHU
      23/LVWFRXQWULHV SHUFHQWKLJKHUWKDQWKH325DYHUDJH i.e.86'07 RUZKHQ
      FRPSDUHGWRKLVWRULFDOEHQFKPDUNLQJGDWDRQWKHUHFRUGRIWKLVVHJPHQW SHUFHQWKLJKHU
      WKDQWKHDYHUDJHYDOXHRIWKH69VXVHGWRYDOXHELWXPLQRXVFRDOIURPSUHYLRXV325V
      LQFOXGLQJWKLV325 i.e.86'07 
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      FRDOLWVKRXOGUHO\RQ%UD]LOLDQLPSRUWVXQGHUEHFDXVH%UD]LOLDQLPSRUWYROXPH
      H[FHHGVWKHFRPELQHGLPSRUWYROXPHRIDOOILYHRWKHU23/LVWFRXQWULHV
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    Id. FLWLQJWR5HVSRQGHQWV¶0D\3UH3UHOLPLQDU\5HVXOWV&RPPHQWVDW 
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    Id. FLWLQJWR&DUERQ$FWLYDWHG¶V)HE6XSS'45DW 
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    Id. FLWLQJWR'DWRQJ-XTLDQJ¶V/HWWHU³'-$&6XSSOHPHQWDO6HFWLRQ'UHVSRQVH´GDWHG)HEUXDU\
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&RPPHUFH¶V3RVLWLRQ:HGLVDJUHHZLWKWKHPDQGDWRU\UHVSRQGHQWVWKDWZHVKRXOGXVH+6
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PHUFKDQGLVHDQGZHGLVDJUHHZLWKWKHSHWLWLRQHUVWKDWZHVKRXOGFRQWLQXHWRUHO\RQ0DOD\VLDQ
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DFFRUGDQFHZLWKVHFWLRQ F  RIWKH$FWLVWRVHOHFWWRWKHH[WHQWSUDFWLFDEOH69VZKLFK
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RIWKHSDUWLFXODUIDFWVRIHDFKLQGXVWU\:KLOHWKHUHLVQRKLHUDUFK\IRUDSSO\LQJWKH69
VHOHFWLRQFULWHULD³^&RPPHUFH`PXVWZHLJKDYDLODEOHLQIRUPDWLRQZLWKUHVSHFWWRHDFKLQSXW
YDOXHDQGPDNHDSURGXFWVSHFLILFDQGFDVHVSHFLILFGHFLVLRQDVWRZKDWWKHµEHVW¶^69`LVIRU
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VHFRQGDU\VXUURJDWHFRXQWU\LIGDWDIURPWKHSULPDU\VXUURJDWHFRXQWU\DUHXQDYDLODEOHRU
XQUHOLDEOH´

,QWKLVFDVHZHVHOHFWHG0DOD\VLDDVRXUSULPDU\VXUURJDWHFRXQWU\DVGLVFXVVHGDERYHDQGIRU
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VXUURJDWHYDOXHGDWDIRUWKLVUHYLHZLVWRXWLOL]HSXEOLFO\DYDLODEOHSULFHVZLWKLQ0DOD\VLD

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    Seee.gFirst Administrative Review of Certain Polyester Staple Fiber from the People’s Republic of China:
Final Results of Antidumping Duty Administrative Review)5 -DQXDU\  PSF 2010 DQG
DFFRPSDQ\LQJ,'0DW&RPPHQW
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   See Glycine from the People’s Republic of China: Notice of Final Results of Antidumping Duty Administrative
Review)5 $XJXVW  Glycine from China DQGDFFRPSDQ\LQJ,'0 DW&RPPHQW
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   See, e.g. Polyethylene Terephthalate Film, Sheet, and Strip from the People’s Republic of China: Final
Determination of Sales at Less Than Fair Value)5 6HSWHPEHU  PET Film 2008 DQG
DFFRPSDQ\LQJ,'0DW&RPPHQWsee also Freshwater Crawfish Tail Meat from the People’s Republic of China;
Notice of Final Results of Antidumping Duty Administrative Review, and Final Partial Rescission of Antidumping
Duty Administrative Review)5 $SULO  Crawfish from China DQGDFFRPSDQ\LQJ,'0
DW&RPPHQW
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Administrative Review)5 6HSWHPEHU DQGDFFRPSDQ\LQJ,'0DW&RPPHQW,
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   See 0HPRUDQGXP³(OHYHQWK$GPLQLVWUDWLYH5HYLHZRI&HUWDLQ$FWLYDWHG&DUERQIURPWKH3HRSOH¶V5HSXEOLFRI
&KLQD6XUURJDWH9DOXHVIRUWKH3UHOLPLQDU\5HVXOWV´GDWHG-XQH 3UHOLPLQDU\690HPR DW$WWDFKPHQW
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QRLQIRUPDWLRQRQWKHUHFRUGWKDWVXSSRUWVWKHPDQGDWRU\UHVSRQGHQWV¶DVVHUWLRQWKDW+6
LVWKHPRUHDSSURSULDWH+6VXEKHDGLQJWRYDOXHWKHELWXPLQRXVFRDOLQSXWXVHGE\WKHPDQGDWRU\
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KDYLQJDYRODWLOHPDWWHUOLPLW RQDGU\PLQHUDOPDWWHUIUHHEDVLV H[FHHGLQJSHUFHQWDQGD
FDORULILFYDOXHOLPLW RQDPRLVWPLQHUDOPDWWHUIUHHEDVLV HTXDOWRRUJUHDWHUWKDQ
NFDONJ&RQVHTXHQWO\DFFRUGLQJWRWKHPDQGDWRU\UHVSRQGHQWVDOORWKHUELWXPLQRXVFRDOZKLFK
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KHDWVRXUFHLQWKHSURGXFWLRQRIVWHDPDVDUDZPDWHULDOLQSXWZKLFKZRXOGEHFDWHJRUL]HGDV
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   See 5HVSRQGHQWV¶&DVH%ULHIDW
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    See Certain Steel Threaded Rod from the People’s Republic of China: Final Results of Antidumping Duty
Administrative Review; 2013-2014)5 1RYHPEHU DQGDFFRPSDQ\LQJ,'0DW&RPPHQW
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   See Carbazole Violet Pigment 23 from the People’s Republic of China: Final Results of Antidumping Duty
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    See, e.g.Multilayered Wood Flooring from the People’s Republic of China: Final Results of Antidumping Duty
Administrative Review)5 0D\ DQGDFFRPSDQ\LQJ,'0DW&RPPHQW ³0HUHO\EHLQJDWWKH
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YROXPH i.e.07 DFFRXQWLQJIRUSHUFHQWRIWKHWRWDOLPSRUWTXDQWLW\ i.e.
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YDOXHDVQRWHGDERYH&RPPHUFHSUHIHUVWRKDYHKLVWRULFDOGDWDRQWKHUHFRUGZLWKZKLFKWR
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DOWKRXJKDSUHSRQGHUDQWSURSRUWLRQRILPSRUWV NJRXWRINJi.e.SHUFHQWRI
WRWDOLPSRUWV LQWR0DOD\VLDXQGHU+6UHSRUWHGO\RULJLQDWHGLQWKH3KLOLSSLQHVVXFK
LPSRUWVZHUHRQO\UHFRUGHGLQRQHPRQWK)XUWKHUWKHPDQGDWRU\UHVSRQGHQWVSURYLGHDOHWWHU
IURPWKH3KLOLSSLQHV6WDWLVWLFV'HSDUWPHQWDOOHJHGO\GHPRQVWUDWLQJWKDWWKHUHZHUHQRH[SRUWVRI
FRDOWR0DOD\VLDIURPWKH3KLOLSSLQHVGXULQJWKH325,WLV&RPPHUFH¶VSUDFWLFHQRWWRUHO\RQ
FRXQWU\VSHFLILFH[SRUWGDWDWRFKDOOHQJHWKHYDOLGLW\RIFRXQWU\VSHFLILFLPSRUWGDWDEHFDXVH
WKHVHGDWDDUHQRWDVXLWDEOHEHQFKPDUNWRWHVWWKHYDOLGLW\RIVHOHFWHG69GDWD*LYHQGLIIHUHQW
UHSRUWLQJDQGLQVSHFWLRQUHTXLUHPHQWVDQGWLPLQJFRQVLGHUDWLRQVLWLVXQUHDOLVWLFWRH[SHFWH[SRUW
LQIRUPDWLRQWRFRUUHVSRQGRQHWRRQHZLWKLPSRUWVWDWLVWLFVIRUDQ\JLYHQVKLSPHQWRI
PHUFKDQGLVH7KHUHIRUH&RPPHUFHGRHVQRWH[SHFWRQHFRXQWU\¶VH[SRUWTXDQWLWLHVWREHDRQH
WRRQHLGHQWLFDOPDWFKWRDQRWKHUFRXQWU\¶VLPSRUWGDWD$VVXFKZHILQGWKDWH[SRUWGDWDIURP
WKH3KLOLSSLQHVDUHQRWUHOLDEOHIRUSXUSRVHVRIHYDOXDWLQJWKHOHJLWLPDF\RIWKHFRUUHVSRQGLQJ
LPSRUWYROXPHVLQWR0DOD\VLD:HDOVRGLGQRWIXUWKHUHYDOXDWHWKHYLDELOLW\RIWKHPDQGDWRU\
UHVSRQGHQWV¶DVVHUWLRQWKDWWKH0DOD\VLDQGRPHVWLFPDUNHWSULFHGDWDIRUELWXPLQRXVFRDOIRUWKH
325REWDLQHGIURPWKH0DOD\VLDQ(QHUJ\&RPPLVVLRQGHPRQVWUDWHVWKDWWKH0DOD\VLDQLPSRUW

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   See Pure Magnesium from the People’s Republic of China: Final Results of Antidumping Duty Administrative
Review; 2011–2012)5 -DQXDU\ DQGDFFRPSDQ\LQJ,'0DW&RPPHQW
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   Id.see also Certain Activated Carbon from the People’s Republic of China: Final Results of Antidumping Duty
Administrative Review; 2016-2017 )5 2FWREHU DQGDFFRPSDQ\LQJ,'0DW&RPPHQW
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   See5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW%
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    See5HVSRQGHQWV¶&DVH%ULHI DW FLWLQJ5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW% 
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   Id.
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   SeePolyethylene Terephthalate Film, Sheet, and Strip from the People’s Republic of China: Final Results of
Antidumping Duty Administrative Review; 2011-2012)5 -XO\ DQGDFFRPSDQ\LQJ,'0DW,VVXH
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   See First Administrative Review of Certain Activated Carbon from the People’s Republic of China: Final Results
of Antidumping Duty Administrative Review)5 1RYHPEHU  DQGDFFRPSDQ\LQJ,'0DW
&RPPHQWI ³7KH'HSDUWPHQWGRHVQRWH[SHFWRQHFRXQWU\¶VH[SRUWTXDQWLWLHVWREHDRQHWRRQHUDWLRWRDQRWKHU
FRXQWU\¶VLPSRUWGDWD´ 
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   SeeCrystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into Modules, From the People’s Republic
of China: Final Results of Antidumping Duty Administrative Review and Final Determination of No Shipments;
2014-2015)5 -XQH DQGDFFRPSDQ\LQJ,'0DW&RPPHQW
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GDWDXQGHU+6DUHDEHUUDWLRQDOEHFDXVHWKHVHSULFHGDWDDUHH[SUHVVHGLQXQLWVRI
HQHUJ\ i.e.5LQJJLWSHURQHPLOOLRQ%ULWLVKWKHUPDOXQLW 00%78 DQGWKHUHLVQRWVXIILFLHQW
UHFRUGHYLGHQFHWRVXSSRUWWKHFRQYHUVLRQIDFWRUXVHGE\WKHPDQGDWRU\UHVSRQGHQWV i.e.
00%78NJ WRFRQYHUWWKHUHSRUWHG5LQJJLWSHUHQHUJ\XQLWYDOXHV
  5LQJJLW00%78 LQWR86'07YDOXHV,QWKHLU69VXEPLVVLRQWKHPDQGDWRU\UHVSRQGHQWV
GHPRQVWUDWHGKRZWKH\FDOFXODWHGWKHFRQYHUVLRQIDFWRUXVHGWRFRQYHUWWKHUHSRUWHG
5LQJJLW00%78YDOXHVLQWR86'07YDOXHV i.e.00%78NJ +RZHYHUWKLV
FRQYHUVLRQIDFWRUZDVFDOFXODWHGEDVHGRQWKHDVVXPSWLRQWKDWWKH0DOD\VLDQGRPHVWLF
ELWXPLQRXVFRDOKDVDFDORULILFYDOXHRINFDONJ%HFDXVHWKHUHLVQRUHFRUGHYLGHQFH
VXSSRUWLQJWKDWDVVXPSWLRQZHGLGQRWIXUWKHUHYDOXDWHWKLVDVVHUWLRQ
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$VQRWHGDERYHLWLV&RPPHUFH¶VSUHIHUHQFHWRYDOXHDOO)23VXWLOL]LQJGDWDIURPWKHSULPDU\
VXUURJDWHFRXQWU\DQGWRFRQVLGHUDOWHUQDWLYHVRXUFHVRQO\ZKHQDVXLWDEOHYDOXHIURPWKH
SULPDU\VXUURJDWHFRXQWU\GRHVQRWH[LVWRQWKHUHFRUG8SRQUHFRQVLGHUDWLRQIRUWKHILQDO
UHVXOWVZHILQGWKDWWKHUHFRUGGRHVQRWFRQWDLQDVXLWDEOHELWXPLQRXVFRDOYDOXHIURPWKH
SULPDU\VXUURJDWHFRXQWU\0DOD\VLD%RWKSDUWLHVDUJXHGWKDWLQWKHDOWHUQDWLYH&RPPHUFH
VKRXOGXVH%UD]LOLDQLPSRUWVXQGHUEHFDXVH%UD]LOLDQLPSRUWYROXPHH[FHHGVWKH
FRPELQHGLPSRUWYROXPHRIDOOILYHRWKHU23/LVWFRXQWULHV$VGLVFXVVHGDERYH&RPPHUFH
JHQHUDOO\VHHNVWRPLQLPL]HWKHQXPEHURIFRXQWULHVWKDWLWUHOLHVRQIRUVXUURJDWHYDOXHGDWD
%HFDXVHWKHRQO\XVDEOHILQDQFLDOVWDWHPHQWVRQWKHUHFRUGIRUWKHFDOFXODWLRQRIILQDQFLDOUDWLRV
FRPHIURP5RPFDUERQD5RPDQLDQFRPSDQ\&RPPHUFHLVDOUHDG\UHO\LQJRQDVHFRQGDU\
VRXUFHIRUVXUURJDWHYDOXHV7KHUHIRUHZHGHFOLQHWRUHO\RQDWKLUGFRXQWU\DQGIRUWKHILQDO
UHVXOWVZHKDYHYDOXHGWKHELWXPLQRXVFRDOLQSXWXVLQJWKH5RPDQLDQLPSRUWGDWDXQGHU+6
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&RPPHQW &RDO7DU6XUURJDWH9DOXH
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Respondents’ Comments:
x ,QWKHPreliminary Results&RPPHUFHYDOXHG&DUERQ$FWLYDWHG¶VFRDOWDUSLWFKLQSXWEDVHG
    RQLPSRUWGDWDUHSRUWHGXQGHU+6 ³3LWFKIURPFRDODQGRWKHUPLQHUDOWDUV´ +6
    FRYHUVSHUFHQWSXUHSLWFKGLVWLOOHGLQDWDUZRUNVKRSIURPFRDORURWKHUPLQHUDO
    WDUV&DUERQ$FWLYDWHG¶V³&RDO7DU3LWFK´LQSXWLVV\QRQ\PRXVZLWK³&RDO7DU´LQSXW
     XWLOL]HGE\'DWRQJ-XTLDQJ DQGWKHUHIRUHPHULWVFODVVLILFDWLRQLQWKHVDPHKHDGLQJDVFRDO
    WDUi.e.+6VXEKHDGLQJ ³7DUGLVWLOOHGIURPFRDOIURPOLJQLWHRUIURPSHDW´ LQVWHDG


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   Id. FLWLQJ5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW. 
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   See 5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW.
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   SeeCertain Frozen Warmwater Shrimp from the Socialist Republic of Vietnam: Final Results of Antidumping
Duty Administrative Review, 2016-2017)5 6HSWHPEHU DQGDFFRPSDQ\LQJ,'0DW&RPPHQW
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   See)LQDO690HPRUDQGXPDW$WWDFKPHQW
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&RPPHUFHLQFOXGHGWKH+6VXEKHDGLQJVIRUERWK+6&RGH &RDO7DU DQG+6 &RDO7DU3LWFK LQ
WKH3UHOLPLQDU\690HPRIRUWKHPreliminary ResultsRQO\+6&RGHZDVXVHGWRYDOXHFRDOWDUSLWFKIRU
ERWK'DWRQJ-XTLDQJDQG&DUERQ$FWLYDWHGSee 3UHOLPLQDU\690HPRDW$WWDFKPHQWsee alsoIRRWQRWH
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     RI ³3LWFKIURP&RDODQG2WKHU0LQHUDO7DUV´ ZKLFKLVD+6VXEKHDGLQJIRUSXUH
     SLWFK
x   5HFRUGHYLGHQFHGHPRQVWUDWHVWKDW&DUERQ$FWLYDWHG¶VVXSSOLHUVXWLOL]HGFRDOWDUSLWFK
     VLPLODUWR'DWRQJ-XTLDQJ¶VFRDOWDU:KLOHSLWFKLVWKHVLQJOHPRVWSUHGRPLQDQWFRQVWLWXHQW
     RIFRDOWDU a.k.a.FRDOWDUSLWFK LWLVQRWLGHQWLFDOWRFRDOWDUZKLFKLVFRPSULVHGRIVHYHUDO
     RWKHUFRQVWLWXHQWV3LWFKLVGHULYHGIURPFRDOWDURUFRDOWDUSLWFKWKURXJKDVHULHVRI
     SURGXFWLRQVWHSV,QRWKHUZRUGVSLWFKLVDYDOXHDGGHGSURGXFWLQUHODWLRQWRFRDOWDURUFRDO
     WDUSLWFK$VVXFK&RPPHUFHLPSHUPLVVLEO\FRQIODWHGWZRGLIIHUHQWLQSXWV´FRDOWDUSLWFK´
     DQG³SLWFK´LQWKHSUHOLPLQDU\UHVXOWV7KHUHIRUH&RPPHUFHVKRXOGYDOXH&DUERQ
     $FWLYDWHG¶V³FRDOWDUSLWFK´LQSXWXVLQJ+6
x   7KH0DOD\VLDQVXUURJDWHYDOXHRIFRDOWDU RUFRDOWDUSLWFK EDVHGRQLPSRUWGDWDLQ+6
     SUHOLPLQDULO\XVHGWRYDOXHFRDOWDULQSXWLVDQRPDORXVVLQFHLWLVKLJKHU DWDQ
     $89RI86'07 WKDQWKHDYHUDJHSULFHRIYDOXHGDGGHGSURGXFWSLWFKUHSRUWHGLQ
     0DOD\VLDQ+6 i.e.$89RI86'07 7KLVIDFWHVWDEOLVKHVWKDWWKH
     0DOD\VLDQ+6LPSRUWGDWDIRUFRDOWDULVGLVWRUWHGE\WKHLQFOXVLRQRIQRQVXEMHFW
     JRRGVDQGWKHUHIRUHDQRPDORXVDQGXQUHOLDEOH
x   &RDOWDUDQGFRDOWDUSLWFKDUHRQHDQGWKHVDPHDQGERWKDUHFRYHUHGXQGHU+6
     6LQFHWKH0DOD\VLDQLPSRUWGDWDXQGHU+6VXEKHDGLQJ 86'07 LV
     XQUHOLDEOH&RPPHUFHFDQQRWDSSO\WKHUHVXOWLQJ$89WRYDOXHFRDOWDUDQGFRDOWDUSLWFK
     7KLVSURYLGHVDQDGGLWLRQDOUDWLRQDOHWRUHMHFW0DOD\VLDDVDSULPDU\VXUURJDWHFRXQWU\
x   7KHUHFRUGDIIRUGVDQDOWHUQDWLYHVXSHULRU69IRUFRDOWDUFRDOWDUSLWFK,WLV&RPPHUFH¶V
     ZHOOHVWDEOLVKHGSUDFWLFHWRYDOXHDQLQSXWE\VHOHFWLQJD69EDVHGRQWKHODUJHVWTXDQWLW\RI
     LPSRUWV$PRQJWKH23/LVWFRXQWULHV5XVVLDUHSRUWHGWKHODUJHVWTXDQWLW\RILPSRUWVXQGHU
     +6VXEKHDGLQJ$VVXFKWKH5XVVLDQLPSRUWGDWDXQGHU+6 
     86'07 LVUHSUHVHQWDWLYHRIWKHEURDGHVWPDUNHWDYHUDJHDQGDIIRUGVWKHPRVWUHOLDEOH69
     5RPDQLDGLGQRWKDYHDQ\LPSRUWVXQGHU+6GXULQJWKH325
x   7KHFKRLFHRI5XVVLDQGDWDXQGHU+6LVIXUWKHUVXSSRUWHGE\WKHIDFWWKDWWKH
     5XVVLDQLPSRUWGDWDIRUSLWFKUHSRUWHGXQGHU+6 86'07 ZKLFKLVDKLJKHU
     YDOXHSURGXFWWKDQFRDOWDULVKLJKHUWKDQWKH5XVVLDQLPSRUWGDWDIRUFRDOWDUXQGHU+6
      86'07 
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Petitioners’ Rebuttal Comments:
x ,QWKHPreliminary Results&RPPHUFHYDOXHG³FRDOWDUSLWFK´LQSXWXVLQJWKH0DOD\VLDQ
    LPSRUWYDOXHIRUPHUFKDQGLVHFODVVLILHGXQGHU+6VXEKHDGLQJ³3LWFKIURP&RDODQG
    2WKHU0LQHUDO7DUV´DQGLWYDOXHG³FRDOWDU´XVLQJWKH0DOD\VLDQLPSRUWYDOXHXQGHU+6
    ³7DUGLVWLOOHGIURPFRDOIURPOLJQLWHRUIURPSHDW´
x 7KHPDQGDWRU\UHVSRQGHQWVDUHZURQJWKDW³FRDOWDUSLWFK´DQG³FRDOWDU´DUHV\QRQ\PRXV
    DQGVKRXOGEHYDOXHGXVLQJ+67RWKHFRQWUDU\&RPPHUFHFRUUHFWO\OLVWHG³&RDO
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      7DU3LWFK´DVWKHLQSXWUHSRUWHGE\WKHPDQGDWRU\UHVSRQGHQWVDQGXVHGWKHLPSRUWYDOXH
      XQGHU+6VXEKHDGLQJDVWKHDSSURSULDWH69
x    )RUWKRVHSURGXFHUVXSSOLHUVWKDWXVHGELQGHUPDWHULDOVERWK'DWRQJ-XTLDQJDQG&DUERQ
      $FWLYDWHGUHSRUWHGWKHLQSXWDV³FRDOWDUSLWFK´1HLWKHUUHVSRQGHQWVUHSRUWHGXVLQJ³FRDO
      WDU´DVDQLQSXW
x    &DUERQ$FWLYDWHGDOVRPDGHDFRQWUDGLFWRU\VWDWHPHQWLQLWVTXHVWLRQQDLUHUHVSRQVHVE\
      VWDWLQJWKDW³WKLVFRDOWDUSLWFKLVFRPPRQO\NQRZQDVµSLWFK¶LQWKHLQGXVWU\ZKLFKLVVROLGDW
      QRUPDOWHPSHUDWXUHV´7KXV&DUERQ$FWLYDWHGFRQFHGHGGXULQJWKHTXHVWLRQQDLUHSKDVH
      RIWKLVVHJPHQWWKDW³FRDOWDUSLWFK´LVDFWXDOO\³SLWFK´DQGQRW³FRDOWDU´
x    &RDOWDULVWKHE\SURGXFWRIWKHFRNHSURGXFWLRQSURFHVV,QFRQWUDVWFRDOWDUSLWFKLVD
      GRZQVWUHDPSURGXFWWKDWLVPDQXIDFWXUHGE\IXUWKHUGLVWLOOLQJFRDOWDU:KHWKHULWLVFDOOHG
      ³SLWFK´RU³FRDOWDUSLWFK´WKHELQGLQJPDWHULDOLGHQWLILHGE\&DUERQ$FWLYDWHGLVQRWDE\
      SURGXFWRIFRNH
x    7KHSHWLWLRQHUVDOVRSODFHGRQWKHUHFRUGDGHFODUDWLRQH[HFXWHGE\DGRPHVWLFLQGXVWU\
      RIILFLDOVWDWLQJWKDWWKH86LQGXVWU\FRQVXPHVFRDOWDUSLWFKDVWKHSULPDU\LQSXWIRULWVUH
      DJJORPHUDWLRQELQGHUDQGWKDWWRWKHEHVWRIKLVNQRZOHGJHFRDOWDUSLWFKLVSURSHUO\
      FODVVLILHGXQGHU+6VXEKHDGLQJ7KLVIXUWKHUGHPRQVWUDWHVWKDW³FRDOWDUSLWFK´LV
      ³SLWFK´VXFKWKDWYDOXDWLRQVXQGHU+6VXEKHDGLQJDUHDSSURSULDWH
x    &RPPHUFHVKRXOGDOVRUHMHFWWKHPDQGDWRU\UHVSRQGHQWV¶DUJXPHQWWKDW&RPPHUFHVKRXOG
      UHO\RQWKH5XVVLDQLPSRUWYDOXHXQGHU+6EHFDXVHDVVWDWHGDERYHWKHPDQGDWRU\
      UHVSRQGHQWVGLGQRWUHSRUWFRQVXPSWLRQRI³FRDOWDU´EXWLQVWHDGUHSRUWHGWKHXVHRI³FRDOWDU
      SLWFK´7KHUHIRUHDQ\DUJXPHQWVDERXWWKH0DOD\VLDQLPSRUWYDOXHXQGHU+6VXEKHDGLQJ
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&RPPHUFH¶V3RVLWLRQ,QWKHPreliminary ResultsZHYDOXHGWKHFRDOWDUSLWFKLQSXWXVLQJ*7$
0DOD\VLDQLPSRUWGDWDXQGHU+6+RZHYHUZHGLVDJUHHZLWKWKHUHVSRQGHQWVWKDWZH
VKRXOGFRQWLQXHWRUHO\RQLPSRUWGDWDXQGHU+6WRYDOXHFRDOWDULQWKHILQDO
UHVXOWV.)RUWKHUHDVRQVH[SODLQHGEHORZZHGHWHUPLQHWKDWLWLVPRUHDSSURSULDWHWRXVH
0DOD\VLDQLPSRUWGDWDXQGHU+6WRYDOXHFRDOWDUSLWFKXVHGE\WKHPDQGDWRU\
UHVSRQGHQWVIRUWKHILQDOUHVXOWV

&RPPHUFH¶VSUDFWLFHZKHQVHOHFWLQJWKHEHVWDYDLODEOHLQIRUPDWLRQIRUYDOXLQJ)23VLQ
DFFRUGDQFHZLWKVHFWLRQ F  RIWKH$FWLVWRVHOHFWWRWKHH[WHQWSUDFWLFDEOH69VZKLFK

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VXEKHDGLQJVIRUERWK+6&RGH &RDO7DU DQG+6 &RDO7DU3LWFK +RZHYHUIRUWKHPreliminary
ResultsRQO\+6&RGHZDVXVHGWRYDOXHFRDOWDUSLWFKIRUERWK'DWRQJ-XTLDQJDQG&DUERQ$FWLYDWHGSee
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    7KHUHVSRQGHQWVDSSHDUWRKDYHXVHGWKHWHUPV³FRDOWDU´DQG³FRDOWDUSLWFK´LQWHUFKDQJHDEO\WKURXJKRXWWKHLU
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    :KLOHWKHUHVSRQGHQWVDUJXHWKDW&RPPHUFHVKRXOGXVH+6VXEKHDGLQJ ³7DUGLVWLOOHGIURPFRDOIURP
OLJQLWHRUIURPSHDW´ LQVWHDGRI ³3LWFKIURP&RDODQG2WKHU0LQHUDO7DUV´ WRYDOXH&DUERQ$FWLYDWHG¶V
³FRDOWDUSLWFK´LQSXWDVQRWHGDERYHLQWKHPreliminary Results&RPPHUFHDFWXDOO\XVHG+6VXEKHDGLQJ
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DUHSURGXFWVSHFLILFUHSUHVHQWDWLYHRIDEURDGPDUNHWDYHUDJHSXEOLFO\DYDLODEOH
FRQWHPSRUDQHRXVZLWKWKH325DQGWD[DQGGXW\H[FOXVLYH&RPPHUFHXQGHUWDNHVLWV
DQDO\VLVRIYDOXLQJWKH)23VRQDFDVHE\FDVHEDVLVFDUHIXOO\FRQVLGHULQJWKHDYDLODEOH
HYLGHQFHLQOLJKWRIWKHSDUWLFXODUIDFWVRIHDFKLQGXVWU\:KLOHWKHUHLVQRKLHUDUFK\IRU
DSSO\LQJWKH69VHOHFWLRQFULWHULD³^&RPPHUFH`PXVWZHLJKDYDLODEOHLQIRUPDWLRQZLWKUHVSHFW
WRHDFKLQSXWYDOXHDQGPDNHDSURGXFWVSHFLILFDQGFDVHVSHFLILFGHFLVLRQDVWRZKDWWKHµEHVW¶
69LVIRUHDFKLQSXW´
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&DUERQ$FWLYDWHGVWDWHGLQLWVUHVSRQVHWKDWWKHFRDOWDUSLWFKWKDWLWVVXSSOLHUXVHGWRSURGXFHWKH
VXEMHFWPHUFKDQGLVHGXULQJWKH325³LVFRPPRQO\NQRZQDVµSLWFK¶LQWKHLQGXVWU\ZKLFKLV
VROLGDWQRUPDOWHPSHUDWXUHV´$GGLWLRQDOO\IRUWKRVHSURGXFHUVXSSOLHUVWKDWXVHGELQGHU
PDWHULDOVERWK'DWRQJ-XTLDQJDQG&DUERQ$FWLYDWHGUHSRUWHGWKHLQSXWDV³FRDOWDUSLWFK´QRW
³FRDOWDU´$OVRUHFRUGHYLGHQFHLQGLFDWHVWKDWFRDOWDUWKURXJKWKHIUDFWLRQDWHGGLVWLOODWLRQ
SURFHVV\LHOGVWZRGLIIHUHQWW\SHVRIFRDOWDUSLWFKELQGHUDQGLPSUHJQDWLQJJUDGH7KHUHLV
QRLQIRUPDWLRQRQWKHUHFRUGWKDWVXEVWDQWLDWHVWKHPDQGDWRU\UHVSRQGHQWV¶DVVHUWLRQWKDW+6
FRYHUVSHUFHQWSXUHSLWFKGLVWLOOHGLQDWDUZRUNVKRS7KHUHIRUHXSRQ
UHFRQVLGHUDWLRQIRUWKHVH ILQDOUHVXOWVZHILQGWKDWLPSRUWVXQGHUWKHVXEKHDGLQJ+6GR
QRWUHSUHVHQWWKHEHVWDYDLODEOHLQIRUPDWLRQIRUYDOXLQJFRDOWDUEHFDXVHWKHUHFRUGHYLGHQFH
VXSSRUWVDFRQFOXVLRQWKDW+6FRYHUVFRDOWDUZKLFKLVDE\SURGXFWRIWKHFRNH
SURGXFWLRQSURFHVVZKHUHDV+6FRYHUVSLWFKDSURGXFWRIWKHFRDOWDUGLVWLOODWLRQ
SURFHVV$FFRUGLQJO\WKHPDQGDWRU\UHVSRQGHQWV¶DUJXPHQWWKDWWKH0DOD\VLDQ69XQGHU+6
LVDQRPDORXVEHFDXVHLWLVKLJKHUWKDQWKH0DOD\VLDQ$89XQGHU+6 i.e.WKH
PRUHYDOXHDGGHGSURGXFW LVPRRWEHFDXVHZHDUHQRWXVLQJ+6WRYDOXHWKH
UHVSRQGHQW¶VFRDOWDUSLWFKLQSXWIRUWKHILQDOUHVXOWV
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FRQVWLWXWHWKHEHVWDYDLODEOHLQIRUPDWLRQRQWKHUHFRUGWRYDOXHWKHFRDOWDUSLWFKXVHGE\WKH
PDQGDWRU\UHVSRQGHQWVLQWKHSURGXFWLRQRIWKHVXEMHFWPHUFKDQGLVHEHFDXVH+6LV
SURGXFWVSHFLILFLQWKDWLWLVDSURYLVLRQIRU³3LWFKIURP&RDODQG2WKHU0LQHUDO7DUV´
$FFRUGLQJO\IRUWKHILQDOUHVXOWVZHKDYHYDOXHGWKHFRDOWDUSLWFKXVHGE\ERWKRIWKH
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     Seee.gPSF 2010,'0DW&RPPHQW
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    See Glycine from China,'0 DW&RPPHQW
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    See, e.g. PET Film 2008,'0DW&RPPHQWsee also Crawfish from China,'0DW&RPPHQW
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    See &DUERQ$FWLYDWHG¶V/HWWHU³&DUERQ$FWLYDWHG5HVSRQVHWR6HFWLRQ'3DUWV,,DQG,,,)LUVW6XSSOHPHQWDO
4XHVWLRQQDLUH´GDWHG0DUFKDW
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    See&DUERQ$FWLYDWHG¶V/HWWHU³&DUERQ$FWLYDWHG5HVSRQVHWR6HFWLRQ'4XHVWLRQQDLUH 3DUW,, ´GDWHG2FWREHU
DW$WWDFKPHQW$ SDJHDQG([KLELW' DQG$WWDFKPHQW% SDJHDQG([KLELW' &DUERQ
$FWLYDWHG¶V/HWWHU³&DUERQ$FWLYDWHG5HVSRQVHWR6HFWLRQ'3DUW,6HFRQG6XSSOHPHQWDO4XHVWLRQQDLUH´GDWHG
0DUFK &DUERQ$FWLYDWHG¶V0DUFK6XSS'45 DW([KLELW6'&DUERQ$FWLYDWHG¶V/HWWHU³&DUERQ
$FWLYDWHG5HVSRQVHWR6HFWLRQ'6XSSOHPHQWDO4XHVWLRQQDLUH´GDWHG0D\DW([KLELW6'see also
'DWRQJ-XTLDQJ¶V/HWWHU³'-$&6HFWLRQ'4XHVWLRQQDLUH5HVSRQVH´GDWHG6HSWHPEHUDWDQG([KLELWV'
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    See5HVSRQGHQWV¶1RYHPEHU6XUURJDWH9DOXH6XEPLVVLRQDW([KLELW(
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&RPPHQW&DOFXODWLRQRI6XUURJDWH)LQDQFLDO5DWLRV
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Respondents’ Comments
x ,QWKHPreliminary Results&RPPHUFHXWLOL]HGWKH5RPFDUERQILQDQFLDOVWDWHPHQWVWR
   YDOXHWKHILQDQFLDOUDWLRV&RPPHUFH¶VSUHOLPLQDU\DOORFDWLRQVRIFHUWDLQLQFRPHDQG
   H[SHQVHOLQHLWHPVXQGHUFHUWDLQDFFRXQWLQJFDWHJRULHVDUHFRQWUDGLFWHGE\VXEVWDQWLDOUHFRUG
   HYLGHQFHDQGDUHRWKHUZLVHQRWLQDFFRUGDQFHZLWKODZ
x &RPPHUFHLPSURSHUO\H[FOXGHGWKH³1RWH,QFRPHIURP3HQDOWLHV´OLQHLWHPIURPWKH
   ILQDQFLDOUDWLRFDOFXODWLRQVZLWKRXWSURIIHULQJDQ\UDWLRQDOH)RUWKHILQDOUHVXOWV&RPPHUFH
   VKRXOGLQFOXGHWKHLQFRPHIURPSHQDOWLHVFKDUJHGLQWKHUDWLRFDOFXODWLRQWRRIIVHWVDOHV
   JHQHUDODQGDGPLQLVWUDWLYHH[SHQVHV 6* $ EHFDXVHLWFDQEHLQIHUUHGWKDW5RPFDUERQ¶V
   ³,QFRPHIURP3HQDOWLHV´DUHUHODWHGWRDQGDFFUXHLQWKHFRXUVHRILWVJHQHUDORSHUDWLRQVDQG
   DUHUHFRUGHGXQGHU³2WKHU*DLQVDQG/RVVHV´7KLVLQIHUHQFHLVIXUWKHUVXSSRUWHGE\
   &RPPHUFH¶VVHWWOHGSUDFWLFHRIDOORFDWLQJH[SHQVHVRQSHQDOWLHVFKDUJHGXQGHUWKH
   DFFRXQWLQJFDWHJRU\RI6* $H[SHQVHV
x &RPPHUFHDOVRH[FOXGHG³1RWH*DLQ /RVV RQDGMXVWPHQWRILQYHVWPHQWSURSHUW\DWIDLU
   YDOXH´DQG³1RWH*DLQ /RVV RQGLVSRVDORILQYHVWPHQWSURSHUW\´OLQHLWHPVIURPWKH
   ILQDQFLDOUDWLRFDOFXODWLRQVZLWKRXWSURIIHULQJDQ\UDWLRQDOH+RZHYHUEHFDXVH5RPFDUERQ¶V
   JHQHUDOEXVLQHVVDFWLYLW\LVPDQXIDFWXULQJRIJRRGV³LQYHVWPHQWLQSURSHUW\´ZKLFKLVDQ
   HQWLUHO\GLIIHUHQWFDWHJRU\RIDFWLYLW\LVH[WULQVLFWR5RPFDUERQ¶VJHQHUDOEXVLQHVV
   RSHUDWLRQV7KHUHIRUHLQFRPHIURPVXFK³LQYHVWPHQWSURSHUW\´GLVWRUWV5RPFDUERQ¶V
   UHSRUWHG³SURILWEHIRUHWD[´$FFRUGLQJO\IRUWKHILQDOUHVXOWV&RPPHUFHVKRXOGLQFOXGH
   WKHVHOLQHLWHPVLQWKHFDOFXODWLRQRIWKHILQDQFLDOUDWLRVWRRIIVHW5RPFDUERQ¶VUHSRUWHG
   ³SURILWEHIRUHWD[´LQRUGHUWRREWDLQDQDGMXVWHGSURILWEHIRUHWD[WKDWDULVHVVROHO\IURPWKH
   FRPSDQ\¶VJHQHUDORSHUDWLRQV i.e.PDQXIDFWXULQJDFWLYLWLHV 
x &RPPHUFHDOVRH[FOXGHGWKH³1RWH±2WKHU*DLQV´OLQHLWHPIURPWKHUDWLRFDOFXODWLRQV
   ZLWKRXWSURIIHULQJDQ\UDWLRQDOH8QGHU&RPPHUFH¶VORQJVWDQGLQJDQGVHWWOHGSUDFWLFH
   ³2WKHUJDLQV´LQFRPHDFFUXHGIURPPLVFHOODQHRXVDFWLYLWLHVDUHWUHDWHGDVDSDUWRIWKH
   JHQHUDORSHUDWLRQVRIWKHFRPSDQ\XQOHVVWKHILQDQFLDOVWDWHPHQWH[SOLFLWO\LQGLFDWHV
   RWKHUZLVH7KHUHIRUHIRUWKHILQDOUHVXOWVWKH³RWKHUJDLQV´OLQHLWHPVKRXOGEHDSSOLHGWR
   RIIVHWWKH6* $H[SHQVHV
x &RPPHUFHLPSURSHUO\DOORFDWHG³1RWH6RFLDOFRQWULEXWLRQVDQG0HDOWLFNHWV´XQGHU
   6* $H[SHQVHV)RUWKHILQDOUHVXOWV&RPPHUFHVKRXOGUHDOORFDWHWKHVHWZROLQHLWHPV
   XQGHUODERU$V&RPPHUFH¶V19EXLOGXSDOUHDG\LQFOXGHVWKHFRVWRIHPSOR\HUV¶
   FRQWULEXWLRQWRVRFLDOVHFXULW\DQGPHDOH[SHQVHVE\DOORFDWLQJWKHVHWZROLQHLWHPVXQGHU
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Petitioners’ Rebuttal Comments:
x &RPPHUFHSURSHUO\FDOFXODWHGVXUURJDWHILQDQFLDOUDWLRVDV&RPPHUFH¶VSUHOLPLQDU\
    FDOFXODWLRQVRIILQDQFLDOUDWLRVZHUHLQOLQHZLWK&RPPHUFH¶VSULRUDGPLQLVWUDWLYHSUDFWLFH
x ,I&RPPHUFHZHUHWRDFFHSWWKHPDQGDWRU\UHVSRQGHQWV¶SURSRVHGPRGLILFDWLRQVWRWKH
    ILQDQFLDOUDWLRFDOFXODWLRQVLWZRXOGUHVXOWLQDQHJDWLYHSURILWIRU5RPFDUERQ
x )RU³1RWH,QFRPHIURP3HQDOWLHV&KDUJHG´&RPPHUFH¶VGHFLVLRQWRH[FOXGHLQFRPHIURP
    SHQDOWLHVFKDUJHGIURPWKHFDOFXODWLRQRIVXUURJDWHILQDQFLDOUDWLRVLVFRQVLVWHQWZLWKWKH
    DJHQF\¶VSUDFWLFHRIH[FOXGLQJIURPWKHFDOFXODWLRQRIVXUURJDWHILQDQFLDOUDWLRVJDLQVDQG
    ORVVHV  WKDWDUHORQJWHUPLQQDWXUH  WKDWDUHQRWGLUHFWO\WLHGWRDFRPSDQ\¶VPDLQ
    RSHUDWLQJDFWLYLWLHVRU  ERWKORQJWHUPDQGQRWFRUHEXVLQHVVUHODWHG
x )RU³1RWH*DLQ /RVV RQDGMXVWPHQWRILQYHVWPHQWSURSHUW\DWIDLUYDOXH´DQG³1RWH
    *DLQ /RVV RQGLVSRVDORILQYHVWPHQWSURSHUW\´WKHPDQGDWRU\UHVSRQGHQWV¶DUJXPHQWVDUH
    LQFRQVLVWHQWLQKRZWKH\DUHUHTXHVWLQJ&RPPHUFHWRWUHDWWKHSUHOLPLQDULO\GLVDOORZHG
    RIIVHWV)RU5RPFDUERQ¶VQRQFRUHRSHUDWLQJLQFRPHIURPSHQDOWLHVFKDUJHGWKH\UHTXHVW
    &RPPHUFHWRDSSO\LWDVDQRIIVHWWR6* $+RZHYHUDWWKHVDPHWLPHPDQGDWRU\
    UHVSRQGHQWVUHTXHVW&RPPHUFHWRGHGXFW5RPFDUERQ¶VLQYHVWPHQWLQFRPHIURPWKH
    FRPSDQ\¶VSUHWD[SURILWDVDGLVDOORZHG6* $RIIVHW7KLVOLNHO\UHODWHVWRWKHLUDWWHPSWWR
    DYRLGWKHHVWDEOLVKPHQWRIDQHWQHJDWLYHSURILWIRU5RPFDUERQ
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    ILQDQFLDOUDWLRVLQWKHPreliminary ResultsDVWKHOLQHLWHP³RWKHUJDLQV´UHSUHVHQWVLQFRPH
    WKDWGRHVQRWGLUHFWO\DULVHIURPFRUHRSHUDWLQJDFWLYLWLHV
x )RU³1RWH6RFLDO&RQWULEXWLRQV´DQG³0HDO7LFNHWV´WKHPDQGDWRU\UHVSRQGHQWVDUH
    LQFRUUHFWLQDVVHUWLQJWKDW&RPPHUFHGRXEOHFRXQWHG5RPFDUERQ¶VH[SHQVHVIRUVRFLDO
    FRQWULEXWLRQVDQGPHDOWLFNHWV$V&RPPHUFH¶V19FDOFXODWLRQVGRQRWLQFOXGHHPSOR\HU¶V
    VRFLDOVHFXULW\FRQWULEXWLRQVDQGPHDOH[SHQVHV&RPPHUFHGLGQRWGRXEOHFRXQWWKHVH
    H[SHQVHVE\FODVVLI\LQJWKHPXQGHU6* $
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&RPPHUFH¶V3RVLWLRQ,QGHULYLQJDSSURSULDWHVXUURJDWHYDOXHVIRU6* $IDFWRU\RYHUKHDG
DQGSURILW&RPPHUFHW\SLFDOO\H[DPLQHVWKHILQDQFLDOVWDWHPHQWVRQWKHUHFRUGRIWKH
SURFHHGLQJDQGFDWHJRUL]HVH[SHQVHVDVWKH\UHODWHWRPDWHULDOVODERUDQGHTXLSPHQW 0/( 
RYHUKHDG6* $DQGSURILWDQGH[FOXGHVFHUWDLQH[SHQVHV e.g.PRYHPHQWH[SHQVHV 
FRQVLVWHQWZLWK&RPPHUFH¶VSUDFWLFHRIDFFRXQWLQJIRUWKHVHODWWHUH[SHQVHVHOVHZKHUH
+RZHYHULQ10(FDVHVLWLVLPSRVVLEOHIRU&RPPHUFHWRIXUWKHUGLVVHFWWKHILQDQFLDO
VWDWHPHQWVRIDVXUURJDWHFRPSDQ\DVLIWKHVXUURJDWHFRPSDQ\ZHUHDQLQWHUHVWHGSDUW\WRWKH
SURFHHGLQJEHFDXVH&RPPHUFHGRHVQRWVHHNLQIRUPDWLRQIURPRUYHULI\WKHLQIRUPDWLRQIURP
WKHVXUURJDWHFRPSDQ\7KHUHIRUHLQFDOFXODWLQJVXUURJDWHRYHUKHDGDQG6* $UDWLRVLWLV
&RPPHUFH¶VSUDFWLFHWRDFFHSWGDWDIURPWKHVXUURJDWHSURGXFHU¶VILQDQFLDOVWDWHPHQWVin toto
UDWKHUWKDQSHUIRUPLQJDOLQHE\OLQHDQDO\VLVRIWKHW\SHVRIH[SHQVHVLQFOXGHGLQHDFK

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Administrative Review; 2012-2013)5 1RYHPEHU DQGDFFRPSDQ\LQJ,'0DW&RPPHQW
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FDWHJRU\$VVWDWHGE\WKH&,7&RPPHUFHLV³QHLWKHUUHTXLUHGWRµGXSOLFDWHWKHH[DFW
SURGXFWLRQH[SHULHQFHRIWKH&KLQHVHPDQXIDFWXUHUV¶QRUXQGHUJRµDQLWHPE\LWHPDQDO\VLVLQ
FDOFXODWLQJIDFWRU\RYHUKHDG¶´
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:LWKUHVSHFWWRWKHOLQHLWHP³,QFRPHIURP3HQDOWLHV&KDUJHG´LQ1RWH2WKHU*DLQVDQG
/RVVHVZHDJUHHZLWKWKHPDQGDWRU\UHVSRQGHQWVWKDWZHPDGHDQHUURUE\H[FOXGLQJWKLVOLQH
LWHPDVDQRIIVHWWR6* $5RPFDUERQ¶VILQDQFLDOVWDWHPHQWVLWHPL]HV³([SHQVHVZLWKILQHVDQG
SHQDOWLHV´LQ1RWH2WKHU,QFRPH%HFDXVHWKHH[SHQVHLVLQFOXGHGLQWKH6* $VHFWLRQZH
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:LWKUHVSHFWWRWKHWUHDWPHQWRI³1RWH*DLQ /RVV RQDGMXVWPHQWRILQYHVWPHQWSURSHUW\DW
IDLUYDOXH´DQG³1RWH*DLQ /RVV RQGLVSRVDORILQYHVWPHQWSURSHUW\´ZHGLVDJUHHZLWKWKH
PDQGDWRU\UHVSRQGHQWVWKDWWKHVHLWHPVVKRXOGEHWUHDWHGDVDQRIIVHWWR6* $:HZLOOLQFOXGH
LWHPVZKLFKDUHJDLQVORVVHVRQLQYHVWPHQWVDVRIIVHWVWR6* $LIWKRVHLQYHVWPHQWVDUHVKRUW
WHUP)XUWKHUWKHVHOLQHLWHPVDUHUHODWHGWRLQYHVWPHQWVLQUHDOHVWDWHZKLFKLV³KHOGIRU
IXWXUHFDSLWDODSSUHFLDWLRQ´DQGQRWUHODWHGWRDGPLQLVWUDWLYHRUSURGXFWLYHDFWLYLW\DQG
WKHUHIRUHQRWUHODWHGWRWKHSULPDU\RSHUDWLRQVRIWKHFRPSDQ\6LPLODUO\ZLWKUHVSHFWWR
³1RWH±2WKHU*DLQV´WKHUHLVQRLQIRUPDWLRQZKLFKOLQNVWKLVLWHPWRWKHJHQHUDORSHUDWLRQVRI
WKHFRPSDQ\XQOLNH³1RWH2WKHU,QFRPH´ZKLFKZHKDYHLQFOXGHGDVDQRIIVHWWR6* $
$FFRUGLQJO\ZHZLOOQRWLQFOXGH³1RWH*DLQ /RVV RQDGMXVWPHQWRILQYHVWPHQWSURSHUW\DW
IDLUYDOXH´³1RWH*DLQ /RVV RQGLVSRVDORILQYHVWPHQWSURSHUW\´RU³1RWH±2WKHU
*DLQV´DVRIIVHWVWRWKH6* $ILQDQFLDOUDWLRFDOFXODWLRQ
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:LWKUHVSHFWWR³1RWH6RFLDO&RQWULEXWLRQV´DQG³0HDO7LFNHWV´ZHGLVDJUHHZLWKWKH
PDQGDWRU\UHVSRQGHQWVWKDWWKLVVKRXOGEHLQFOXGHGXQGHUODERU:KHQODERULWHPVVXFKDV
VRFLDOVHFXULW\FRQWULEXWLRQVFORWKLQJKRXVLQJRUPHDOVetc.DUHFOHDUO\LQFOXGHGLQWKH69IRU
ODERUZHZLOOLQFOXGHVXFKLWHPVLQWKHODERUFDWHJRU\RIWKHVXUURJDWHILQDQFLDOUDWLRV
FDOFXODWLRQVWRDYRLGGRXEOHFRXQWLQJVXFKH[SHQVHV7KH0DOD\VLDQ69IRUODERUSURYLGHVQR
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    See5HVSRQGHQWV¶)LQDO696XEPLVVLRQDW([KLELW
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    See)LQDO690HPRUDQGXP
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    SeePolyethylene Terephthalate Film, Sheet, and Strip from the People’s Republic of China: Final Results of the
First Antidumping Duty Administrative Review)5 )HEUXDU\ DQGDFFRPSDQ\LQJ,'0DW
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    See5HVSRQGHQW¶V)LQDO696XEPLVVLRQDW([KLELW ,QGHSHQGHQW$XGLWRU¶V5HSRUWSDJH 
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    SeeCertain New Pneumatic Off-The-Road Tires from the People’s Republic of China: Final Affirmative
Determination of Sales at Less Than Fair Value and Partial Affirmative Determination of Critical Circumstances
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SUDFWLFHWRH[FOXGHIURPWKHFDOFXODWLRQRIWKHVXUURJDWHILQDQFLDOUDWLRV³LQFRPHIURPORQJWHUPILQDQFLDODVVHWV
EHFDXVHVXFKLQFRPHLVUHODWHGWRLQYHVWLQJDFWLYLWLHVDQGLVQRWDVVRFLDWHGZLWKWKHJHQHUDORSHUDWLRQVRIWKH
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    SeeXanthan Gum from the People’s Republic of China: Final Results of Antidumping Duty Administrative
Review; 2013-2014)5 )HEUXDU\ DQGDFFRPSDQ\LQJ,'0DW&RPPHQW
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ODERU$FFRUGLQJO\EHFDXVHWKHVHLWHPVDUHQRWLQFOXGHGLQWKHODERU69ZHDUHFRQVLGHULQJ
WKHPDV6* $H[SHQVHVIRUWKHSXUSRVHVRIFDOFXODWLQJWKHVXUURJDWHILQDQFLDOUDWLRV
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)LQDOO\ZHQRWHWKDWZHPDGHDQHUURULQDULWKPHWLFZKHQFDOFXODWLQJWKH6* $ILQDQFLDOUDWLR
,QWKHPreliminary ResultsZHKDGLGHQWLILHGFHUWDLQOLQHLWHPVIURP1RWHVDQGDVRIIVHWVWR
6* $DQGVHWWKHVHLWHPVDVQHJDWLYHYDOXHVLGHQWLILHGLQWKHURZ³7RWDO5HYHQXH´
+RZHYHULQWKHURZODEHOOHG³7RWDOIRU&DOFXODWLRQ´WKHIRUPXODIRUWKH6* $QXPHUDWRU
DOUHDG\VHWVWKH6* $RIIVHWYDOXHDVDQHJDWLYHYDOXHZKLFKLQFRUUHFWO\UHVXOWHGLQWKHYDOXHV
ZKLFKVKRXOGEHWUHDWHGDV6* $H[SHQVHRIIVHWVEHLQJWUHDWHGDVDGGLWLRQVWR6* $H[SHQVHV
UDWKHUWKDQGHGXFWLRQVWRWKRVHH[SHQVHV)RUWKHILQDOUHVXOWVZHKDYHVHWWKHYDOXHVXVHGDV
RIIVHWVWR6* $H[SHQVHVWREHSRVLWLYHYDOXHVVRWKDWWKHYDOXHLQWKHURZODEHOOHG³7RWDO
5HYHQXH´LVFRUUHFWO\WUHDWHGDVDQHJDWLYHYDOXHLQWKHQXPHUDWRURIWKH6* $H[SHQVHUDWLR
FDOFXODWLRQ
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&RPPHQW $SSOLFDWLRQRI$GYHUVH)DFWV$YDLODEOHIRU0HUFKDQGLVH3URGXFHGE\
                 &HUWDLQ6XSSOLHUVRI&DUERQ$FWLYDWHG
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Petitioners’ Comments:
x ,QLWVILQDOUHVXOWV&RPPHUFHVKRXOGDSSO\SDUWLDO$)$WRDVXSSOLHURIPDQGDWRU\
    UHVSRQGHQW&DUERQ$FWLYDWHG6XSSOLHU;GXHWRLWVIDLOXUHWRVXEVWDQWLDWHGXULQJYHULILFDWLRQ
    IXQGDPHQWDOLQIRUPDWLRQVXEPLWWHGWR&RPPHUFHRYHUWKHFRXUVHRIWKLVVHJPHQW,Q
    DGGLWLRQ&RPPHUFHVKRXOGDSSO\$)$WRWKUHHDGGLWLRQDOVXSSOLHUVRI&DUERQ$FWLYDWHGWKDW
    IDLOHGWRFRRSHUDWHIURPWKHRXWVHWRIWKLVVHJPHQW
x &RPPHUFH¶VYHULILFDWLRQRI&DUERQ$FWLYDWHG¶V6XSSOLHU;UHYHDOVWKDWWKHVXSSOLHUZDV
    XQDEOHWRVXEVWDQWLDWHWZRFULWLFDODVSHFWVRILWVUHSRUWLQJZKLFKZDVFRQWDLQHGLQ&DUERQ
    $FWLYDWHG¶VTXHVWLRQQDLUHUHVSRQVHV
x )LUVW&RPPHUFHRIILFLDOVZHUHXQDEOHWRYHULI\6XSSOLHU;¶VUHSRUWHGWRWDOSURGXFWLRQ
    TXDQWLW\WKDWZDVXVHGDVWKHGHQRPLQDWRULQWKHFDOFXODWLRQRIWKHSHUXQLWFRQVXPSWLRQRI
    LWV)23V
x 6HFRQG&RPPHUFHRIILFLDOVZHUHDOVRXQDEOHWRYHULI\6XSSOLHU;¶V6HSWHPEHU
    UHSRUWHGFRQVXPSWLRQIRUFDUERQL]HGPDWHULDOVDVLJQLILFDQWLQSXWLQWKHDFWLYDWHGFDUERQ
    SURGXFWLRQSURFHVV
x $VLQIRUPDWLRQSURYLGHGE\DQLQWHUHVWHGSDUW\FRXOGQRWEHYHULILHG&RPPHUFHPXVWDSSO\
    $)$WRWKLVVXSSOLHU
x ,QDGGLWLRQ&RPPHUFHVKRXOGDSSO\$)$WRWKUHHDGGLWLRQDOVXSSOLHUVRI&DUERQ$FWLYDWHG
    WKDWIDLOHGWRFRRSHUDWHIURPWKHRXWVHWRIWKLVVHJPHQW7KHUHFRUGGHPRQVWUDWHVWKDWWKRVH
    WKUHHVXSSOLHUVDORQJZLWK6XSSOLHU;DFFRXQWIRUDVXEVWDQWLDOSHUFHQWDJHRIWKHWRWDO
    TXDQWLW\RIVXEMHFWPHUFKDQGLVHVROGE\&DUERQ$FWLYDWHGLQWKH8QLWHG6WDWHVGXULQJWKH

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    Id. DW FLWLQJYantai Timken Co. v. United States)6XSSG &,7  XSKROGLQJ
&RPPHUFH¶VDSSOLFDWLRQRISDUWLDO$)$WRWKUHHH[SHQVHVWKHFRPSDQ\IDLOHGWRVXEVWDQWLDWHDWYHULILFDWLRQ 
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    325+RZHYHUIRUWKHPreliminary Results&RPPHUFHDSSOLHGQHXWUDOIDFWVDYDLODEOH )$ 
    WRWKRVHWKUHHVXSSOLHUVZKLFKPHDQVWKHUHLVQRGRZQVLGHIRU&DUERQ$FWLYDWHG¶VIDLOXUHWR
    SURYLGHLQIRUPDWLRQIRUWKHVHVXSSOLHUV*LYHQWKDWWKLVTXDQWLW\H[SRUWHGWRWKH8QLWHG
    6WDWHVLVVLJQLILFDQW&RPPHUFHVKRXOGDSSO\$)$WRDOOIRXUVXSSOLHUVVRDVQRWWRDOORZIRU
    PDQLSXODWLRQRIWKHUHFRUGLQWKLVDQGIXWXUHUHYLHZV
x $V$)$&RPPHUFHVKRXOGDSSO\WKHKLJKHVW19FDOFXODWHGIRUDQ\&21180LQWKLV
    VHJPHQWRIWKHSURFHHGLQJWRWKHVHIRXUVXSSOLHUV
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Carbon Activated’s Rebuttal Comments:
x 7KHSHWLWLRQHUVZURQJIXOO\GUDZDSDUDOOHOEHWZHHQ6XSSOLHU;ZKLFKIDLOHGYHULILFDWLRQDQG
    WKHWKUHHXQFRRSHUDWLYHVXSSOLHUVUHDVRQLQJWKDW³&DUERQ$FWLYDWHG¶VVXEPLVVLRQRI
    LQIRUPDWLRQIRU6XSSOLHU;WKDWZDVXOWLPDWHO\XQYHULILDEOHLVDVPXFKRIDIDLOXUHWR
    FRRSHUDWHDVLVLWVIDLOXUHWRSURYLGHLQIRUPDWLRQIRUWKUHHRWKHUVXSSOLHUV´7KHVHDUHWZR
    GLIIHUHQWVLWXDWLRQVDQGVKRXOGEHWUHDWHGGLIIHUHQWO\
x $OVRWKHSHWLWLRQHUVFRQIODWH6XSSOLHU;ZLWK&DUERQ$FWLYDWHGUHIHUULQJWRWKH
    LQWHUFKDQJHDEO\DVLIWKH\DUHRQHDQGWKHVDPHVXFKWKDW&DUERQ$FWLYDWHGLVWREHKHOG
    HTXDOO\UHVSRQVLEOHIRULWVVXSSOLHU¶VIDLOXUHWRYHULI\FHUWDLQDFFRXQWLQJRILWVILQLVKHGJRRGV
    DQGUDZPDWHULDOV+RZHYHUWKHSHWLWLRQHUVIDLOWRGHYHORSWKHLUUHDVRQLQJDVWRZK\&DUERQ
    $FWLYDWHGVKRXOGHIIHFWLYHO\EHFROODSVHGZLWK6XSSOLHU;1RWDEO\WKHSHWLWLRQHUVIDLOWR
    H[SODLQKRZ&DUERQ$FWLYDWHGIDLOHGWRDFWWRWKHEHVWRILWVDELOLW\
x (YHQDVVXPLQJarguendoWKDWZLWKUHVSHFWWR6XSSOLHU;¶VPHUFKDQGLVH&DUERQ$FWLYDWHG
    LVWREHVXEMHFWHGWRDQ$)$UDWHWKHSHWLWLRQHUV¶FKRLFHRIWKH$)$UDWH i.e.WKHKLJKHVW
    FDOFXODWHG19LQWKLVSURFHHGLQJVHJPHQW LVFRQWUDGLFWHGE\WKHUHFRUGHYLGHQFHEHFDXVH
    WKHKLJKHVW19SURSRVHGE\WKHSHWLWLRQHUVLVEDVHGRQVXEMHFWPHUFKDQGLVHZKLFKLV
    SURGXFHGXVLQJDVRXUFHPDWHULDOZKLFKLVDIXQGDPHQWDOO\GLIIHUHQWFRDOWKDQWKHUDZ
    PDWHULDOXQGHUO\LQJERWKRIWKH&21180VSURGXFHGE\6XSSOLHU;
x &RPPHUFHVKRXOGDSSO\WKHFDOFXODWHG19IRUWZRRI6XSSOLHU&¶V&21180VEHFDXVH
    WKHVHWZR&21180VSURGXFHGE\6XSSOLHU&KDYHWKHVDPHSK\VLFDOPDWHULDODQGIRUPDV
    WKH&21180VSURGXFHGE\6XSSOLHU;
x )RUWKHWKUHHXQFRRSHUDWLYHVXSSOLHUSURGXFHUV&RPPHUFHVKRXOGFRQWLQXHWRDSSO\QHXWUDO
    )$EHFDXVH&DUERQ$FWLYDWHGPDGHLWVEHVWSRVVLEOHHIIRUWVLQDWWHPSWLQJWRSHUVXDGHWKH
    WKUHHVXSSOLHUVWRSURYLGHWKHUHOHYDQW)23GDWD)XUWKHUFRQWUROOLQJMXGLFLDOSUHFHGHQW
    DOVRVXSSRUWVWKHDSSOLFDWLRQRIDQHXWUDO)$UDWHIRUWKHWKUHHXQFRRSHUDWLYHVXSSOLHUV
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&RPPHUFH¶V3RVLWLRQ:HDJUHHLQSDUWZLWKWKHSHWLWLRQHUV6SHFLILFDOO\ZHDJUHHWKDWZH
VKRXOGDSSO\$)$LQYDOXLQJWKHPHUFKDQGLVHSURGXFHGE\6XSSOLHU;+RZHYHUZLWKUHVSHFW
WRWKHWKUHHXQUHVSRQVLYHFRPSDQLHVZHGLVDJUHHWKDWZHVKRXOGDSSO\$)$LQRXUYDOXDWLRQRI
WKHVXEMHFWPHUFKDQGLVHWKH\VXSSOLHG,QWKHPreliminary ResultsZHDSSOLHGQHXWUDO)$ZLWK

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     See &DUERQ$FWLYDWHG¶V5HEXWWDO%ULHIDW
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    6XSSOLHU&¶VLGHQWLW\LV%3,)RUWKLVFRPSDQ\¶VQDPHsee&DUERQ$FWLYDWHG¶V)LQDO&DOFXODWLRQ0HPRUDQGXP
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UHVSHFWWRWKHPHUFKDQGLVHVXSSOLHGE\WKHVHXQDIILOLDWHGQRQUHVSRQVLYHFRPSDQLHVDQGZLOO
FRQWLQXHWRGRVRIRUWKHILQDOUHVXOWV
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6HFWLRQ D  DQG  RIWKH$FWSURYLGHVWKDWLIQHFHVVDU\LQIRUPDWLRQLVQRWDYDLODEOHRQ
WKHUHFRUGRUDQLQWHUHVWHGSDUW\ $ ZLWKKROGVLQIRUPDWLRQWKDWKDVEHHQUHTXHVWHGE\
&RPPHUFH % IDLOVWRSURYLGHVXFKLQIRUPDWLRQE\WKHGHDGOLQHVIRUVXEPLVVLRQRULQWKHIRUP
RUPDQQHUUHTXHVWHGVXEMHFWWRVXEVHFWLRQV F  DQG H RIWKH$FW & VLJQLILFDQWO\
LPSHGHVDSURFHHGLQJXQGHUWKH$FWRU ' SURYLGHVVXFKLQIRUPDWLRQEXWWKHLQIRUPDWLRQ
FDQQRWEHYHULILHG&RPPHUFHVKDOOVXEMHFWWRVXEVHFWLRQ G RIWKH$FWXVHIDFWVRWKHUZLVH
DYDLODEOHLQUHDFKLQJWKHDSSOLFDEOHGHWHUPLQDWLRQ
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:KHUH&RPPHUFHGHWHUPLQHVWKDWDUHVSRQVHWRDUHTXHVWIRULQIRUPDWLRQGRHVQRWFRPSO\ZLWK
WKHUHTXHVWVHFWLRQ G RIWKH$FWSURYLGHVWKDW&RPPHUFHVKDOOLQIRUPWKHSDUW\VXEPLWWLQJ
WKHUHVSRQVHRIWKHQDWXUHRIWKHGHILFLHQF\DQGVKDOOWRWKHH[WHQWSUDFWLFDEOHSURYLGHWKDWSDUW\
DQRSSRUWXQLW\WRUHPHG\RUH[SODLQWKHGHILFLHQF\,IWKHSDUW\IDLOVWRUHPHG\RUVDWLVIDFWRULO\
H[SODLQWKHGHILFLHQF\ZLWKLQWKHDSSOLFDEOHWLPHOLPLWVVXEMHFWWRVHFWLRQ H RIWKH$FW
&RPPHUFHPD\GLVUHJDUGDOORUSDUWRIWKHRULJLQDODQGVXEVHTXHQWUHVSRQVHVDVDSSURSULDWH
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LQWHUHVWVRIWKDWSDUW\LQVHOHFWLQJIURPDPRQJWKHIDFWVRWKHUZLVHDYDLODEOHZKHQDSDUW\IDLOVWR
FRRSHUDWHE\QRWDFWLQJWRWKHEHVWRILWVDELOLW\WRFRPSO\ZLWKDUHTXHVWIRULQIRUPDWLRQ,Q
GRLQJVR&RPPHUFHLVQRWUHTXLUHGWRGHWHUPLQHRUPDNHDQ\DGMXVWPHQWVWRDZHLJKWHG
DYHUDJHGXPSLQJPDUJLQEDVHGRQDQ\DVVXPSWLRQVDERXWLQIRUPDWLRQDQLQWHUHVWHGSDUW\ZRXOG
KDYHSURYLGHGLIWKHLQWHUHVWHGSDUW\KDGFRPSOLHGZLWKWKHUHTXHVWIRULQIRUPDWLRQ)XUWKHU
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IURPWKHSHWLWLRQWKHILQDOGHWHUPLQDWLRQIURPWKHOHVVWKDQIDLUYDOXHLQYHVWLJDWLRQDSUHYLRXV
DGPLQLVWUDWLYHUHYLHZRURWKHULQIRUPDWLRQSODFHGRQWKHUHFRUG
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6HFWLRQ F RIWKH$FWSURYLGHVWKDWZKHQ&RPPHUFHUHOLHVRQVHFRQGDU\LQIRUPDWLRQUDWKHU
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FRUURERUDWHWKDWLQIRUPDWLRQIURPLQGHSHQGHQWVRXUFHVWKDWDUHUHDVRQDEO\DWLWVGLVSRVDO
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LQYHVWLJDWLRQRUUHYLHZWKHILQDOGHWHUPLQDWLRQFRQFHUQLQJWKHVXEMHFWPHUFKDQGLVHRUDQ\
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VHOHFWLQJDQ$)$PDUJLQ&RPPHUFHLVQRWUHTXLUHGWRHVWLPDWHZKDWWKHGXPSLQJPDUJLQZRXOG
KDYHEHHQLIWKHLQWHUHVWHGSDUW\IDLOLQJWRFRRSHUDWHKDGFRRSHUDWHGRUWRGHPRQVWUDWHWKDWWKH
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VXEVWDQWLDWHLWVWRWDO325SURGXFWLRQTXDQWLW\XVHGDVWKHGHQRPLQDWRUIRUDOOLWV)23


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FRQVXPSWLRQ)XUWKHU6XSSOLHU;IDLOHGWRVXEVWDQWLDWHWKHUHSRUWHGFRQVXPSWLRQTXDQWLW\RI
LWVPDLQLQSXWFDUERQL]HGPDWHULDOV$FFRUGLQJO\EHFDXVHZHFRXOGQRWYHULI\WZRFULWLFDO
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YDOXLQJLQGLYLGXDO)23VEHFDXVHWKHGHQRPLQDWRUXVHGWRGHULYHDOORI6XSSOLHU;¶VUHSRUWHG
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LQIHUHQFHWKDWLVDGYHUVHWRWKHLQWHUHVWVRIWKDWSDUW\LQVHOHFWLQJIURPDPRQJWKHIDFWVRWKHUZLVH
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6XSSOLHULQWKH$QWLGXPSLQJ$GPLQLVWUDWLYH5HYLHZRI&HUWDLQ$FWLYDWHG&DUERQIURPWKH3HRSOH¶V5HSXEOLFRI
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VXSSOLHUSURGXFHUVWKURXJKRQHRUPRUHWUDGLQJFRPSDQLHVDQGRWKHUVXSSOLHUSURGXFHUVZKLFK
IXUWKHUPDQXIDFWXUHGWKHVXEMHFWPHUFKDQGLVHDQGWKHUHLVQRHYLGHQFHRQWKHUHFRUGZKLFK
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³FRRSHUDWLQJSDUWLHVFRXOGQRWKDYHLQGXFHGWKHQRQFRRSHUDWLQJSDUW\WRSURYLGHFRPSOHWHDQG
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Carbon Activated’s Comments:
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$GPLQLVWUDWLYH5HYLHZRIWKH$QWLGXPSLQJ'XW\2UGHURQ&HUWDLQ$FWLYDWHG&DUERQIURPWKH3HRSOH¶V5HSXEOLFRI
&KLQD´GDWHG1RYHPEHU &DUERQ$FWLYDWHG¶V'45 3DUW,,, DWDQG$WWDFKPHQW%
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    SeePreliminary Results3'0DWsee also&DUERQ$FWLYDWHG¶V/HWWHU³&RUUHFWLRQWR)DFWRURI3URGXFWLRQ
5HSRUWLQJ([FOXVLRQ5HTXHVW´GDWHG$XJXVWDQG&DUERQ$FWLYDWHG¶V'45 3DUW,, DW
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    See Mueller Comercial De Mexico v. United States)G )HG&LU  Mueller 
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    Id.DW
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     Id.DW FLWLQJChangzhou Wujin Fine Chem. Factory Co., Ltd. v. United States)G )HG&LU
  Changzhou 
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    See&DUERQ$FWLYDWHG¶V)LQDO&DOFXODWLRQ0HPRUDQGXP
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    See5HVSRQGHQWV¶&DVH%ULHIDW
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    WKHPreliminary Results&RPPHUFHXVHGWKH0D\)23GDWDEDVH FDFIRS ZKLFKLV
    WKH)23GDWDEDVHWKDWXVHVWKHLQFRUUHFWIRUPXOD
x &RPPHUFHVKRXOGXVHWKH0DUFK)23GDWDEDVH FDFIRS DVLWZDVFUHDWHGXVLQJ
    WKHPRVWDFFXUDWHIRUPXODIRUFDOFXODWLQJ0,;785(6SHFLILFDOO\WKHELWXPLQRXVFRDO
    FRQVXPHGIRUWKHEDVHSURGXFWLVDOUHDG\WKHDPRXQWRIELWXPLQRXVFRDOUHTXLUHGWRSURGXFH
    RQH07RIILQLVKHGSURGXFWWKXVWKHUHLVQRQHHGWRPXOWLSO\WKLVFRQVXPSWLRQZLWK
    $&7,9$7('0$7(5,$/LQWKHIXUWKHUSURFHVVRU¶VGDWDEDVH2QWKHRWKHUKDQGWKH
    DQWKUDFLWHFRDOLQ6XSSOLHU%¶V)23GDWDEDVHLVWKHDPRXQWRIDQWKUDFLWHFRDOUHTXLUHGWR
    SURGXFHRQH07RIDFWLYDWHGPDWHULDOXVHGE\WKHIXUWKHUSURFHVVRUWRSURGXFHWKHILQDO
    SURGXFWZKLFKVKRXOGLQIDFWEHPXOWLSOLHGZLWK$&7,9$7('0$7(5,$/LQWKHIXUWKHU
    SURFHVVRU¶VGDWDEDVH
x %HFDXVHWKHVHVHYHQ)23VDUHLQIODWHGGXHWRWKHLQFRUUHFWIRUPXODXVHGLQFDFIRS
    &RPPHUFHVKRXOGXVHFDFIRSLQWKHILQDOUHVXOWV
    
Petitioners’ Rebuttal Comments:
x &DUERQ$FWLYDWHG¶VUHTXHVWWRVZLWFKGDWDEDVHVLVLOORJLFDODQGXQVXSSRUWHGE\UHFRUG
    HYLGHQFH
x :LWKRXWVXSSRUWLQJHYLGHQFH&DUERQ$FWLYDWHGFODLPVWKDWZKHQWKHIXUWKHUSURFHVVRUPL[HG
    LQSXWVIURPWZRGLIIHUHQWVXSSOLHUVLWKDGD\LHOGORVVRQWKHDQWKUDFLWHEDVHGDFWLYDWHG
    FDUERQREWDLQHGIURP6XSSOLHU%EXWQRQHRQWKHELWXPLQRXVEDVHGDFWLYDWHGFDUERQ
    REWDLQHGIURP6XSSOLHU&
x &DUERQ$FWLYDWHGFODLPVWKDWLWREWDLQHGILQLVKHGDFWLYDWHGFDUERQIURP6XSSOLHU&ZKLOH
    6XSSOLHU%¶V)23GDWDEDVHUHIOHFWVWKHDPRXQWRIDQWKUDFLWHFRDOXVHGWRSURGXFHRQH07RI
    DFWLYDWHGFDUERQ7KLVVWDWHPHQWLVLQFRQWUDVWZLWKWKHFKDLQRISURGXFWLRQGHVFULEHGLQ
    &DUERQ$FWLYDWHG¶V'45 3DUW,, ZKHUH&DUERQ$FWLYDWHGUHSRUWHGWKDWLWZRXOGXVHWKH
    XSVWUHDP)23VXWLOL]HGE\6XSSOLHU%DQG6XSSOLHU&IRUSURGXFWLRQRIELWXPLQRXVFRDO
    EDVHGDFWLYDWHGFDUERQZKLFKZHUHDFLGZDVKHGE\WKHIXUWKHUSURFHVVRU+RZHYHULW
    QRZFODLPVWRKDYHRQO\H[SHULHQFHGD\LHOGORVVRQRQO\DQWKUDFLWHEDVHGDFWLYDWHGFDUERQ
    DQGQRWRQELWXPLQRXVEDVHGDFWLYDWHGFDUERQRUERWKIRUPVRIDFWLYDWHGFDUERQ
x 6XSSOLHU%DQG&KDYHGHPRQVWUDWHGWKHLUFRQVXPSWLRQRIDQWKUDFLWHDQGELWXPLQRXVFRDO
    WRSURGXFHRQH07RIDFWLYDWHGFDUERQ7KHDFWLYDWHGFDUERQSURGXFHGE\6XSSOLHUV%
    DQG&ZHUHPL[HGWRJHWKHUWHUPHG0,;785(DQGWKHQDFLGZDVKHGE\WKHIXUWKHU
    SURFHVVRU&DUERQ$FWLYDWHGDSSOLHGRQO\LWVFRQVXPSWLRQIDFWRUWRWKHDQWKUDFLWHFRDOIURP
    6XSSOLHU%,WLVLOORJLFDODQGFRQWUDGLFWHGE\RWKHUUHFRUGVWDWHPHQWVWRWUHDWRQO\WKH
    IHHGVWRFNDFWLYDWHGFDUERQIURP6XSSOLHU&DVSURGXFWDFWLYDWHGE\6XSSOLHU&WKDWUHTXLUHG
    QRFRQVXPSWLRQIDFWRUDWWKHIXUWKHUSURFHVVRUEXWWRWUHDWWKHIHHGVWRFNDFWLYDWHGFDUERQ

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    7KHIXUWKHUSURFHVVRU¶VLGHQWLW\LV%3,)RUWKLVFRPSDQ\¶VQDPHsee&DUERQ$FWLYDWHG¶V)LQDO&DOFXODWLRQ
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    6XSSOLHU%¶VLGHQWLW\LV%3,)RUWKLVFRPSDQ\¶VQDPHsee&DUERQ$FWLYDWHG¶V)LQDO&DOFXODWLRQ0HPRUDQGXP
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    6XSSOLHU&¶VLGHQWLW\LV%3,)RUWKLVFRPSDQ\¶VQDPHsee&DUERQ$FWLYDWHG¶V)LQDO&DOFXODWLRQ0HPRUDQGXP
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    See3HWLWLRQHUV¶5HEXWWDO%ULHIDW FLWLQJ&DUERQ$FWLYDWHG¶V'45 3DUW,, DW$WWDFKPHQW$DW 
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    &RPPHUFHQRWHVWKDWZKLOHWKHSHWLWLRQHUV¶UHEXWWDOEULHILQGLFDWHVWKDW6XSSOLHU&XVHGDQWKUDFLWHFRDO6XSSOLHU
&DFWXDOO\UHSRUWHGWKDWLWXVHGELWXPLQRXVFRDOLQLWVSURGXFWLRQSURFHVVSee3HWLWLRQHUV¶5HEXWWDO%ULHIDWDQG
&DUERQ$FWLYDWHG¶V'45 3DUW,,, DW$WWDFKPHQW'([KLELW'
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    See3HWLWLRQHUV¶5HEXWWDO%ULHIDW FLWLQJ&DUERQ$FWLYDWHG¶V'45 3DUW, DW$WWDFKPHQW'DQG&DUERQ
$FWLYDWHG¶V'45 3DUW,,, DW$WWDFKPHQW$ 


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    IURP6XSSOLHU%DVLILWZHUHUDZFRDOWKDWZDVQHLWKHUFDUERQL]HGQRUDFWLYDWHGDQGLQVWHDG
    ZDVDUDZIHHGVWRFNLQSXW
x &DUERQ$FWLYDWHGSURYLGHVQRVXSSRUWIRUWKHSRVLWLRQLQKHUHQWLQLWVFODLPZKLFKLVWKDW
    6XSSOLHU&FRXOGUHSRUWWKHDPRXQWRILQSXWVFRQVXPHGSHU07WKDWZRXOGODWHUEHZDVKHG
    PL[HGDQGSDFNDJHGE\WKHIXUWKHUSURFHVVRU
x &RPPHUFHSURSHUO\LQVWUXFWHG&DUERQ$FWLYDWHGWRUHIOHFWWKHIXUWKHUSURFHVVRU¶V
    FRQVXPSWLRQIDFWRUIRUWKHPL[HGSURGXFWLRQRIFRQWUROQXPEHUVWKDWXVHGERWKDQWKUDFLWH
    EDVHGDFWLYDWHGFDUERQDQGELWXPLQRXVEDVHGDFWLYDWHGFDUERQWRERWKLQFRPLQJVHWVRI
    XSVWUHDP)23V
x ,I&RPPHUFHUHOLHVRQFDFIRSWKHQ&RPPHUFHPXVWDGMXVWWKHIUHLJKWIDFWRUDSSOLHGWR
    GLUHFWPDWHULDOV:KHUHDVFDFIRSLQFOXGHVERWK',1/)7 IUHLJKWGLVWDQFHVIRUWKHPDLQ
    VXSSOLHUWRSRUW DQG',1/)7 IUHLJKWGLVWDQFHEHWZHHQ6XSSOLHUV%DQG&WRWKHIXUWKHU
    SURFHVVRU FDFIRSLQFOXGHVRQO\',1/)77KHUHIRUH',1/)7ZRXOGQHHGWREH
    LQFOXGHGLQGDWDEDVHFDFIRSLQRUGHUIRU&RPPHUFH¶VFDOFXODWLRQVWRUHIOHFWERWK',1/)7
    ',1/)7DQGWRDFFRXQWIRUDOOVXSSOLHUGLVWDQFHV
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&RPPHUFH¶V3RVLWLRQ:HDJUHHZLWKWKHSHWLWLRQHUVWKDW&RPPHUFHXVHGWKHFRUUHFW)23
GDWDEDVHLQWKHPreliminary Results$VQRWHGE\WKHSHWLWLRQHUV&DUERQ$FWLYDWHGVXJJHVWVWKDW
WKHELWXPLQRXVFRDOIURP6XSSOLHU&GRHVQRWLQFXUWKHVDPHRUDQ\\LHOGORVVIURPWKHDFLG
ZDVKLQJSURFHVVXQGHUWDNHQE\WKHIXUWKHUSURFHVVRUDVWKHDQWKUDFLWHFRDOIURP6XSSOLHU%,Q
([KLELW'RI6XSSOLHU&¶VVHFWLRQ'TXHVWLRQQDLUHUHVSRQVH6XSSOLHU&UHSRUWVWKH
FRQVXPSWLRQRIELWXPLQRXVFRDOSHUXQLWRIVXEMHFWPHUFKDQGLVHSURGXFHG,IZHXVH&DUERQ
$FWLYDWHG¶VIRUPXODIRU0,;785(6XSSOLHU&¶VFRQVXPSWLRQTXDQWLW\IRUWKHSURGXFWDFLG
ZDVKHGE\WKHIXUWKHUSURFHVVRUUHPDLQVWKHVDPHSRVWDFLGZDVKZLWKRXWDFFRXQWLQJIRUDQ\
\LHOGORVVLQFXUUHGE\WKHIXUWKHUSURFHVVRU:KLOH&DUERQ$FWLYDWHGUHSRUWVWKDW6XSSOLHU&¶V
DFWLYDWHGFDUERQZDVDFLGZDVKHGE\WKHIXUWKHUSURFHVVRUWKHIRUPXODUHSRUWHGLQ&DUERQ
$FWLYDWHG¶V6XSS'45 3DUW, GRHVQRWLQFOXGHWKH\LHOGORVVLQFXUUHGE\IXUWKHUSURFHVVLQJDVLW
GRHVIRU6XSSOLHU%¶VLQSXW0RUHRYHUWKHUHFRUGVKRZVWKDWDFLGZDVKHGSURGXFWVLQFXU
\LHOGORVVGXULQJSURGXFWLRQLWLVUHDVRQDEOHWRDVVXPHWKDWDOOIXUWKHUSURFHVVRUVLQFXUVRPH
OHYHORI\LHOGORVV$FFRUGLQJO\EHFDXVHWKHIRUPXODXVHGLQWKH)23GDWDEDVHFDFIRSIRU
WKHDFLGZDVKHGSURGXFWVSURGXFHGE\WKHIXUWKHUSURFHVVRUGRHVQRWLQFOXGHWKH\LHOGORVVRI
LQSXWSURGXFWSURYLGHGE\6XSSOLHU&IRUWKHILQDOUHVXOWVZHZLOOFRQWLQXHWRXVHFDFIRSDV
WKLV)23GDWDEDVHLQFOXGHVWKHFRUUHFWIRUPXODIRUFDOFXODWLQJ0,;785(
&$5%21,=('0$7(5,$/0',5/$%0,1',5/$%0(/(&75,&,7<0:$7(50DQG
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&RPPHQW&RUUHFWLRQRI3UHOLPLQDU\5HVXOWV&DOFXODWLRQ(UURU
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Datong Juqiang’s Comments:
x &RPPHUFHVKRXOGFRUUHFWDPLQLVWHULDOHUURULQ'DWRQJ-XTLDQJ¶VPDUJLQFDOFXODWLRQ
    SURJUDP,QWKHPreliminary Results&RPPHUFHFDOFXODWHG'DWRQJ-XTLDQJ¶VIUHLJKWXVLQJ
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      WKHXQFDSSHGIUHLJKWGLVWDQFHVIRUHDFKLQSXW)RUWKHILQDOUHVXOWV&RPPHUFHVKRXOGUHO\RQ
      WKHUHSRUWHG SigmaFDSSHGGLVWDQFHVLQLWVPDUJLQFDOFXODWLRQSURJUDPLQFDOFXODWLQJWKH
      IUHLJKWFRVWIRUWKHLQSXWV
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&RPPHUFH¶V3RVLWLRQ:HDJUHHZLWK'DWRQJ-XTLDQJWKDWLQRXUSUHOLPLQDU\FDOFXODWLRQVZH
XVHGXQFDSSHGIUHLJKWGLVWDQFHVLQVWHDGRISigmaFDSSHGGLVWDQFHVWRFDOFXODWHWKH)23IRUHDFK
LQSXWUHSRUWHGE\'DWRQJ-XTLDQJ7KHUHIRUHIRUWKHVHILQDOUHVXOWVZHKDYHUHYLVHGRXU
FDOFXODWLRQVWRUHO\RQSigmaFDSSHGIUHLJKWGLVWDQFHV
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&RPPHQW7UHDWPHQWRI7DQFDUE$FWLYDWHG&DUERQ&R/WG
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Tancarb’s Comments:
x 7DQFDUEILOHGLWVVHSDUDWHUDWHDSSOLFDWLRQ 65$ DIWHUWKHHVWDEOLVKHGGHDGOLQHDQG
    &RPPHUFHUHMHFWHGLWV65$+RZHYHU&RPPHUFHVKRXOGDFFHSW7DQFDUE¶VXQWLPHO\ILOHG
    65$EHFDXVHDFFHSWLQJWKH65$LVFRQVLVWHQWZLWKMXGLFLDOSUHFHGHQWDQGZRXOGQRWXQGXO\
    EXUGHQ&RPPHUFH7KHUHMHFWLRQRIWKHDSSOLFDWLRQFRXOGFDXVHXQGXHDQG
    GLVSURSRUWLRQDWHKDUPWR7DQFDUE¶VLPSRUWHUV
x ,QWKHLPPHGLDWHO\SUHFHGLQJDGPLQLVWUDWLYHUHYLHZ i.e.325 &RPPHUFH
    LQLWLDWHGWKHUHYLHZRQ7DQFDUE+RZHYHUGXHWRPLVFRPPXQLFDWLRQEHWZHHQ7DQFDUEDQG
    LWVFRXQVHO7DQFDUE¶VHSDUDWHUDWHFHUWLILFDWLRQ 65& ZDVQRWWLPHO\ILOHG$FFRUGLQJO\
    7DQFDUEZDVDVVLJQHGWKH&KLQDZLGHHQWLW\UDWHIRUWKH3257DQFDUEZDVQRW
    DZDUHRIWKLVHUURUXQWLOLWVHQWULHVEHJDQWROLTXLGDWHVRPHWLPHDIWHUWKHILQDOUHVXOWVIRUWKH
    325SXEOLVKHGRQ2FWREHUDQG&RPPHUFHLVVXHGOLTXLGDWLRQ
    LQVWUXFWLRQV
x 2QFHLWUHDOL]HGWKHHUURULQWKHDGPLQLVWUDWLYHUHYLHZ7DQFDUELQTXLUHGDVWRLWV
    VWDWXVLQWKHFXUUHQWDGPLQLVWUDWLYHUHYLHZ7KHUHYLHZKDGEHHQLQLWLDWHGRQ
    7DQFDUEEXWQR65$KDGEHHQILOHGRQEHKDOIRI7DQFDUELQWKHFXUUHQWUHYLHZHLWKHU7KH
    GHDGOLQHWRILOHDQ65$LQWKH i.e.-XO\ KDGDOUHDG\SDVVHGE\WKHWLPH
    7DQFDUEEHFDPHIXOO\DZDUHRIWKLVLVVXH
x 7KHSUHOLPLQDU\UHVXOWVZHUHGXHRQ-XQHDQG7DQFDUEILOHGLWVODWH65$RQ$SULO
    7KH65$ZDVDOVRILOHGSULRUWRWKHHQGRIWKHGD\QHZIDFWVGHDGOLQH
x 7KH&,7DOVRKDVQRWHGWKDWLWZLOO³UHYLHZRQDFDVHE\FDVHEDVLVZKHWKHUWKHLQWHUHVWVRI
    DFFXUDF\DQGIDLUQHVVRXWZHLJKWKHEXUGHQSODFHGRQWKH'HSDUWPHQWDQGWKHLQWHUHVWLQ



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    See 'DWRQJ-XTLDQJ¶V)LQDO&DOFXODWLRQ0HPRUDQGXP
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    See7DQFDUE¶V/HWWHU³5HTXHVWWR$FFHSW6HSDUDWH5DWH$SSOLFDWLRQ´GDWHG$SULO&RPPHUFHQRWLILHG
7DQFDUERILWVLQWHQWWRUHMHFWDQGUHPRYHWKHXQWLPHO\VXEPLVVLRQIURPWKHUHFRUGRQ$SULOSee
&RPPHUFH¶V/HWWHUWR7DQFDUE³5HMHFWLRQRI8QWLPHO\)LOHG6HSDUDWH5DWH$SSOLFDWLRQ´GDWHG$SULO
 $&&(66%DUFRGH DQG0HPRUDQGXP³5HMHFWDQGUHPRYH6HSDUDWH5DWH$SSOLFDWLRQ´GDWHG$SULO
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    See 7DQFDUE¶V&DVH%ULHIDW
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              Filed By: Jinny Ahn, Filed Date: 12/12/19 10:40 AM, Submission Status: Approved


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                    Barcode:3919699-01 A-570-904 REV - Admin Review 4/1/17 - 3/31/18



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      DQWLGXPSLQJVWDWXWHLVUHPHGLDOLQSXUSRVHQRWSXQLWLYHDQGE\WKHVWDWXWH¶VJRDORI
      GHWHUPLQLQJPDUJLQVDVDFFXUDWHO\DVSRVVLEOH:LWKWKLVXQGHUVWDQGLQJWKH FRXUWLQGrobest
      KHOGWKDWWKHLQWHUHVWRIIDLUQHVVRXWZHLJKHGWKHEXUGHQSODFHGRQ&RPPHUFHLQFRQVLGHULQJ
      WKHDFFHSWDQFHRIDQXQWLPHO\ILOHG65$UXOLQJ&RPPHUFH¶VUHMHFWLRQRIWKHODWHILOHG
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Petitioners’ Rebuttal Comments:
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      VKRXOGFRQWLQXHWRGRVRLQWKHILQDOUHVXOWV
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                                                                       Federal Register / Vol. 84, No. 242 / Tuesday, December 17, 2019 / Notices                                                    68881

                                            presumption that reimbursement of                       Background                                             Verification
                                            antidumping duties occurred and the                       Commerce published the Preliminary                     Pursuant to section 782(i) of the Act,
                                            subsequent assessment of double                         Results 1 on June 14, 2019. For events                 and 19 CFR 351.307(b)(iv), we
                                            antidumping duties.                                     subsequent to the Preliminary Results,                 conducted verification of the
                                            Notification to Interested Parties                      see the Issues and Decision                            questionnaire responses of Carbon
                                                                                                    Memorandum.2 On September 20,                          Activated.6
                                              We are issuing and publishing these                   2019,3 in accordance with section
                                            results in accordance with sections                                                                            Changes Since the Preliminary Results
                                                                                                    751(a)(3)(A) of the Tariff Act of 1930, as
                                            751(a)(1) and 777(i)(1) of the Act.                     amended (the Act), Commerce extended                     Based on our review of the record and
                                              Dated: December 10, 2019.                             the deadline for issuing the final results             comments received from interested
                                            Jeffrey I. Kessler,                                     until December 11, 2019.                               parties regarding our Preliminary
                                            Assistant Secretary for Enforcement and                                                                        Results, we made certain revisions to
                                                                                                    Scope of the Order                                     the margin calculations for Carbon
                                            Compliance.
                                                                                                      The merchandise subject to the                       Activated and Datong Juqiang,7 and
                                            Appendix                                                Order 4 is certain activated carbon. The               consequently, to the rate assigned to the
                                            List of Topics Discussed in the Preliminary             products are currently classifiable under              non-examined, separate rate
                                            Decision Memorandum                                     the Harmonized Tariff Schedule of the                  respondents. The Issues and Decision
                                            I. Summary                                              United States (HTSUS) subheading                       Memorandum contains additional
                                            II. Background                                          3802.1000. Although the HTSUS                          details of these revisions.8
                                            III. Scope of the Order                                 subheading is provided for convenience
                                                                                                                                                           Final Determination of No Shipments
                                            IV. Companies Not Selected for Individual               and customs purposes, the written
                                                  Examination                                       description of the scope of the Order                     In the Preliminary Results, we
                                            V. Preliminary Determination of No                      remains dispositive.5                                  preliminarily determined that Charter
                                                  Shipments                                                                                                Link Logistics Limited, Datong
                                            VI. Comparisons to Normal Value                         Analysis of Comments Received                          Municipal Yunguang Activated Carbon
                                            VII. Date of Sale                                          In the Issues and Decision                          Co., Ltd., Jilin Bright Future Chemicals
                                            VIII. Constructed Export Price                          Memorandum, we addressed all issues                    Co., Ltd., Shanxi Dapu International
                                            IX. Normal Value
                                                                                                    raised in the interested parties’ case and             Trade Co., Ltd., Shanxi Industry
                                            X. Currency Conversion
                                            XI. Recommendation                                      rebuttal briefs. In Appendix I to this                 Technology Trading Co., Ltd., Shanxi
                                                                                                    notice, we provided a list of the issues               Tianxi Purification Filter Co., Ltd., and
                                            [FR Doc. 2019–27137 Filed 12–16–19; 8:45 am]
                                                                                                    raised by the parties. The Issues and                  Tianjin Channel Filters Co., Ltd. had no
                                            BILLING CODE 3510–DS–P                                  Decision Memorandum is a public                        shipments of subject merchandise to the
                                                                                                    document and is on file in the Central                 United States during the POR.9 We
                                                                                                    Records Unit (CRU), Room B8024 of the                  received no information to contradict
                                            DEPARTMENT OF COMMERCE                                  main Commerce building, as well as                     this determination. Therefore, we
                                            International Trade Administration                      electronically via Enforcement and                     continue to find that these companies
                                                                                                    Compliance’s Antidumping and                           had no shipments of subject
                                            [A–570–904]                                             Countervailing Duty Centralized                        merchandise during the POR and will
                                                                                                    Electronic Service System (ACCESS).                    issue appropriate liquidation
                                            Certain Activated Carbon From the                       ACCESS is available to registered users                instructions that are consistent with our
                                            People’s Republic of China: Final                       at https://access.trade.gov and to all                 ‘‘automatic assessment’’ clarification for
                                            Results of Antidumping Duty                             parties in the CRU. In addition, parties               these final results.10
                                            Administrative Review; 2017–2018                        can directly access a complete version
                                                                                                    of the Issues and Decision                                6 See Memoranda, ‘‘Verification of the
                                            AGENCY:  Enforcement and Compliance,                                                                           Questionnaire Responses of Carbon Activated
                                                                                                    Memorandum on the internet at http://
                                            International Trade Administration,                                                                            Tianjin Co., Ltd.’s Supplier in the Antidumping
                                                                                                    enforcement.trade.gov/frn/index.html.                  Administrative Review of Certain Activated Carbon
                                            Department of Commerce.
                                                                                                    The signed and electronic versions of                  from the People’s Republic of China,’’ and
                                            SUMMARY: The Department of Commerce                     the Issues and Decision Memorandum                     ‘‘Verification of the Questionnaire Responses of
                                            (Commerce) determines that Datong                       are identical in content.                              Carbon Activated Tianjin Co., Ltd.’s Supplier in the
                                            Juqiang Activated Carbon Co., Ltd.                                                                             Antidumping Administrative Review of Certain
                                                                                                                                                           Activated Carbon from the People’s Republic of
                                            (Datong Juqiang) and Carbon Activated                      1 See Certain Activated Carbon from the People’s
                                                                                                                                                           China,’’ both dated September 27, 2019.
                                            Tianjin Co., Ltd. (Carbon Activated) sold               Republic of China: Preliminary Results of                 7 See Memoranda, ‘‘Antidumping Duty

                                            certain activated carbon from the                       Antidumping Duty Administrative Review and             Administrative Review of Certain Activated Carbon
                                                                                                    Preliminary Determination of No Shipments; 2017–       from the People’s Republic of China: Final Results
                                            People’s Republic of China (China) at                   2018, 84 FR 27758 (June 14, 2019) (Preliminary         Calculation Memorandum for Carbon Activated’’
                                            less than normal value during the                       Results), and accompanying Preliminary Decision        (Carbon Activated’s Final Calculation
                                            period of review (POR) April 1, 2017                    Memorandum (PDM).                                      Memorandum), and ‘‘Antidumping Duty
                                                                                                       2 See Memorandum, ‘‘Certain Activated Carbon
                                            through March 31, 2018.                                                                                        Administrative Review of Certain Activated Carbon
                                                                                                    from the People’s Republic of China: Issues and        the People’s Republic of China: Final Results
                                            DATES: Applicable December 17, 2019.                    Decision Memorandum for the Final Results of the       Calculation Memorandum for Datong Juqiang
                                            FOR FURTHER INFORMATION CONTACT: Bob                    Eleventh Antidumping Duty Administrative               Activated Carbon Co., Ltd.’’ (Datong Juqiang’s Final
                                                                                                    Review,’’ dated concurrently with, and hereby          Calculation Memorandum), both dated concurrently
                                            Palmer or Jinny Ahn, AD/CVD                             adopted by, this notice (Issues and Decision           with this memorandum; see also Memorandum,
                                            Operations, Office VIII, Enforcement                    Memorandum).                                           ‘‘Eleventh Administrative Review of Certain
                                            and Compliance, International Trade                        3 See Memorandum, ‘‘Activated Carbon from the       Activated Carbon from the People’s Republic of
                                                                                                                                                           China: Surrogate Values for the Final Results,’’
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                                            Administration, Department of                           People’s Republic of China: Extension of Deadline
                                                                                                    for Final Results of 2017–2018 Antidumping Duty        dated concurrently with this memorandum.
                                            Commerce, 1401 Constitution Avenue                      Administrative Review,’’ dated September 20, 2019.        8 See Issues and Decisions Memorandum at 3–4
                                            NW, Washington, DC 20230; telephone:                       4 See Notice of Antidumping Duty Order: Certain     for a summary of these revisions.
                                            (202) 482–0968 or (202) 482–0339,                       Activated Carbon from the People’s Republic of            9 See Preliminary Results, 84 FR at 27758.

                                            respectively.                                           China, 72 FR 20988 (April 27, 2007) (Order).              10 See Non-Market Economy Antidumping
                                                                                                       5 See Issues and Decision Memorandum for a          Proceedings: Assessment of Antidumping Duties, 76
                                            SUPPLEMENTARY INFORMATION:                              complete description of the scope of the Order.                                                   Continued


                                                                  Filed By: Jinny Ahn, Filed Date: 1/22/20 11:12 AM, Submission Status: Approved
                                       VerDate Sep<11>2014   18:15 Dec 16, 2019   Jkt 250001   PO 00000   Frm 00007   Fmt 4703   Sfmt 4703   E:\FR\FM\17DEN1.SGM   17DEN1

                                                                                                                       Appx37
                                                                              Case: 22-1298                            Document: 15                          Page: 115                     Filed: 04/07/2022
                                                                                          Barcode:3934414-01 A-570-904 REV - Admin Review 4/1/17 - 3/31/18
                                            68882                               Federal Register / Vol. 84, No. 242 / Tuesday, December 17, 2019 / Notices

                                            Separate Rate Respondents                                                Rate for Non-Examined Separate Rate                                      on the methodology for calculating this
                                               In our Preliminary Results, we                                        Respondents                                                              separate rate. For the final results, we
                                            determined that Carbon Activated,                                          In the Preliminary Results,12 and                                      continue to apply this approach, as it is
                                            Datong Juqiang, and six other                                            consistent with Commerce’s practice,13                                   consistent with the intent of, and our
                                            companies demonstrated their eligibility                                 we assigned the non-examined, separate                                   use of, section 735(c)(5)(A) of the Act.15
                                            for separate rates.11 We received no                                     rate companies a rate equal to the                                       Final Results of the Review
                                            comments or argument since the                                           weighted average of the calculated
                                            issuance of the Preliminary Results that                                 weighted-average dumping margins for                                       For companies subject to this review,
                                            provide a basis for reconsideration of                                   the mandatory respondents that are not                                   which established their eligibility for a
                                            these determinations. Therefore, for                                     zero, de minimis (i.e., less than 0.5                                    separate rate, Commerce determines that
                                            these final results, we continue to find                                 percent), or based entirely on facts                                     the following weighted-average
                                            that the eight companies listed in the                                   available, weighted by the total U.S.                                    dumping margins exist for the POR from
                                            table in the ‘‘Final Results’’ section of                                sales quantities from the public version                                 April 1, 2017 through March 31, 2018:
                                            this notice are eligible for a separate                                  of the submissions from the mandatory
                                            rate.                                                                    respondents.14 No parties commented

                                                                                                                                                                                                                                        Weighted-average
                                                                                                                                  Exporter                                                                                              dumping margin
                                                                                                                                                                                                                                          (USD/kg) 16

                                            Beijing Pacific Activated Carbon Products Co., Ltd ......................................................................................................................                               0.89
                                            Carbon Activated Tianjin Co., Ltd .................................................................................................................................................                     1.02
                                            Datong Juqiang Activated Carbon Co., Ltd ...................................................................................................................................                            0.86
                                            Jacobi Carbons AB 17 ....................................................................................................................................................................               0.89
                                            Ningxia Guanghua Cherishmet Activated Carbon Co., Ltd ..........................................................................................................                                        0.89
                                            Ningxia Huahui Activated Carbon Co., Ltd ...................................................................................................................................                            0.89
                                            Ningxia Mineral & Chemical Limited .............................................................................................................................................                        0.89
                                            Shanxi Sincere Industrial Co., Ltd .................................................................................................................................................                    0.89



                                               In the Preliminary Results, Commerce                                  dumping margin for the China-wide                                        ratio of the total amount of dumping
                                            found that 239 companies for which a                                     entity (i.e., 2.42 USD/kg) 20 is not subject                             calculated for the importer’s (or
                                            review was requested did not establish                                   to change as a result of this review.                                    customer’s) examined sales to the total
                                            eligibility for a separate rate because                                                                                                           sales quantity associated with those
                                                                                                                     Assessment Rates
                                            they did not file a separate rate                                                                                                                 sales, in accordance with 19 CFR
                                            application or a separate rate                                              Pursuant to section 751(a)(2)(C) of the                               351.212(b)(1).21 We will also calculate
                                            certification, as appropriate.18 No                                      Act and 19 CFR 351.212(b), Commerce                                      (estimated) ad valorem importer-
                                                                                                                     has determined, and U.S Customs and                                      specific assessment rates with which to
                                            interested party commented on
                                                                                                                     Border Protection (CBP) shall assess,                                    determine whether the per-unit
                                            Commerce’s preliminary determination
                                                                                                                     antidumping duties on all appropriate                                    assessment rates are de minimis.22
                                            with respect to these 239 companies.
                                                                                                                     entries covered by this review. We                                       Where either the respondent’s weighted-
                                            Therefore, for these final results we                                    intend to issue assessment instructions                                  average dumping margin is zero or de
                                            determine these companies to be part of                                  to CBP 15 days after the publication                                     minimis, or an importer- (or custom-
                                            the China-wide entity. Because no party                                  date of these final results of review.                                   er) specific assessment rate is zero or de
                                            requested a review of the China-wide                                        For each individually-examined                                        minimis, we will instruct CBP to
                                            entity, and Commerce no longer                                           respondent in this review which has a                                    liquidate the appropriate entries
                                            considers the China-wide entity as an                                    final weighted-average dumping margin                                    without regard to antidumping duties.23
                                            exporter conditionally subject to                                        that is not zero or de minimis (i.e., less                                  For the respondents which were not
                                            administrative reviews,19 we did not                                     than 0.5 percent), we will calculate                                     selected for individual examination in
                                            conduct a review of the China-wide                                       importer- (or customer-) specific per-                                   this administrative review and which
                                            entity. Thus, the weighted-average                                       unit duty assessment rates based on the                                  qualified for a separate rate, the

                                            FR 65694 (October 24, 2011) (Assessment Practice                         Rescission of Second Antidumping Duty                                       18 SeePreliminary Results PDM at 8.
                                            Refinement).                                                             Administrative Review, 75 FR 70208, 70211                                   19 SeeAntidumping Proceedings: Announcement
                                               11 See Preliminary Results PDM at 4–8.                                (November 17, 2010) (AR2 Carbon), and                                    of Change in Department Practice for Respondent
                                               12 Id. at 10–11.                                                      accompanying Issues and Decision Memorandum                              Selection in Antidumping Duty Proceedings and
                                               13 See, e.g., Certain Frozen Warmwater Shrimp                         (IDM) at Comment 3.                                                      Conditional Review of the Nonmarket Economy
                                            from the Socialist Republic of Vietnam: Final                               17 In the third administrative review of the Order,
                                                                                                                                                                                              Entity in NME Antidumping Duty Proceedings, 78
                                            Results and Final Partial Rescission of                                  Commerce found that Jacobi Carbons AB, Tianjin                           FR 65963, 65969–70 (November 4, 2013).
                                            Antidumping Duty Administrative Review, 76 FR                            Jacobi International Trading Co. Ltd., and Jacobi                          20 See, e.g., Certain Activated Carbon from the
                                            56158, 56160 (September 12, 2011) (Vietnam                               Carbons Industry (Tianjin) should be treated as a                        People’s Republic of China: Final Results of
                                            Shrimp).                                                                 single entity, and because there were no facts
                                               14 See Memorandum, ‘‘Certain Activated Carbon
                                                                                                                                                                                              Antidumping Duty Administrative Review; 2012–
                                                                                                                     presented on the record of this review which would                       2013, 79 FR 70163, 70165 (November 25, 2014).
                                            from the People’s Republic of China: Calculation of                      call into question our prior finding, we continue to                       21 See AR2 Carbon IDM at Comment 3.
                                            Margin for Respondents Not Selected for Individual                       treat these companies as part of a single entity for
                                                                                                                                                                                                22 For calculated (estimated) ad valorem
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                                            Examination,’’ dated concurrently with this notice.                      this administrative review, pursuant to sections
                                               15 See Vietnam Shrimp, 76 FR at 56160.                                771(33)(E), (F), and (G) of the Act, and 19 CFR                          importer-specific assessment rates used in
                                               16 In the second administrative review of the                         351.401(f). See Certain Activated Carbon from the                        determining whether the per-unit assessment rate is
                                            Order, Commerce determined that it would                                 People’s Republic of China: Final Results and                            de minimis, see Carbon Activated’s Final
                                            calculate per-unit weighted-average dumping                              Partial Rescission of Third Antidumping Duty                             Calculation Memorandum and Datong Juqiang’s
                                            margins and assessment rates for all future reviews.                     Administrative Review, 76 FR 67142, 67145, n.25                          Final Calculation Memorandum and attached
                                            See Certain Activated Carbon from the People’s                           (October 31, 2011); see also Preliminary Results                         Margin Calculation Program Logs and Outputs.
                                            Republic of China: Final Results and Partial                             PDM.                                                                       23 See 19 CFR 351.106(c)(2).



                                                                          Filed By: Jinny Ahn, Filed Date: 1/22/20 11:12 AM, Submission Status: Approved
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                                            assessment rate will be equal to the rate               Disclosure                                              Comment 6: Selection of Appropriate
                                            assigned to them for the final results                                                                             Factors of Production Database for
                                                                                                      We intend to disclose the calculations                   Carbon Activated
                                            (i.e., 0.89 USD/kg).                                    performed to parties in this proceeding                 Comment 7: Correction of Preliminary
                                               For the companies identified as part                 within five days of the date of                            Results Calculation Error
                                            of the China-wide entity, we will                       publication of this notice in accordance                Comment 8: Treatment of Tancarb
                                            instruct CBP to apply a per-unit                        with 19 CFR 351.224(b).                                    Activated Carbon Co., Ltd.
                                            assessment rate of 2.42 USD/kg to all                                                                         VI. Recommendation
                                            entries of subject merchandise during                   Notification to Importers Regarding the
                                                                                                                                                          [FR Doc. 2019–27134 Filed 12–16–19; 8:45 am]
                                            the POR which were produced or                          Reimbursement of Duties
                                                                                                                                                          BILLING CODE 3510–DS–P
                                            exported by those companies.                              This notice also serves as a final
                                               Pursuant to a refinement in our non-                 reminder to importers of their
                                            market economy practice, for sales that                 responsibility under 19 CFR                           DEPARTMENT OF COMMERCE
                                            were not reported in the U.S. sales data                351.402(f)(2) to file a certificate
                                            submitted by companies individually                     regarding the reimbursement of                        International Trade Administration
                                            examined during this review, we will                    antidumping duties prior to liquidation               [A–489–816]
                                            instruct CBP to liquidate entries                       of the relevant entries during this POR.
                                            associated with those sales at the rate                 Failure to comply with this requirement               Certain Oil Country Tubular Goods
                                            for the China-wide entity. Furthermore,                 could result in Commerce’s                            From Turkey: Rescission of
                                            where we found that an exporter under                   presumption that reimbursement of                     Antidumping Duty Administrative
                                            review had no shipments of the subject                  antidumping duties has occurred and                   Review; 2018–2019
                                            merchandise, any suspended entries                      the subsequent assessment of double
                                            that entered under that exporter’s case                 antidumping duties.                                   AGENCY:   Enforcement and Compliance,
                                            number (i.e., at that exporter’s cash                                                                         International Trade Administration,
                                                                                                    Notification Regarding Administrative                 Department of Commerce.
                                            deposit rate) will be liquidated at the
                                                                                                    Protective Order                                      SUMMARY: The Department of Commerce
                                            rate for the China-wide entity.24
                                                                                                      This notice also serves as a reminder               (Commerce) is rescinding the
                                            Cash Deposit Requirements                               to parties subject to administrative                  administrative review of the
                                              The following per-unit cash deposit                   protective order (APO) of their                       antidumping duty order on certain oil
                                            requirements will be effective upon                     responsibility concerning the return or               country tubular goods (OCTG) from
                                            publication of the final results of this                destruction of proprietary information                Turkey for the period September 1,
                                            administrative review for all shipments                 disclosed under APO in accordance                     2018, through August 31, 2019.
                                            of the subject merchandise from China                   with 19 CFR 351.305(a)(3), which                      DATES: Applicable December 17, 2019.
                                            entered, or withdrawn from warehouse,                   continues to govern business                          FOR FURTHER INFORMATION CONTACT:
                                            for consumption on or after the                         proprietary information in this segment               Lochard Philozin, AD/CVD Operations,
                                            publication date, as provided by section                of the proceeding. Timely written                     Office I, Enforcement and Compliance,
                                            751(a)(2)(C) of the Act: (1) For Carbon                 notification of the return or destruction             International Trade Administration,
                                            Activated, Datong Juqiang, and the non-                 of APO materials, or conversion to                    U.S. Department of Commerce, 1401
                                            examined separate rate respondents the                  judicial protective order, is hereby                  Constitution Avenue NW, Washington,
                                            cash deposit rate will be equal to their                requested. Failure to comply with the                 DC 20230; telephone: (202) 482–4260.
                                            weighted-average dumping margins                        regulations and terms of an APO is a                  SUPPLEMENTARY INFORMATION:
                                            established in the final results of this                violation which is subject to sanction.
                                            review; (2) for previously investigated or                                                                    Background
                                                                                                    Notification to Interested Parties
                                            reviewed Chinese and non-Chinese                                                                                On September 3, 2019, Commerce
                                            exporters not listed above that have                       We are issuing and publishing these                published a notice of opportunity to
                                            separate rates, the cash deposit rate will              final results of administrative review                request an administrative review of the
                                            continue to be the exporter-specific rate               and notice in accordance with sections                antidumping duty order on OCTG from
                                            published for the most recently                         751(a)(1) and 777(i) of the Act.                      Turkey for the period of review
                                            completed segment of this proceeding in                   Dated: December 11, 2019.                           September 1, 2018, through August 31,
                                            which they were reviewed; (3) for all                   Jeffrey I. Kessler,                                   2019.1 On September 30, 2019, the
                                            Chinese exporters of subject                            Assistant Secretary for Enforcement and               petitioners 2 timely requested an
                                            merchandise that have not been found                    Compliance.                                           administrative review of the order with
                                            to be entitled to a separate rate, the cash                                                                   respect to certain companies.3 On
                                            deposit rate will be equal to the                       Appendix
                                            weighted-average dumping margin for                     Issues and Decision Memorandum                          1 See Antidumping or Countervailing Duty Order,

                                            the China-wide entity (i.e., 2.42 USD/                  I. Summary
                                                                                                                                                          Finding, or Suspended Investigation; Opportunity
                                            kg); and (4) for all non-Chinese                                                                              to Request Administrative Review, 84 FR 45949
                                                                                                    II. Background                                        (September 3, 2019).
                                            exporters of subject merchandise which                  III. Scope of the Order                                 2 The petitioners are United States Steel
                                            have not received their own separate                    IV. Changes Since the Preliminary Results             Corporation, Maverick Tube Corporation, Tenaris
                                            rate, the cash deposit rate will be the                 V. Discussion of the Issues                           Bay City, Inc., TMK IPSCO, Vallourec Star, L.P.,
                                            rate applicable to the Chinese                             Comment 1: Selection of the Primary                and Welded Tube USA.
                                            exporter(s) that supplied that non-                           Surrogate Country                                 3 See the petitioners’ Letter, ‘‘Oil Country Tubular

                                                                                                       Comment 2 Bituminous Coal Surrogate                Goods from Turkey: Request for Administrative
                                            Chinese exporter. These per-unit cash
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                                                                                                          Value                                           Review of Antidumping Duty Order,’’ dated
                                            deposit requirements, when imposed,                        Comment 3: Coal Tar Surrogate Value                September 30, 2019. The petitioners requested a
                                            shall remain in effect until further                       Comment 4: Calculation of Surrogate
                                                                                                                                                          review of the following companies: Bak(r Grup
                                            notice.                                                                                                       Makine İmalat Bak(m Montaj Demontaj Sanayi ve
                                                                                                          Financial Ratios                                Ticaret Ltd. Şti., Borusan Mannesmann Boru Sanayi
                                                                                                       Comment 5: Application of Adverse Facts            ve Ticaret A.Ş. and its affiliates (collectively,
                                              24 For a full discussion of this practice, see              Available for Merchandise Produced by           Borusan), Cayirova Boru Sanayi ve Ticaret A.S.,
                                            Assessment Practice Refinement, 76 FR at 65694.               Certain Suppliers of Carbon Activated                                                       Continued


                                                                  Filed By: Jinny Ahn, Filed Date: 1/22/20 11:12 AM, Submission Status: Approved
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                                     Slip Op. 21-

                 UNITED STATES COURT OF INTERNATIONAL TRADE


 CARBON ACTIVATED TIANJIN CO.,
 LTD. AND CARBON ACTIVATED
 CORPORATION, ET AL.,

        Plaintiffs,

           and

 BEIJING PACIFIC ACTIVATED CARBON
 PRODUCTS CO., LTD. AND NINGXIA
 GUANGHUA CHERISHMET ACTIVATED
 CARBON CO., LTD.,
                                              Before: Mark A. Barnett, Judge
        Plaintiff-Intervenors,
                                              Court No. 20-00007
            v.

 UNITED STATES,

        Defendant,

           and

 CALGON CARBON CORPORATION
 AND CABOT NORIT AMERICAS, INC.,

        Defendant-Intervenors.


                                 OPINION AND ORDER

[Sustaining in part and remanding in part the U.S. Department of Commerce’s final
results in the eleventh administrative review of the antidumping duty order on certain
activated carbon from the People’s Republic of China.]

                                                              Dated: April 2, 2021

Dharmendra N. Choudhary and Jordan C. Kahn, Grunfeld Desiderio Lebowitz
Silverman & Klestadt, LLP, of Washington, DC, for Plaintiffs and Plaintiff-Intervenors.
With them on the brief was Francis J. Sailer.




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         Case:
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Mollie L. Finnan, Senior Trial Counsel, U.S. Department of Justice, Civil Division,
Commercial Litigation Branch, of Washington, DC, for Defendant. With her on the brief
were Jeffrey B. Clark, Acting Assistant Attorney General, Jeanne E. Davidson, Director,
and Claudia Burke, Assistant Director. Of counsel were Ian A. McInerney and Ayat
Mujais, Attorneys, Office of the Chief Counsel for Trade Enforcement & Compliance,
U.S. Department of Commerce, of Washington, DC.

Melissa M. Brewer, Kelley Drye & Warren LLP, of Washington, DC, for Defendant-
Intervenors. With her on the brief were John M. Herrmann, R. Alan Luberda, and Julia
A. Kuelzow.

      Barnett, Judge: This matter is before the court following the U.S. Department of

Commerce’s (“Commerce” or “the agency”) final results in the eleventh administrative

review (“AR11”) of the antidumping duty order on certain activated carbon from the

People’s Republic of China (“China”) for the period of review (“POR”) April 1, 2017,

through March 31, 2018. See Certain Activated Carbon From the People’s Republic of

China, 84 Fed. Reg. 68,881 (Dep’t Commerce Dec. 17, 2019) (final results of

antidumping duty admin. review; 2017–2018) (“Final Results”), ECF No. 39-2, and

accompanying Issues and Decision Mem., A-570-904 (Dec. 11, 2019) (“I&D Mem.”),

ECF No. 39-3. 1




1The administrative record filed in connection with the Final Results is divided into a
Public Administrative Record (“PR”), ECF No. 39-5, and a Confidential Administrative
Record (“CR”), ECF No. 39-4. Parties filed joint appendices containing record
documents cited in their briefs. See Public J.A., ECF Nos. 52 (Vol. I; Tabs 1–13), 52-1
(Vol. II; Tabs 14–15), 52-2 (Vol. III; Tabs 16–30); Confidential J.A. (“CJA”), ECF Nos. 57
(Vol. I; Tabs 1–9), 57-1 (Vol. II; Tabs 10–15), 57-2 (Vol. III; Tabs 16–30); Suppl.
Confidential J.A. (“Suppl. CJA”), ECF No. 62. Citations are to the confidential joint
appendices unless stated otherwise.




                                        Appx41
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       Plaintiffs and Plaintiff-Intervenors (collectively, “Plaintiffs”) 2 challenge

Commerce’s (1) selection of Malaysia instead of Romania as the primary surrogate

country; (2) selection of surrogate values for Carbon Activated’s and DJAC’s inputs of

bituminous coal and coal tar pitch; and (3) calculation of surrogate financial ratios. See

Confidential Pls.’ and Pl.-Ints.’ Mot. for J. on the Agency R. Pursuant to Rule 56.2, ECF

No. 43, and accompanying [Corrected] Confidential Mem. of Law in Supp. of Pls.’ and

Pl.-Ints.’ Mot. for J. on the Agency R. Pursuant to USCIT Rule 56.2 (“Pls.’ Mem.”), ECF

No. 59; Confidential Pls.’ and Pl.-Ints.’ Reply to Def. and Def.-Ints.’ Resps. to Pls.’ and

Pl.-Ints.’ Rule 56.2 Mot. for J. on the Agency R. (“Pls.’ Reply”), ECF No. 50.

       Defendant United States (“the Government”) and Defendant-Intervenors Calgon

Carbon Corporation and Cabot Norit Americas, Inc. (together, “Calgon”) filed response

briefs in support of Commerce’s determinations respecting each contested issue. See

Def.’s Resp. to Pls.’ Rule 56.2 Mot. for J. on the Agency R. (“Def.’s Resp.”), ECF No.

45; Confidential Def.-Ints.’ Resp. Br. in Opp’n to Pls.’ Mot. for J. on the Agency R.

(“Def.-Ints.’ Resp.”), ECF No. 48. At oral argument, the Government acknowledged that

a remand with respect to financial ratios may be appropriate given Commerce’s recent

consideration of similar adjustments on remand in the tenth administrative review

(“AR10”) of the underlying order. Oral Arg. 1:38:55–1:40:05 (approximate time stamp




2Plaintiffs consist of Carbon Activated Tianjin Co., Ltd. (“Carbon Activated”), Carbon
Activated Corporation, Datong Juqiang Activated Carbon Co., Ltd. (“DJAC”), Beijing
Pacific Activated Carbon Products Co., Ltd., Ningxia Guanghua Cherishmet Activated
Carbon Co., Ltd., Ningxia Mineral & Chemical Limited, and Shanxi Sincere Industrial
Co., Ltd.




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from oral argument), available at https://www.cit.uscourts.gov/sites/cit/files/031121-20-

00007-MAB.mp3 (last visited Apr. 2, 2021).

       For the following reasons, the court sustains Commerce’s selection of surrogate

data to value coal tar pitch and remands Commerce’s determinations with respect to

surrogate country selection, selection of surrogate data to value bituminous coal, and

calculation of financial ratios.

                                      BACKGROUND

       Commerce initiated AR11 on June 6, 2018. Initiation of Antidumping and

Countervailing Duty Administrative Reviews, 83 Fed. Reg. 26,258, 26,260 (Dep’t

Commerce June 6, 2018). On July 3, 2018, Commerce selected Carbon Activated and

DJAC as mandatory respondents. 3 Selection of Respondents for Individual Review

(July 3, 2018) at 5, PR 27, CJA Tab 2.

       On June 14, 2019, Commerce issued its preliminary results. Certain Activated

Carbon From the People’s Republic of China, 84 Fed. Reg. 27,758 (Dep’t Commerce

June 14, 2019) (prelim. results of antidumping duty admin. review and prelim.

determination of no shipments; 2017–2018) (“Preliminary Results”), PR 234, CJA Tab

21, and accompanying Decision Mem. for the Prelim. Results, A-570-904 (June 10,

2019) (“Prelim. Mem.”), PR 225, CJA Tab 19. Commerce calculated preliminary

weighted-average dumping margins for Carbon Activated and DJAC in the amounts of

1.65 percent and 4.33 percent, respectively. Prelim. Results, 84 Fed. Reg. at 27,759.



3When in reference to the underlying agency proceeding, the court refers to Carbon
Activated and DJAC as “Respondents” and Calgon as “Petitioners.”




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Commerce calculated a separate rate for non-examined respondents in the amount of

3.90 percent, equal to the weighted-average rate of the mandatory respondents based

on U.S. sales volume. Id.

      Commerce issued the Final Results on December 17, 2019. Following several

changes to the Preliminary Results, Commerce calculated final weighted-average

dumping margins for Carbon Activated and DJAC in the amounts of 1.02 percent and

0.86 percent, respectively. Final Results, 84 Fed. Reg. at 68,882. The separate rate

was therefore reduced to 0.89 percent. Id.

      This appeal followed. See Summons, ECF No. 1; Compl., ECF No. 7. The court

heard oral argument on March 11, 2021. See Docket Entry, ECF No. 65. 4

                         JURISDICTION AND STANDARD OF REVIEW

      The court has jurisdiction pursuant to section 516A(a)(2)(B)(iii) of the Tariff Act of

1930, as amended, 19 U.S.C. § 1516a(a)(2)(B)(iii) (2018) and 28 U.S.C. § 1581(c)

(2018). 5 The court will uphold an agency determination that is supported by substantial

evidence and otherwise in accordance with law. 19 U.S.C. § 1516a(b)(1)(B)(i).

                                       DISCUSSION

I.    Legal Framework for Surrogate Country and Surrogate Value Selection

      An antidumping duty is “the amount by which the normal value exceeds the

export price (or the constructed export price) for the merchandise.” 19 U.S.C. § 1673.




4 Additional background information is summarized in each discussion section.
5 Citations to the Tariff Act of 1930, as amended, are to Title 19 of the U.S. Code, and
references to the U.S. Code are to the 2018 edition unless otherwise specified.




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When an antidumping duty proceeding involves a nonmarket economy country,

Commerce determines normal value by valuing the factors of production 6 used in

producing the subject merchandise; general expenses; profit; and “the cost of

containers, coverings, and other expenses” in a surrogate market economy country. Id.

§ 1677b(c)(1). In selecting these “surrogate values,” Commerce must, “to the extent

possible,” use data from a market economy country that is at “a level of economic

development comparable to that of the nonmarket economy country” and is a

“significant producer[] of comparable merchandise.” Id. § 1677b(c)(4).

       Commerce has adopted a four-step process for selecting a primary surrogate

country:

       (1) the Office of Policy (“OP”) assembles a list [(“the OP List”)] of potential
       surrogate countries that are at a comparable level of economic
       development to the [non-market economy] country; (2) Commerce
       identifies countries from the list with producers of comparable
       merchandise; (3) Commerce determines whether any of the countries
       which produce comparable merchandise are significant producers of that
       comparable merchandise; and (4) if more than one country satisfies steps
       (1)–(3), Commerce will select the country with the best factors data.

Jiaxing Brother Fastener Co. v. United States, 822 F.3d 1289, 1293 (Fed. Cir. 2016)

(second alteration original); see also Import Admin., U.S. Dep’t of Commerce, Non–

Market Economy Surrogate Country Selection Process, Policy Bulletin 04.1 (2004)

(“Policy Bulletin 04.1”), http://enforcement.trade.gov/policy/bull04-1.html (last visited




6The factors of production include but are not limited to: “(A) hours of labor required, (B)
quantities of raw materials employed, (C) amounts of energy and other utilities
consumed, and (D) representative capital cost, including depreciation.” 19 U.S.C.
§ 1677b(c)(3).




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Apr. 2, 2021). Commerce generally values all factors of production in a single surrogate

country, referred to as the “primary surrogate country.” See 19 C.F.R. § 351.408(c)(2)

(excepting labor). But see Antidumping Methodologies in Proceedings Involving Non–

Market Economies: Valuing the Factor of Production: Labor, 76 Fed. Reg. 36,092,

36,093–94 (Dep’t Commerce June 21, 2011) (expressing a preference to value labor

based on industry-specific labor rates from the primary surrogate country). Commerce

prefers surrogate values that are “product-specific, representative of a broad-market

average, publicly available, contemporaneous with the POR, and tax and duty

exclusive.” I&D Mem. at 13 & n.68 (citation omitted); see also 19 C.F.R.

§ 351.408(c)(1),(4) (directing Commerce to select “publicly available”/“non-proprietary

information” to value factors of production and “manufacturing overhead, general

expenses, and profit”). Commerce has broad discretion to determine what constitutes

“the best available information” for the selection of surrogate values. QVD Food Co. v.

United States, 658 F.3d 1318, 1323 (Fed. Cir. 2011).

II.   Primary Surrogate Country Selection

      For the Preliminary Results, Commerce determined that Malaysia and Romania,

among other countries on the OP List, constituted significant producers of comparable

merchandise for the POR based on their respective export volumes. See Prelim. Mem.

at 14. Commerce also found that Thailand constituted a significant producer of

comparable merchandise based on net exports by volume. See id. at 15. Based on its

subsequent analysis of surrogate value data, Commerce preliminarily selected Malaysia

as the primary surrogate country and Romania as the secondary surrogate country.




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See id. at 15–16. Commerce selected Malaysian import data to value Respondents’

“raw materials, energy, and packing material inputs,” id. at 24, and used a financial

statement from a Romanian company, Romcarbon S.A. (“Romcarbon”), to value

financial ratios, id. at 26.

       For the Final Results, Commerce continued to select Malaysia as the primary

surrogate country notwithstanding Respondents’ arguments favoring Romania. I&D

Mem. at 6–7. Commerce noted that both Malaysia and Romania are “at the same level

of economic development as China.” Id. at 6. With respect to the significant producer

criterion, however, Commerce departed from its preliminary analysis.

       Commerce stated that it relied on “exports of comparable merchandise from the

six OP List countries, as a proxy for production data.” Id. at 7. Commerce did not,

however, explain its analysis of any country’s exports or incorporate its preliminary

analysis. See id. at 7–8. Commerce concluded that the record demonstrated that

Malaysia was “a significant producer of identical merchandise” during the POR, but that

the record did not support a finding that Romania was a significant producer of

comparable merchandise. Id. at 8. Commerce explained that the record contained

“three Malaysian financial statements” indicating that the “principal business activity” for

each company “is the manufacture of activated carbon,” id. at 7, whereas the record

contained “only one financial statement . . . from a Romanian company,” id. at 8.

Commerce noted that Romcarbon produced some activated carbon but primarily

produced “polyethylene, polypropylene, polyvinyl chloride, polystyrene processing,




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filters and protective materials.” Id. 7 Thus, while rejecting the Malaysian financial

statements to value financial ratios, id. at 9, Commerce selected Malaysia as the

primary surrogate country because “it provides stronger evidence of production of the

subject merchandise in the form of multiple financial statements,” id. at 7–8. Commerce

declined to compare the quality and availability of Malaysian and Romanian data for the

purpose of primary surrogate country selection, finding the issue to be “moot.” Id. at 8.

       Commerce used Malaysian data to value Respondents’ factors of production with

exceptions for financial ratios and bituminous coal, for which the agency used

Romanian data. See Surrogate Values for the Final Results (Dec. 11, 2019) (“Final SV

Mem.”), Attach. 1, PR 265–66, CJA Tab 28.

       A. Parties’ Contentions

       Plaintiffs raise several challenges to Commerce’s surrogate country selection.

Plaintiffs first contend that Commerce failed to address its departure from the

Preliminary Results with respect to Romania’s status as a significant producer. Pls.’

Mem. at 32. Plaintiffs further contend that “Commerce’s elimination of Romania was not

‘supported by substantial evidence.’” Id. Plaintiffs point to record evidence concerning

Romcarbon’s share of Romanian consumption of activated carbon, which Plaintiffs

argue can be used to ascertain total Romanian consumption of activated carbon in 2017

and, in turn, total Romanian production of activated carbon. See id. at 32–33. Plaintiffs




7 Plaintiffs assert that at least some of this merchandise may be considered comparable
to the subject merchandise. Pls.’ Mem. at 33. Commerce did not, however, state its
views on that issue.




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also contend that Commerce’s selection of Malaysia rests on a misinterpretation of both

Commerce policy, which disfavors the “comparison of production data,” id. at 34, and 19

U.S.C. § 1677b(c)(4), which permits the identification of more than one significant

producer country and does not contain a preference for identical merchandise, see id. at

34–36; Pls.’ Reply at 9–10. Lastly, Plaintiffs contend that Commerce should have

selected Romania as the primary surrogate country pursuant to statutory language

indicating that the significant producer criterion need only be satisfied “to the extent

possible” because Romania provided quality surrogate values for Respondents’ main

inputs. Pls.’ Mem. at 36 (quoting 19 U.S.C. § 1677b(c)(4)).

       The Government contends that Commerce’s selection of Malaysia as the primary

surrogate country is supported by substantial evidence. Def.’s Resp. at 12. The

Government points to evidence concerning Malaysia’s export value and volume, id. at

14 (citing I&D Mem. at 7 & n.34), and the three Malaysian companies’ production of

identical merchandise, id. at 15. The Government further contends that “[s]ubstantial

evidence in the record supports Commerce’s ultimate conclusion that Romania was not

a significant producer of comparable merchandise during the period of review,” id. at 16,

and Plaintiffs failed to exhaust their argument that Romcarbon’s financial statements

demonstrated that Romania was a significant producer, id. at 18–21; see also Def.-Ints.’

Resp. at 11–12 & n.1.

       Calgon contends that Plaintiffs’ arguments amount to an impermissible request

for the court to reweigh the evidence and rest on the erroneous conclusion that the




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record supports a finding that Romania is a significant producer of comparable

merchandise. See Def.-Ints.’ Resp. at 10–13.

       In their Reply, Plaintiffs counter that the Government has advanced

impermissible post hoc justifications for Commerce’s decision with respect to the

Government’s analysis of export data. Pls.’ Reply at 9. Plaintiffs further contend that

the doctrine of administrative exhaustion should not preclude arguments concerning

Romania’s production of comparable merchandise because Commerce preliminarily

found that Romania was a significant producer of comparable merchandise and

Petitioners did not challenge that finding in their administrative case brief. Id. at 4–6.

       B. Commerce’s Selection of Malaysia as the Primary Surrogate Country
          Requires Reconsideration

       Commerce has failed to adequately explain or support with substantial evidence

its selection of Malaysia and rejection of Romania as the primary surrogate country.

While Commerce stated that it “analyzed exports of comparable merchandise from the

six OP List countries,” the agency neglected to explain its analysis or state any findings

in that regard. See I&D Mem. at 7. The Government’s assertion that Commerce based

its determination on Global Trade Atlas and 2017 UN Comtrade data regarding export

values and volume is not persuasive. See Def.’s Resp. at 14 (citing I&D Mem. at 7 &

n.34). The Government relies on a footnote in the Issues and Decision Memorandum

containing import and export volume data for each country on the OP List that merely

substantiates Commerce’s assertion that no country is a net exporter by volume. See

I&D Mem. at 7 n.34. Commerce did not, however, analyze the data or reference the




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value of any country’s exports. See id. The Government’s assertion at oral argument

that the court may instead infer Commerce’s “analysis . . . from the record,” Oral Arg.

8:25–8:47, also lacks merit. The standard of review requires Commerce, not the court,

to “examine the record and articulate a satisfactory explanation for its action.”

Yangzhou Bestpak Gifts & Crafts Co. v. United States, 716 F.3d 1370, 1378 (Fed. Cir.

2013).

         Commerce’s statements regarding Malaysian production of identical

merchandise does not save its determination. Commerce’s “explanation must

reasonably tie the determination under review to the governing statutory standard and

to the record evidence by indicating what statutory interpretations the agency is

adopting and what facts the agency is finding.” CS Wind Vietnam Co. v. United States,

832 F.3d 1367, 1376 (Fed. Cir. 2016). Section 1677b(c)(4)(B) “does not distinguish

between identical and comparable merchandise” for purposes of identifying significant

producer countries. Foshan Shunde Yongjian Housewares & Hardwares Co. v. United

States, 37 CIT 256, 264, 896 F.Supp.2d 1313, 1322 (2013). Commerce’s conclusion

that “Malaysia provides the best available information . . . because it is the only country

on the OP List that is a significant producer of identical merchandise” suggests,

however, that the agency favored the production of identical merchandise when

selecting a primary surrogate country. I&D Mem. at 8 (emphasis added). Commerce

failed to explain why any such preference comports with the plain statutory language or




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constitutes a permissible interpretation thereof. 8 Commerce also did not explain why

production of identical merchandise by three companies was “significant” pursuant to

section 1677b(c)(4). See id.; cf. Policy Bulletin 04.1 (explaining that Commerce’s

decision “should be made consistent with the characteristics of world production of, and

trade in, comparable merchandise (subject to the availability of data on these

characteristics)”).

       With respect to Commerce’s consideration of Romania, although “Commerce has

the flexibility to change its position” from the Preliminary Results to the Final Results,

the agency must “explain the basis for its change” and that explanation must be

“supported by substantial evidence.” Asociacion Colombiana de Exportadores de

Flores v. United States, 22 CIT 173, 185, 6 F. Supp. 2d 865, 880 (1998); see also Peer

Bearing Co. v. United States, 22 CIT 472, 481–82, 12 F. Supp. 2d 445, 456 (1998).

       For these Final Results, Commerce purported to reconsider the export quantities

it had relied on for the Preliminary Results. I&D Mem. at 7; see generally Prelim. Mem.

at 14. Without any analysis, however, Commerce reached the contrary conclusion that

“the record . . . does not support a finding that Romania . . . is a significant producer of




8 At oral argument, the Government relied on Policy Bulletin 04.1 to assert that
Commerce maintains a preference for production of identical merchandise in its
surrogate country selection process, but that this preference only arises when
Commerce is comparing data quality. Oral Arg. 15:05–16:28. Policy Bulletin 04.1
merely states the steps Commerce must follow in order to identify the countries on the
OP List subject to examination for significant production of comparable (inclusive of
identical) merchandise. See Policy Bulletin 04.1. It does not support the existence of a
policy preference concerning production of identical merchandise, either with respect to
significant production or otherwise.




                                          Appx52
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comparable merchandise.” I&D Mem. at 8 (emphasis added). Commerce failed to

explain why its preliminary finding based on export quantity was no longer valid or cite

substantial evidence for the change. 9

       Commerce appears to have based its decision on a comparison of the number of

financial statements on the record from Romania as compared to Malaysia and

differences in the principal production activities among the companies. See id. at 7–8.

However, “Commerce’s practice is not to evaluate [t]he extent to which a country is a

significant producer . . . against . . . the comparative production of the five or six

countries on [Commerce’s] surrogate country list.” Jacobi Carbons AB v. United States,

43 CIT ___, ___, 365 F. Supp. 3d 1344, 1353 (2019) (citation omitted) (alterations

original); see also Policy Bulletin 04.1.

       The Government offers no persuasive defense of Commerce’s determination.

The Government asserts that “Commerce reasonably concluded that Romania’s exports

by value (102,387 USD) and quantity (3051 kg) were too small to reflect significant

production on this record.” Def.’s Resp. at 16 (citing DJAC and Carbon Activated

Surrogate Country Cmts. (Oct, 12, 2018) (“Respondents’ SC Cmts.”), PR 99, CJA Tab




9 The court takes no position on the soundness of Commerce’s preliminary conclusion
respecting Romania or any other potential surrogate country. However, the court must
ensure that Commerce’s change in position is not arbitrary. See Asociacion
Colombiana de Exportadores de Flores, 22 CIT at n.20, 6 F. Supp. 2d at n.20
(explaining that “[a] change [in position] is arbitrary [when] the factual findings
underlying the reason for [the] change are not supported by substantial evidence” or
when the change is unsupported by a reasoned explanation that is “[]consistent with the
statutory mandate”).




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6). 10 The Government further asserts that “Commerce reasonably concluded that

Romanian production of activated carbon was not significant in terms of world

production of, and trade in, comparable merchandise.” Def.’s Resp. at 17 (citing Policy

Bulletin 04.1; Fresh Garlic Prods. Assoc. v. United States, 40 CIT ___, ___, 180 F.

Supp. 3d 1233, 1244 (2016)). Notably, the Government does not cite to Commerce’s

determination, which lacks any such analysis of Romanian production in the context of

world production. The Government’s post hoc rationalizations are not a basis upon

which the court may sustain Commerce’s determination. See Burlington Truck Lines,

Inc. v. United States, 371 U.S. 156, 168–69 (1962).

      The Government also argues that the court should sustain Commerce’s selection

of Malaysia as the primary surrogate country irrespective of any shortcomings in

Commerce’s decision regarding Romania because Commerce expressed its clear view

that the quality of the available data supports Malaysia. Oral Arg. 23:46–24:34; cf.

Def.’s Resp. at 14 (arguing that Commerce based its selection of Malaysia, in part, on

consideration of the fourth selection criterion—data quality). The Government

misconstrues Commerce’s sequential surrogate country selection methodology and the

court’s standard of review. Commerce selected Malaysia after concluding that Malaysia

was a significant producer of identical merchandise and Romania was not a significant

producer of comparable merchandise. See I&D Mem. at 7–8. Commerce subsequently




10Contrary to the Government’s assertion, the volume of Romanian exports in the cited
source documentation is 34,000 kg, not 3051 kg. See Respondents’ SC Cmts., Ex. 1;
Prelim. Mem. at 14.




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considered Malaysian data quality in isolation and without reference to the comparable

quality of Romanian data because Commerce found that Romania did not meet the

significant producer requirement of section 1677b(c)(4)(B). See id. at 8. 11 Thus, the

court cannot sustain Commerce’s determination on this basis.

       Plaintiffs argue that record evidence concerning Romcarbon’s share of the

domestic market establishes that Romania is a significant producer of comparable

merchandise. Pls.’ Mem. at 32–33. It is not the court’s role to determine in the first

instance whether the evidence favors Plaintiffs’ position. As discussed below, the

question is whether Plaintiffs waived those arguments, as Defendant and Calgon

contend, or should have the opportunity to present the arguments to Commerce.

       Congress has directed the court to, “whe[n] appropriate, require the exhaustion

of administrative remedies.” 28 U.S.C. § 2637(d). While exhaustion is not jurisdictional,

Weishan Hongda Aquatic Food Co. v. United States, 917 F.3d 1353, 1363–64 (Fed. Cir.

2019), the statute “indicates a congressional intent that, absent a strong contrary

reason, the [USCIT] should insist that parties exhaust their remedies before the

pertinent administrative agencies,” id. at 1362 (quoting Boomerang Tube LLC v. United

States, 856 F.3d 908, 912 (Fed. Cir. 2010)).

       The Government argues that Respondents should have raised their domestic

market share argument before Commerce because they “had full and fair notice of the




11Commerce compared the Malaysian and Romanian financial statements on the
record for purposes of its significant producer analysis, but otherwise declined to
compare the quality of each country’s data. I&D Mem. at 7–8.




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agency’s intent to rely on Malaysia rather than Romania or another country.” Def.’s

Resp. at 20; cf. Def.-Ints.’ Resp. at 11–12 & n.1.12 For the Preliminary Results,

however, Commerce determined that Romania, among other countries, was a

significant producer of comparable merchandise and reached its surrogate country

decision based on an analysis of each countries’ respective data quality. Prelim. Mem.

at 14–16. Petitioners did not advance arguments challenging Commerce’s findings

regarding the significant producer criterion, see generally Pet’rs’ [Case] Br. (Oct. 7,

2019), CR 422, PR 253, CJA Tab 23, and Commerce did not signal any intention to

revisit its analysis. Commerce need not “expressly notify interested parties any time it

intends to change its methodology between its preliminary and final determinations”

when there is “relevant data in the record” and interested parties advance “arguments

related to that data before Commerce.” Boomerang, 856 F.3d at 913. However,

“Boomerang does not require parties to anticipate issues that have not been raised by a

party or the agency at that point.” Calgon Carbon Corp. v. United States (“Calgon

AR10”), 44 CIT ___, ___, 443 F. Supp. 3d 1334, 1353 (2020)) (citing Boomerang, 856

F.3d at 913).




12The Government argues that “[P]laintiffs offer no legal authority that would require
consideration or adoption of a single company’s share of its own domestic
marketplace as a measure of significant producer status on a worldwide scale.” Def.’s
Resp. at 20. Commerce, however, is not required to adopt any specific measure.
Agency policy provides that “the standard for ‘significant producer’ will vary from case to
case,” and thus leaves open the possibility that Commerce will consider alternative
measures. Policy Bulletin 04.1.




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       Here, Romania’s status as a significant producer was not among the issues

raised by interested parties or Commerce prior to Commerce’s issuance of the Final

Results. Thus, Plaintiffs’ arguments are not precluded by the doctrine of administrative

exhaustion. 13

       In sum, Commerce has not provided an adequate explanation supported by

substantial evidence giving effect to the statutory term “significant producer of

comparable merchandise” pursuant to 19 U.S.C. § 1677b(c)(4)(B). The court is unable

to discern Commerce’s reasons for rejecting Romania as a primary surrogate country;

selecting Malaysia as the primary surrogate country; and avoiding any comparative

analysis of data quality for that purpose. Accordingly, Commerce’s determination is

remanded for reconsideration and further explanation.

III.   Bituminous Coal

       For the Final Results, Commerce selected Romanian import data under

Harmonized Schedule (“HS”) 2701.12 as the surrogate value for bituminous coal after

finding that the average unit value of Malaysian imports under HS 2701.12 was

unreliable. I&D Mem. at 13–15. Commerce rejected Respondents’ request to use

import data under HS 2701.19, which covers “Other Coal,” to value certain inputs of

bituminous coal. Id. at 13–14. Respondents based their request on the application of



13 Plaintiffs also argued that Commerce should have selected Romania as the primary
surrogate country even if the evidence did not support a finding that Romania was a
significant producer. See Pls.’ Mem. at 36. Neither the Government nor Calgon directly
responded to this argument. For the same reasons discussed above in relation to
Plaintiffs’ arguments concerning Romcarbon’s domestic market share, the argument
may be addressed by Commerce, as appropriate, on remand.




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Chapter 27, Subheading Note 2 (“Note 2”) to their inputs. See id. at 14. Note 2 limits

HS 2701.12, inter alia, to bituminous coal with “a calorific value limit . . . equal to or

greater than 5,833 kcal/kg.” Id. Respondents therefore reasoned that Commerce

should value bituminous coal with a calorific value that is less than 5,833 kcal/kg under

HS 2701.19. Id.

       Upon review of the record, Commerce concluded that Note 2 applied solely to

Thai import data and declined to apply Note 2 to another country’s import data. Id. at 14

& n.76 (citing Carbon Activated Resp. to Sec. D Suppl. Questionnaire (Pt. I) (Feb. 21,

2019) (“Carbon Activated’s 1SDQR (Pt. I)”) at 19, CR 254–88, PR 162–65, CJA Tab

12); see also Carbon Activated’s 1SDQR (Pt. I), Ex. SD-27 (copy of Note 2).

Commerce also found that Respondents had failed to demonstrate consumption of the

type of sub-bituminous coal typically “used as a heat source” that would be covered by

HS 2701.19. I&D Mem. at 14.

       A. Parties’ Contentions

       Plaintiffs contend that Commerce’s declination to recognize the applicability of

Note 2 to all countries in the World Customs Organization (“WCO”) through the

Harmonized System of Nomenclature contradicts Commerce practice and judicial

precedent. Pls.’ Mem. at 17–19. 14 Plaintiffs also contend that Commerce erred in



14Plaintiffs cite Jiangsu Senmao Bamboo & Wood Industry Co. v. United States, 42 CIT
___, ___, 322 F. Supp. 3d 1308, 1320 (2018); Issues and Decision Mem. for the Final
Determination in the Antidumping Duty Investigation of Certain Stilbenic Optical
Brightening Agents from the People’s Republic of China, A-570-972 (Mar. 19, 2012) at
2–6 (“Stilbenic Mem.”), available at https://enforcement.trade.gov/frn/summary/prc/




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incorporating use as a consideration in its surrogate value selection because HS

2701.19 is not delimited by use. Id. at 20.

      The Government contends that Commerce’s reliance on Romanian import data

under HS 2701.12 is supported by substantial evidence. Def.’s Resp. at 22. The

Government asserts that there is no record evidence demonstrating that Note 2 is

identical for all WCO countries or that Respondents used the type of bituminous coal

that would be covered by HS 2701.19. See id. at 22–23; cf. Def.-Ints.’ Resp. at 16–18.

      Calgon contends that the precedent relied on by Plaintiffs is distinguishable.

Def.-Ints.’ Resp. at 16–17. Calgon further contends that the inclusion of “Additional U.S.

Notes” in the U.S. Harmonized Tariff System (“HTSUS”) supports Commerce’s decision

not to assume that subheading notes are identical across countries. See id. at 17.

      B. Commerce’s Selection of Surrogate Data to Value Bituminous Coal
         Requires Reconsideration and Further Explanation

      The court is unable to discern the path of Commerce’s reasoning on this issue

and remands the matter for reconsideration and further explanation with respect to the

applicability of Note 2 and Commerce’s understanding of the relevant parts of the

record.

      Commerce addressed Respondents’ request to apply Note 2 as a factual matter

and found the request unsupported by the record. I&D Mem. at 14. Commerce did not,



2012-7215-1.pdf (last visited Apr. 2, 2021); and Issues and Decision Mem. for the Final
Results of the 2011 - 2012 Admin. Review on Polyethylene Terephthalate Film, Sheet,
and Strip from the People’s Republic of China, A-570-924 (June 24, 2014) at 14–20
(“PET Mem.”), available at https://enforcement.trade.gov/frn/summary/prc/2014-15574-
1.pdf (last visited Apr. 2, 2021). See Pls.’ Mem. at 17–18; Pls.’ Reply at 2.




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however, address Respondents’ argument that Note 2 applied to the tariff systems of

countries other than Thailand given the harmonization of WCO tariff classification at the

six-digit level. See Case Br. of [DJAC], [Carbon Activated] and Carbon Activated Corp.

(Oct. 7, 2019) (“Respondents’ Case Br.”) at 27 n.38, CR 421, PR 250, CJA Tab 22.

       Respondents’ argument is not without precedent. In prior determinations,

Commerce has taken the position that products subject to international trade generally

will enter WCO countries under the same six-digit subheading. See PET Mem. at 20

(stating that “[t]he International Convention on the Harmonized Commodity and Coding

System applies the same [HS] six-digit prefix to products subject to international trade”);

First Admin. Review of Sodium Hexametaphosphate from the People’s Republic of

China: Issues and Decision Mem. for the Final Results, A-570-908 (Oct. 12, 2010) at 8

n.32, available at https://enforcement.trade.gov/frn/summary/prc/2010-26458-1.pdf (last

visited Apr. 2, 2021) (“Hex Mem.”) (stating same). Commerce has relied on this

principle to apply a subheading chapter note placed on an administrative record in

connection with South African import data to Indonesian data for purposes of surrogate

valuation. See PET Mem. at 20. Commerce also has considered the way in which the

United States classifies an input to determine the correct six-digit heading under

another country’s classification system for surrogate valuation. See Stilbenic Mem. at 4

& n.22; Hex Mem. at 7–8. Commerce’s rationale for rejecting Respondents’ argument




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on this issue, without further explanation, is arbitrary; thus, a remand is necessary for

Commerce to clarify or revise its position.15

       Additionally, Commerce’s understanding of the record evidence concerning the

characteristics of Respondents’ bituminous coal inputs is unclear. Commerce stated

that “[R]espondents have not provided any evidence that they used [the type of

bituminous coal that] would be categorized as HS 2701.19.” I&D Mem. at 14 (emphasis

added). There is, however, some indication in the record that Respondents (or their

respective suppliers) consumed bituminous coal with a calorific value that is less than

5,833 kcal/kg. See Carbon Activated Resp. to Sec. D Pts. II and III First Suppl.

Questionnaire (Mar. 15, 2019) (“Carbon Activated’s SDQR Pts. II–III”), Ex. SD-15, CR




15 Parties’ remaining arguments are not persuasive. Calgon’s argument regarding the
inclusion of “Additional U.S. Notes” in the HTSUS is based on information that is not
part of the administrative record and was not the basis of an argument before
Commerce. Def.-Ints.’ Resp. at 17 (citing Pls.’ Mem. at 17–18 & n.6, which in turn, cites
a webpage as evidence of the HTSUS). While there is no indication that Note 2 is
specific to Thailand, such arguments are better left for Commerce to consider and
address in the first instance.
        Plaintiffs’ reliance on Jiangsu Senmao is also misplaced. In that case, the court
held that Commerce erred in rejecting a respondent’s administrative case brief because
it contained purportedly untimely factual information in the form of HS Explanatory
Notes (“ENs”). Jiangsu Senmao, 322 F. Supp. 3d at 1323–24. The court reasoned that
“[t]he ENs are not evidence” or factual information used to value factors of production
but are instead “an international legal reference essential to the proper interpretation of
the HS nomenclature and [General Rules of Interpretation].” Id. at 1324. The court
distinguished ENs from import data—factual information—used to value the factors of
production. See id. Note 2 falls within the latter category. Cf. Degussa Corp. v. United
States, 508 F.3d 1044, 1047 (Fed. Cir. 2007) (“The section and chapter notes are
integral parts of the HTSUS, and have the same legal force as the text of the
headings.”). However, as discussed, the inquiry does not end there to the extent that
Commerce must address Respondents’ arguments concerning the harmonization of six-
digit subheadings.




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301–17, PR 180, CJA Tab 13; DJAC Suppl. Sec. D Resp. (Feb. 12, 2019) (“DJAC’s

SDQR”) at 8, Exs. SD-12, SD-13, SD-56, CR 174–252, PR 148–56, CJA Tab 11. It is

unclear whether Commerce considered this evidence or found it insufficient.

Accordingly, on remand, Commerce must also reconsider and further explain its view of

the record on this issue. 16

IV.    Coal Tar Pitch

       For the Preliminary Results, Commerce valued coal tar pitch using Malaysian

import data under HS 2706.00, which covers “Coal Tar.” I&D Mem. at 18; see also

Surrogate Values for the Prelim. Results (June 10, 2019) (“Prelim. SV Mem.”), Attach.

1, PR 226–29, CJA Tab 20. 17 For the Final Results, Commerce instead used Malaysian

import data under HS 2708.10, which covers “Pitch from Coal and Other Mineral Tars.”

Id. at 18, 19. Commerce offered several rationales for its decision.

       Commerce explained that Respondents each reported the input as “coal tar

pitch” and not “coal tar” for certain suppliers, id. at 19, and that coal tar pitch “is

commonly known as ‘pitch’ in the industry,” id. at 19 & n.112 (citation omitted).

Regarding the production process, Commerce noted that two types of coal tar pitch—



16 The court further leaves to Commerce, on remand, to address Plaintiffs’ arguments
concerning the valuation of bituminous coal inputs with an undetermined calorific value.
See Pls.’ Mem. at 20–21 (asserting that, for such inputs, Commerce should use the
average of Romanian data under HS 2701.12 and HS 2701.19); Pls.’ Reply at 3 (same).
17 In the narrative portion of its preliminary surrogate value memorandum, Commerce

listed both coal tar and coal tar pitch as surrogate values with corresponding tariff
provisions of HS 2706.00 and HS 2708.10, respectively. See Prelim. SV Mem. at 5.
Commerce preliminarily used only HS 2706.00, however, to value Respondents’ coal tar
pitch. Prelim. SV Mem., Attach. 1; see also I&D Mem. at 18 n.106 (noting the
discrepancy).




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binder and impregnating grade—are derived from the fractionated distillation of coal tar.

Id. at 19 & n.114 (citing First Surrogate Value Cmts. By [Respondents] (Nov. 9, 2018)

(“Respondents’ SV Cmts.”), Ex. 5E, PR 109–14, CJA Tab 9). Commerce thus found

“that HS 2706.00 covers coal tar, which is a by-product of the coke production process,

whereas HS 2708.10 covers pitch, a product of the coal tar distillation process.” Id. at

19. Commerce rejected as unsupported Respondents’ “assertion that HS 2708.10

covers [only] 100 percent pure pitch distilled in a tar workshop.” Id. at 19 & n.115 (citing

Respondents’ Case Br. at 29).

       A. Parties’ Contentions

       Plaintiffs contend that Commerce’s reliance on commercial parlance instead of

pitch content to select HS 2706.00 represents an unexplained departure from the

agency’s approach in the prior administrative review, which was affirmed by the court.

Pls.’ Mem. at 22–23 (citing Calgon (AR10), 443 F. Supp. 3d at 1343–45); Pls.’ Reply at

14. Plaintiffs argue that HS 2706.00 must be construed to cover coal tar or coal tar

pitch with less than 100 percent pitch content and “[HS] 2708.10 must be construed to

cover 100[ percent] pure pitch.” Id. at 24. Concluding otherwise, Plaintiffs argue, could

result in the same input being covered by both subheadings. Id. Plaintiffs also contend

that Malaysian import data under both HS 2706.00 and HS 2708.10 are aberrant based

on the predominance of Spanish exports in the average unit values and Commerce

should instead rely on Russian import data under HS 2706.00. See id. at 24–27.

       The Government contends that Commerce’s surrogate value selection is

supported by substantial evidence. Def.’s Resp. at 24. The Government argues that




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“Commerce reasonably rejected the premise that coal tar and coal tar pitch are

indistinguishable” based on the process by which coal tar and pitch are produced and

Respondents failed to establish that their respective inputs were covered by HS

2706.00. Id. at 25; cf. Def.-Ints.’ Resp. at 20–21. The Government also contends that

Plaintiffs failed to present their arguments regarding the aberrancy of the Malaysian

data to Commerce and those arguments are now barred by the doctrine of

administrative exhaustion. Def.’s Resp. at 26–27; cf. Def.-Ints.’ Resp. at 22–23 & n.3.

      Plaintiffs counter that the ENs to HS 2706.00 establish that coal tars with pitch

content above 60 percent are covered by that subheading. Pls.’ Reply at 16; see also

id. at 15–16 (averring that ENs are judicially noticeable pursuant to Jiangsu Senmao,

322 F. Supp. 3d at 1324). Plaintiffs also contend that the Government’s exhaustion

argument lacks merit because Respondents challenged the aberrancy of HS 2706.00

before Commerce and lacked the opportunity to present to Commerce arguments

concerning HS 2708.10. Id. at 16–17.

      B. Commerce’s Selection of Surrogate Data to Value Coal Tar Pitch is
         Supported by Substantial Evidence

      Plaintiffs are correct that, in AR10, Commerce valued inputs of coal tar pitch

using HS 2706.00. Calgon (AR10), 443 F. Supp. 3d at 1343. In that proceeding,

Commerce based its decision on pitch content and discounted evidence demonstrating

that the respondents used coal tar pitch and a separate pitch input for the same

production purpose. Id. at 1344. It is well settled, however, that “each administrative

review is a separate exercise of Commerce’s authority that allows for different




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conclusions based on different facts in the record.” Jiaxing Brother, 822 F.3d at 1299

(quoting Qingdao Sea–Line Trading Co. v. United States, 766 F.3d 1378, 1387 (Fed.

Cir. 2014)). Thus, the question is whether Commerce has offered an adequate

explanation “for treating similar situations differently.” SKF USA Inc. v. United States,

263 F.3d 1369, 1382 (Fed. Cir. 2001) (citation omitted).

       This issue presents a close call. While Commerce’s determination may have

benefitted from greater recognition that the agency had departed from its treatment of

coal tar pitch in AR10, the court discerns from Commerce’s discussion an adequate

explanation, supported by substantial evidence, for the change.

       Respondents’ submissions in the underlying proceeding demonstrate that the

distillation of coal tar yields coal tar pitch. I&D Mem. at 19 & n.114 (citing Respondents’

SV Cmts., Ex. 5E). Further distillation of coal tar pitch yields higher grades of pitch.

See Respondents’ SV Cmts., Ex. 5E, Fig. 1 (a schematic illustration of the production of

coal tar pitch and anthracene oil-based pitch beginning with the distillation of coal tar).

Given that coal tar pitch is referred to as “pitch” in commercial parlance, Commerce was

within its discretion to identify HS 2708.10 instead of HS 2706.00 as the best available

information. See I&D Mem. at 19; QVD Food Co., 658 F.3d at 1323.

       Plaintiffs’ assertion that HS 2706.00 covers coal tar and coal tar pitch with less

than 100 percent pitch content and HS 2708.10 covers 100 percent pure pitch is

unsupported by citations to record evidence. See Pls.’ Mem. at 24; I&D Mem. at 19.

Plaintiffs’ argument that a contrary conclusion would result in the same input being

covered under both headings also is not persuasive. See Pls.’ Mem. at 24. At the




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hearing, the court afforded Plaintiffs an additional opportunity to explain why their inputs

of coal tar pitch are necessarily covered by HS 2706.00. Letter to Counsel (Mar. 3,

2021) (“Ltr. to Counsel”) ¶ 3(a)(i), ECF No. 61. Plaintiffs referred to record evidence

concerning the processing of coal tar into coal tar pitch, but which also demonstrates

that coal tar generally has a lower pitch content than the coal tar pitch consumed by

Respondents. Oral Arg. 1:17:33–1:18:54, 1:23:11–1:27:55. Compare Pls.’ Mem. at 23

(citing Respondents’ SV Cmts., Ex. 5G), and Respondents’ Case Br. at 29–30 & nn.47–

48 (citing Respondents’ SV Cmts., Ex. 5K), with Carbon Activated’s SDQR Pts. II–III,

Ex. SD-6 (reflecting the pitch content of their inputs), and DJAC’s SDQR, Ex. SD-53

(same). This evidence is insufficient to require the distinction Plaintiffs seek to draw

with respect to the competing subheadings and, thus, does not detract from the

substantial evidence supporting Commerce’s determination.

       Plaintiffs’ argument that the ENs to HS 2706.00 support a finding that coal tar

pitch is covered by that subheading, Pls.’ Reply at 15–16, is precluded by the doctrine

of administrative exhaustion. See 28 U.S.C. § 2637(d); Weishan Hongda, 917 F.3d

1362. Notwithstanding the ENs’ usefulness as a legal reference for purposes of tariff

classification, see Jiangsu Senmao, 322 F. Supp. 3d at 1324, Respondents failed to

argue the relevance of the ENs before Commerce. A remand to the agency to consider

the ENs in the first instance would undermine the interest in judicial efficiency that

administrative exhaustion is intended to protect. See, e.g., Corus Staal BV v. United

States, 502 F.3d 1370, 1379 (Fed. Cir. 2007).




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       Plaintiffs likewise failed to exhaust their arguments regarding the aberrancy of

Malaysian import data under HS 2708.10 based on the predominance of Spanish

exports in the average unit values. Pls.’ Mem. at 25–26. Plaintiffs’ argument that they

had “no opportunity” to present arguments concerning the reliability of this value to

Commerce is unconvincing. Pls.’ Reply at 17. Respondents’ administrative case brief

presented arguments against the use of HS 2708.10 based on Respondents’

understanding that Commerce had preliminarily used that subheading to value Carbon

Activated’s coal tar pitch. See Respondents’ Case Br. at 29–30. Respondents thus had

ample opportunity to present this argument to Commerce and cannot now “seek[] a new

‘bite at the apple.’” Calgon (AR10), 443 F. Supp. 3d at 1353–54; see also Boomerang,

856 F.3d at 913 (finding an abuse of the discretion afforded by 28 U.S.C. § 2637(d)

when the court declined to require exhaustion of arguments the proponent of which had

the opportunity to present to Commerce). 18

       Accordingly, Commerce’s determination to use Malaysian data under HS

2708.10 to value coal tar pitch is sustained.




18 Commerce declined to consider Respondents’ argument that the Malaysian average
unit value under HS 2706.00 is aberrant because it is higher than the Malaysian
average unit value under HS 2708.10. I&D Mem. at 19. Commerce reasoned that the
issue is moot given Commerce’s decision not to rely on HS 2706.00. Id. Because the
court is sustaining Commerce’s decision to use HS 2708.10, the court need not address
Plaintiffs’ arguments concerning an alternative basis for finding HS 2706.00 to be
aberrant or whether such arguments are foreclosed by the doctrine of administrative
exhaustion.




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V.    Financial Ratios

       For the Final Results, as noted, Commerce valued financial ratios using

Romcarbon’s 2017 financial statement. I&D Mem. at 6. At issue are various

adjustments to the financial ratios. See id. at 21–23. Respondents requested

Commerce to (1) offset pre-tax profit by the amounts listed under “Gain/(Loss) on

adjustment of investment property at fair value” and “Gain/(Loss) on disposal of

investment property”; (2) offset sales, general, and administrative expenses (“SG&A”)

by the amount listed under “Other Gains”; and (3) allocate the amount listed under

“Social Contributions” and “Meal Tickets” to labor costs instead of SG&A. Respondents’

Case Br. at 32–36. Commerce declined each request. I&D Mem. at 22–23. In so

doing, however, Commerce treated Respondents’ request to offset pre-tax profit as a

request to offset SG&A. See id. at 22.

       In its response brief, the Government urged the court to sustain Commerce’s

determinations as to the contested adjustments. Def.’s Resp. at 27–31. Following the

Government’s filing of the response, the court sustained Commerce’s determination on

remand in AR10 to make adjustments to the financial ratios based on Romcarbon’s

financial statement that are similar to—if not the same as—certain adjustments

Commerce declined to make in this case. See Pls.’ Reply at 19–22 (discussing Calgon

Carbon Corp., et al. v. United States, et al., Court No. 18-cv-00232, Final Results of

Redetermination Pursuant to Court Remand at 8–13, 23 (CIT Aug. 5, 2020)); Calgon

Carbon Corp. v. United States, 44 CIT ___, ___, 487 F. Supp. 3d 1359, 1362 (2020)




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(sustaining Commerce’s adjustments as uncontested and consistent with the court’s

remand instructions).

        At oral argument, the Government stated that it could not identify distinguishing

features in the financial statements that merited different treatment in this administrative

review. Oral Arg. 1:39:25–1:40:04; see also Ltr. to Counsel ¶ 4(a). The Government

further stated that although there might be differences in other aspects of the factual

record that would support different treatment, particularly in relation to indirect labor

costs, any remand should encompass all aspects of the adjustments so as not to

constrain Commerce’s redetermination. Oral Arg. 1:40:35–1:40:55. Calgon argued that

the administrative record in AR11 as compared to AR10 supports certain distinctions

but reserved its arguments for Commerce’s consideration on remand. Oral Arg.

1:41:31–1:42:30.

        Accordingly, given the inconsistencies between Commerce’s determinations in

AR10 and AR11 and the discrepancies in Commerce’s explanations for declining the

adjustments, this issue is remanded for reconsideration.

                                   CONCLUSION AND ORDER

       In accordance with the foregoing, it is hereby:

       ORDERED that Commerce’s Final Results are sustained in part and remanded

in part, consistent with this Opinion; it is further

       ORDERED that Commerce’s selection of surrogate data to value coal tar pitch is

sustained; it is further




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         ORDERED that, on remand, Commerce shall reconsider its selection of Malaysia

as the primary surrogate country; it is further

         ORDERED that, on remand, Commerce shall reconsider its selection of

surrogate data to value bituminous coal; it is further

         ORDERED that, on remand, Commerce shall reconsider the adjustments to the

surrogate financial statements; it is further

         ORDERED that Commerce shall file its remand redetermination on or before

July 1, 2021; it is further

         ORDERED that subsequent proceedings shall be governed by USCIT Rule

56.2(h); and it is further

         ORDERED that any comments or responsive comments must not exceed 5,000

words.



                                                  /s/   Mark A. Barnett
                                                  Mark A. Barnett, Judge

Dated: April 2, 2021
      New York, New York




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                                                        Import Administration Policy Bulletin

                    Number: 04.1
                    Topic: Non-Market Economy Surrogate Country Selection Process

                    Approved: ______________________________
                               James Jochum
                               Assistant Secretary
                                 for Import Administration

                    _________________
                    Date

                    Statement of Issue

                    This policy bulletin provides guidance regarding the Department's selection of surrogate
                    market economy countries in non-market economy ("NME") cases.

                    Background

                    The statute provides broad discretion in the selection of surrogate market economy countries
                    to value NME factors of production. In particular, section 773(c)(1)(B) of the Act reads:

                            ...the valuation of the factors of production shall be based on the best available
                            information regarding the values of such factors in a market economy country or
                            countries considered to be appropriate by the administering authority.

                    Section 773(c)(4) of the Act adds:

                    The administering authority shall utilize to the extent possible ... prices ... in one or more
                    market economy countries that are -

                            1. at a level of economic development comparable to that of the nonmarket
                            economy country, and

                            2. a significant producer of comparable merchandise.

                    The terms "comparable level of economic development," "comparable merchandise," and
                    "significant producer" are not defined in the statute. However, the Department's regulations
                    attempt to clarify the statute's general guidance regarding surrogate country selection. In
                    determining economic comparability, section 351.408 of the regulations places primary
                    emphasis on per capita income, although other information can be considered. Some
                    clarification is also provided in the Conference Report to the 1988 Omnibus Trade and
                    Competitiveness Act, which added to the statute the current NME provisions and states that
                    "significant producer" includes any country that is a "significant net exporter."(1) Section
                    351.408 of the regulations also makes clear that the relative weight attached to each of the
                    two selection criteria, described above, is unspecified because the relative importance that the
                    Department attaches to each will necessarily vary depending on the specific facts in each
                    case.

                    The Conference Report also states that the Department should seek to use, if possible, data
                    (in the surrogate market economy country) that reflect levels of technology and production
                    volumes that are similar to the producers under investigation.

                    Statement of Policy

https://enforcement.trade.gov/policy/bull04-1 html[4/2/2021 9:35:18 AM]   Appx71
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                    In each NME investigation and review, the team considers potential surrogate countries in
                    terms of their economic comparability to the NME country, and whether they are significant
                    producers of comparable merchandise. The team then designates one country as the primary
                    surrogate in a memo to the file, which explains how that country satisfies the statutory
                    selection criteria. The memo must give substantive reasons on the record for why it deems
                    the country selected to be a "significant producer" of comparable merchandise. It must
                    include more than mere assertions, and must separately address the significant producer and
                    comparable merchandise requirements. If one or both of the statutory criteria cannot be met,
                    the memo should explain why this is the case, and why the particular country was selected as
                    the primary surrogate.

                    The statute does not require that the Department use a surrogate country that is at a level of
                    economic development most comparable to the NME country and that is the most significant
                    producer of comparable merchandise. The statute requires only that the Department use a
                    surrogate market economy country that is at a level of economic development comparable to
                    that of the NME country and that is a significant producer of comparable merchandise. Even
                    these requirements are not binding, as the statute requires that they be met only to the extent
                    possible. Accordingly, the Department has adopted the following approach of sequential
                    consideration of the statutory elements.(2)

                    Economic Comparability

                    First, early in a proceeding, the operations team sends the Office of Policy ("OP") a written
                    request for a list of potential surrogate countries. In response, OP provides a list of potential
                    surrogate countries that are at a comparable level of economic development to the NME
                    country.(3) OP determines economic comparability on the basis of per capita gross national
                    income, as reported in the most current annual issue of the World Development Report (The
                    World Bank).(4) The surrogate countries on the list are not ranked and should be considered
                    equivalent in terms of economic comparability.(5) Both the team's written request and OP's
                    response should be made available to interested parties by being placed on the record of the
                    proceeding.

                    Comparable Merchandise

                    Second, the operations team identifies those countries with producers of comparable
                    merchandise among the potential surrogates on OP's list. As noted above, "comparable
                    merchandise" is not defined in the statute or the regulations, since it is best determined on a
                    case-by-case basis. Even so, there are some basic rules that every team should follow. In all
                    cases, if identical merchandise is produced,(6) the country qualifies as a producer of
                    comparable merchandise. In cases where identical merchandise is not produced, the team
                    must determine if other merchandise that is comparable is produced. How the team does this
                    depends on the subject merchandise. For example, in some cases, e.g., steel and textiles,
                    physical form and the extent of processing/finishing essentially distinguish different
                    products. In such cases, consideration of major inputs often is not required, as it is normally
                    sufficient for the team to identify comparable merchandise on the basis of physical
                    differences in the merchandise and whether the product is one of low or high value-added.
                    Thus, if circular steel pipe and tube were the subject merchandise, rectangular steel pipe and
                    tube, hot-rolled steel sheet and plate, steel wire rod, steel wire rope, steel bar, and structurals,
                    all of which are low value-added products of roughly similar form (made by combining iron,
                    energy, and further processing), would constitute comparable merchandise.

                    A similar approach can also be used in the case of industrial commodity chemicals and when


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                    the subject merchandise is part of a spectrum of light manufactured products, e.g., paper
                    clips, fireworks, wax candles, cased pencils, toys, shoes, gift boxes, folding metal tables and
                    chairs. In these cases, the large number, and generic nature, of the inputs makes input
                    matching very complicated. Therefore, it may make more sense for the operations team to
                    consider the physical characteristics of the merchandise, and the extent of further value-
                    added process in identifying comparable merchandise.

                    In other cases, however, where there are major inputs, i.e., inputs that are specialized or
                    dedicated or used intensively, in the production of the subject merchandise, e.g., processed
                    agricultural, aquatic and mineral products, comparable merchandise should be identified
                    narrowly, on the basis of a comparison of the major inputs, including energy, where
                    appropriate.

                    Significant Producer

                    Third, the operations team determines whether any of the countries which produce
                    comparable merchandise are "significant" producers of that comparable merchandise. The
                    extent to which a country is a significant producer should not be judged against the NME
                    country's production level or the comparative production of the five or six countries on OP's
                    surrogate country list. Instead, a judgement should be made consistent with the
                    characteristics of world production of, and trade in, comparable merchandise (subject to the
                    availability of data on these characteristics). Since these characteristics are specific to the
                    merchandise in question, the standard for "significant producer" will vary from case to case.
                    For example, if there are just three producers of comparable merchandise in the world, then
                    arguably any commercially meaningful production is significant. Intermittent production,
                    however, would not be significant. If there are ten large producers and a variety of small
                    producers, "significant producer" could be interpreted to mean one of the top ten. If, in the
                    example above, there is also a middle-size group of producers, then "significant producer"
                    could be interpreted as one of the top ten or middle group. In another case, there may not be
                    adequate data available from major producing countries. In such a case, "significant
                    producer" could mean a country that is a net exporter, even though the selected surrogate
                    country may not be one of the world's top producers. Because the meaning of "significant
                    producer" can differ significantly from case to case, fixed standards such as "one of the top
                    five producers" have not been adopted. For example, South Korea is, by almost any measure,
                    a significant producer of steel, even though in 2001 it was not one of the top five producers
                    overall.

                    Given that the decision as to what constitutes "significant production" in a particular case
                    depends on available (often scarce) data, the specific criteria and supporting factual
                    information used to determine whether a potential surrogate country is a significant producer
                    is left to the discretion of the operations team. The operations team may consult with U.S.
                    Government experts who have made their own assessments of the world's producers of
                    comparable merchandise or who can supply the team with country production or trade data.
                    Other possible sources of data supporting the "significant production" decision may include
                    non-governmental organizations or international trade/industry association publications and
                    similar sources.

                    Sometimes, none of the countries identified as being economically comparable are a
                    significant producer of comparable merchandise, as defined above. Or, it may happen that
                    some countries meet both criteria, but sufficient data (with respect to quantity and quality)
                    are not available to enable the Department to use any of those countries as the primary
                    surrogate. In such cases, the team should request a second list of potential surrogate countries
                    from OP, and then follow the country selection procedure described above.



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                    Data Considerations

                    Fourth, if more than one country has survived the selection process to this point, the country
                    with the best factors data is selected as the primary surrogate country.(7) Even if no issues
                    arise regarding economic comparability and significant production, data quality is a critical
                    consideration affecting surrogate country selection. After all, a country that perfectly meets
                    the requirements of economic comparability and significant producer is not of much use as a
                    primary surrogate if crucial factor price data from that country are inadequate or unavailable.
                    Limited data availability sometimes is the reason why the team will "go off" the OP list in
                    search of a viable primary surrogate country.

                    In assessing data and data sources, it is the Department's stated practice to use investigation
                    or review period-wide price averages, prices specific to the input in question, prices that are
                    net of taxes and import duties, prices that are contemporaneous with the period of
                    investigation or review, and publicly available data.

                    Exceptions to the Sequencing Procedure

                    Occasionally, there are also cases in which it is more appropriate for the team to address
                    economic comparability only after the significant producer of comparable merchandise
                    requirement is met. Cases where particular emphasis on "significant producer of comparable
                    merchandise" is warranted are generally those that involve subject merchandise that is
                    unusual or unique (with correspondingly unusual or unique inputs or other unique aspects of
                    the cost of production), e.g., crawfish, which is produced by only a few countries. See
                    Freshwater Crawfish Tail Meat from the People's Republic of China: Notice of Preliminary
                    Results of Antidumping Duty Administrative Review, 67 FR 63877 (October 16, 2002).
                    Particular emphasis on "significant producer of comparable merchandise" is also generally
                    warranted where major inputs are not widely traded internationally, e.g., electricity, which is
                    used intensively in the production of magnesium. See Notice of Preliminary Results of
                    Antidumping Duty Administrative Review: Pure Magnesium from the Russian Federation, 59
                    FR 55427 (November 7, 1994).(8)

                    The significant producer requirement is particularly important in these cases because the
                    Department wants to avoid selecting a surrogate country in which the relative scarcity (either
                    through domestic sources or through imports) of a major non- or little-traded input precludes
                    the country from being a competitive producer of comparable merchandise. For example, in
                    the Notice of Preliminary Determination of Sales at Less Than Fair Value: Urea Ammonium
                    Nitrate Solutions From the Russian Federation, 67 FR 62008 (October 3, 2002), the
                    Department placed particular emphasis on the significant producer requirement in light of the
                    gas-intensive nature of urea ammonium nitrate production, and the fact that natural gas is not
                    commonly imported into the countries being considered as surrogate countries.

                    In cases in which the significant producer of comparable merchandise criterion is particularly
                    important, the team should first ensure, on the basis of in-house research (including possible
                    communications with other U.S. Government experts) and any interested party comments,
                    that the significant producer of comparable merchandise requirement is met. Only after this
                    requirement is met should the team consider economic comparability. If the competing
                    significant producer countries are at disparate levels of economic development, and the
                    necessary factors data is available in these countries, then the team should use the country
                    closest to the NME country in terms of per capita GNI. On the other hand, if the significant
                    producer countries are at closely similar levels of economic development, as are the countries
                    on a surrogate country selection list, the team should use the country with the best factor
                    price data. Where only one country satisfies the significant producer and data requirements,
                    that country will normally be used.


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                    1. A net exporter is defined as a country whose exports exceed its imports.

                    2. An alternative approach that the Department has considered, but rejected as
                    administratively unfeasible would be to assess the extent to which each country "grades out"
                    overall with respect to the two statutory criteria. For example, each country would be
                    assessed with respect to economic comparability and the extent to which it was a significant
                    producer of comparable merchandise. These two grades would then be weighted together to
                    arrive at a composite grade for each country. Teams would then have to combine with this
                    composite grade an assessment or grading of factors data quality and completeness in the
                    country. The best surrogate would then be selected on the basis of this overall grade.

                    3. OP excludes non-market economy countries from the list of potential surrogate countries,
                    and also excludes countries that technically are presumed to be market economies, but which
                    in OP's judgement are unsuitable sources for factor values (e.g., Cuba).

                    4. In the past, the OP memos also referenced growth rates and the national distribution of
                    labor between the agriculture and non-agriculture sectors. However, since these factors are
                    not determinative in the selection of an economically comparable surrogate country, they will
                    no longer be included in future OP memos.

                    5. IA's current practice reflects in large part the fact that the statute does not require the
                    Department to use a surrogate country that is at a level of economic development most
                    comparable to the NME country.

                    6. If considering a producer of identical merchandise leads to data difficulties, the operations
                    team may consider countries that produce a broader category of reasonably comparable
                    merchandise.

                    7. An additional surrogate is sometimes used to fill factor price "holes" in the primary
                    surrogate.

                    8. For example, concerns were raised in Pure Magnesium from the Russian Federation about
                    the electricity-intensive nature of magnesium production and the fact that electricity, as a
                    general rule, is not significantly traded into potential surrogate countries. These concerns
                    made clear the importance, from an electricity valuation standpoint, of selecting a surrogate
                    that was a significant producer of magnesium or some other comparable electricity-intensive
                    product. However, none of the countries on OP's initial surrogate country list produced
                    "comparable merchandise," even after that had been more broadly defined. (After consulting
                    with experts at the U.S. Bureau of Mines and the DOC Trade Development Metals Division,
                    the Department concluded in that case that "comparable merchandise" comprised magnesium
                    and aluminum because both are "light metals" in terms of weight, are electricity-intensive
                    products, are produced using an electrolytic process, and share some common end-uses. The
                    Department, with the help of the U.S. Bureau of Mines, identified four significant producers
                    of such "comparable merchandise," defining significant production as production exceeding
                    100,000 metric tons per year. Venezuela, Argentina, Brazil and South Africa were found to
                    be "significant producers" of either magnesium or aluminum. Because only Brazil produced
                    magnesium, the Department selected Brazil as the primary surrogate country.




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                 503 F.Supp.3d 1278
      United States Court of International Trade.                 West Headnotes (21)

   CARBON ACTIVATED TIANJIN CO., LTD. and
   Carbon Activated Corporation, et al., Plaintiffs,            [1]     Customs Duties Foreign market value, fair
                          and                                           value, and adjustment
  Beijing Pacific Activated Carbon Products Co., Ltd.
    and Ningxia Guanghua Cherishmet Activated                           Department of Commerce conducts a four-step
        Carbon Co., Ltd., Plaintiff-Intervenors,                        process for selecting a primary surrogate
                           v.                                           country when an antidumping duty proceeding
            UNITED STATES, Defendant,                                   involves a nonmarket economy country: (1) the
                          and                                           Office of Policy (OP) assembles a list of
     Calgon Carbon Corporation and Cabot Norit                          potential surrogate countries that are at a
        Americas, Inc., Defendant-Intervenors.                          comparable level of economic development to
                                                                        the non-market economy country, (2)
                     Slip Op. 21-35                                     Commerce identifies countries from the list with
                            |                                           producers of comparable merchandise, (3)
                   Court No. 20-00007                                   Commerce determines whether any of the
                            |                                           countries    which       produce      comparable
                      April 2, 2021                                     merchandise are significant producers of that
                                                                        comparable merchandise, and (4) if more than
                                                                        one country satisfies those steps, Commerce will
Synopsis                                                                select the country with the best factors data.
Background: Exporters filed suit challenging                            Tariff Act of 1930 § 773,          19 U.S.C.A. §
Department of Commerce’s final results for eleventh                     1677b(c)(4).
administrative review of antidumping duty order on
activated carbon from People’s Republic of China.
Exporters moved for judgment on agency record.



Holdings: The Court of International Trade, Mark A.             [2]     Customs Duties Foreign market value, fair
Barnett, J., held that:                                                 value, and adjustment
[1]
    selection of primary surrogate country required                     When an antidumping duty proceeding involves
reconsideration;                                                        a nonmarket economy country, Department of
                                                                        Commerce generally values all factors of
[2]
   selection of surrogate data to value bituminous coal                 production in a single surrogate country,
required reconsideration;                                               referred to as the primary surrogate country.
[3]
                                                                        Tariff Act of 1930 § 773,       19 U.S.C.A. §
  selection of surrogate data to value coal tar pitch was
supported by substantial evidence; and                                  1677b(c)(3);    19 C.F.R. § 351.408(c)(2).

[4]
   refusal to make adjustments to financial ratios required
reconsideration.


Sustained in part and remanded.
                                                                [3]     Customs Duties Foreign market value, fair
                                                                        value, and adjustment
Procedural Posture(s): Review of Administrative
Decision; Motion for Judgment on Administrative
                                                                        In an antidumping duty proceeding, Department
Record.
                                                                        of Commerce prefers surrogate values that are

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       product-specific,    representative     of     a
       broad-market average, publicly available,                [6]    Customs Duties     Proceedings
       contemporaneous with the period of review                       Customs Duties     Scope of inquiry or review
       (POR), and tax and duty exclusive. Tariff Act of
       1930 § 773,       19 U.S.C.A. § 1677b(c)(4);                    The standard of review for an antidumping
                                                                       determination    requires    Department      of
          19 C.F.R. § 351.408(c)(1),(4).                               Commerce, not the Court of International Trade,
                                                                       to examine the administrative record and
                                                                       articulate a satisfactory explanation for its
                                                                       action.


[4]    Customs Duties Foreign market value, fair
       value, and adjustment

       In an antidumping duty proceeding, Department            [7]    Customs Duties     Proceedings
       of Commerce has broad discretion to determine
       what constitutes the best available information                 In an antidumping duty proceeding, Department
       for the selection of surrogate values. Tariff Act               of Commerce’s explanation must reasonably tie
       of 1930 § 773,     19 U.S.C.A. § 1677b(c)(4).                   the determination under review to the governing
                                                                       statutory standard and to the record evidence by
                                                                       indicating what statutory interpretations the
                                                                       agency is adopting and what facts the agency is
                                                                       finding.


[5]    Customs Duties Foreign market value, fair
       value, and adjustment

       Department of Commerce’s selection of
       Malaysia and rejection of Romania as primary             [8]    Customs Duties Foreign market value, fair
       surrogate country that was significant producer                 value, and adjustment
       of comparable merchandise was not adequately
       explained or supported with substantial                         The antidumping statute does not distinguish
       evidence, in final results of administrative                    between identical and comparable merchandise
       review of antidumping duty order on activated                   for purposes of identifying significant producer
       carbon from China; although Commerce stated                     countries in selecting surrogate values when the
       that it analyzed exports of comparable                          antidumping duty proceeding involves a
       merchandise from list of six countries,                         nonmarket economy country. Tariff Act of 1930
       Commerce failed to explain its analysis or make                 § 773,     19 U.S.C.A. § 1677b(c)(4)(B).
       comparative analysis of data quality, failed to
       explain why favoring production of identical
       rather than comparable merchandise comported
       with antidumping statute, and failed to explain
       why its preliminary finding based on export
       quantity was no longer valid or cite substantial
       evidence for change in final results. Tariff Act         [9]    Customs Duties     Proceedings
       of 1930 § 773,               19 U.S.C.A. §
       1677b(c)(4)(B).                                                 Although Department of Commerce has the
                                                                       flexibility to change its position from the
                                                                       preliminary results of an administrative review
                                                                       of an antidumping order to the final results, the
                                                                       agency must explain the basis for its change, and
                                                                       that explanation must be supported by

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       substantial evidence.                                             appropriate indicates a congressional intent that,
                                                                         absent a strong contrary reason, the court should
                                                                         insist that parties exhaust their remedies before
                                                                         the pertinent administrative agencies. 28
                                                                         U.S.C.A. § 2637(d).


[10]   Customs Duties      Scope of inquiry or review

       Court of International Trade must ensure that
       Department of Commerce’s change in position
       from the preliminary results of an administrative          [14]   Customs Duties      Proceedings
       review of an antidumping order to the final
       results is not arbitrary.                                         Department of Commerce need not expressly
                                                                         notify interested parties any time it intends to
                                                                         change its methodology between its preliminary
                                                                         and final antidumping determinations when
                                                                         there is relevant data in the record and interested
                                                                         parties advance arguments related to that data
                                                                         before Commerce; however, parties are not
[11]   Customs Duties Foreign market value, fair                         required to anticipate issues that have not been
       value, and adjustment                                             raised by a party or the agency at that point. 28
                                                                         U.S.C.A. § 2637(d).
       In selecting the primary surrogate country,
       Department of Commerce’s practice is not to
       evaluate the extent to which a country is a
       significant producer against the comparative
       production of the five or six countries on
       Commerce’s surrogate country list. Tariff Act of
       1930 § 773,     19 U.S.C.A. § 1677b(c)(4).                 [15]   Customs Duties Court of International Trade
                                                                         (Formerly Customs Court) and Proceedings
                                                                         Therein

                                                                         Exporters were not required to exhaust
                                                                         administrative remedies for their argument that
                                                                         financial statements demonstrated Romania was
[12]   Customs Duties      Scope of inquiry or review                    significant producer, in challenging Department
                                                                         of Commerce’s selection of Malaysia and
       The government’s post hoc rationalizations are                    rejection of Romania as primary surrogate
       not a basis upon which the Court of                               country that was significant producer of
       International Trade may sustain Department of                     comparable merchandise in final results of
       Commerce’s antidumping determination.                             administrative review of antidumping duty order
                                                                         on activated carbon from China, since
                                                                         Romania’s status as significant producer was not
                                                                         among issues raised by interested parties or
                                                                         Commerce prior to Commerce’s issuance of
                                                                         final results. Tariff Act of 1930 § 773,      19
                                                                         U.S.C.A. § 1677b(c)(4)(B); 28 U.S.C.A. §
[13]   Customs Duties Court of International Trade
                                                                         2637(d).
       (Formerly Customs Court) and Proceedings
       Therein

       While exhaustion is not jurisdictional, the statute
       directing Court of International Trade to require
       the exhaustion of administrative remedies when

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[16]   Customs Duties Foreign market value, fair                        Department of Commerce’s selection of
       value, and adjustment                                            surrogate data to value coal tar pitch, in final
                                                                        results of eleventh administrative review of
       Department of Commerce’s selection of                            antidumping duty order on activated carbon
       surrogate data to value bituminous coal was not                  from China, was supported by substantial
       adequately explained or supported with                           evidence, although Commerce valued coal tar
       substantial evidence, in final results of                        pitch using Malaysian import data under tariff
       administrative review of antidumping duty order                  schedule provision covering coal tar in tenth
       on activated carbon from China; path of                          review but relied on provision covering pitch
       Commerce’s reasoning could not be discerned                      from coal and other mineral tars in eleventh
       for selecting Romanian import data under tariff                  review, since Commerce explained that
       schedule as surrogate value for bituminous coal                  exporters each reported input as coal tar pitch
       after finding average unit value of Malaysian                    and not coal tar, that coal tar pitch was referred
       imports under that provision was unreliable, for                 to as pitch in commercial parlance, that two
       rejecting exporters’ request to use import data                  types of coal tar pitch were derived from
       under different provision, or for refusing to                    fractionated distillation of coal tar, and that
       apply tariff schedule note to other countries’                   selected tariff provision covered pitch as product
       import data, or whether Commerce considered                      of coal tar distillation process.
       evidence of exporters’ use of specific type of
       bituminous coal or found such evidence
       insufficient.



                                                                 [20]   Customs Duties Court of International Trade
                                                                        (Formerly Customs Court) and Proceedings
                                                                        Therein
[17]   Customs Duties     Proceedings
                                                                        Exporters failed to exhaust administrative
       Each administrative review of an antidumping                     remedies for their arguments that explanatory
       duty order is a separate exercise of Department                  notes (ENs) to tariff schedule subheading
       of Commerce’s authority that allows for                          supported finding that coal tar pitch was covered
       different conclusions based on different facts in                by that subheading and that Malaysian import
       the record.                                                      data under subheading that Department of
                                                                        Commerce selected was aberrant due to
                                                                        predominance of Spanish exports in average unit
                                                                        values, in final results of eleventh administrative
                                                                        review of antidumping duty order on activated
                                                                        carbon from China, since exporters failed to
                                                                        assert arguments before Commerce despite
[18]   Customs Duties     Proceedings                                   ample opportunity to do so. 28 U.S.C.A. §
                                                                        2637(d).
       Department of Commerce must adequately
       explain its treatment of similar situations
       differently in different administrative reviews of
       the same antidumping duty order.


                                                                 [21]   Customs Duties Determination, Judgment,
                                                                        and 5HOLHIௗ6XPPDU\-XGJPHQW

                                                                        Department of Commerce’s adjustments to
[19]   Customs Duties Foreign market value, fair                        financial ratios, in final results of eleventh
       value, and adjustment                                            administrative review of antidumping duty order
                                                                        on activated carbon from China, required

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        remand for reconsideration, since in tenth              (“China”) for the period of review (“POR”) April 1, 2017,
        review Court of International Trade had                 through March 31, 2018. See Certain Activated Carbon
        sustained Commerce’s determination on remand            From the People’s Republic of China, 84 Fed. Reg.
        to make adjustments to financial ratios based on        68,881 (Dep’t Commerce Dec. 17, 2019) (final results of
        financial statement that was similar to, if not         antidumping duty admin. review; 2017–2018) (“Final
        same as, adjustments Commerce declined to               Results”), ECF No. 39-2, and accompanying Issues and
        make in eleventh review, and there were                 Decision Mem., A-570-904 (Dec. 11, 2019) (“I&D
        discrepancies in Commerce’s explanation for             Mem.”), ECF No. 39-3.1
        declining to make adjustments.
                                                                Plaintiffs    and     Plaintiff-Intervenors     (collectively,
                                                                “Plaintiffs”)2 challenge Commerce’s *1282 (1) selection
                                                                of Malaysia instead of Romania as the primary surrogate
                                                                country; (2) selection of surrogate values for Carbon
                                                                Activated’s and DJAC’s inputs of bituminous coal and
                                                                coal tar pitch; and (3) calculation of surrogate financial
                                                                ratios. See Confidential Pls.’ and Pl.-Ints.’ Mot. for J. on
Attorneys and Law Firms                                         the Agency R. Pursuant to Rule 56.2, ECF No. 43, and
                                                                accompanying [Corrected] Confidential Mem. of Law in
*1281 Dharmendra N. Choudhary and Jordan C. Kahn,
                                                                Supp. of Pls.’ and Pl.-Ints.’ Mot. for J. on the Agency R.
Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP,
                                                                Pursuant to USCIT Rule 56.2 (“Pls.’ Mem.”), ECF No.
of      Washington,     DC,      for    Plaintiffs   and
                                                                59; Confidential Pls.’ and Pl.-Ints.’ Reply to Def. and
Plaintiff-Intervenors. With them on the brief was Francis
                                                                Def.-Ints.’ Resps. to Pls.’ and Pl.-Ints.’ Rule 56.2 Mot. for
J. Sailer.
                                                                J. on the Agency R. (“Pls.’ Reply”), ECF No. 50.
Mollie L. Finnan, Senior Trial Counsel, U.S. Department
of Justice, Civil Division, Commercial Litigation Branch,       Defendant United States (“the Government”) and
of Washington, DC, for Defendant. With her on the brief         Defendant-Intervenors Calgon Carbon Corporation and
were Jeffrey B. Clark, Acting Assistant Attorney General,       Cabot Norit Americas, Inc. (together, “Calgon”) filed
Jeanne E. Davidson, Director, and Claudia Burke,                response briefs in support of Commerce’s determinations
Assistant Director. Of counsel were Ian A. McInerney and        respecting each contested issue. See Def.’s Resp. to Pls.’
Ayat Mujais, Attorneys, Office of the Chief Counsel for         Rule 56.2 Mot. for J. on the Agency R. (“Def.’s Resp.”),
Trade Enforcement & Compliance, U.S. Department of              ECF No. 45; Confidential Def.-Ints.’ Resp. Br. in Opp’n
Commerce, of Washington, DC.                                    to Pls.’ Mot. for J. on the Agency R. (“Def.-Ints.’ Resp.”),
                                                                ECF No. 48. At oral argument, the Government
Melissa M. Brewer, Kelley Drye & Warren LLP, of                 acknowledged that a remand with respect to financial
Washington, DC, for Defendant-Intervenors. With her on          ratios may be appropriate given Commerce’s recent
the brief were John M. Herrmann, R. Alan Luberda, and           consideration of similar adjustments on remand in the
Julia A. Kuelzow.                                               tenth administrative review (“AR10”) of the underlying
                                                                order. Oral Arg. 1:38:55–1:40:05 (approximate time
                                                                stamp     from       oral    argument),      available    at
                                                                https://www.cit.uscourts.gov/sites/cit/files/031121-20-000
                                                                07-MAB.mp3 (last visited Apr. 2, 2021).

                                                                For the following reasons, the court sustains Commerce’s
                                                                selection of surrogate data to value coal tar pitch and
                                                                remands Commerce’s determinations with respect to
               OPINION AND ORDER                                surrogate country selection, selection of surrogate data to
                                                                value bituminous coal, and calculation of financial ratios.
BARNETT, Judge:

This matter is before the court following the U.S.
Department of Commerce’s (“Commerce” or “the
                                                                                     BACKGROUND
agency”) final results in the eleventh administrative
review (“AR11”) of the antidumping duty order on certain        Commerce initiated AR11 on June 6, 2018. Initiation of
activated carbon from the People’s Republic of China            Antidumping and Countervailing Duty Administrative

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Reviews, 83 Fed. Reg. 26,258, 26,260 (Dep’t Commerce           I. Legal Framework for Surrogate Country and
June 6, 2018). On July 3, 2018, Commerce selected              Surrogate Value Selection
Carbon Activated and DJAC as mandatory respondents.3           An antidumping duty is “the amount by which the normal
Selection of Respondents for Individual Review (July 3,        value exceeds the export price (or the constructed export
2018) at 5, PR 27, CJA Tab 2.                                  price) for the merchandise.”     19 U.S.C. § 1673. When
                                                               an antidumping duty proceeding involves a nonmarket
On June 14, 2019, Commerce issued its preliminary              economy country, Commerce determines normal value by
results. Certain Activated Carbon From the People’s            valuing the factors of production6 used in producing the
Republic of China, 84 Fed. Reg. 27,758 (Dep’t Commerce         subject merchandise; general expenses; profit; and “the
June 14, 2019) (prelim. results of antidumping duty admin.     cost of containers, coverings, and other expenses” in a
review and prelim. determination of no shipments;              surrogate market economy country. Id. § 1677b(c)(1). In
2017–2018) (“Preliminary Results”), PR 234, CJA Tab            selecting these “surrogate values,” Commerce must, “to
21, and accompanying Decision Mem. for the Prelim.             the extent possible,” use data from a market economy
Results, A-570-904 (June 10, 2019) (“Prelim. Mem.”), PR        country that is at “a level of economic development
225, CJA Tab 19. Commerce calculated preliminary               comparable to that of the nonmarket economy country”
weighted-average dumping margins for Carbon Activated          and is a “significant producer[ ] of comparable
and DJAC in the amounts of 1.65 percent and 4.33               merchandise.” Id. § 1677b(c)(4).
percent, respectively. Prelim. Results, 84 Fed. Reg. at
27,759. Commerce calculated a separate rate for                [1] [2] [3] [4]
                                                                          Commerce has adopted a four-step process for
non-examined respondents in the amount of 3.90 percent,        selecting a primary surrogate country:
equal to the weighted-average rate of the mandatory
respondents based on U.S. sales volume. Id.

Commerce issued the Final Results on December 17,                                (1) the Office of Policy (“OP”)
2019. Following several changes to the Preliminary                               assembles a list [(“the OP List”)] of
Results, Commerce calculated final weighted-average                              potential surrogate countries that
dumping margins for Carbon Activated and DJAC in the                             are at a comparable level of
amounts of 1.02 percent and 0.86 percent, respectively.                          economic development to the
*1283 Final Results, 84 Fed. Reg. at 68,882. The separate                        [non-market economy] country; (2)
rate was therefore reduced to 0.89 percent. Id.                                  Commerce identifies countries
                                                                                 from the list with producers of
This appeal followed. See Summons, ECF No. 1; Compl.,                            comparable      merchandise;      (3)
ECF No. 7. The court heard oral argument on March 11,                            Commerce determines whether any
2021. See Docket Entry, ECF No. 65.4                                             of the countries which produce
                                                                                 comparable       merchandise      are
                                                                                 significant producers of that
                                                                                 comparable merchandise; and (4) if
                                                                                 more than one country satisfies
  JURISDICTION AND STANDARD OF REVIEW                                            steps (1)–(3), Commerce will select
                                                                                 the country with the best factors
The court has jurisdiction pursuant to section                                   data.
516A(a)(2)(B)(iii) of the Tariff Act of 1930, as amended,
   19 U.S.C. § 1516a(a)(2)(B)(iii) (2018) and 28 U.S.C. §
1581(c) (2018).5 The court will uphold an agency
determination that is supported by substantial evidence           Jiaxing Brother Fastener Co. v. United States, 822
and otherwise in accordance with law.         19 U.S.C. §      F.3d 1289, 1293 (Fed. Cir. 2016) (second alteration
1516a(b)(1)(B)(i).                                             original); see also Import Admin., U.S. Dep’t of
                                                               Commerce, Non–Market Economy Surrogate Country
                                                               Selection Process, Policy Bulletin 04.1 (2004) (“Policy
                                                               Bulletin                                           04.1”),
                                                               http://enforcement.trade.gov/policy/bull04-1.html    (last
                     DISCUSSION                                visited Apr. 2, 2021). Commerce generally values all
                                                               factors of production in a single surrogate country,
                                                               referred to as the “primary surrogate country.” See    19

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C.F.R. § 351.408(c)(2) (excepting labor). But see              for production data.” Id. at 7. Commerce did not, however,
Antidumping Methodologies in Proceedings Involving             explain its analysis of any country’s exports or
Non–Market Economies: Valuing the Factor of                    incorporate its preliminary analysis. See id. at 7–8.
Production: Labor, 76 Fed. Reg. 36,092, 36,093–94              Commerce concluded that the record demonstrated that
(Dep’t Commerce June 21, 2011) (expressing a                   Malaysia was “a significant producer of identical
preference to value labor based on industry-specific labor     merchandise” during the POR, but that the record did not
rates from the primary *1284 surrogate country).               support a finding that Romania was a significant producer
Commerce prefers surrogate values that are                     of comparable merchandise. Id. at 8. Commerce explained
“product-specific, representative of a broad-market            that the record contained “three Malaysian financial
average, publicly available, contemporaneous with the          statements” indicating that the “principal business
POR, and tax and duty exclusive.” I&D Mem. at 13 &             activity” for each company “is the manufacture of
n.68 (citation omitted); see also          19 C.F.R. §         activated carbon,” id. at 7, whereas the record contained
351.408(c)(1),(4) (directing Commerce to select “publicly      “only one financial statement ... from a Romanian
available”/“non-proprietary information” to value factors      company,” id. at 8. Commerce noted that Romcarbon
of production and “manufacturing overhead, general             produced some activated carbon but primarily produced
expenses, and profit”). Commerce has broad discretion to       “polyethylene, polypropylene, polyvinyl chloride,
determine what constitutes “the best available                 polystyrene processing, filters and protective materials.”
information” for the selection of surrogate values. QVD        Id.7 Thus, while rejecting the Malaysian financial
Food Co. v. United States, 658 F.3d 1318, 1323 (Fed. Cir.      statements to value financial ratios, id. at 9, Commerce
2011).                                                         selected Malaysia as the primary surrogate country
                                                               because “it provides stronger evidence of production of
                                                               the subject merchandise in the form of multiple financial
                                                               statements,” id. at 7–8. Commerce declined to compare
                                                               the quality and availability of Malaysian and Romanian
                                                               data *1285 for the purpose of primary surrogate country
II. Primary Surrogate Country Selection                        selection, finding the issue to be “moot.” Id. at 8.
For the Preliminary Results, Commerce determined that
Malaysia and Romania, among other countries on the OP          Commerce used Malaysian data to value Respondents’
List, constituted significant producers of comparable          factors of production with exceptions for financial ratios
merchandise for the POR based on their respective export       and bituminous coal, for which the agency used
volumes. See Prelim. Mem. at 14. Commerce also found           Romanian data. See Surrogate Values for the Final
that Thailand constituted a significant producer of            Results (Dec. 11, 2019) (“Final SV Mem.”), Attach. 1, PR
comparable merchandise based on net exports by volume.         265–66, CJA Tab 28.
See id. at 15. Based on its subsequent analysis of
surrogate value data, Commerce preliminarily selected
Malaysia as the primary surrogate country and Romania
as the secondary surrogate country. See id. at 15–16.
Commerce selected Malaysian import data to value
Respondents’ “raw materials, energy, and packing                  A. Parties’ Contentions
material inputs,” id. at 24, and used a financial statement    Plaintiffs raise several challenges to Commerce’s
from a Romanian company, Romcarbon S.A.                        surrogate country selection. Plaintiffs first contend that
(“Romcarbon”), to value financial ratios, id. at 26.           Commerce failed to address its departure from the
                                                               Preliminary Results with respect to Romania’s status as a
For the Final Results, Commerce continued to select            significant producer. Pls.’ Mem. at 32. Plaintiffs further
Malaysia    as     the    primary     surrogate  country       contend that “Commerce’s elimination of Romania was
notwithstanding Respondents’ arguments favoring                not ‘supported by substantial evidence.’ ” Id. Plaintiffs
Romania. I&D Mem. at 6–7. Commerce noted that both             point to record evidence concerning Romcarbon’s share
Malaysia and Romania are “at the same level of economic        of Romanian consumption of activated carbon, which
development as China.” Id. at 6. With respect to the           Plaintiffs argue can be used to ascertain total Romanian
significant producer criterion, however, Commerce              consumption of activated carbon in 2017 and, in turn,
departed from its preliminary analysis.                        total Romanian production of activated carbon. See id. at
                                                               32–33. Plaintiffs also contend that Commerce’s selection
Commerce stated that it relied on “exports of comparable       of Malaysia rests on a misinterpretation of both
merchandise from the six OP List countries, as a proxy         Commerce policy, which disfavors the “comparison of


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production data,” id. at 34, and               19 U.S.C. §         Reconsideration
                                                                [5] [6]
1677b(c)(4), which permits the identification of more than              Commerce has failed to adequately explain or
one significant producer country and does not contain a         support with substantial evidence its selection of Malaysia
preference for identical merchandise, see id. at 34–36;         and rejection of Romania as the primary surrogate country.
Pls.’ Reply at 9–10. Lastly, Plaintiffs contend that            While Commerce stated that it “analyzed exports of
Commerce should have selected Romania as the primary            comparable merchandise from the six OP List countries,”
surrogate country pursuant to statutory language                the agency neglected to explain its analysis or state any
indicating that the significant producer criterion need only    findings in that regard. See I&D Mem. at 7. The
be satisfied “to the extent possible” because Romania           Government’s assertion that Commerce based its
                                             p
provided quality surrogate values for Respondents’     main     determination on Global Trade Atlas and 2017 UN
                                                                Comtrade data regarding export values and volume is not
inputs. Pls.’ Mem. at 36 (quoting              19 U.S.C. §      persuasive. See Def.’s Resp. at 14 (citing I&D Mem. at 7
1677b(c)(4)).                                                   & n.34). The Government relies on a footnote in the
                                                                Issues and Decision Memorandum containing import and
The Government contends that Commerce’s selection of            export volume data for each country on the OP List that
Malaysia as the primary surrogate country is supported by       merely substantiates Commerce’s assertion that no
substantial evidence. Def.’s Resp. at 12. The Government        country is a net exporter by volume. See I&D Mem. at 7
points to evidence concerning Malaysia’s export value           n.34. Commerce did not, however, analyze the data or
and volume, id. at 14 (citing I&D Mem. at 7 & n.34), and        reference the value of any country’s exports. See id. The
the three Malaysian companies’ production of identical          Government’s assertion at oral argument that the court
merchandise, id. at 15. The Government further contends         may instead infer Commerce’s “analysis ... from the
that “[s]ubstantial evidence in the record supports             record,” Oral Arg. 8:25–8:47, also lacks merit. The
Commerce’s ultimate conclusion that Romania was not a           standard of review requires Commerce, not the court, to
significant producer of comparable merchandise during           “examine the record and articulate a satisfactory
the period of review,” id. at 16, and Plaintiffs failed to
exhaust their argument that Romcarbon’s financial               explanation for its action.”    Yangzhou Bestpak Gifts &
statements demonstrated that Romania was a significant          Crafts Co. v. United States, 716 F.3d 1370, 1378 (Fed. Cir.
producer, id. at 18–21; see also Def.-Ints.’ Resp. at 11–12     2013).
& n.1.                                                          [7]   [8]
                                                                       Commerce’s statements regarding Malaysian
Calgon contends that Plaintiffs’ arguments amount to an         production of identical merchandise does not save its
impermissible request for the court to reweigh the              determination. Commerce’s “explanation must reasonably
evidence and rest on the erroneous conclusion that the          tie the determination under review to the governing
record supports a finding that Romania is a significant         statutory standard and to the record evidence by
producer of comparable merchandise. See Def.-Ints.’             indicating what statutory interpretations the agency is
Resp. at 10–13.                                                 adopting and what facts the agency is finding.” CS Wind
                                                                Vietnam Co. v. United States, 832 F.3d 1367, 1376 (Fed.
In their Reply, Plaintiffs counter that the Government has      Cir. 2016).        Section 1677b(c)(4)(B) “does not
advanced impermissible post hoc justifications for              distinguish    between     identical   and    comparable
Commerce’s decision with respect to the Government’s            merchandise” for purposes
                                                                                       p        of identifying significant
analysis of export data. Pls.’ Reply at 9. Plaintiffs further   producer countries.          Foshan Shunde Yongjian
contend that the doctrine of administrative exhaustion          Housewares & Hardwares Co. v. United States, 37 C.I.T.
should not preclude arguments concerning Romania’s              256, 264, 896 F.Supp.2d 1313, 1322 (2013). Commerce’s
production of comparable merchandise because                    conclusion that “Malaysia provides the best available
Commerce preliminarily found that Romania was a                 information ... because it is the only country on the OP
significant producer of comparable merchandise and              List that is a significant producer of identical
Petitioners did not challenge that finding in their             merchandise” suggests, however, that the agency favored
administrative case brief. Id. at 4–6.                          the production of identical merchandise when selecting a
                                                                primary surrogate country. I&D Mem. at 8 (emphasis
                                                                added). Commerce failed to explain why any such
                                                                preference comports with the plain statutory language or
                                                                constitutes a permissible interpretation thereof.8
                                                                Commerce also did not explain why production of
  *1286 B. Commerce’s Selection of Malaysia as the
                                                                identical merchandise by three companies was
  Primary Surrogate Country Requires

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“significant” pursuant to      section 1677b(c)(4). See id.;   Policy Bulletin 04.1; Fresh Garlic Prods. Assoc. v. United
cf. Policy Bulletin 04.1 (explaining that Commerce’s           States, 40 CIT ––––, ––––, 180 F. Supp. 3d 1233, 1244
decision “should be made consistent with the                   (2016)). Notably, the Government does not cite to
characteristics of world production of, and trade in,          Commerce’s determination, which lacks any such
comparable merchandise (subject to the availability of         analysis of Romanian production in the context of world
data on these characteristics)”).                              production. The Government’s post hoc rationalizations
                                                               are not a basis upon which the court may sustain
[9]
   With respect to Commerce’s consideration of Romania,        Commerce’s determination. See          Burlington Truck
although “Commerce *1287 has the flexibility to change         Lines, Inc. v. United States, 371 U.S. 156, 168–69, 83
its position” from the Preliminary Results to the Final        S.Ct. 239, 9 L.Ed.2d 207 (1962).
Results, the agency must “explain the basis for its change”
and that explanation
             p        must be “supported by substantial        The Government also argues that the court should sustain
evidence.”      Asociacion Colombiana de Exportadores          Commerce’s selection of Malaysia as the primary
de Flores v. United States, 22 C.I.T. 173, 185, 6 F. Supp.     surrogate country irrespective of any shortcomings in
2d 865, 880 (1998); see also Peer Bearing Co. v. United        Commerce’s decision regarding Romania *1288 because
States, 22 C.I.T. 472, 481–82, 12 F. Supp. 2d 445, 456         Commerce expressed its clear view that the quality of the
(1998).                                                        available data supports Malaysia. Oral Arg. 23:46–24:34;
                                                               cf. Def.’s Resp. at 14 (arguing that Commerce based its
[10]
   For these Final Results, Commerce purported to              selection of Malaysia, in part, on consideration of the
reconsider the export quantities it had relied on for the      fourth selection criterion—data quality). The Government
Preliminary Results. I&D Mem. at 7; see generally Prelim.      misconstrues Commerce’s sequential surrogate country
Mem. at 14. Without any analysis, however, Commerce            selection methodology and the court’s standard of review.
reached the contrary conclusion that “the record ... does      Commerce selected Malaysia after concluding that
not support a finding that Romania ... is a significant        Malaysia was a significant producer of identical
producer of comparable merchandise.” I&D Mem. at 8             merchandise and Romania was not a significant producer
(emphasis added). Commerce failed to explain why its           of comparable merchandise. See I&D Mem. at 7–8.
preliminary finding based on export quantity was no            Commerce subsequently considered Malaysian data
longer valid or cite substantial evidence for the change.9     quality in isolation and without reference to the
                                                               comparable quality of Romanian data because Commerce
[11]
     Commerce appears to have based its decision on a          found that Romania did not meet the significant producer
comparison of the number of financial statements on the        requirement of       section 1677b(c)(4)(B). See id. at 8.11
record from Romania as compared to Malaysia and                Thus, the court cannot sustain Commerce’s determination
differences in the principal production activities among       on this basis.
the companies. See id. at 7–8. However, “Commerce’s
practice is not to evaluate [t]he extent to which a country    Plaintiffs argue that record evidence concerning
is a significant producer ... against ... the comparative      Romcarbon’s share of the domestic market establishes
production of the five or six countries on [Commerce’s]        that Romania is a significant producer of comparable
surrogate country list.”     Jacobi Carbons AB v. United       merchandise. Pls.’ Mem. at 32–33. It is not the court’s
States, 43 CIT ––––, ––––, 365 F. Supp. 3d 1344, 1353          role to determine in the first instance whether the
(2019) (citation omitted) (alterations original); see also     evidence favors Plaintiffs’ position. As discussed below,
Policy Bulletin 04.1.                                          the question is whether Plaintiffs waived those arguments,
                                                               as Defendant and Calgon contend, or should have the
[12]
     The Government offers no persuasive defense of            opportunity to present the arguments to Commerce.
Commerce’s determination. The Government asserts that          [13]
“Commerce reasonably concluded that Romania’s exports               Congress has directed the court to, “whe[n] appropriate,
by value (102,387 USD) and quantity (3051 kg) were too         require the exhaustion of administrative remedies.” 28
small to reflect significant production on this record.”       U.S.C. § 2637(d). While exhaustion is not jurisdictional,
Def.’s Resp. at 16 (citing DJAC and Carbon Activated           Weishan Hongda Aquatic Food Co. v. United States, 917
Surrogate Country Cmts. (Oct, 12, 2018) (“Respondents’         F.3d 1353, 1363–64 (Fed. Cir. 2019), the statute
SC Cmts.”), PR 99, CJA Tab 6).10 The Government                “indicates a congressional intent that, absent a strong
further asserts that “Commerce reasonably concluded that       contrary reason, the [USCIT] should insist that parties
Romanian production of activated carbon was not                exhaust their remedies before the pertinent administrative
significant in terms of world production of, and trade in,     agencies,” id. at 1362 (quoting       Boomerang Tube LLC
comparable merchandise.” Def.’s Resp. at 17 (citing            v. United States, 856 F.3d 908, 912 (Fed. Cir. 2017)).
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                                                               as the surrogate value for bituminous coal after finding
[14]
   The Government argues that Respondents should have          that the average unit value of Malaysian imports under
raised their domestic market share argument before             HS 2701.12 was unreliable. I&D Mem. at 13–15.
Commerce because they “had full and fair notice of the         Commerce rejected Respondents’ request to use import
agency’s intent to rely on Malaysia rather than Romania        data under HS 2701.19, which covers “Other Coal,” to
or another country.” Def.’s Resp. at 20; cf. Def.-Ints.’       value certain inputs of bituminous coal. Id. at 13–14.
Resp. at 11–12 & n.1.12 For the Preliminary Results,           Respondents based their request on the application of
however, Commerce determined that Romania, among               Chapter 27, Subheading Note 2 (“Note 2”) to their inputs.
other countries, was a significant producer of comparable      See id. at 14. Note 2 limits HS 2701.12, inter alia, to
merchandise and reached its surrogate country decision         bituminous coal with “a calorific value limit ... equal to or
based on an analysis of each countries’ respective data        greater than 5,833 kcal/kg.” Id. Respondents therefore
quality. Prelim. Mem. at 14–16. Petitioners did not            reasoned that Commerce should value bituminous coal
advance arguments challenging Commerce’s findings              with a calorific value that is less than 5,833 kcal/kg under
regarding the significant producer criterion, see generally    HS 2701.19. Id.
Pet’rs’ [Case] Br. (Oct. 7, 2019), CR 422, PR 253, CJA
Tab 23, and Commerce did not signal any intention to           Upon review of the record, Commerce concluded that
revisit its analysis. Commerce need not “expressly notify      Note 2 applied solely to Thai import data and declined to
interested parties any time it intends to change its           apply Note 2 to another country’s import data. Id. at 14 &
methodology between its preliminary and final                  n.76 (citing Carbon Activated Resp. to Sec. D Suppl.
determinations” when there is “relevant *1289 data in the      Questionnaire (Pt. I) (Feb. 21, 2019) (“Carbon
record” and interested parties advance “arguments related      Activated’s 1SDQR (Pt. I)”) at 19, CR 254–88, PR
to that data before Commerce.”        Boomerang, 856 F.3d      162–65, CJA Tab 12); see also Carbon Activated’s
                                                               1SDQR (Pt. I), Ex. SD-27 (copy of Note 2). Commerce
at 913. However, “ Boomerang does not require parties          also found that Respondents had failed to demonstrate
to anticipate issues that have not been raised by a party or   consumption of the type of sub-bituminous coal typically
the agency at that point.” Calgon Carbon Corp. v. United       “used as a heat source” that would be covered by HS
States (“Calgon AR10”), 44 CIT ––––, ––––, 443 F. Supp.        2701.19. I&D Mem. at 14.
3d 1334, 1353 (2020) (citing       Boomerang, 856 F.3d at
913).
[15]
   Here, Romania’s status as a significant producer was
not among the issues raised by interested parties or
Commerce prior to Commerce’s issuance of the Final                A. Parties’ Contentions
Results. Thus, Plaintiffs’ arguments are not precluded by      Plaintiffs contend that Commerce’s declination to
the doctrine of administrative exhaustion.13                   recognize the applicability of Note 2 to all countries in the
                                                               World Customs Organization (“WCO”) through the
In sum, Commerce has not provided an adequate                  Harmonized System of Nomenclature contradicts
explanation supported by substantial evidence giving           Commerce practice and judicial precedent. Pls.’ Mem. at
effect to the statutory term “significant producer of          17–19.14 Plaintiffs *1290 also contend that Commerce
                                                               erred in incorporating use as a consideration in its
comparable merchandise” pursuant to         19 U.S.C. §
                                                               surrogate value selection because HS 2701.19 is not
1677b(c)(4)(B). The court is unable to discern
                                                               delimited by use. Id. at 20.
Commerce’s reasons for rejecting Romania as a primary
surrogate country; selecting Malaysia as the primary
                                                               The Government contends that Commerce’s reliance on
surrogate country; and avoiding any comparative analysis
                                                               Romanian import data under HS 2701.12 is supported by
of data quality for that purpose. Accordingly,
                                                               substantial evidence. Def.’s Resp. at 22. The Government
Commerce’s       determination     is    remanded    for
                                                               asserts that there is no record evidence demonstrating that
reconsideration and further explanation.
                                                               Note 2 is identical for all WCO countries or that
                                                               Respondents used the type of bituminous coal that would
                                                               be covered by HS 2701.19. See id. at 22–23; cf.
                                                               Def.-Ints.’ Resp. at 16–18.

III. Bituminous Coal                                           Calgon contends that the precedent relied on by Plaintiffs
For the Final Results, Commerce selected Romanian              is distinguishable. Def.-Ints.’ Resp. at 16–17. Calgon
import data under Harmonized Schedule (“HS”) 2701.12           further contends that the inclusion of “Additional U.S.
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Notes” in the U.S. Harmonized Tariff System (“HTSUS”)          Additionally, Commerce’s understanding of the record
supports Commerce’s decision not to assume that                evidence concerning the characteristics of Respondents’
subheading notes are identical across countries. See id. at    bituminous coal inputs is unclear. Commerce stated that
17.                                                            “[R]espondents have not provided any evidence that they
                                                               used [the type of bituminous coal that] would be
                                                               categorized as HS 2701.19.” I&D Mem. at 14 (emphasis
                                                               added). There is, however, some indication in the record
                                                               that Respondents (or their respective suppliers) consumed
                                                               bituminous coal with a calorific value that is less than
    B. Commerce’s Selection of Surrogate Data to Value         5,833 kcal/kg. See Carbon Activated Resp. to Sec. D Pts.
    Bituminous Coal Requires Reconsideration and               II and III First Suppl. Questionnaire (Mar. 15, 2019)
    Further Explanation                                        (“Carbon Activated’s SDQR Pts. II–III”), Ex. SD-15, CR
[16]
     The court is unable to discern the path of Commerce’s     301–17, PR 180, CJA Tab 13; DJAC Suppl. Sec. D Resp.
reasoning on this issue and remands the matter for             (Feb. 12, 2019) (“DJAC’s SDQR”) at 8, Exs. SD-12,
reconsideration and further explanation with respect to the    SD-13, SD-56, CR 174–252, PR 148–56, CJA Tab 11. It
applicability of Note 2 and Commerce’s understanding of        is unclear whether Commerce considered this evidence or
the relevant parts of the record.                              found it insufficient. Accordingly, on remand, Commerce
                                                               must also reconsider and further explain its view of the
Commerce addressed Respondents’ request to apply Note          record on this issue.16
2 as a factual matter and found the request unsupported by
the record. I&D Mem. at 14. Commerce did not, however,
address Respondents’ argument that Note 2 applied to the
tariff systems of countries other than Thailand given the
harmonization of WCO tariff classification at the six-digit
level. See Case Br. of [DJAC], [Carbon Activated] and          IV. Coal Tar Pitch
Carbon Activated Corp. (Oct. 7, 2019) (“Respondents’           For the Preliminary Results, Commerce valued coal tar
Case Br.”) at 27 n.38, CR 421, PR 250, CJA Tab 22.             pitch using Malaysian import data under HS 2706.00,
                                                               which covers “Coal Tar.” I&D Mem. at 18; see also
Respondents’ argument is not without precedent. In prior       Surrogate Values for the Prelim. Results (June 10, 2019)
determinations, Commerce has taken the position that           (“Prelim. SV Mem.”), Attach. 1, PR 226–29, CJA Tab
products subject to international trade generally will enter   20.17 For the Final Results, Commerce instead used
WCO countries under the same six-digit subheading. See         Malaysian import data under HS 2708.10, *1292 which
PET Mem. at 20 (stating that “[t]he International              covers “Pitch from Coal and Other Mineral Tars.” Id. at
Convention on the Harmonized Commodity and Coding              18, 19. Commerce offered several rationales for its
System applies the same [HS] six-digit prefix to products      decision.
subject to international trade”); First Admin. Review of
Sodium Hexametaphosphate from the People’s Republic            Commerce explained that Respondents each reported the
of China: Issues and Decision Mem. for the Final Results,      input as “coal tar pitch” and not “coal tar” for certain
A-570-908 (Oct. 12, 2010) at 8 n.32, available at              suppliers, id. at 19, and that coal tar pitch “is commonly
https://enforcement.trade.gov/frn/summary/prc/2010-2645        known as ‘pitch’ in the industry,” id. at 19 & n.112
8-1.pdf (last visited Apr. 2, 2021) (“Hex Mem.”) (stating      (citation omitted). Regarding the production process,
same). Commerce has relied on this principle to apply a        Commerce noted that two types of coal tar pitch—binder
subheading chapter note placed on an administrative            and impregnating grade—are derived from the
record in connection with South African import data to         fractionated distillation of coal tar. Id. at 19 & n.114
Indonesian data for purposes of surrogate valuation. See       (citing First Surrogate Value Cmts. By [Respondents]
PET Mem. at 20. Commerce also has considered the way           (Nov. 9, 2018) (“Respondents’ SV Cmts.”), Ex. 5E, PR
in which the United States classifies an input to determine    109–14, CJA Tab 9). Commerce thus found “that HS
the correct six-digit heading *1291 under another              2706.00 covers coal tar, which is a by-product of the coke
country’s classification system for surrogate valuation.       production process, whereas HS 2708.10 covers pitch, a
See Stilbenic Mem. at 4 & n.22; Hex Mem. at 7–8.               product of the coal tar distillation process.” Id. at 19.
Commerce’s rationale for rejecting Respondents’                Commerce rejected as unsupported Respondents’
argument on this issue, without further explanation, is        “assertion that HS 2708.10 covers [only] 100 percent pure
arbitrary; thus, a remand is necessary for Commerce to         pitch distilled in a tar workshop.” Id. at 19 & n.115 (citing
clarify or revise its position.15                              Respondents’ Case Br. at 29).


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                                                                  Evidence
                                                               [17] [18]
                                                                       Plaintiffs are correct that, in AR10, Commerce
                                                               valued inputs of coal tar pitch using HS 2706.00. Calgon
                                                               (AR10), 443 F. Supp. 3d at 1343. In that proceeding,
   A. Parties’ Contentions                                     Commerce based its decision on pitch *1293 content and
Plaintiffs contend that Commerce’s reliance on                 discounted evidence demonstrating that the respondents
commercial parlance instead of pitch content to select HS      used coal tar pitch and a separate pitch input for the same
2706.00 represents an unexplained departure from the           production purpose. Id. at 1344. It is well settled, however,
agency’s approach in the prior administrative review,          that “each administrative review is a separate exercise of
which was affirmed by the court. Pls.’ Mem. at 22–23           Commerce’s authority that allows for different
(citing Calgon (AR10), 443 F. Supp. 3d at 1343–45); Pls.’      conclusions based on different facts in the record.”
Reply at 14. Plaintiffs argue that HS 2706.00 must be
                                                                   Jiaxing Brother, 822 F.3d at 1299 (quoting Qingdao
construed to cover coal tar or coal tar pitch with less than
                                                               Sea–Line Trading Co. v. United States, 766 F.3d 1378,
100 percent pitch content and “[HS] 2708.10 must be
                                                               1387 (Fed. Cir. 2014)). Thus, the question is whether
construed to cover 100[ percent] pure pitch.” Id. at 24.
                                                               Commerce has offered an adequate explanation p          “for
Concluding otherwise, Plaintiffs argue, could result in the
same input being covered by both subheadings. Id.              treating similar situations differently.”     SKF USA Inc.
Plaintiffs also contend that Malaysian import data under       v. United States, 263 F.3d 1369, 1382 (Fed. Cir. 2001)
both HS 2706.00 and HS 2708.10 are aberrant based on           (citation omitted).
the predominance of Spanish exports in the average unit
                                                               [19]
values and Commerce should instead rely on Russian                This issue presents a close call. While Commerce’s
import data under HS 2706.00. See id. at 24–27.                determination may have benefitted from greater
                                                               recognition that the agency had departed from its
The Government contends that Commerce’s surrogate              treatment of coal tar pitch in AR10, the court discerns
value selection is supported by substantial evidence.          from Commerce’s discussion an adequate explanation,
Def.’s Resp. at 24. The Government argues that                 supported by substantial evidence, for the change.
“Commerce reasonably rejected the premise that coal tar
and coal tar pitch are indistinguishable” based on the         Respondents’ submissions in the underlying proceeding
process by which coal tar and pitch are produced and           demonstrate that the distillation of coal tar yields coal tar
Respondents failed to establish that their respective inputs   pitch. I&D Mem. at 19 & n.114 (citing Respondents’ SV
were covered by HS 2706.00. Id. at 25; cf. Def.-Ints.’         Cmts., Ex. 5E). Further distillation of coal tar pitch yields
Resp. at 20–21. The Government also contends that              higher grades of pitch. See Respondents’ SV Cmts., Ex.
Plaintiffs failed to present their arguments regarding the     5E, Fig. 1 (a schematic illustration of the production of
aberrancy of the Malaysian data to Commerce and those          coal tar pitch and anthracene oil-based pitch beginning
arguments are now barred by the doctrine of                    with the distillation of coal tar). Given that coal tar pitch
administrative exhaustion. Def.’s Resp. at 26–27; cf.          is referred to as “pitch” in commercial parlance,
Def.-Ints.’ Resp. at 22–23 & n.3.                              Commerce was within its discretion to identify HS
                                                               2708.10 instead of HS 2706.00 as the best available
Plaintiffs counter that the ENs to HS 2706.00 establish        information. See I&D Mem. at 19; QVD Food Co., 658
that coal tars with pitch content above 60 percent are         F.3d at 1323.
covered by that subheading. Pls.’ Reply at 16; see also id.
at 15–16 (averring that ENs are judicially noticeable          Plaintiffs’ assertion that HS 2706.00 covers coal tar and
                                                               coal tar pitch with less than 100 percent pitch content and
pursuant to      Jiangsu Senmao, 322 F. Supp. 3d at 1324).
                                                               HS 2708.10 covers 100 percent pure pitch is unsupported
Plaintiffs also contend that the Government’s exhaustion
                                                               by citations to record evidence. See Pls.’ Mem. at 24;
argument lacks merit because Respondents challenged the
                                                               I&D Mem. at 19. Plaintiffs’ argument that a contrary
aberrancy of HS 2706.00 before Commerce and lacked
                                                               conclusion would result in the same input being covered
the opportunity to present to Commerce arguments
                                                               under both headings also is not persuasive. See Pls.’ Mem.
concerning HS 2708.10. Id. at 16–17.
                                                               at 24. At the hearing, the court afforded Plaintiffs an
                                                               additional opportunity to explain why their inputs of coal
                                                               tar pitch are necessarily covered by HS 2706.00. Letter to
                                                               Counsel (Mar. 3, 2021) (“Ltr. to Counsel”) ¶ 3(a)(i), ECF
                                                               No. 61. Plaintiffs referred to record evidence concerning
  B. Commerce’s Selection of Surrogate Data to Value           the processing of coal tar into coal tar pitch, but which
  Coal Tar Pitch is Supported by Substantial                   also demonstrates that coal tar generally has a lower pitch

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content than the coal tar pitch consumed by Respondents.
Oral Arg. 1:17:33–1:18:54, 1:23:11–1:27:55. Compare
Pls.’ Mem. at 23 (citing Respondents’ SV Cmts., Ex. 5G),
and Respondents’ Case Br. at 29–30 & nn.47–48 (citing          V. Financial Ratios
                                                               [21]
Respondents’ SV Cmts., Ex. 5K), with Carbon                         For the Final Results, as noted, Commerce valued
Activated’s SDQR Pts. II–III, Ex. SD-6 (reflecting the         financial ratios using Romcarbon’s 2017 financial
pitch content of their inputs), and DJAC’s SDQR, Ex.           statement. I&D Mem. at 6. At issue are various
SD-53 (same). This evidence is insufficient to require the     adjustments to the financial ratios. See id. at 21–23.
distinction Plaintiffs seek to draw with respect to the        Respondents requested Commerce to (1) offset pre-tax
competing subheadings and, thus, does not detract from         profit by the amounts listed under “Gain/(Loss) on
the substantial evidence supporting Commerce’s                 adjustment of investment property at fair value” and
determination.                                                 “Gain/(Loss) on disposal of investment property”; (2)
                                                               offset sales, general, and administrative expenses
[20]
   Plaintiffs’ argument that the ENs to HS 2706.00             (“SG&A”) by the amount listed under “Other Gains”; and
support a finding that coal tar pitch is covered by that       (3) allocate the amount listed under “Social
subheading, Pls.’ Reply at 15–16, is precluded by the          Contributions” and “Meal Tickets” to labor costs instead
doctrine of administrative exhaustion. See 28 U.S.C. §         of SG&A. Respondents’ Case Br. at 32–36. Commerce
2637(d); Weishan Hongda, 917 F.3d at 1362.                     declined each request. I&D Mem. at 22–23. In so doing,
Notwithstanding the ENs’ usefulness as a legal reference       however, Commerce treated Respondents’ request to
                                                               offset pre-tax profit as a request to offset SG&A. See id.
for purposes of tariff classification, see       Jiangsu
                                                               at 22.
Senmao, 322 F. Supp. 3d at 1324, Respondents failed to
argue the relevance of the ENs before Commerce. A
                                                               In its response brief, the Government urged the court to
remand to the agency to consider the ENs in the first
                                                               sustain Commerce’s determinations as to the contested
instance would undermine the interest in judicial
                                                               adjustments. Def.’s Resp. at 27–31. Following the
efficiency that administrative exhaustion is intended to
                                                               Government’s filing of the response, the court sustained
protect. See, e.g., *1294     Corus Staal BV v. United         Commerce’s determination on remand in AR10 to make
States, 502 F.3d 1370, 1379 (Fed. Cir. 2007).                  adjustments to the financial ratios based on Romcarbon’s
                                                               financial statement that are similar to—if not the same
Plaintiffs likewise failed to exhaust their arguments          as—certain adjustments Commerce declined to make in
regarding the aberrancy of Malaysian import data under         this case. See Pls.’ Reply at 19–22 (discussing Calgon
HS 2708.10 based on the predominance of Spanish                Carbon Corp., et al. v. United States, et al., Court No.
exports in the average unit values. Pls.’ Mem. at 25–26.       18-cv-00232, Final Results of Redetermination Pursuant
Plaintiffs’ argument that they had “no opportunity” to         to Court Remand at 8–13, 23 (CIT Aug. 5, 2020));
present arguments concerning the reliability of this value     Calgon Carbon Corp. v. United States, 44 CIT ––––,
to Commerce is unconvincing. Pls.’ Reply at 17.                ––––, 487 F. Supp. 3d 1359, 1362 (2020) (sustaining
Respondents’ administrative case brief presented               Commerce’s adjustments as uncontested and consistent
arguments against the use of HS 2708.10 based on               with the court’s remand instructions).
Respondents’ understanding that Commerce had
preliminarily used that subheading to value Carbon             At oral argument, the Government stated that it could not
Activated’s coal tar pitch. See Respondents’ Case Br. at       identify distinguishing features in the financial statements
29–30. Respondents thus had ample opportunity to               that merited different treatment in this administrative
present this argument to Commerce and cannot now               review. Oral Arg. 1:39:25–1:40:04; *1295 see also Ltr. to
“seek[ ] a new ‘bite at the apple.’ ” Calgon (AR10), 443 F.    Counsel ¶ 4(a). The Government further stated that
Supp. 3d at 1353–54; see also         Boomerang, 856 F.3d      although there might be differences in other aspects of the
at 913 (finding an abuse of the discretion afforded by 28      factual record that would support different treatment,
U.S.C. § 2637(d) when the court declined to require            particularly in relation to indirect labor costs, any remand
exhaustion of arguments the proponent of which had the         should encompass all aspects of the adjustments so as not
opportunity to present to Commerce).18                         to constrain Commerce’s redetermination. Oral Arg.
                                                               1:40:35–1:40:55. Calgon argued that the administrative
Accordingly, Commerce’s determination to use                   record in AR11 as compared to AR10 supports certain
Malaysian data under HS 2708.10 to value coal tar pitch        distinctions but reserved its arguments for Commerce’s
is sustained.                                                  consideration on remand. Oral Arg. 1:41:31–1:42:30.

                                                               Accordingly,      given   the   inconsistencies    between
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Commerce’s determinations in AR10 and AR11 and the             ORDERED that, on remand, Commerce shall reconsider
discrepancies in Commerce’s explanations for declining         its selection of surrogate data to value bituminous coal; it
the adjustments, this issue is remanded for                    is further
reconsideration.
                                                               ORDERED that, on remand, Commerce shall reconsider
                                                               the adjustments to the surrogate financial statements; it is
                                                               further

             CONCLUSION AND ORDER                              ORDERED that Commerce shall file its remand
                                                               redetermination on or before July 1, 2021; it is further
In accordance with the foregoing, it is hereby:
                                                               ORDERED that subsequent proceedings shall be
ORDERED that Commerce’s Final Results are sustained            governed by USCIT Rule 56.2(h); and it is further
in part and remanded in part, consistent with this Opinion;
it is further                                                  ORDERED that any comments or responsive comments
                                                               must not exceed 5,000 words.
ORDERED that Commerce’s selection of surrogate data
to value coal tar pitch is sustained; it is further
                                                               All Citations
ORDERED that, on remand, Commerce shall reconsider
its selection of Malaysia as the primary surrogate country;    503 F.Supp.3d 1278
it is further

                                                        Footnotes


1
       The administrative record filed in connection with the Final Results is divided into a Public Administrative
       Record (“PR”), ECF No. 39-5, and a Confidential Administrative Record (“CR”), ECF No. 39-4. Parties filed
       joint appendices containing record documents cited in their briefs. See Public J.A., ECF Nos. 52 (Vol. I;
       Tabs 1–13), 52-1 (Vol. II; Tabs 14–15), 52-2 (Vol. III; Tabs 16–30); Confidential J.A. (“CJA”), ECF Nos. 57
       (Vol. I; Tabs 1–9), 57-1 (Vol. II; Tabs 10–15), 57-2 (Vol. III; Tabs 16–30); Suppl. Confidential J.A. (“Suppl.
       CJA”), ECF No. 62. Citations are to the confidential joint appendices unless stated otherwise.
2
       Plaintiffs consist of Carbon Activated Tianjin Co., Ltd. (“Carbon Activated”), Carbon Activated Corporation,
       Datong Juqiang Activated Carbon Co., Ltd. (“DJAC”), Beijing Pacific Activated Carbon Products Co., Ltd.,
       Ningxia Guanghua Cherishmet Activated Carbon Co., Ltd., Ningxia Mineral & Chemical Limited, and
       Shanxi Sincere Industrial Co., Ltd.
3
       When in reference to the underlying agency proceeding, the court refers to Carbon Activated and DJAC as
       “Respondents” and Calgon as “Petitioners.”
4
       Additional background information is summarized in each discussion section.
5
       Citations to the Tariff Act of 1930, as amended, are to Title 19 of the U.S. Code, and references to the U.S.
       Code are to the 2018 edition unless otherwise specified.
6
       The factors of production include but are not limited to: “(A) hours of labor required, (B) quantities of raw
       materials employed, (C) amounts of energy and other utilities consumed, and (D) representative capital
       cost, including depreciation.”  19 U.S.C. § 1677b(c)(3).
7
       Plaintiffs assert that at least some of this merchandise may be considered comparable to the subject
       merchandise. Pls.’ Mem. at 33. Commerce did not, however, state its views on that issue.
8
       At oral argument, the Government relied on Policy Bulletin 04.1 to assert that Commerce maintains a
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       preference for production of identical merchandise in its surrogate country selection process, but that this
       preference only arises when Commerce is comparing data quality. Oral Arg. 15:05–16:28. Policy Bulletin
       04.1 merely states the steps Commerce must follow in order to identify the countries on the OP List subject
       to examination for significant production of comparable (inclusive of identical) merchandise. See Policy
       Bulletin 04.1. It does not support the existence of a policy preference concerning production of identical
       merchandise, either with respect to significant production or otherwise.
9
       The court takes no position on the soundness of Commerce’s preliminary conclusion respecting Romania
       or any other potential surrogate country. However, the court must ensure that Commerce’s change in
       position is not arbitrary. See   Asociacion Colombiana de Exportadores de Flores, 22 C.I.T. at n.20, 6
       F.Supp. 2d at n.20 (explaining that “[a] change [in position] is arbitrary [when] the factual findings
       underlying the reason for [the] change are not supported by substantial evidence” or when the change is
       unsupported by a reasoned explanation that is “[ ]consistent with the statutory mandate”).
10
       Contrary to the Government’s assertion, the volume of Romanian exports in the cited source
       documentation is 34,000 kg, not 3051 kg. See Respondents’ SC Cmts., Ex. 1; Prelim. Mem. at 14.
11
       Commerce compared the Malaysian and Romanian financial statements on the record for purposes of its
       significant producer analysis, but otherwise declined to compare the quality of each country’s data. I&D
       Mem. at 7–8.
12
       The Government argues that “[P]laintiffs offer no legal authority that would require consideration or
       adoption of a single company’s share of its own domestic marketplace as a measure of significant
       producer status on a worldwide scale.” Def.’s Resp. at 20. Commerce, however, is not required to adopt
       any specific measure. Agency policy provides that “the standard for ‘significant producer’ will vary from
       case to case,” and thus leaves open the possibility that Commerce will consider alternative measures.
       Policy Bulletin 04.1.
13
       Plaintiffs also argued that Commerce should have selected Romania as the primary surrogate country
       even if the evidence did not support a finding that Romania was a significant producer. See Pls.’ Mem. at
       36. Neither the Government nor Calgon directly responded to this argument. For the same reasons
       discussed above in relation to Plaintiffs’ arguments concerning Romcarbon’s domestic market share, the
       argument may be addressed by Commerce, as appropriate, on remand.
14
          Plaintiffs cite Jiangsu Senmao Bamboo & Wood Industry Co. v. United States, 42 CIT ––––, ––––, 322
       F. Supp. 3d 1308, 1320 (2018); Issues and Decision Mem. for the Final Determination in the Antidumping
       Duty Investigation of Certain Stilbenic Optical Brightening Agents from the People’s Republic of China,
       A-570-972         (Mar.     19,    2012)      at     2–6     (“Stilbenic      Mem.”),      available     at
       https://enforcement.trade.gov/frn/summary/prc/ 2012-7215-1.pdf (last visited Apr. 2, 2021); and Issues and
       Decision Mem. for the Final Results of the 2011 - 2012 Admin. Review on Polyethylene Terephthalate
       Film, Sheet, and Strip from the People’s Republic of China, A-570-924 (June 24, 2014) at 14–20 (“PET
       Mem.”), available at https://enforcement.trade.gov/frn/summary/prc/2014-15574-1.pdf (last visited Apr. 2,
       2021). See Pls.’ Mem. at 17–18; Pls.’ Reply at 2.
15
       Parties’ remaining arguments are not persuasive. Calgon’s argument regarding the inclusion of “Additional
       U.S. Notes” in the HTSUS is based on information that is not part of the administrative record and was not
       the basis of an argument before Commerce. Def.-Ints.’ Resp. at 17 (citing Pls.’ Mem. at 17–18 & n.6, which
       in turn, cites a webpage as evidence of the HTSUS). While there is no indication that Note 2 is specific to
       Thailand, such arguments are better left for Commerce to consider and address in the first instance.
       Plaintiffs’ reliance on   Jiangsu Senmao is also misplaced. In that case, the court held that Commerce
       erred in rejecting a respondent’s administrative case brief because it contained purportedly untimely factual
       information in the form of HS Explanatory Notes (“ENs”).           Jiangsu Senmao, 322 F. Supp. 3d at
       1323–24. The court reasoned that “[t]he ENs are not evidence” or factual information used to value factors

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       of production but are instead “an international legal reference essential to the proper interpretation of the
       HS nomenclature and [General Rules of Interpretation].”       Id. at 1324. The court distinguished ENs from
       import data—factual information—used to value the factors of production. See       id. Note 2 falls within the
       latter category. Cf. Degussa Corp. v. United States, 508 F.3d 1044, 1047 (Fed. Cir. 2007) (“The section
       and chapter notes are integral parts of the HTSUS, and have the same legal force as the text of the
       headings.”). However, as discussed, the inquiry does not end there to the extent that Commerce must
       address Respondents’ arguments concerning the harmonization of six-digit subheadings.
16
       The court further leaves to Commerce, on remand, to address Plaintiffs’ arguments concerning the
       valuation of bituminous coal inputs with an undetermined calorific value. See Pls.’ Mem. at 20–21
       (asserting that, for such inputs, Commerce should use the average of Romanian data under HS 2701.12
       and HS 2701.19); Pls.’ Reply at 3 (same).
17
       In the narrative portion of its preliminary surrogate value memorandum, Commerce listed both coal tar and
       coal tar pitch as surrogate values with corresponding tariff provisions of HS 2706.00 and HS 2708.10,
       respectively. See Prelim. SV Mem. at 5. Commerce preliminarily used only HS 2706.00, however, to value
       Respondents’ coal tar pitch. Prelim. SV Mem., Attach. 1; see also I&D Mem. at 18 n.106 (noting the
       discrepancy).
18
       Commerce declined to consider Respondents’ argument that the Malaysian average unit value under HS
       2706.00 is aberrant because it is higher than the Malaysian average unit value under HS 2708.10. I&D
       Mem. at 19. Commerce reasoned that the issue is moot given Commerce’s decision not to rely on HS
       2706.00. Id. Because the court is sustaining Commerce’s decision to use HS 2708.10, the court need not
       address Plaintiffs’ arguments concerning an alternative basis for finding HS 2706.00 to be aberrant or
       whether such arguments are foreclosed by the doctrine of administrative exhaustion.




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                                                                                     Public Document
                                                                                     E&C/OVIII: MJA

    Carbon Activated Tianjin Co., Ltd. and Carbon Activated Corporation, et al. v. United States
                        Consol. Court No. 20-00007 (CIT April 2, 2021)

        FINAL RESULTS OF REDETERMINATION PURSUANT TO COURT REMAND


I.        SUMMARY

          The Department of Commerce (Commerce) has prepared these final results of

redetermination pursuant to the remand order of the Court of International Trade (CIT) in

Carbon Activated Tianjin Co., Ltd. and Carbon Activated Corporation, et al. v. United States,

Court No. 20-00007, Slip Op. 21-35 (CIT April 2, 2021) (Remand Order). These final remand

results concern the eleventh administrative review of certain activated carbon from China.1 The

CIT directed Commerce to reconsider the surrogate value (SV) for bituminous coal, surrogate

country (SC) selection, and adjustments to the surrogate financial ratios.2

          As set forth in detail below, pursuant to the CIT’s Remand Order, we have further

explained, and reconsidered, in part, our determination regarding the SV for bituminous coal, SC

selection, and adjustments to the surrogate financial ratios. Consequently, for the purposes of

these final results of redetermination, Commerce has made certain changes to the mandatory

respondents’ margin calculations,3 and consequently, to the rate of Beijing Pacific Activated




1
  See Certain Activated Carbon from the People’s Republic of China: Final Results of Antidumping Duty
Administrative Review; 2017-2018, 84 FR 68881 (December 17, 2019) (AR11 Final Results), and accompanying
Issues and Decision Memorandum (IDM).
2
  See Remand Order at 4.
3
  The mandatory respondents in this administrative review are Datong Juqiang Activated Carbon Co., Ltd. (Datong
Juqiang) and Carbon Activated Tianjin Co., Ltd. (Carbon Activated) (collectively, the mandatory respondents).



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Carbon Products Co., Ltd. (Beijing Pacific), Ningxia Guanghua Cherishmet Activated Carbon

Co., Ltd. (GHC), Ningxia Mineral & Chemical Limited (Ningxia Mineral), and Shanxi Sincere

Industrial Co., Ltd. (Shanxi Sincere).4

II.      REMANDED ISSUES

      1. Bituminous Coal Surrogate Value

Background

         In the AR11 Final Results, Commerce selected the average unit value (AUV) for

Romanian import data under Harmonized System (HS) heading 2701.12 as the SV for

bituminous coal used to produce activated carbon after finding that the AUV for Malaysian

imports under HS 2701.12 was aberrantly high and based on a limited import volume, and thus

unreliable.5 In making this decision, Commerce rejected the mandatory respondents’ request to

use import data under HS 2701.19, which covers “Other Coal,” to value certain inputs of

bituminous coal.6 The mandatory respondents based their request on the text of Chapter 27,

Subheading Note 2, as excerpted from the Thai HS code.7 Specifically, Note 2 limits HS

2701.12, inter alia, to bituminous coal with “a calorific value limit equal to or greater than 5,833

kilocalorie (kcal)/kilogram (kg).”8 The mandatory respondents therefore asserted that

Commerce should value bituminous coal with a calorific value that is less than 5,833 kcal/kg

under HS 2701.19.9 Commerce declined to do so, finding that Note 2 applied solely to Thai

import data and declining to apply Note 2 to another country’s (i.e., Malaysia) import data.10


4
  Beijing Pacific, GHC, Ningxia Mineral, Shanxi Sincere were not selected for individual examination during the
review, but qualified for a separate rate, and are participating in the litigation.
5
  See AR11 Final Results IDM at 9-16.
6
  Id. at 14.
7
  Id.; see also Carbon Activated’s Letter, “Carbon Activated Response to Section D Supplemental Questionnaire
(Part I),” dated February 21, 2019 (Carbon Activated’s SDQR Part I), at 19 and Exhibit SD-27.
8
  See AR11 Final Results IDM.
9
  Id.
10
   Id. at 13.


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        In litigation before the CIT, the mandatory respondents, Beijing Pacific, GHC, Ningxia

Mineral, and Shanxi Sincere (collectively, the Plaintiffs, or the Respondents) challenged

Commerce’s decision not to recognize the applicability of Note 2 to all countries in the World

Customs Organization (WCO) through the Harmonized System of Nomenclature.11

        In the Remand Order, the CIT concluded that it was unable to discern the path of

Commerce’s reasoning and remanded for reconsideration and further explanation with respect to

the applicability of Note 2 and Commerce’s understanding of the relevant parts of the record.12

The CIT stated that the Plaintiffs’ argument is not without precedent, noting that, in prior

determinations, Commerce has taken the position that products subject to international trade

generally will enter WCO countries under the same six-digit subheading.13

Analysis

        In light of the CIT’s Remand Order, Commerce has reconsidered and provided further

explanation regarding the applicability of Note 2 of the Thai HS code to Chapter 27 of the

Malaysian tariff schedule in determining the appropriate SV for the bituminous coal input.

Based on the following analysis, Commerce has now determined to use import data reported

under Malaysian HS subheading 2701.19 to value the bituminous coal input used by Datong

Juqiang, Datong Juqiang’s supplier, and one of Carbon Activated’s suppliers. With regard to




11
   See Remand Order at 19.
12
   Id. at 20.
13
   Id. at 21 (citing Polyethylene Terephthalate Film, Sheet, and Strip from the People’s Republic of China: Final
Results of Antidumping Duty Administrative Review; 2011-2012, 79 FR 37715 (July 2, 2014) (PET Film from
China), and accompanying IDM at 20 (stating that “{t}he International Convention on the Harmonized Commodity
and Coding System applies the same {HS} six-digit prefix to products subject to international trade”); and First
Administrative Review of Sodium Hexametaphosphate from the People’s Republic of China: Final Results of the
Antidumping Duty Administrative Review, 75 FR 64695 (October 20, 2010) (Sodium Hex from China), and
accompanying IDM at 8 n.32. (stating same).


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bituminous coal used by Carbon Activated’s other supplier, Supplier C,14 and by Carbon

Activated’s uncooperative supplier15 for which we applied Supplier C’s factors of production

(FOPs) data to compute the normal value (NV), we continue to use Romanian import data

reported under HS 2701.12. We explain in detail below.

         Commerce’s practice when selecting the best available information for valuing FOPs, in

accordance with section 773(c)(1) of the Tariff Act of 1930, as amended (the Act), is to select, to

the extent practicable, SVs which are publicly available, contemporaneous with the period of

review (POR), representative of a broad market average, tax- and duty-exclusive, and specific to

the inputs being valued.16 While there is no hierarchy for applying the SV selection criteria,

“{Commerce} must weigh available information with respect to each input value and make a

product-specific and case-specific decision as to what the ‘best’ {SV} is for each input.”17

Additionally, Commerce has a strong preference to value all FOPs in a single SC, pursuant to 19

CFR 351.408(c)(2), as well as a practice “to only resort to a secondary surrogate country if data

from the primary surrogate country are unavailable or unreliable.”18



14
   The identity of this supplier is business proprietary. For Supplier C’s identity, see Memorandum, “Draft Remand
Redetermination Results Calculation Memorandum for Carbon Activated Tianjin Co., Ltd. in the Eleventh
Administrative Review of Certain Activated Carbon from the People’s Republic of China,” dated May 28, 2021
(CAT Draft Remand Calculation Memorandum). Because we are making no changes to the determinations as set
forth in the Draft Remand Results, we are adopting the analysis in the CAT Draft Remand Calculation
Memorandum for the final remand results. Commerce also notes that FOPs reported for Supplier C’s CONNUMs
comprise a small percentage of the volume of subject merchandise reported in Carbon Activated’s FOP database;
see also Memorandum, “Business Proprietary Information regarding Carbon Activated’s Supplier-Supplier C,”
dated concurrently with this this final results of redetermination pursuant to remand (BPI Memorandum).
15
   The identity of the uncooperative supplier is business proprietary. For the uncooperative supplier’s identity, see
CAT Draft Remand Calculation Memorandum.
16
   See, e.g., Certain Frozen Fish Fillets from the Socialist Republic of Vietnam: Final Results of the Antidumping
Duty Administrative Review and New Shipper Reviews, 74 FR 11349 (March 17, 2009), and accompanying IDM at
Comment 2.
17
   See, e.g., Polyethylene Terephthalate Film, Sheet, and Strip from the People’s Republic of China: Final
Determination of Sales at Less Than Fair Value, 73 FR 55039 (September 24, 2008) (PET Film 2008), and
accompanying IDM at Comment 2.
18
   See Sodium Hexametaphosphate from the People’s Republic of China: Final Results of Antidumping Duty
Administrative Review, 77 FR 59375 (September 27, 2012) (Sodium Hex from China 2012), and accompanying IDM
at Comment I.


                                                         4
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                                                    Appx96
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        Here, the Respondents assert that the Thai Note 2 to Chapter 27 on the record (which

defines sub-heading 2701.12, “bituminous coal” as coal having a volatile matter limit (on a dry,

mineral-matter-free basis) exceeding 14 percent and a calorific value limit equal to or greater

than 5,833 kcal/kg) can be applied to Malaysian import data under the same HS subheading,

because the identical six-digit HS breakouts and sub-heading notes exist for all WCO countries,

such that Note 2 to Chapter 27 is the same across countries, including Romania, Malaysia, and

Thailand.19 Further, they claim that the test reports on the record demonstrate the heat value of

the bituminous coal input used by Datong Juqiang, Datong Juqiang’s supplier, and one of Carbon

Activated’s suppliers is calculated to be below 5,833 kcal/kg.20 However, for Carbon

Activated’s other supplier (i.e., Supplier C), and for Carbon Activated’s uncooperative supplier

for which we applied Supplier C’s FOPs data to compute the NV, there is no record evidence

regarding the heat value of its bituminous coal input used in the production of activated carbon.

        Because the record for this segment of the proceeding did not contain information to

evaluate the Respondents’ assertion that the subheading notes at the six-digit level are the same

for all WCO countries, Commerce placed on the record information published by the WCO (i.e.,

Harmonized System Compendium).21 The Harmonized System Compendium states that:



19
   See Memorandum in Support of Plaintiffs’ and Plaintiff-Intervenors’ Motion for Judgment on the Agency Record
Pursuant to USCIT Rule 56.2, Case No. 20-0007 (CIT) filed on June 24, 2020, at 17.
20
   See Datong Juqiang’s Letter, “DJAC Supplemental Section D response,” dated February 12, 2019 (DJAC Supp D
Response), at Exhibits SD-12, SD-13, SD-56; see also Carbon Activated’s Letter, “Carbon Activated Response to
Section D Parts II and III First Supplemental Questionnaire,” dated March 15, 2019 (CAT Supp D Response), at
Exhibit SD-15; see also Mandatory Respondents’ Letter, “Case Brief of Datong Juqiang Activated Carbon Co., Ltd.,
Carbon Activated Tianjin Co., Ltd. and Carbon Activated Corporation in the Administrative Review of the
Antidumping Duty Order on Certain Activated Carbon from the People’s Republic of China (A-570-904),” dated
October 7, 2019, at 28.
21
   See Memorandum, “Draft Remand Redetermination Results in the Eleventh Administrative Review of Certain
Activated Carbon from the People’s Republic of China: Surrogate Values for the Draft Redetermination,” dated
May 28, 2021 (Draft Remand SV Memorandum), at Attachment 2, page 21 (Harmonized System Compendium)
(Commerce notes this document is also available at: http://www.wcoomd.org/-
/media/wco/public/global/pdf/topics/nomenclature/activities-and-programmes/30-years-hs/hs-
compendium.pdf?la=en).


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          The Harmonized System comprises:

          • General Rules for the interpretation of the Harmonized System;

          • Section and Chapter Notes, including Subheading Notes;

          • A list of headings arranged in systematic order and, where appropriate, subdivided

          into subheadings.22

The Harmonized System Compendium also states that the “Harmonized System constitutes a

coherent set of headings and subheadings, which, together with the General Interpretative Rules

(GIR) and Section, Chapter and Subheading Notes, provide for the systematic and uniform

classification of goods.”23 Further, the introductory paragraph for GIR in the Harmonized

System Compendium provides:

          {T}o be completely sound, a classification system must associate each individual
          product with a single heading (and, as the case may be, subheading), to which that
          product can be simply and unequivocally assigned. Hence it must contain rules
          designed to ensure that a given product is always classified in one and the same
          heading (and subheading), to the exclusion of any others which might appear to
          merit consideration. All classification decisions must be based upon the
          application of these rules.24

Further, GIR No.6 provides:

          6. For legal purposes, the classification of goods in the subheadings of a heading
          shall be determined according to the terms of those subheadings and any related
          Subheading Notes and, mutatis mutandis, to the above Rules, on the
          understanding that only subheadings at the same level are comparable. For the
          purpose of this Rule the relative Section and Chapter Notes also apply, unless the
          context otherwise requires.25

This information provides additional context to, and is consistent with, prior determinations in

which Commerce has concluded that “{t}he International Convention on the Harmonized



22
   Id.
23
   Id. at 20.
24
   Id. at 21.
25
   Id. at 24.


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                                                 Appx98
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Commodity and Coding System applies the same {HS} six-digit prefix to products subject to

international trade”).26 Based on this information, and because Thai Note 2 to Chapter 27

explains “bituminous coal” means coal having a volatile matter limit (on a dry, mineral-matter-

free basis) exceeding 14 percent and a calorific value limit equal to or greater than 5,833

kcal/kg), we now find that Malaysian HS subheading 2701.19 covers the same merchandise as

Thai HS subheading 2701.19. Additionally, because the test reports on the record demonstrate

the heat value of the bituminous coal input used by Datong Juqiang, Datong Juqiang’s supplier,

and one of Carbon Activated’s suppliers is below 5,833 kcal/kg,27 for these final remand results

we have valued the bituminous coal input used by Datong Juqiang, Datong Juqiang’s supplier,

and one of Carbon Activated’s suppliers using import data reported under Malaysian HS

subheading 2701.19. We find that the AUV under Malaysian HS subheading 2701.19 is reliable,

as there is no indication that the AUV is unusable as a result of being, for example, aberrantly

high or based on a limited amount of imports.28 With regard to bituminous coal used by Carbon

Activated’s other supplier, Supplier C, and by Carbon Activated’s uncooperative supplier for

which we applied Supplier C’s FOP data to compute the NV, we continue to use Romanian

import data reported under HS 2701.12, as we do not have record evidence, such as test reports

for the bituminous coal input used by these suppliers, that would support valuing this input using

imports under subheading 2701.19.29 This determination is consistent with Commerce’s practice




26
   See PET Film from China IDM at 20; see also Sodium Hex from China IDM at 8 n. 32.
27
   See DJAC Supp D Response at Exhibits SD-12, SD-13 and SD-56; see also CAT Supp D Response at Exhibit
SD-15.
28
   See Petitioners’ Letter, “Eleventh Administrative Review of the Antidumping Order on Certain Activated Carbon
from the People’s Republic of China: Petitioners’ Final Affirmative Surrogate Value Submission,” dated May 13,
2019, at Attachment 2.
29
   See Carbon Activated’s SDQR Part I at 9 and Exhibit SD-27 (Commerce notes that the test report provided by
Supplier C in this exhibit is the test report for smoke coal, which Supplier C asserts is a type of energy coal, whose
technical grate is bituminous coal, that Supplier C used to provide energy for activation.).


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in which we apply different SVs for the same input used by different respondents, based on the

available evidence regarding input specificity.30

     2. Surrogate Country Selection

Background

        In the AR11 Preliminary Results, Commerce determined that Malaysia and Romania

constituted significant producers of comparable merchandise during the POR based on their

respective export volumes.31 Because none of the six OP List countries32 were net exporters

during the POR,33 we used the export volumes of the primary HS heading included in the scope,

i.e., exports of HS number 3802.10 (activated carbon), as a proxy for domestic production.34

Commerce preliminarily determined that all six OP List countries were significant producers of

comparable merchandise, stating that none of the total export volumes from the OP List

countries were insignificant.35 Based on its subsequent analysis of availability of SV data,



30
   See Certain Activated Carbon from the People’s Republic of China: Final Results and Partial Rescission of
Second Antidumping Duty Administrative Review, 75 FR 70208 (November 17, 2010) (Carbon AR2), and
accompanying IDM at Comment 4b (Commerce used Coal India Limited (CIL) data to value steam coal where the
necessary data have been reported by the respondents and where the useful heat value (UHV) specificity of the CIL
data corresponds to the UHV specificity of the steam coal input used by the respondents. Otherwise, Commerce
used WTA Indian imports of steam coal under Indian HTS number 2701.19.20: “Steam Coal” for the respondent’s
suppliers, which did not report the UHV of their steam coal input.).
31
   See Certain Activated Carbon from the People’s Republic of China: Preliminary Results of Antidumping Duty
Administrative Review and Preliminary Determination of No Shipments; 2017-2018, 84 FR 27758 (June 14, 2019)
(AR11 Preliminary Results), and accompanying Preliminary Decision Memorandum (PDM) at 14.
32
   See Commerce’s Letter Re: “Certain Activated Carbon from the People’s Republic of China (China): Request
for Comments re: (1) Economic Development, (2) Surrogate Country and (3) Surrogate Value Information,” dated
September 14, 2018, at Attachment (OP List) (Commerce notes that Brazil, Kazakhstan, Malaysia, Mexico,
Romania, and Russia are the countries identified as countries that are at the same level of economic development as
China based on per capita 2017 Gross National Income (GNI) data in the OP List).
33
   On the record, we have import and export data from the Global Trade Atlas (GTA) and UN Comtrade for entries
made under the HS subheading 3802.10, covering the subject merchandise. See Mandatory Respondents’ Letter,
“DJAC and Carbon Activated Surrogate Country Comments: Administrative Review of the Antidumping Duty
Order on Certain Activated Carbon from the People’s Republic of China,” dated October 12, 2018 (Respondents’
SC Comments), at Exhibit 1. The export volumes for the OP List countries are: 16,475,976 kg (Malaysia);
1,308,800 kg (Brazil); 8,778,259 kg (Mexico); 849,850 kg (Russia); 612,474 kg (Kazakhstan); and 34,000 kg
(Romania). The import volumes for the OP List countries are: 32,892,163 kg (Malaysia); 14,854,141 kg (Russia);
14,449,228 kg (Mexico); 5,797,030 kg (Brazil); 2,004,526 kg (Kazakhstan); and 1,106,000 kg (Romania).
34
   See AR11 Preliminary Results PDM at 14.
35
   Id.


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Commerce preliminarily selected Malaysia as the primary SC and used a financial statement

from a Romanian company, Romcarbon S.A. (Romcarbon) (a producer of polyethylene,

polypropylene and filters), to calculate surrogate financial ratios. In the AR11 Final Results,

Commerce continued to select Malaysia as the primary SC and continued to use the Romcarbon

statements for financial ratios.36 However, with respect to the significant producer criterion,

Commerce departed from its preliminary finding and determined that Romania was not a

significant producer of comparable merchandise, explaining that the record contained financial

statements from three Malaysian producers of activated carbon, providing more direct evidence

of significant production of activated carbon which is identical to the subject merchandise in the

form of multiple financial statements. Further, Commerce explained that there is no equivalent

information on the record with respect to Romanian production, as there is only one financial

statement on the record from Romcarbon. Romcarbon’s statements indicate that its principal

business activity is the manufacture of polyethylene, polypropylene and filters, although one of

its seven profit centers is dedicated to the production of respiratory protective equipment and

active carbon.37 Commerce found that this is not evidence of “significant production,” compared

to the three financial statements from Malaysian activated carbon producers on the record.38

Therefore, for the AR11 Final Results, Commerce selected Malaysia as the primary SC, stating

“{b}ecause there are multiple Malaysian financial statements on the record, all of which contain

evidence of production of identical merchandise, there is more direct evidence on the record that

Malaysia is a significant producer of identical merchandise.”39 Commerce did not compare the




36
   See AR11 Final Results IDM at 4.
37
   Id. at 7-8.
38
   Id.
39
   Id.


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quality and availability of Malaysian and Romanian data for the purpose of primary SC selection

in the AR11 Final Results, finding the issue to be “moot.”40

        During litigation at the CIT, Plaintiffs challenged Commerce’s use of Malaysia as the

primary SC.

        In the Remand Order, the CIT remanded Commerce’s selection of Malaysia as the

primary SC for further explanation, concluding that Commerce did not adequately explain its

decision to depart from its preliminary finding that Romania is a significant producer of

comparable merchandise. With regard to this issue, the CIT further stated that although section

773(c)(4)(B) of the Act “does not distinguish between identical and comparable merchandise”

for purposes of identifying significant producer countries, Commerce’s conclusion that

“Malaysia provides the best available information … because it is the only country on the OP

List that is a significant producer of identical merchandise” suggests that the agency favored the

production of identical merchandise when selecting a primary SC.41 The CIT also stated that

Plaintiffs did not fail to exhaust their administrative remedies with regard to their argument that

Romcarbon’s financial statements demonstrated that Romania was a significant producer,

because Romania’s status as a significant producer was not among the issues raised by interested

parties or by Commerce prior to Commerce’s issuance of the AR11 Final Results.42

Analysis

        In light of the CIT’s Remand Order, Commerce has reconsidered and provided further

explanation regarding its determination to use Malaysia as the primary SC. Based on the

following analysis, for these final results of redetermination on remand, Commerce now finds


40
   Id.
41
   See Remand Order at 12 (citing Foshan Shunde Yongjian Housewares & Hardwares Co. v. United States, 896 F.
Supp. 2d 1313, 1322 (CIT 2013)).
42
   Id. at 17-18.


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that Romania is a significant producer of comparable merchandise, based on export volumes.

Further, Commerce has determined to continue to use Malaysia as the primary SC based on its

subsequent analysis of the availability of SV data. We explain in detail below.

Economic Comparability

        Malaysia and Romania are both economically comparable to China, as both countries are

on the OP List, and are, therefore, determined, based on per capita GNI, to be at the same level

of economic development as China.43

Significant Producer of Comparable Merchandise

        Section 773(c)(4)(B) of the Act requires Commerce to value FOPs, to the extent possible,

in an SC that is a significant producer of comparable merchandise. Neither the statute nor

Commerce’s regulations provide further guidance on the definition of comparable merchandise

or significant producer. Given the absence of any definition in the statute or regulations,

Commerce looks to other sources such as the Policy Bulletin 04.1 and legislative history for

guidance.44 Policy Bulletin 04.1 explains that Commerce should not compare production levels

in the non-market economy (NME) country and the potential surrogate countries in order to

identify significant producers.45 Instead, Policy Bulletin 04.1 provides, “Commerce should

define ‘significant producer’ in relation to world production and trade (subject to the availability

of data on these characteristics).”46 Moreover, the legislative history provides that the term

“significant producer” includes any country that is a “net exporter” of identical or comparable

merchandise.47 However, that text does not define the phrase “net exporter” or explain whether a



43
   See OP List.
44
   See Enforcement and Compliance Policy Bulletin 04.1: Non-Market Economy Surrogate Country Selection
Process (March 1, 2004) (Policy Bulletin 04.1), available at https://enforcement.trade.gov/policy/bull04-1.html.
45
   Id.
46
   Id.; see also DuPont Teijin Films v. United States, 997 F. Supp. 2d 1338, 1342 (CIT 2014).
47
   See Conference Report to the 1988 Omnibus Trade & Competitiveness Act, H.R. Rep. No. 100-576 (1988) at 590.


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                                                  Appx103
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potential SC must constitute a net exporter in terms of quantity, value, or both to fit the example

provided in the legislative history.48 The CIT has held that this term (i.e., significant producer) is

not statutorily defined, and is “inherently ambiguous,”49 and that this ambiguous provision of the

Act does not compel Commerce to define “significant producer” in any particular manner.50

Accordingly, Commerce may examine export volumes from among those countries that are at

the same level of economic development to determine whether a country is a significant

producer.51

        Also, Policy Bulletin 04.1 states that “in all cases, if identical merchandise is produced,

the country qualifies as a producer of comparable merchandise.”52 Commerce has also

previously stated that, if comparable merchandise is produced, a country qualifies as a producer

of comparable merchandise.53 Therefore, if the record contains evidence of domestic production

of comparable merchandise, then this evidence directly addresses the requirement of production

of comparable merchandise under section 773(c)(4) of the Act. Such evidence may include the

financial statements of a commercial producer of comparable merchandise in the SC.54

        In this review, the record contains the import and export quantity and value data during

the POR for all six OP List countries of the primary HS heading included in the scope, i.e., HS

subheading 3802.10., published by the GTA (for Brazil, Malaysia, Mexico, Romania, and



48
   Id.
49
   See Fresh Garlic Producers Ass’n v United States, 121 F. Supp. 3d 1313, 1338-39 (CIT 2015).
50
   See Dorbest Ltd. v. United States, 462 F. Supp. 2d 1262, 1274 n.5 (CIT 2006).
51
   See Certain Uncoated Paper from the People’s Republic of China: Final Determination of Sales at Less Than
Fair Value, 81 FR 3112 (January 20, 2016), and accompanying IDM at Comment 1.
52
   Id.; see also Policy Bulletin 04.1.
53
   See Sebacic Acid from the People’s Republic of China: Final Results of Antidumping Duty Administrative
Review, 62 FR 65674, 65676 (December 15, 1997) (“{T}o impose a requirement that merchandise must be
produced by the same process and share the same end uses to be considered comparable would be contrary to the
intent of the statute.”).
54
   See Dorbest Ltd. v. United States, 462 F. Supp. 2d 1262, 1683-1684 (CIT 2006) (upholding Commerce’s
selection of India as a significant producer using the financial statements of Indian companies), rev’d on other
grounds, Dorbest Ltd. v. United States, 604 F.3d 1363 (2010).


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Russia) and 2017 UN Comtrade (for Kazakhstan).55 These data demonstrate that none of the

countries in the OP List are net exporters of subject merchandise.56 Further, world production

and trade data of comparable merchandise are not available on the record of this administrative

review. Therefore, for these final results of redetermination on remand, we analyzed exports of

comparable merchandise (i.e., POR export quantities under HS subheading 3802.10) from the six

OP List countries, as a proxy for production data.

        Pursuant to the guidance provided by Policy Bulletin 04.1, which provides that

Commerce should not compare production levels in the NME country and the potential surrogate

countries in order to identify significant producers, we now find that all six OP List countries are

significant producers of comparable merchandise, based on export volumes.57 Specifically, we

now find that the exports from Romania, while relatively small compared to the export volumes

under HS subheading 3902.10 from the other OP List countries, are not negligible; thus, we

determine that they are significant.

        Further, the three Malaysian financial statements on the record indicate that each

company’s principal business activity is the manufacture of activated carbon, which is identical,

and thus comparable, to the subject merchandise in this proceeding. While Romcarbon’s

principal activities are the manufacture of polyethylene, polypropylene, polyvinyl chloride,

polystyrene processing, filters and protective materials, its financial statements indicate that its

profit center no.2 includes an “Active Coal Workshop,” which is dedicated to the production of

activated carbon.58 Therefore, for both Malaysia and Romania, the financial statements on the


55
   See Respondents’ SC Comments at Exhibit 1.
56
   Id.
57
   Id.
58
   See Mandatory Respondents’ Letter, “First Surrogate Value Comments by DJAC and CA Tianjin: Administrative
Review of the Antidumping Duty Order on Certain Activated Carbon from the People’s Republic of China,” dated
November 9, 2018 (Respondents’ Surrogate Value Submission), at Exhibit 9, page 1303 (Romcarbon’s profit center
no. 2 includes a “Workshop of Active Carbon”).


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record provide evidence of domestic production of comparable merchandise under section

773(c)(4) of the Act.

Data Considerations

         If more than one potential SC is determined to be economically comparable and a

significant producer of comparable merchandise, Commerce selects the primary SC based on

data quality and availability.59 When evaluating SV data, Commerce considers several factors,

including whether the SVs are publicly available, contemporaneous with the POR, representative

of a broad market average, tax- and duty-exclusive, and specific to the inputs being valued.60

There is no hierarchy among these criteria. It is Commerce’s practice to carefully consider the

available evidence in light of the particular facts of each industry when undertaking its analysis

of valuing the FOPs.61

         The record contains complete, publicly-available, contemporaneous, and input-specific

Malaysian data for nearly all of the inputs used by the two mandatory respondents to produce the

subject merchandise during the POR – including the bituminous coal input used to produce

nearly the entire production volume of the subject merchandise reported in both mandatory

respondents’ respective FOP databases – with the exception of the financial ratios, as discussed

below.62 Further, the record also contains complete, publicly-available, and contemporaneous




59
   See Policy Bulletin 04.1.
60
   Id.; see also Certain Frozen Fish Fillets from the Socialist Republic of Vietnam: Final Results of the Antidumping
Duty Administrative Review and New Shipper Reviews, 74 FR 11349 (March 17, 2009), and accompanying IDM at
Comment 2.
61
   See Certain Preserved Mushrooms from the People’s Republic of China: Final Results and Final Partial
Rescission of the Sixth Administrative Review, 71 FR 40477 (July 17, 2006), and accompanying IDM at Comment 1.
62
   See Petitioners’ Letter, “Certain Activated Carbon from the People’s Republic of China – Petitioners’ Submission
of Surrogate Values,” dated November 9, 2018 (Petitioners’ SV Comments).


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and input-specific Romanian data for nearly all of the inputs used by the two mandatory

respondents to produce the subject merchandise during the POR.63

        We have considered the quality of data on the record and find that, on the basis of input

specificity of the available data, the Malaysian SV data are superior to those of Romania.

Malaysia is one of only a small number of countries with an HS subheading that includes a tariff

classification at the ten-digit level that is specific to coconut-shell charcoal (i.e., HTS subheading

4402.90.1000), a direct material that is consumed in significant quantities in the production of

subject merchandise by the mandatory respondents. On the other hand, Romania only provides a

six-digit basket category HS subheading, 4402.90, which covers wood-based charcoal and also

includes nut-based charcoal, which is an input not used by the mandatory respondents. Further,

although Malaysia provides multiple financial statements from producers of identical (and thus

comparable) merchandise which are representative of the experience of the mandatory

respondents, they do not provide breakouts for raw material, labor, and energy. In contrast, the

one Romanian financial statement on the record provides the specificity needed to calculate the

financial ratios because it provides breakouts for these categories of expenses. Therefore, we

continue to select Malaysia as the primary SC for these final results of redetermination, because

it provides the best available information from which to value the mandatory respondent’s FOPs.

        Additionally, while the three Malaysian financial statements provide evidence that

Malaysia is a producer of identical merchandise, they lack usable financial data in that none of

them have separate line items breaking down the cost of raw materials and energy. Therefore,

we continue to use the Romcarbon financial statements for the calculation of the surrogate



63
 See Mandatory Respondents’ Letter, “Final Surrogate Value Comments by DJAC and CA Tianjin:
Administrative Review of the Antidumping Duty Order on Certain Activated Carbon from the People’s Republic of
China,” dated May 13, 2019 (Respondents’ Final SV Comments).


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financial ratios, as they are the only financial statements on the record which present the

financial data in a manner that is feasible for the calculation of these ratios.

     3. Commerce’s Accounting Adjustments in Romcarbon’s Financial Ratio Calculations

Background

        In the AR11 Final Results, Commerce valued financial ratios using the 2017 financial

statements from the Romanian company, Romcarbon.64 Before the CIT, Plaintiffs argued that

Commerce’s allocation of certain line items in Romcarbon’s financial statements are not in

accordance with Commerce’s practice and not supported by substantial evidence. Further,

Plaintiffs argued that Commerce’s decision in the AR11 Final Results, issued December 11,

2019, is inconsistent with Commerce’s subsequent financial ratios adjustments in the AR10

Remand Redetermination, where Commerce used the POR-contemporaneous financial

statements from the same Romanian company that we used to value financial ratios for the AR11

Final Results (i.e., Romcarbon).65 Specifically, Plaintiffs argued that: (1) “other gains” should

offset selling, general, and administrative (SG&A) expenses instead of being excluded, because

this line item is treated as part of a company’s general operations; (2) “gain/(loss) on adjustment

of investment property at fair value,” and “gain/(loss) on disposal of investment property” should

offset the reported “profit before tax” instead of being excluded, because all of these gains accrue

from activities outside of Romcarbon’s general business, i.e., manufacturing of goods; and (3)

“social contributions” and “meal tickets” should be allocated under “labor,” instead of SG&A

expenses, in order to avoid double counting because both line items capture indirect labor cost



64
   See AR11 Final Results; see also Memorandum, “Eleventh Administrative Review of Certain Activated Carbon
from China: Surrogate Value for the Final Results,” dated December 11, 2019 (Final SV Memorandum), at
Attachment 1.
65
   See Final Results of Redetermination Pursuant to Court Remand, Calgon Carbon Corporation et al. v. United
States, Consol. Court No. 18-00232, Slip Op.20-65, dated August 4, 2020 (AR10 Remand Redetermination),
available at https://enforcement.trade.gov/remands/20-65.pdf.


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expenses, which Commerce already included in the NV build-up.66 Commerce argued that the

accounting adjustments are supported by substantial evidence in the record and are not contrary

to law. In the Remand Order, the CIT directed Commerce to consider Plaintiffs’ arguments,

given the inconsistencies between Commerce’s determinations in the AR10 Remand

Redetermination and the AR11 Final Results and the discrepancies in Commerce’s explanations

for declining the adjustments.67

Analysis

        In light of the CIT’s Remand Order, Commerce has reconsidered the allocation of the

expenses at issue as follows below.

Gain/(Loss) on adjustment of investment property at fair value, and Gain/(Loss) on disposal of

investment property

        In the AR11 Final Results, Commerce excluded “gain/(loss) on adjustment of investment

property at fair value,” and “gain/(loss) on disposal of investment property,” from the calculation

of financial ratios.68 Commerce’s established practice is to deduct income from investment

property from a manufacturing entity’s reported “profit before tax,” as the income from

investment does not pertain to the company’s general business activity (i.e., manufacturing of

goods).69 Because Romcarbon included the line items “gain/(loss) on adjustment of investment

property at fair value” and “gain/(loss) on disposal of investment property” in the revenue build-

up, these two line items contribute to, and are included in, its reported “profit before tax.”70




66
   See Plaintiffs’ Motion at 39-44.
67
   See Remand Order at 30.
68
   See Final SV Memorandum at Attachment 1.
69
   See, e.g., Diamond Sawblades and Parts Thereof from the People’s Republic of China: Final Results of
Antidumping Duty Administrative Review; 2009-2010, 78 FR 11143, 11146 (February 15, 2013), and accompanying
IDM at Comment 16.
70
   See Respondents’ Surrogate Value Submission at Exhibit 9, page 1323.


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Because Romcarbon’s general business activity is the manufacture of goods,71 these two line

items are extrinsic to Romcarbon’s ordinary business operation. Therefore, for this final remand

redetermination, we have offset Romcarbon’s reported “profit before tax” with the amounts

under these two line items and recalculated the profit ratio accordingly.

Other Gains

        In the AR11 Final Results, Commerce excluded “other gains” from its computation of

financial ratios.72 It is Commerce’s practice to calculate the SG&A expense ratio to include only

items that relate to the general operation of the company as a whole.73 In determining whether it

is appropriate to include in or exclude from the SG&A calculation particular income or expense

items, Commerce reviews the nature of the item and its relation to the general operations of the

company.74 Commerce’s practice is to treat incomes accrued from miscellaneous activities as a

part of the general operations of the company unless the financial statements explicitly indicate

otherwise.75

        With respect to “Other Gains,” as noted above, Commerce’s practice is to treat income

accrued from miscellaneous activities as a part of the general operations of the company unless

the financial statement explicitly indicates otherwise.76 Because there is no indication on the

record that the amount under the line item “other gains” does not pertain to the general

operations of the company,77 for this final remand redetermination we have offset Romcarbon’s



71
   Id. at page 1303.
72
   See Final SV Memorandum at Attachment 1.
73
   See, e.g., Notice of Final Determination of Sales at Less Than Fair Value and Negative Final Determination of
Critical Circumstances: Certain Frozen and Canned Warmwater Shrimp from Thailand, 69 FR 76918 (December
23, 2004), and accompanying IDM at Comment 2.
74
   Id.
75
   See Polyethylene Terephthalate Film, Sheet, and Strip from the People’s Republic of China: Final Determination
of Sales at Less Than Fair Value, 73 FF 55039 (September 24, 2008), and accompanying IDM at Comment 3.
76
   Id.
77
   See Respondents’ Surrogate Value Submission at Exhibit 9, page 1376.


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reported SG&A with the amounts under “other gains,” and recalculated the financial ratios

accordingly.

Social Contributions and Meal Tickets

        In the AR11 Final Results, we categorized “Social Contributions” and “Meal Tickets”

under SG&A expenses.78 When labor items, such as social security contributions, clothing,

housing, meals, etc., are clearly included in the SV for labor, we will include such items in the

labor category of the surrogate financial ratios calculations to avoid double-counting such

expenses.79 The Malaysian SV for labor which we used to value labor cost in AR11 Final

Results (i.e., POR-contemporaneous Malaysian labor SV from Trading Economics) provides no

information on whether Social Contributions and/or Meal Tickets are included in the SV for

labor.80 Therefore, because the record does not contain evidence to conclude that Commerce’s

labor SV already includes the cost of employer’s contribution to social security and meal

expenses, it is not appropriate to make the adjustments requested by the Respondents.81 Thus, in

the AR11 Final Results, by allocating these two items to SG&A, we did not double count these

expenses. Therefore, for this final remand redetermination we continue to classify the “meal

tickets” and “social contribution” line items as SG&A expenses.




78
   See AR11 Final SV Memorandum at Attachment 1.
79
   See Xanthan Gum from the People’s Republic of China: Final Results of Antidumping Duty Administrative
Review; 2013-2014, 82 FR 11428 (February 23, 2017) (Xanthan Gum), and accompanying IDM at Comment 14.
80
   See Petitioners’ SV Comments at Attachment 4.
81
   See, e.g., Frozen Warmwater Shrimp Final Results and Rescission, in Part, of 2004/2006 Antidumping Duty
Administrative and New Shipper Reviews, 72 FR 52049 (September 12, 2007) (Frozen Warmwater Shrimp), and
accompanying IDM at Comment 3 (Commerce notes that the International Labor Organization data, used to value
labor in Frozen Warmwater Shrimp, did not include labor related costs, such as employers’ contributions in respect
of their employees paid to social security and pension schemes. Accordingly, for the purposes of financial ratio
calculations, Commerce categorized “Contributions to Gratuity Fund” as a part of the overhead calculation.).


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III.     SUMMARY AND ANALYSIS OF RESPONDENTS’ COMMENTS ON DRAFT
         REMAND RESULTS

         Commerce released the Draft Remand Results to parties for comments on May 28,

2021.82 The Plaintiffs filed comments on the Draft Remand Results on June 8, 2021.83 On June

11, 2021, Commerce issued a letter to the Respondents, noting that the Respondents’ Original

Comments contained untimely filed factual information, and requesting that they remove the

new factual information and refile the submission.84 The Respondents filed the redacted version

of the comments on June 14, 2021.85 On June 15, 2021, the Respondents filed a letter requesting

that Commerce reconsider Commerce’s rejection of Respondents’ Original Comments, arguing

that the information at issue does not constitute new factual information because it is “widely

available and public reference material.”86 On June 23, 2021, Commerce issued a memorandum

responding to the Request for Reconsideration, explaining that for reasons of administrative

finality and for notice and due process considerations, it is reasonable and necessary to close the

record to new factual information – including information that is publicly available.87

Commerce also explained that it had not reopened the record on remand and thus it would not be

accepting new factual information. Further, Commerce issued an additional letter to the

Respondents, noting that the Respondents’ Redacted Comments continued to include new factual

information, and requested that they remove the new factual information and resubmit the



82
   See Draft Remand Results.
83
   See Respondents’ Letter, “Comments on Draft Remand: Antidumping Duty Order on Certain Activated Carbon
from the People’s Republic of China,” dated June 8, 2021 (Respondents’ Original Comments).
84
   See Commerce’s Letter, “Rejection of June 8, 2021, Comments on Draft Remand,” dated June 11, 2021; see also
Memorandum, “Rejection of Factual Information from GDLSK,” dated June 11, 2021; see also Memorandum,
“Rejection of Factual Information from GDLSK,” dated June 14, 2021.
85
   See Respondents’ Letter, “Redacted and Resubmitted Comments on Draft Remand: Antidumping Duty Order on
Certain Activated Carbon from the People’s Republic of China,” dated June 14, 2021 (Respondents’ Redacted
Comments).
86
   See Respondents’ Letter,” Request for Reconsideration of Draft Remand Comments Rejection,” dated June 15,
2021 (Request for Reconsideration).
87
   See Memorandum, “Request for Reconsideration from GDLSK,” dated June 21, 2021.


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comments.88 On June 24, the Respondents filed the second redacted version of the comments.89

No other parties filed comments on the Draft Remand Results. As explained below, we continue

to reach the same conclusions that we reached in the Draft Remand Results. We address each of

the Respondents’ comments and provide our analysis in turn.

Issue 1: Bituminous Coal Surrogate Value

Respondents’ Comments

     x   In the Draft Remand Results, Commerce has now reconsidered and properly

         acknowledges that HS chapter notes apply to all WCO countries, and accordingly, has

         properly changed the SVs for a portion of bituminous coal (i.e., bituminous coal with

         known calorific value) from those used in the AR11 Final Results.

     x   However, in preferring Malaysian import data reported under HS 2701.19 to value the

         bituminous coal with known calorific value, Commerce failed to select the best available

         information on this record.90 Given that Commerce already determined that the

         Malaysian data reported under HS 2701.12 was aberrant and unreliable, the agency

         should be skeptical of Malaysian import data reported under 2701.19, which covers the

         same input of lower heat value, because the SV reported thereunder could likewise be

         distorted.91 At a minimum, between the two available choices, Romanian HTS

         subheading 2701.19 and Malaysian HTS subheading 2701.19, the former is preferable

         because – unlike Malaysian import data under HS 2701.12 – the Romanian import data

         reported under 2701.12 is undistorted.92


88
   See Commerce’s Letter, “Rejection of June 14, 2021, Redacted and Resubmitted Comments on Draft Remand,”
dated June 23, 2021.
89
   See Respondents’ Letter, “Second Redacted and Resubmitted Comments on Draft Remand,” June 23, 2021
(Respondents’ Comments).
90
   See Respondents’ Comments at 10.
91
   Id. at 11.
92
   Id.


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     x    Further, the Draft Remand Results improperly value bituminous coal having unknown

          heat value with data reported under Romanian HS 2701.12, stating that Commerce does

          not have record evidence, such as test reports for the bituminous coal input used by these

          suppliers, that would support valuing this input using imports under subheading

          2701.19.93

     x    However, Commerce likewise does not have record evidence to support valuing this

          input using imports under HS 2701.12 only.94 Therefore, in the Draft Remand Results,

          Commerce impermissibly speculates that bituminous coal having unknown calorific

          value should be classified under HS 2701.12.95

     x    Given other record evidence showing that similar bituminous coal utilized in producing

          identical merchandise had a calorific value less than 5,833 kcal/kg, the most reasonable

          inference regarding the calorific value for such bituminous coal with unknown heat

          value, is that their calorific value should be likewise less than 5,833 kcal/kg.96

     x    While Commerce specifically required Datong Juqiang and Datong Juqiang’s supplier to

          provide calorific value information and test reports for their bituminous coal input,

          Commerce never asked Supplier C to provide such information.97

     x    Because Commerce never requested Supplier C to evidence the calorific value of its

          bituminous coal, Supplier C never provided such evidence. Under these facts, Commerce

          is precluded from drawing an adverse inference that such coal invariably had a calorific

          value equal to or great than 5,833 kcal/kg (and thereby meriting classification under HS



93
   Id. at 3.
94
   Id.
95
   Id.
96
   Id. at 4.
97
   Id. at 5.


                                                    22
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         2701.19).98 The CIT in AR1 Litigation, under similar factual circumstances where

         specificity for an input was on the record for one mandatory respondent, but not for

         another mandatory respondent because Commerce did not request that information from

         the second mandatory respondent, disfavored application of different SVs between the

         two parties.99

     x   Therefore, in its final remand redetermination, Commerce should apply Romanian import

         data under HS 2701.19 to value bituminous coal of unknown calorific value.

         Alternatively, an inference based on equal probability suggests that the calorific value of

         such bituminous coal could be either (1) less than 5,833 kcal/kg or; (2) equal to or greater

         than the threshold limit of 5,833 kcal/kg. Accordingly, a conservative methodology for

         valuing such unknown calorific value bituminous coal requires Commerce to average the

         SVs reported in HS 2701.19 with those reported under HS 2701.12.100

     x   Further, Commerce correctly recognized that Malaysian import data reported under HS

         2701.12 are not viable in AR11 Final Results. Therefore, in the final remand

         redetermination, Commerce should average data reported under Romanian HS 2701.12

         and Romanian HS 2701.19, as averaging the Romanian data under HS 2701.12 with the

         Malaysian data under HS 2701.19 would result in a potentially distortive SV because it

         would be drawing SVs for the same input--bituminous coal, varying only in terms of

         calorific value, from two different source countries.101




98
   Id. (citing Calgon Carbon Corp. v. United States, 35 CIT 235, 244 (2011) (AR1 Litigation)).
99
   Id.
100
    Id. at 6.
101
    Id.


                                                        23
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      x   Commerce’s regulatory policy underlying surrogate valuation – repeatedly affirmed by

          the CIT – is to minimize the distortion that occurs from using data from multiple

          countries.102

      x   While Commerce may on occasion have to employ data from a secondary surrogate

          country based on the absence of viable data for a particular input, there is no basis for

          Commerce to employ data from different countries to value bituminous coal for the final

          remand redetermination, given the indisputably reliable Romanian data on the record.103

      x   Therefore, in the final remand redetermination, Commerce should value both the

          bituminous coal input with known heat value and unknown heat value with Romanian

          import data reported under HS 2701.19. Or, alternatively, apply the Romanian HS

          2701.19 to value bituminous coal with a known heat value, and use the average of the

          data reported under Romanian HS 2701.12 and 2701.19 to value the bituminous coal

          input with unknown heat value.104

Commerce’s Position: The respondents claim that Commerce should (1) use Romanian import

data reported under HS 2701.19 for bituminous coal with both a known calorific value and

unknown calorific values, or (2) in the alternative, apply Romanian HS 2701.19 to value

bituminous coal with a known calorific value, and use an average of the data under Romanian

HS 2701.12 and 2701.19 for bituminous coal with unknown calorific value. We disagree with

the respondents and explain in detail below.




102
    Id. at 6 and 11 (citing Clearon Corp. v. United States, 2013 Ct. Intl. Trade LEXIS 27, *21 (Feb. 10, 2013) (“the
use of a ‘single surrogate country’ is justified when, as here, all other factors are ‘fairly equal’ because minimizing
distortion supports a finding that Commerce relied upon the best available information on the record.”); also citing
Peer Bearing Co.-Changshan v. United States, 804 F. Supp. 2d 1337, 1353 (CIT 2011); 19 C.F.R. § 351.408(c)(1)).
103
    Id. at 12.
104
    Id. at 2.


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                                                     Appx116
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        As stated above, Commerce’s practice, when selecting the best available information for

valuing FOPs, in accordance with section 773(c)(1) the Act, is to select, to the extent practicable,

SVs which are input-specific, representative of a broad-market average, publicly available,

contemporaneous with the POR, and tax- and duty-exclusive.105 Further, Commerce undertakes

its analysis of valuing the FOPs on a case-by-case basis, carefully considering the available

evidence in light of the particular facts of each industry.106 In addition, it is a long-standing

Commerce practice that a party arguing that data are aberrational or unreliable must provide

sufficient evidence to support its argument.107 Commerce has previously noted that

“{i}nterested parties must provide specific evidence showing the value is aberrational. If a party

presents sufficient evidence to demonstrate a particular surrogate value is not viable,

{Commerce} will assess all relevant price information on the record, including any appropriate

benchmark data, in order to accurately value the input in question.”108 When there is insufficient

evidence to find certain data aberrational, Commerce does not discard the data.109 Additionally,

Commerce has a strong preference to value all FOPs in a single surrogate country, pursuant to 19

CFR 351.408(c)(2), as well as a practice “to only resort to a secondary surrogate country if data

from the primary surrogate country are unavailable or unreliable.”110

        In the Draft Remand Results, we continued to find Malaysia as the proper selection for

the primary surrogate country, and, as discussed infra, for the final results of redetermination, we


105
    See, e.g., First Administrative Review of Certain Polyester Staple Fiber from the People’s Republic of China:
Final Results of Antidumping Duty Administrative Review, 75 FR 1336 (January 11, 2010), and accompanying IDM
at Comment 1.
106
    See Glycine from the People’s Republic of China: Notice of Final Results of Antidumping Duty Administrative
Review, 70 FR 47176 (August 12, 2005), and accompanying IDM at Comment 1.
107
    See, e.g., Carbazole Violet Pigment 23 from the People’s Republic of China: Final Results of Antidumping Duty
Administrative Review, 75 FR 36630 (June 28, 2010) (Carbazole Violet Pigment), and accompanying IDM at
Comment 4.
108
    Id.
109
    See Carbazole Violet Pigment IDM at Comment 6.
110
    See Sodium Hex from China 2012 IDM at Comment I.


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                                                  Appx117
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continue to use Malaysia as the primary surrogate country. Because Commerce selected

Malaysia as the primary surrogate country, our first preference in selecting SVs for these final

results of redetermination is to utilize publicly available prices within Malaysia.111

        Although Respondents assert that the Malaysian import data reported under HS 2701.19

could be distorted merely because we determined Malaysian import data reported under HS

2701.12 to be aberrant and unreliable, we find this claim unavailing and without merit. As stated

above, the party arguing that data are unreliable must provide sufficient evidence to support its

argument. The Respondents do not identify any record information to support their claim that

data reported under HS 2701.19 could be distorted, and the record lacks any appropriate

benchmark data or other price information to support their contention. As there is no evidentiary

basis to find that the Malaysian import data reported under HS 2701.19 are aberrantly high,

Commerce cannot discard the data.112

        Likewise, the Respondents’ assertion that Commerce improperly valued bituminous coal

having unknown heat value with data reported under Romanian HS 2701.12 because Commerce

never asked Supplier C to provide test reports, is without merit. Although Commerce did not ask

Supplier C to provide test reports for its bituminous coal input, Commerce asked Supplier C to

“provide a detailed description of ‘smoke coal’ and explain the difference between smoke coal

and bituminous coal.”113 In response to this question, Supplier C stated, “Smoke coal is a type of

energy coal, whose technical grade is bituminous coal, that {Supplier C} used to provide energy

for activation.” Supplier C further stated, “{b}oth bituminous coal and smoke coal belong to the

same technical grade of bituminous coal.”114 In relation to this statement, Supplier C only


111
    See Draft Remand SV Memorandum at Attachment 1.
112
    Id.
113
    See Carbon Activated’s SDQR Part I at 19, Exhibit SD-27.
114
    Id.


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                                                  Appx118
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provided a test report for its smoke coal input, thereby failing to substantiate its claim that

“{b}oth bituminous coal and smoke coal belong to the same technical grade of bituminous

coal”115 with supporting documents (such as bituminous coal test reports). The Respondents’

reference to the CIT’s decision in AR1 Litigation to support their contention that Commerce

should apply Romanian HS 2701.19 to value the bituminous coal with unknown heat values is

unavailing and not on point. The circumstances the Respondents cite to in AR1 Litigation pertain

to the acceptance of additional evidence at verification.116 The CIT in AR1 Litigation noted that

although Commerce had no obligation to accept additional evidence at verification, once

Commerce did accept such evidence from one respondent at verification, however, Commerce

had an obligation to treat the other respondent fairly by giving it a similar opportunity.117

Because similar circumstances do not exist here, the CIT’s decision in AR1 Litigation is

inapplicable to this case. Further, it is our long-standing practice in this case for parties to

provide the calorific values of the inputs.118

        Additionally, a party arguing that data are unreliable must provide sufficient evidence to

support its argument. In this administrative review segment of the proceeding, the Respondents

request that Commerce use HS 2701.19 (Other Coal), instead of HS 2701.12 (Bituminous Coal)

to value bituminous coal. In AR11 Final Results, Commerce declined to apply Thai notes to

Chapter 27, which limits HS 2701.12, inter alia, to bituminous coal with “a calorific value limit

equal to or greater than 5,833 kcal/ kg,”119 to the Malaysian subheading, stating that “Subheading

Note 2 to Chapter 27” pertains specifically to Thai HS data, not Malaysian data.”120 Therefore,


115
    Id. at SD-27.
116
    See AR1 Litigation, 35 CIT 235 at 244.
117
    Id.
118
    See, e.g., Carbon AR2; see also Certain Activated Carbon from the People’s Republic of China: Final Results of
the Fifth Antidumping Duty Administrative Review, 78 FR 70533 (November 20, 2013) (AR5 Final Results).
119
    See AR11 Final Results IDM.
120
    Id. at 14.


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Commerce decided to continue to use HS 2701.12 to value bituminous coal, concluding that the

record did not contain similar information with respect to the Malaysian imports under Chapter

27, and as such there was no record evidence to support the use of Malaysian import SV data

under HS 2701.19 for the bituminous coal input.121 However, while we have now applied the

Thai HS subheading notes to the Malaysian HS 2701.12 for these final results of

redetermination, we still lack record evidence to depart from using HS 2701.12 to value the

bituminous coal used by Supplier C and the uncooperative supplier, which comprise a small

percentage of the volume of subject merchandise reported in Carbon Activated’s FOP database.

        Moreover, the plain language description of the GTA data for HS 2701.12 (Bituminous

Coal, Not Agglomerated)122 matches the mandatory respondents’ description of their input (i.e.,

bituminous coal) and supports Commerce’s decision to rely on this HS category for the input.

Commerce has long relied on a plain reading of the HS descriptions to determine the best

available information to value a specific input.123 Commerce cannot consider the application of

HS 2701.19 with the description “Other Coal,” without record evidence to demonstrate that the

coal input the mandatory respondents identify as “bituminous coal,” is actually of the kind and

grade that is more appropriately classified under HS 2701.19 (Other Coal). Based on the

information placed on the record by the mandatory respondents, there is only sufficient evidence

to determine that the bituminous coal used by Datong Juqiang, Datong Juqiang’s supplier, and

one of Carbon Activated’s suppliers can be valued with import data reported under HS 2701.19.

The record lacks evidence to support a departure from our finding in the AR11 Final Results that

HS 2701.12 is the appropriate HS code to value Supplier C’s, and accordingly, Carbon


121
    Id.
122
    See Draft Remand SV Memorandum at Attachment 1.
123
    See, e.g., Certain Woven Electric Blankets from the People’s Republic of China: Final Determination of Sales at
Less Than Fair Value, 75 FR 38459 (July 2, 2010), and accompanying IDM at Comment 5.


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                                                   Appx120
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Activated’s uncooperative supplier’s bituminous coal input. Because the Respondents did not

provide evidence demonstrating that it would be inappropriate for Commerce to value Supplier

C’s bituminous coal input using data reported under HS 2701.12, Commerce continues to find

that HS 2701.12, based on the description of the input, is the best available information to value

Supplier C and the uncooperative supplier’s bituminous coal input.

        Respondents also failed to provide any evidence to support their alternative claim that

Commerce should average the surrogate values reported in HS 2701.19 with those reported

under HS 2701.12. As noted above, in AR11 Final Results, the AUV for Malaysian imports

under HS 2701.12 was determined to be aberrantly high and based on a limited import volume.

As Commerce generally seeks to minimize the number of countries that it relies on for SV

data,124 and as Commerce continues to use Romania as the secondary SC as explained infra,

Commerce continues to use the AUV for Romanian import data under HS heading 2701.12 as

the SV for bituminous coal used by Supplier C and the uncooperative supplier, which comprise a

small percentage of the volume of subject merchandise reported in Carbon Activated’s FOP

database.125

        Further, as the Plaintiffs have correctly noted, Commerce may on occasion have to

employ data from a secondary SC based on the absence of viable data from the primary SC for a

particular input.126 As explained infra, we continue to use Malaysia as the primary SC based on

the availability of input-specific data, and to use Romania as the secondary surrogate country, as

Romania provides usable financial statements. Therefore, for these final results of



124
    See Certain Frozen Warmwater Shrimp from the Socialist Republic of Vietnam: Final Results of Antidumping
Duty Administrative Review, 2016-2017, 83 FR 46704 (September 14, 2018), and accompanying IDM at Comment
1.
125
    See BPI Memorandum.
126
    See, e.g., Fresh Garlic from the People’s Republic of China: Final Results of Antidumping Duty Administrative
Review; 2010-2011, 78 FR 36168, 36170 (June 17, 2013), and accompanying IDM at Comment 9.


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                                                  Appx121
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redetermination, Commerce continues to use import data reported under Malaysian HS

subheading 2701.19 to value the bituminous coal input used by Datong Juqiang, Datong

Juqiang’s supplier, and one of Carbon Activated’s suppliers, and to use Romanian import data

reported under HS 2701.12 to value bituminous coal used by Supplier C, and by Carbon

Activated’s uncooperative supplier.127 This determination is consistent with Commerce’s

practice in which we apply different SVs for the same input used by different respondents, based

on the available evidence regarding input specificity.128

Issue 2: Surrogate Country Selection

Respondents’ Comments

      x   In the Draft Remand Results, Commerce now finds that both Romania and Malaysia are

          significant producers of comparable merchandise. This determination is a departure from

          Commerce’s determination in the AR11 Final Results, where Commerce found Malaysia

          to be the only significant producer of comparable merchandise among the OP List

          countries.129

      x   Accordingly, in the Draft Remand Results, Commerce relied on data considerations to

          choose Malaysia over Romania as the primary SC, stating that Malaysia provides “data

          for nearly all of the inputs used by the two mandatory respondents to produce the subject

          merchandise during the POR – including the bituminous coal input used to produce

          nearly the entire production volume of the subject merchandise reported in both




127
    The identity of the uncooperative supplier is business proprietary. For the uncooperative supplier’s identity, see
CAT Draft Remand Calculation Memorandum.
128
    See Carbon AR2 IDM at Comment 4b.
129
    See Respondents’ Comments at 12.


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                                                     Appx122
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          mandatory respondents’ respective FOP databases – with the exception of the financial

          ratios.”130

      x   However, Commerce’s proffered rationale in favor of Malaysia is unsupported by

          substantial record evidence.131

      x   First, Commerce’s findings concerning bituminous coal are directly contrary to the record

          evidence. Commerce already rejected the unreliable Malaysian HS subheading 2701.12

          data for valuing higher calorific heat value (heat value equal to or greater than 5,833

          kcal/kg) bituminous coal. As such, the record lacks a usable Malaysian SV under HS

          2701.12. Indeed, Commerce applied Romanian HS subheading 2701.12 for valuing

          bituminous coal of unknown heat value. Therefore, for valuing bituminous coal of an

          unknown heat value used by two different suppliers, Malaysia demonstrably fails to

          afford a reliable SV, whereas in contrast, Romania affords reliable SVs for both grades of

          bituminous coal (i.e., bituminous coal with lower calorific value (covered by import data

          reported under HS 2701.19) and unknown calorific value (covered by the average of

          import data reported under HS 2701.12 and 2701.19).132

      x   Second, the financial ratios represent a significant portion of both mandatory

          respondents’ NV.133 This impact on NV must be considered when selecting surrogate

          countries per Commerce’s practice, which has been affirmed by the CIT.134 The

          Romcarbon financial data therefore provide a compelling basis for Commerce to have




130
    Id. at 13.
131
    Id.
132
    Id. at 14.
133
    Id.
134
    Id. (citing Certain Steel Nails from the People’s Republic of China: Final Results of Third Antidumping Duty
Administrative Review, 78 Fed. Reg. 16,651 (Mar. 18, 2013), and accompanying IDM at Comment 1D; and Jiaxing
Brother Fastener Co. v United States, 11 F.Supp.3d 1326, 1333 (CIT 2014) (Jiaxing Brother)).


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          selected Romania as the primary surrogate country for China. At a minimum, Commerce

          must in its final remand explain its deviation from its normal practice by selecting the

          surrogate country without regards to data availability for such a large portion of NV.135

          Commerce’s SV choices for two key FOPs – bituminous coal and surrogate financial

          ratios – strongly support selecting Romania and undermine the choice of Malaysia.136

      x   Third, in the Draft Remand Results, Commerce advances a new rationale to favor

          Malaysia for the first time in AR11, i.e., for valuing carbonized materials. Specifically,

          Commerce states, “Malaysia is one of only a small number of countries with an HS

          subheading that includes a tariff classification at the ten-digit level that is specific to

          coconut-shell charcoal (i.e., HTS subheading 4402.90.1000), a direct material that is

          consumed in significant quantities in the production of subject merchandise by the

          mandatory respondents. On the other hand, Romania only provides a six-digit basket

          category HS subheading, 4402.90, which covers wood-based charcoal and also includes

          nut-based charcoal, which is an input not used by the mandatory respondents.”137

      x   This draft remand position is both unavailing and unsupported by record evidence. First,

          in a remand proceeding Commerce should not rely on an entirely new substantive basis in

          support of its SC choice (i.e., Malaysia).138

      x   Second, the assertion that coconut-shell charcoal was used by mandatory respondents is

          unsupported for at least three of Carbon Activated’s suppliers.139 While one of the

          mandatory respondents (Datong Juqiang) used coconut shell charcoal, the record lacks



135
    Id.
136
    Id.
137
    Id. at 17.
138
    Id.
139
    Id. at 17.


                                                     32
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                                                 Appx124
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          information about the underlying material (whether coal, coconut, wood, or nut) of the

          carbonized material utilized by the three Carbon Activated suppliers, who appear to have

          used coal-based carbonized material – not coconut shell charcoal.140 Commerce never

          requested that the three Carbon Activated suppliers in question provide this additional

          information.141

      x   Consequently, the rationale that the Malaysian HTS subheading 4402.90.1000 for

          coconut-shell charcoal affords greater product specificity in relation to the input as

          compared to Romanian HS subheading 4402.90 (Wood Charcoal (Including Shell Or Nut

          Charcoal), Excluding That Of Bamboo), which is a basket category heading

          encompassing coconut shell charcoal as well as wood charcoal, is unavailing.142

      x   To the contrary, Romanian HS 4002.90 affords a superior SV choice for all three of

          Carbon Activated suppliers’ coal-based carbonized material.143 In AR5 Final Results,

          Commerce accepted that wood and nut charcoal could also be used to produce certain

          types of activated carbon.144 The CAFC also affirmed Commerce’s decision that: (a)

          wood charcoal could be used to produce the subject merchandise; and (b) between wood

          charcoal and coconut shell charcoal, the latter is not more comparable to coal-based

          carbonized materials.145




140
    Id. (citing Carbon Activated’s SDQR Part I at12; and Carbon Activated Letter, “Section D Questionnaire
Response, Part I,” dated September. 28, 2018, at Exhibit D-2 in Attachment D. (Plaintiffs note that Supplier C’s
production process shows it used bituminous coal to produce carbonized material at the carbonization stage and
mixed such self-produced carbonized material with purchased carbonized material at the activation stage. Plaintiffs
assert that this fact also indicates that purchased carbonized materials should have the same initial substrate, i.e.,
coal, in order to form a homogeneous mixture, and ensure that the integrity of the final product is not
compromised.)).
141
    Id. at 17.
142
    Id. at 18.
143
    Id.
144
    Id. at 20 (citingAR5 Final Results IDM Comment 6.
145
    Id. (citing Jacobi Carbons AB v. United States, 619 Fed. Appx. 992, 999 (Fed. Cir. 2015)).


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                                                    Appx125
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      x   Therefore, as compared to the Malaysian HTS subheading 4402.90.1000 data for coconut

          shell charcoal only, the choice of Romanian HS subheading 4402.90 (which encompasses

          both coconut shell charcoal and wood- and nut-based charcoal) affords a more reliable

          and representative SV for all three of Carbon Activated’s suppliers’ coal-based

          carbonized material.146

      x   Third, Romanian HS subheading 4402.90 is vastly superior to Malaysian HTS

          subheading 4402.90.1000 in terms of data quality. Romanian HS subheading 4402.90

          import data are based on imports from 23 partner countries with a total quantity of

          27,152,840 kg. On the other hand, Malaysian HTS subheading 4402.90.1000 import data

          are based on Malaysian imports from only four partner countries with a total quantity of

          merely 336,395 kg. That is, the commercial significance of the Romanian import data is

          81 times greater than that of Malaysia.147

      x   As such, Commerce’s reliance on an additional metric – the carbonized material SV – to

          support its choice of Malaysia as the surrogate country is demonstrably misguided and

          undermined by record evidence and longstanding agency and judicial precedent.148

Commerce’s Position: Commerce disagrees with the Respondents’ contention that the lack of

usable Malaysian data for surrogate financial ratios, and some of the bituminous coal input used

by the mandatory respondents during the POR, makes Romania a more appropriate choice of

primary SC for this review. We continue to find that Malaysia provides the best available

information based on data quality and availability.




146
    Id. at 22.
147
    Id.
148
    Id. at 23.


                                                     34
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                                                 Appx126
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        As noted above, Commerce undertakes to select SVs using the best available information

that is on the record in light of our established SV analytical criteria.149 There is no hierarchy

among these criteria. It is Commerce’s practice to carefully consider the available evidence

considering the particular facts of each industry when undertaking its analysis of valuing the

FOPs.150

        Respondents first contend that Commerce should have used import data reported under

HS 2701.12 and HS 2701.19 to value bituminous coal used by Supplier C and the uncooperative

supplier, instead of using import data reported under HS 2701.12. The Respondents further

argue that because Romania provides usable data under HS 2701.12, whereas the Malaysian data

under the same HS code was determined to be aberrantly high and based on a limited import

volume, Romania provides better quality data with regards to the bituminous coal input with

unknown heat values. However, as noted, supra, there is no information on the record of this

administrative review that supports the conclusion that an average of the Romanian data reported

under HS 2701.12 and HS 2701.19 is more specific than Romanian data reported under HS

2701.12 alone to value bituminous coal used by Supplier C and the uncooperative supplier. As

explained above, based on available record evidence, we continue to value the bituminous coal

input used by Supplier C and the uncooperative supplier with Romanian import data reported

under HS 2701.12 because the description of this HS code matches the description of the input.

Further, while we continue to use data under Romanian HS 2701.12 (i.e., data from the

secondary surrogate country) to value the bituminous coal input used by Supplier C and the




149
    Id.; see also Certain Frozen Fish Fillets from the Socialist Republic of Vietnam: Final Results of the
Antidumping Duty Administrative Review and New Shipper Reviews, 74 FR 11349 (March 17, 2009), and
accompanying IDM at Comment 2.
150
    See Certain Preserved Mushrooms from the People’s Republic of China: Final Results and Final Partial
Rescission of the Sixth Administrative Review, 71 FR 40477 (July 17, 2006), and accompanying IDM at Comment 1.


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                                                Appx127
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uncooperative supplier, we have a usable SV from the primary SC (i.e., data reported under

Malaysian HS 2701.19) covering nearly all of the bituminous coal input used by the mandatory

respondents. In addition, Commerce notes that contrary to the Respondents’ assertion that the

Romanian HS 2701.19 is preferable to Malaysian HS 2701.19 in terms of data quality, the

Romanian import data that the Respondents placed on the record is not POR-specific because the

data cover the period 2016-2018,151 whereas the Malaysian data under HS 2701.19 is

contemporaneous with the POR (i.e., April 2017-March 2018).152 Because the FOPs reported for

Supplier C’s CONNUMs comprise a small percentage of the volume of subject merchandise

reported in Carbon Activated’s FOP database, it is appropriate to use data from the primary SC,

that is input-specific and POR-contemporaneous, as are the data reported under Malaysian HS

2701.19 in this case. For these final results of redetermination, Commerce continues to select the

primary SC based on data quality and availability, and only resort to a secondary SC when data

from the primary SC are unavailable.

        Second, the Respondents’ contention that the financial ratios represent a significant

portion of both mandatory respondents’ NV, and that this impact on NV must be considered

when selecting surrogate countries, is unsupported by prior agency determinations and CIT

precedents. The Respondents cite to a Commerce determination and a CIT decision where the

main input’s outsized impact on the NV buildup led Commerce to prioritize that input in making

its surrogate country selection,153 and thus their reliance on these cases is misplaced. In Steel

Nails, the dispute was on the choice of SC between Ukraine and Thailand, and the discussion




151
    See Respondents’ Final SV Comments at Exhibit 2.
152
    See Petitioners’ SV Comments at Attachment 2.
153
    See Respondents’ Comments at 14 (citing Certain Steel Nails from the People’s Republic of China: Final
Results of Third Antidumping Duty Administrative Review, 78 FR 16651 (March 18, 2013) (Steel Nails), and
accompanying IDM Comment 1D; and Jiaxing Brother).


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was on which country better provides reliable information to value all of the inputs.154 In Steel

Nails, Thailand was determined to be the SC, because not only did Thailand provide usable

financial ratios, it also provided “{s}pecific data to value the two primary inputs, steel wire rod

and steel plate, that comprise the majority of normal value.”155 Similarly, in Jiaxing Brother, the

CIT affirmed Commerce’s choice of Thailand as the primary SC, noting that Thai steel data

provide superior quality for the main input: steel.156 In Jiaxing Brother, the CIT noted

Commerce’s rationale for why it would choose Thailand as the primary SC, despite the relative

weakness in the Thai financial statements and another input, is reasonable, stating, “{n}either

input influences Plaintiffs’ normal value nearly as much as the steel input, meaning a reasonable

mind could conclude as Commerce did that the overall accuracy of the calculation is best

enhanced by reliance on a more specific steel surrogate value than on the financial statements or

the Philippine HCl surrogate value.”157 As stated infra, we continue to choose Malaysia as the

primary SC based on data considerations. Therefore, to best enhance the overall accuracy of the

calculation by relying on a more input-specific SV, we continue to use Malaysia as the primary

surrogate country and rely on the Romanian financial statements for the calculation of financial

ratios.

          Third, this is the first time in this review where Commerce reached the analysis of data

reliability with respect to Romania, as Romania was determined not to be a significant producer

of subject merchandise in AR11 Final Results. Moreover, the CIT has ordered Commerce to

further explain its SC selection.158 Thus, Respondents’ contention that in a remand proceeding




154
    See Steel Nails IDM at Comment 1D.
155
    Id. (emphasis added).
156
    See Jiaxing Brother, 11 F. Supp. 3d at 1333.
157
    Id. (emphasis added).
158
    See Remand Order at 18.


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Commerce should not rely on an entirely new substantive basis in support of its SC choice (i.e.,

Malaysia), is unavailing. Further, the record clearly demonstrates that Datong Juqiang used

coconut shell charcoal in the production of the subject merchandise,159 and therefore, a tariff

classification at the ten-digit level that is specific to coconut-shell charcoal (i.e., HTS subheading

4402.90.1000) is the most appropriate SV to value this input.

        For the three Carbon Activated suppliers, we agree that we could value coal based

carbonized material with either coconut shell or wood charcoal. However, while the

Respondents contend that the Romanian data are better, they do not identify any record evidence

that the Malaysian data under HS 4402.90.1000 are aberrational, not a commercial quantity, or

otherwise unreliable. In addition, contrary to the Respondents’ assertion that the Romanian HS

subheading 4402.90 is vastly superior to Malaysian HS subheading 4402.90.1000 in terms of

data quality, the Romanian import data that the Respondents put on the record are not POR-

specific, as the data cover the period 2016-2018,160 while the import data under Malaysian HS

subheading 4402.90.1000 are contemporaneous with the POR (i.e., April 2017-March 2018).161

Further, Commerce has a strong preference for valuing all SVs from a single surrogate

country.162 Therefore, we will continue to value coal-based carbonized materials using

Malaysian data for imports reported under HS subheading 4402.90.1000 because these data are

not aberrational, reflect a commercial quantity from the primary surrogate country, and as noted




159
    See Datong Juqiang’s Letter, “DJAC Second Supplemental Sections C and D response,” dated March 6, 2019, at
Exhibit 1; see also Memorandum, “Draft Redetermination Results Calculation Memorandum for Datong Juqiang
Activated Carbon Co., Ltd. in the Eleventh Administrative Review of Certain Activated Carbon from the People’s
Republic of China,” dated May 28, 2021 (DJAC Draft Calculation Memorandum). Because we are making no
changes to the determinations as set forth in the Draft Remand Results, we are adopting the analysis in the DJAC
Draft Calculation Memorandum for the final remand results.
160
    See Respondents’ Final SV Comments at Exhibit 2.
161
    See Petitioners’ SV Comments at Attachment 2.
162
    See Sodium Hex from China 2012 IDM at Comment I.


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in previous segments of this proceeding,163 are viable proxy to value coal-based carbonized

materials.

          Therefore, for these final results of redetermination, Commerce continues to use

Malaysia as the primary SC, on the basis of data availability and quality, and continues to use

Romania as the secondary SC for the valuation of financial ratios and a small quantity of the

bituminous coal input.

Issue 3: Adjustments in Romcarbon’s Financial Ratio Calculations

Respondents’ Comments

      x   In the Draft Remand Results, Commerce continued to classify the “meal tickets” and

          “social contribution” line items as SG&A expenses, stating that the record does not

          contain evidence to conclude that Commerce’s labor SV already includes the cost of

          employer’s contribution to social security and meal expenses, thus it is not appropriate to

          make the adjustments requested by the Respondents.164

      x   This rationale is unpersuasive because there is no evidence that the Malaysian wage

          labor data exclude “meal tickets” and “social contribution” either. Commerce merely

          speculates that these two cost elements are not included in the Malaysian wage data.165

      x   This determination is also facially inconsistent with Commerce’s rationale in the Draft

          Remand Results in support of allocating “other gains” as an offset to SG&A instead of

          excluding them from the calculation of financial ratios, in which Commerce noted that




163
    See Certain Activated Carbon from the People’s Republic of China: Final Results and Partial Rescission of
Third Antidumping Duty Administrative Review, 76 FR 67142 (October 31, 2011), and accompanying IDM.
164
    See Respondents’ Comments at 23.
165
    Id.


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                                                  Appx131
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          there is no record evidence demonstrating that the amount reported under the line item

          “other gains” does not pertain to the general operations of the company.166

      x   Therefore, by applying the same rationale, Commerce should allocate “social

          contributions” and “meal tickets” to labor cost in the final remand.167

      x   Alternatively, at a minimum, a fair determination requires that given the uncertainty as to

          whether the two cost elements – “social contributions” and “meal tickets” – are included

          in the Malaysian wage data, Commerce should exclude these two cost elements from the

          ratio calculations altogether.168

Commerce’s Position: Commerce disagrees with the Respondents’ contention that

Commerce’s classification of “meal tickets” and “social contribution” line items as SG&A

expenses is based on mere speculation.

          In deriving surrogate financial ratios, “it is {Commerce}’s longstanding practice to avoid

double-counting costs where the requisite data are available to do so.”169 Furthermore, in Labor

Methodologies, Commerce has stated, “{Commerce} will adjust the surrogate financial ratios

when the available record information-in the form of itemized indirect labor costs-demonstrates

that labor costs are overstated.”170 Therefore, when labor items, such as social security

contributions, clothing, housing, meals, etc., are clearly included in the SV for labor, we will




166
    Id. at 24.
167
    Id.
168
    Id.
169
    See Certain Frozen Warmwater Shrimp from the Socialist Republic of Vietnam: Final Results and Final Partial
Rescission of Antidumping Duty Administrative Review, 76 FR 56158 (September 12, 2011), and accompanying
IDM at Comment 5.B. (citing Certain Tissue Paper Products from the People’s Republic of China: Final Results
and Final Rescission, In Part, of Antidumping Duty Administrative Review, 72 FR 58642 (October 16, 2007), and
accompanying IDM at Comment 2).
170
    See Antidumping Methodologies in Proceedings Involving Non-Market Economies: Valuing the Factor of
Production: Labor, 76 FR 36092, 36094 (June 21, 2011) (Labor Methodologies).


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include such items in the labor category of the surrogate financial ratios calculations to avoid

double-counting such expenses.171

        However, for this review, the source of the Malaysian SV for labor which we used to

value labor cost in AR11 Final Results (i.e., POR-contemporaneous Malaysian labor SV from

Trading Economics) provides no information on whether “social contributions” and/or “meal

tickets” are included in the SV for labor,172 and there is no record evidence demonstrating that

the labor SV used was overstated. Therefore, for this final remand redetermination, Commerce

has finalized the adjustments of allocation and classification of the expenses in Romcarbon’s

financial statements, and continues to classify the expenses reported under “Social

Contributions” and “Meal Tickets” as SG&A expenses. As this allocation of indirect labor costs

is in line with Commerce’s prior determinations,173 CIT precedents,174 and the guidelines

provided in Labor Methodologies,175 the Respondents’ assertion that the Commerce’s allocation

of “social contributions” and “meal tickets” under SG&A expenses is inconsistent with

Commerce’s rationale in support of offsetting Romcarbon’s SG&A with the amounts under

“other gains” is without merit.

        Further, Commerce continues to offset Romcarbon’s reported “profit before tax” with the

amounts under “Gain/(Loss) on adjustment of investment property at fair value” and

“Gain/(Loss) on disposal of investment property,” because, as stated above, these two line items

are extrinsic to Romcarbon’s ordinary business operations (i.e., manufacture of goods).

Commerce continues to offset Romcarbon’s reported SG&A with the amounts under “other


171
    See Xanthan Gum IDM at Comment 14; see also Drawn Stainless Steel Sinks from the People’s Republic of
China: Investigation, Final Determination, 78 FR 13019 (February 26, 2013), and accompanying IDM at Comment
3.
172
    See Petitioners’ SV Comments at Attachment 4.
173
    See, e.g., Xanthan Gum IDM at Comment 14.
174
    See, e.g., Jiaxing Brother Fastener Co. v. United States, 461 F. Supp. 3d 1346, 1351 (CIT 2020).
175
    See Labor Methodologies, 76 FR at 36094.


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gains,” because there is no indication on the record that the amount under this line item does not

pertain to the general operations of the company.

IV.     RESULTS OF FINAL REMAND REDETERMINATION

        Consistent with the Remand Order, we reconsidered our choice of HS code for the

bituminous coal SV used in the production of activated carbon, the choice of SC, and

adjustments in financial ratios, and additionally have addressed and clarified these issues in this

remand redetermination. Based on the foregoing explanations, we made certain changes to our

determinations regarding the choice of the input-specific HS code used to value bituminous coal,

and the adjustments to our calculation of financial ratios based on Romcarbon’s financial

statements. Accordingly, we revised the margin calculations for the mandatory respondents,

Carbon Activated and Datong Juqiang, from those in the AR11 Final Results. Thus, we also

revised the separate rate margin for Beijing Pacific, GHC, Ningxia Mineral, and Shanxi Sincere,

the non-individually examined respondents that qualified for a separate rate and participated in

the litigation.176 Based on these changes, the estimated weighted-average dumping margins for

Carbon Activated, Datong Juqiang, Beijing Pacific, GHC, Ningxia Mineral, and Shanxi Sincere

for the POR, April 1, 2017, through March 31, 2018, are listed in the chart below.

                                        Weighted-Average                     Weighted-Average Dumping
                                       Dumping Margin from                    Margin for the Remand
           Exporter
                                        AR11 Final Results                        Redetermination
                                            (USD/kg)                                 (USD/kg)
  Carbon Activated Tianjin
                                                   1.02                                      0.94
         Co., Ltd.


176
   See AR11 Final Results, 84 FR at 68882 (explaining method for determining rate for non-examined separate rate
respondents); see also CAT Draft Remand Calculation Memorandum; DJAC Draft Remand Calculation
Memorandum; and Memorandum, “Calculation of the Margin for Respondents Not Selected for Individual
Examination,” dated May 28, 2021 (Draft SR Remand Calculation Memorandum) (Because we are making no
changes to the determinations as set forth in the Draft Remand Results, we are adopting the analysis in the Draft SR
Remand Calculation Memorandum for the final remand results.).


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 Datong Juqiang Activated
                                           0.86                              0.55
     Carbon Co., Ltd.

 Beijing Pacific Activated
                                           0.89                              0.61
 Carbon Products Co., Ltd.

    Ningxia Guanghua
   Cherishmet Activated                    0.89                              0.61
     Carbon Co., Ltd.
     Ningxia Mineral &
                                           0.89                              0.61
     Chemical Limited
 Shanxi Sincere Industrial
                                           0.89                              0.61
        Co., Ltd.


                               6/30/2021



 X

  Signed by: CHRISTIAN MARSH
Christian Marsh
Acting Assistant Secretary
 for Enforcement and Compliance




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                                    Slip Op. 21-

                UNITED STATES COURT OF INTERNATIONAL TRADE


 CARBON ACTIVATED TIANJIN CO.,
 LTD., CARBON ACTIVATED
 CORPORATION, AND DATONG
 JUQIANG ACTIVATED CARBON CO.,
 LTD.,

       Plaintiffs,

          and

 BEIJING PACIFIC ACTIVATED CARBON
 PRODUCTS CO., LTD., NINGXIA
 GUANGHUA CHERISHMET ACTIVATED
 CARBON CO., LTD., NINGXIA MINERAL
 & CHEMICAL LIMITED, AND SHANXI
                                   Before: Mark A. Barnett, Chief Judge
 SINCERE INDUSTRIAL CO., LTD.,
                                   Court No. 20-00007
       Plaintiff-Intervenors,

           v.

 UNITED STATES,

       Defendant,

          and

 CALGON CARBON CORPORATION
 AND CABOT NORIT AMERICAS, INC.,

       Defendant-Intervenors.


                                       OPINION

[Sustaining the U.S. Department of Commerce’s remand results in the eleventh
administrative review of the antidumping duty order on certain activated carbon from the
People’s Republic of China.]

                                                             Dated: October 22, 2021




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Francis J. Sailer, Dharmendra N. Choudhary and Jordan C. Kahn, Grunfeld, Desiderio,
Lebowitz, Silverman & Klestadt LLP, of Washington, D.C., for Plaintiffs and Plaintiff-
Intervenors.

Mollie L. Finnan, Senior Trial Counsel, Commercial Litigation Branch, Civil Division,
U.S. Department of Justice, of Washington, D.C., for Defendant. With her on the brief
were Brian M. Boynton, Acting Assistant Attorney General, Jeanne E. Davidson,
Director, and Claudia Burke, Assistant Director. Of counsel on the brief was Ashlande
Gelin, Attorney, Office of the Chief Counsel for Trade Enforcement & Compliance, U.S.
Department of Commerce, of Washington, D.C.

John M. Herrmann, R. Alan Luberda, and Melissa M. Brewer, Kelley Drye & Warren
LLP, of Washington, D.C., for Defendant-Intervenors.

      Barnett, Chief Judge: This matter is before the court following the U.S.

Department of Commerce’s (“Commerce” or “the agency”) redetermination upon

remand in this case. See Final Results of Redetermination Pursuant to Court Remand

(“Remand Results”), ECF No. 68-1. 1

      Plaintiffs and Plaintiff-Intervenors (collectively, “Plaintiffs”) 2 commenced this case

challenging several aspects of Commerce’s final results in the eleventh administrative

review (“AR11”) of the antidumping duty order on certain activated carbon from the

People’s Republic of China (“China”) for the period of review (“POR”) April 1, 2017,



1
  The administrative record associated with the Remand Results is divided into a Public
Remand Record (“PRR”), ECF No. 69-3 and a Confidential Remand Record (“CRR”),
ECF No. 69-2. The administrative record associated with the Final Results is divided
into a Public Record (“PR”), ECF No. 39-5, and a Confidential Record (“CR”), ECF No.
39-4. Parties filed joint appendices containing record documents cited in their briefs.
See Public Remand J.A., ECF No. 75; Confidential Remand J.A. (“CRJA”), ECF No. 74.
Citations are to the CRJA unless stated otherwise.
2
  Plaintiffs consist of Carbon Activated Tianjin Co., Ltd. (“Carbon Activated”), Carbon
Activated Corporation, Datong Juqiang Activated Carbon Co., Ltd. (“DJAC”), Beijing
Pacific Activated Carbon Products Co., Ltd., Ningxia Guanghua Cherishmet Activated
Carbon Co., Ltd., Ningxia Mineral & Chemical Limited, and Shanxi Sincere Industrial
Co., Ltd.




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through March 31, 2018. See Certain Activated Carbon From the People’s Republic of

China, 84 Fed. Reg. 68,881 (Dep’t Commerce Dec. 17, 2019) (final results of

antidumping duty admin. review; 2017–2018) (“Final Results”), ECF No. 39-2, and

accompanying Issues and Decision Mem., A-570-904 (Dec. 11, 2019) (“I&D Mem.”),

ECF No. 39-3. Plaintiffs challenged Commerce’s (1) selection of Malaysia instead of

Romania as the primary surrogate country; (2) selection of surrogate values for Carbon

Activated and DJAC’s inputs of bituminous coal and coal tar pitch; and (3) calculation of

surrogate financial ratios. See, e.g., [Corrected] Confidential Mem. of Law in Supp. of

Pls.’ and Pl.-Ints.’ Mot. For J. on the Agency R. Pursuant to USCIT Rule 56.3, ECF No.

59.

      On April 2, 2021, the court remanded Commerce’s selection of Malaysia as the

primary surrogate country and Commerce’s selection of surrogate data to value

bituminous coal, sustained Commerce’s selection of surrogate data to value coal tar

pitch, and directed Commerce to reconsider the adjustments to the surrogate financial

statements on remand. See Carbon Activated Tianjin Co. v. United States (“Carbon

Activated I”), 45 CIT __, __, 503 F. Supp. 3d 1278 (2021). 3

      On June 30, 2021, Commerce filed its Remand Results. Therein, Commerce

retained Malaysia as the primary surrogate country, reconsidered its valuation of

bituminous coal, and further explained its adjustments to the financial ratios. See

Remand Results at 2–19, 21–42.



3
 The court’s opinion in Carbon Activated I presents background information on this
case, familiarity with which is presumed.




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      Plaintiffs filed comments opposing the Remand Results. See Confidential Pls.’

Comments in Opp’n to Remand Redetermination (“Pls. Opp’n Cmts.”), ECF No. 70.

Defendant United States (“the Government”) filed comments in support of the Remand

Results. See Def.’s Resp. to Pls.’ Comments on Commerce’s Remand

Redetermination, ECF No. 73 (“Def.’s Reply Cmts.”). Defendant-Intervenors Calgon

Carbon Corporation and Cabot Norit Americas, Inc. filed a letter expressing support for

the Remand Results without further comment. Letter from John M. Hermann to the

Court (Aug. 30, 2021), ECF No. 72.

                         JURISDICTION AND STANDARD OF REVIEW

      The court has jurisdiction pursuant to section 516A(a)(2)(B)(iii) of the Tariff Act of

1930, as amended, 19 U.S.C. § 1516a(a)(2)(B)(iii) (2018) and 28 U.S.C. § 1581(c)

(2018). 4 The court will uphold an agency determination that is supported by substantial

evidence and otherwise in accordance with law. 19 U.S.C § 1516a(b)(1)(B)(i).

                                       DISCUSSION

     I.     Legal Framework for Surrogate Country and Surrogate Value Selection

      An antidumping duty is “the amount by which the normal value exceeds the

export price (or the constructed export price) for the merchandise.” 19 U.S.C. § 1673.

When an antidumping duty proceeding involves a nonmarket economy country,




4
  Citations to the Tariff Act of 1930, as amended, are to Title 19 of the U.S. Code, and
references to the U.S. Code are to the 2018 edition unless otherwise specified.




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Commerce determines normal value by valuing the factors of production 5 in a surrogate

country, see id. §1677b(c)(1), and those values are referred to as “surrogate values.” In

selecting surrogate values, Commerce must, “to the extent possible,” use “the best

available information” from a market economy country or countries that are

economically comparable to the nonmarket economy country and are “significant

producers of comparable merchandise.” Id. § 1677b(c)(1), (4).

       In selecting a primary surrogate country, Commerce has adopted a four-step

approach:

       (1) the Office of Policy (“OP”) assembles a list of potential surrogate
       countries that are at a comparable level of economic development to the
       [non-market economy] country; (2) Commerce identifies countries from the
       list with producers of comparable merchandise; (3) Commerce determines
       whether any of the countries which produce comparable merchandise are
       significant producers of that comparable merchandise; and (4) if more
       than one country satisfies steps (1)-(3), Commerce will select the country
       with the best factors data.

Jianxing Brother Fastener Co. v. United States, 822 F.3d 1289, 1293 (Fed. Cir. 2016);

see also Import Admin., U.S. Dep’t of Commerce, Non-Market Economy Surrogate

Country Selection Process, Policy Bulletin 04.1 (2004), https://enforcement.trade.gov/

policy/bull04-1.html (last visited Oct. 22, 2021).

       Commerce generally values all factors of production in a single surrogate

country, referred to as the “primary surrogate country.” See 19 C.F.R. § 351.408(c)(2)




5
 The factors of production include but are not limited to: “(A) hours of labor require, (B)
quantities of raw materials employed, (C) amounts of energy and other utilities
consumed, and (D) representative capital cost, including depreciation.” 19 U.S.C.
§ 1677b(c)(3).




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(excepting labor). But see Antidumping Methodologies in Proceedings Involving Non-

Market Economies: Valuing the Factor of Production: Labor, 76 Fed. Reg. 36,092,

36,093–94 (Dep’t Commerce June 21, 2011) (expressing a preference to value labor

based on industry-specific labor rates from the primary surrogate country). Commerce

prefers surrogate values that are “input-specific, representative of a broad-market

average, publicly available, contemporaneous with the POR, and tax- and duty-

exclusive.” Remand Results at 25 & n.105 (citation omitted); see also 19 C.F.R.

§ 351.408(c)(1), (4) (directing Commerce to select “publicly available”/“non-proprietary

information” to value factors of production and “manufacturing overhead, general

expenses, and profit”). Commerce has broad discretion to determine what constitutes

“the best available information” for the selection of surrogate values. QVD Food Co. v.

United States, 658 F.3d 1318, 1323 (Fed. Cir. 2011).

     II.      Bituminous Coal Surrogate Value Selection

           For the Final Results, Commerce valued all bituminous coal using Romanian

import data under the Harmonized System (“HS”) heading 2701.12 (Bituminous Coal,

Not Agglomerated) after finding that the average unit value of Malaysian imports under

HS 2701.12 was unreliable. I&D Mem. at 13–16. The court remanded the issue to

Commerce for further explanation as to the applicability of Chapter 27, Subheading

Note 2 (“Note 2”) 6 to Commerce’s selection of a surrogate value. Carbon Activated I,



6
  Note 2 limits HS 2701.12, inter alia, to bituminous coal with “a calorific value limit . . .
equal to or greater than 5,833 [kilocalories per kilogram (“kcal/kg”)].” I&D Mem. at 14.
For the Final Results, Commerce declined to apply Note 2 based on the agency’s view
that Note 2 pertained solely to Thai HS data, not Malaysian HS data. I&D Mem. at 14.




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503 F. Supp. 3d at 1290–91. On remand, Commerce determined that Note 2 applied to

Malaysian HS data and chose different data sets to value bituminous coal depending on

whether the calorific value of the bituminous coal was known to be below 5,833 kcal/kg.

See Remand Results at 3–7. 7 Commerce continued to rely on Romanian import data

under HS 2701.12 to value bituminous coal that was not documented as having a

calorific value below 5,833 kcal/kg but determined to use Malaysian import data under

HS 2701.19 (Other Coal) to value bituminous coal with a known calorific value below

5,833 kcal/kg in light of its determination that Note 2 applied to the Malaysian import

data. Id. at 7–8

          A. Bituminous Coal Having Unknown Calorific Value

       In its Draft Remand Results, Commerce determined that bituminous coal used by

two of Carbon Activated’s suppliers—Supplier C and an uncooperative supplier 8—

should be valued using Romanian import data reported under HS 2701.12 because

Commerce lacked record evidence demonstrating that such bituminous coal had a

calorific value of less than 5,833 kcal/kg as required for valuation under HS 2701.19.

Draft Results of Redetermination Pursuant to Court Remand (“Draft Remand Results”)

at 7, PRR 1, CRJA Tab 11.




7
  Commerce changed its position regarding the applicability of Note 2 in order to be
consistent with “prior determinations in which Commerce . . . concluded that ‘[t]he
International Convention on the Harmonized Commodity and Coding System applies
the same [HS] six-digit prefix to products subject to international trade.’” Remand
Results at 6–7 & n.26 (citations omitted) (alternations in original).
8
  The names of Supplier C and the uncooperative supplier are proprietary and not
relevant to the court’s disposition of this case.




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       For the Remand Results, Commerce further explained that “the plain language

description of . . . HS 2701.12 . . . matche[d] the mandatory respondents’ description of

their input (i.e., bituminous coal).” Remand Results at 28. Furthermore, without record

evidence demonstrating that the coal input the mandatory respondents identified as

“bituminous coal” was actually the “kind and grade more appropriately classified under

HS 2701.19” (i.e., coal with a calorific value limit of less than 5,833 kcal/kg), Commerce

stated that it could not consider that coal to fall under HS 2701.19. Id.

       In their comments on the Draft Remand Results, Plaintiffs argued that Commerce

never asked Supplier C to provide test reports documenting the calorific value of its

inputs. See id. at 22, 26. Commerce explained that although it did not specifically ask

“Supplier C to provide test results for its bituminous coal input, [it] asked Supplier C to

‘provide a detailed description of “smoke coal” and explain the difference between

smoke coal and bituminous coal.’” Id. at 26 & n.113 (citing Carbon Activated Resp. to

Sec. D Suppl. Questionnaire (Part I) (Feb. 21, 2019) (“Carbon Activated’s SDQR”) at

19, Ex. SD-27, PR 162–65, CR 254–88, CRJA Tab 5). Supplier C responded that

“[b]oth bituminous coal and smoke coal belong to the same technical grade of

bituminous coal.” Id.at 26 & n.114 (citing same). However, Supplier C provided only “a

test report for its smoke coal input,” and not for its bituminous coal, leading Commerce

to find that Supplier C failed to substantiate that the two were equivalent. Id. at 26–27.

Without these test results, Commerce continued to use import data reported under

Romanian HS subheading 2701.12 to value bituminous coal used by Supplier C and the

uncooperative supplier. Id. at 30.




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                   1. Parties’ Contentions

       Plaintiffs contend that Commerce should have valued all bituminous coal with an

unknown calorific value using the average of Romanian HS 2701.12 and HS 2701.19

data. Pls. Opp’n Cmts. at 2. Plaintiffs argue that because the record establishes that

“the heat value of the bituminous coal input used by [DJAC], [DJAC’s] supplier, and one

of Carbon Activated’s suppliers [was] below 5,833 kcal/kg,” and thus was covered by

HS 2701.19, id. at 3 (quoting Remand Results at 7), Commerce “impermissibly

speculate[d] that the bituminous coal having unknown calorific value should be

classified under [HS] 2701.12,” id. Plaintiffs further argue that “Commerce never asked

Carbon Activated’s Supplier C . . . to provide calorific value information for its

bituminous coal input” and is thus “precluded from . . . ‘impos[ing] a de facto adverse

facts available rate.’” Id. at 3–4 (quoting Calgon Carbon Corp. v. United States, 35 CIT

234, 244 (2011)) (emphasis omitted).

       The Government contends that, with respect to bituminous coal having unknown

calorific value, Commerce reasonably relied on Romanian HS 2701.12. Def.’s Reply

Cmts. at 5–6. The Government argues that (i) there is “no record evidence” to support

valuing these suppliers’ “bituminous coal under HS 2701.19,” (ii) “[t]he plain language

description of HS 2701.12 . . . matches [Plaintiffs’] own description of their own input,”

(iii) Commerce’s “decision to use different datasets for different respondents ‘is

consistent with Commerce’s practice,’” and (iv) “Commerce’s path to reliance on

Romanian HS 2701.12 . . . is reasonably discernable.” Id. at 6–7.




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                  2. Commerce’s Selection of Romanian HS 2701.12 Data to Value
                     Bituminous Coal of Unknown Calorific Value is Supported by
                     Substantial Evidence

      There is no dispute that the record lacks evidence regarding the heat value of the

input for Carbon Activated’s Supplier C and Carbon Activated’s uncooperative supplier.

While Plaintiffs argue that Commerce impermissibly speculated that bituminous coal

should be classified as “bituminous coal” under HS 2701.12, see Pls.’ Opp’n Cmts. at

3–5, any basis for Commerce to apply HS 2701.19 was equally speculative. The court

declines to reweigh the record evidence and finds that substantial evidence supports

Commerce’s decision to value bituminous coal of unknown calorific value under HS

2701.12.

      Neither Supplier C nor Carbon Activated’s uncooperative supplier documented

the heat value of the bituminous coal they used. See Remand Results at 28. While

Commerce specifically asked Carbon Activated “to provide a detailed description of

‘smoke coal’ and explain the difference between smoke coal and bituminous coal,”

Carbon Activated’s SDQR at 19 (emphasis added), Carbon Activated only documented

the calorific value of Supplier C’s smoke coal, see id., Ex. SD-27. Because Carbon

Activated failed to document the calorific value of Supplier C’s bituminous coal and

acknowledged that “the two types of coal differ in terms of key parameters such as

volatile matter content, moisture and heat value,” Carbon Activated’s SDQR at 19,

Commerce declined to value such coal as “Other Coal” under HS 2701.19, Remand

Results at 30. Carbon Activated provided no information regarding the calorific value of

the bituminous coal used by its uncooperative supplier. Id. at 7.




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       Plaintiffs’ reliance on Calgon Carbon to argue that Commerce was required to

provide Supplier C with a “similar opportunity” to submit evidence of the calorific value

of its bituminous coal is inapposite. See Pls.’ Opp’n Cmts. at 4 (citing Calgon Carbon,

35 CIT at 244). Calgon Carbon involved a respondent that voluntarily provided

supplemental information at verification concerning the purity of hydrochloric acid. 35

CIT at 244. Commerce accepted this supplemental information and, based on that

information, selected a different surrogate value for that respondent than it did for

another respondent. Id. The court held that although Commerce had no obligation to

accept the supplemental information, once it did, the agency had an obligation to give

the other respondent an opportunity to provide comparable information, and failure to do

so “led to arbitrary and unfair treatment.” Id. Unlike the respondent in Calgon Carbon,

Carbon Activated had an opportunity to substantiate its claim that smoke coal and

bituminous coal had similar calorific values, but failed to do so.

       Without evidence of the calorific value of the bituminous coal reported by Carbon

Activated’s suppliers, Commerce turned to other methods to value bituminous coal used

by these suppliers. Specifically, Commerce reasoned that the “plain language

description” of HS 2701.12—“Bituminous Coal, Not Agglomerated”—most accurately

described the bituminous coal in question. Remand Results at 28. The court has found

that Commerce may rely on the plain meaning of HS descriptions to determine the best

available information to value a specific input. See Mid Continent Steel & Wire, Inc. v.

United States, 42 CIT __, __, 321 F. Supp. 3d 1313, 1325 (2018) (sustaining use of a

surrogate value based on the HS description that best matched the description provided




                                         Appx146
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by the respondent). Having reviewed the record and Commerce’s explanation for its

valuation of bituminous coal without a reported calorific value, the court finds that

Commerce has provided a reasoned explanation based on substantial evidence to

value bituminous coal.

          B. Bituminous Coal Having Known Calorific Value

       As discussed above, having found that Note 2 applied to Malaysian HS

subheading 2701.19, and having found no indication that the average unit value for

Malaysian imports under HS 2701.19 was unreliable or aberrantly high, in the Draft

Remand Results Commerce valued bituminous coal inputs with documented heat value

below 5,833 kcal/kg using Malaysian HS 2701.19. Draft Remand Results at 7.

Plaintiffs argued that because Commerce found Malaysian data reported under HS

2701.12 to be aberrant and unreliable, the agency should also disregard Malaysian data

reported under HS 2701.19. Second Redacted and Resubmitted Comments on Draft

Remand (June 23, 2021) (“Second Comments on Draft Remand”) at 10–11, PRR 19,

CRR 13, CRJA Tab 19. Commerce responded that it continued to find the Malaysian

HS 2701.19 subheading preferable to Romania’s because there was no evidence on

the record showing that the Malaysian data was distorted, aberrational, or otherwise

unreliable. Remand Results at 26. Commerce further noted that it had a preference for

selecting surrogate values from the primary surrogate country which, in this case, was

Malaysia. Remand Results at 25–26.




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                   1. Parties’ Contentions

       Plaintiffs contend that Commerce should have valued all bituminous coal having

known calorific value below 5,833 kcal/kg using Romanian HS 2701.19. Pls. Opp’n

Cmts. at 2. Plaintiffs argue that because Commerce found Malaysian HS 2701.12 data

to be “aberrant and unreliable, . . . Commerce should be skeptical of Malaysian [HS]

2701.19” data. Id. at 6. Further, they argue that because Commerce has

“acknowledge[d] that Romanian data is necessary to value bituminous coal” of unknown

calorific value, Commerce should use Romanian data to value all bituminous coal “in

accordance with [Commerce’s] policy underlying surrogate valuation to minimize

distortion that occurs when using data from multiple countries.” Id.

       The Government contends that Commerce’s selection of Malaysian import data

under HS 2701.19 should be sustained because Commerce provided a reasoned

explanation for its selection of such data and Plaintiffs’ assertions of unreliability are

unsupported. Def.’s Reply Cmts. at 4–5.

                   2. Commerce’s Selection of Malaysian HS 2701.19 Data to Value
                      Certain Bituminous Coal is Sustained

       Pursuant to 19 C.F.R. § 351.408(c)(2), Commerce “normally will value all [factors

of production] in a single surrogate country.” The court has acknowledged Commerce’s

regulatory preference “to use surrogate value data from the primary surrogate country to

minimize distortion.” Tri Union Frozen Prods., Inc. v. United States, 41 CIT __, __, 227

F. Supp. 3d 1387, 1400 (2017). Furthermore, the court has upheld Commerce’s

practice of requiring a party to provide support for any argument that data are




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aberrational or unreliable. See, e.g., Jinan Farmlady Trading Co. v. United States, 41

CIT __, __, 228 F. Supp. 3d 1351, 1356–57 (2017) (finding Commerce’s determination

that data was not aberrational reasonable when respondent had not provided

demonstrative evidence).

         Here, Plaintiffs have not provided any evidence that the Malaysian HS 2701.19

data are aberrant or unreliable. See Pls.’ Opp’n Cmts. at 6–7. Plaintiffs have also failed

to justify their position that Commerce should have found Malaysian HS 2701.19 data to

be distorted simply because the agency separately found Malaysian HS 2701.12 data to

be distorted. See id. Accordingly, Plaintiffs’ argument that Romanian HS 2701.19 data

“is preferable to Malaysia because . . . Romanian [HS] 2701.12 data is undistorted,”

Pls.’ Opp’n Cmts. at 6, is without support. Commerce has provided a reasoned

explanation for not rejecting the Malaysian HS 2701.19 data—such import data is

presumed to be reliable and the record is devoid of evidence to the contrary. The

parties to the proceeding bear the burden of establishing an adequate record, QVD

Food Co., 658 F. 3d at 1324, and Plaintiffs have not met that burden with respect to this

issue.

         Commerce explained that it selected Malaysian HS 2701.19 data pursuant to its

preference to value all factors of production in a single surrogate country, which, in this

case, was Malaysia. See Remand Results at 25–26 & n.111 (citation omitted); see also

19 C.F.R. § 351.408(c)(2). Plaintiffs have not shown that Commerce was unreasonable

in its selection of Malaysian HS 2701.19 data to value bituminous coal when the record




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demonstrated that the coal had a calorific value of less than 5,833 kcal/kg and

Commerce’s decision was otherwise supported by substantial evidence.

    III.     Surrogate Country Selection

       In Carbon Activated I, the court was “unable to discern Commerce’s reasons for

rejecting Romania as a primary surrogate country” and “selecting Malaysia as the

primary surrogate country” and accordingly remanded the matter to Commerce for

reconsideration and further explanation. 503 F. Supp. 3d at 1289. On remand,

Commerce determined that both Malaysia and Romania qualified as potential surrogate

countries, finding that both countries were economically comparable to China and

significant producers of comparable merchandise. Remand Results at 11–14.

However, Commerce again selected Malaysia as the primary surrogate country after

finding that Malaysian surrogate value data was superior to Romanian data based on its

relative specificity. Id. at 14–16; 34.

       With respect to the valuation of charcoal, Commerce explained that the

Malaysian data reflected “a tariff classification at the 10-digit level that is specific to

coconut-shell charcoal (i.e., [HS] subheading 4402.90.1000), a direct material that is

consumed in significant quantities in the production of the subject merchandise by the

mandatory respondents;” however, the Romanian data reflected only “a six-digit basket

category HS subheading, 4402.90, which covers wood-based charcoal [but] also

includes nut-based charcoal, which is an input not used by the mandatory respondents.”

Id. at 15.




                                           Appx150
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       Despite selecting Malaysia as the primary surrogate country, Commerce again

chose the financial statement of Romcarbon, a Romanian producer of comparable

merchandise, to determine financial ratios because that statement provided specific

breakouts for raw material, labor, and energy that were not provided in the Malaysian

financial statements. Id. at 15–16

           A. Parties’ Contentions

       Plaintiffs contend that Commerce should have chosen Romania over Malaysia as

the primary surrogate country because, in their view, “Romania provides superior data

quality” to Malaysia. Pls.’ Opp’n Cmts. at 7 (emphasis and capitalization omitted). As

evidence of this superiority, Plaintiffs point to the aberrant Malaysian HS 2701.12 data

and Commerce’s concession that the Malaysian financial statements lacked usable

financial data. Id. at 7–8. Plaintiffs argue that Commerce incorrectly claimed that

Romanian import data placed on the record was not POR-specific, id. at 10, and that

Commerce’s reliance on the more specific HS subheading for coconut-shell charcoal is

unsupported because Carbon Activated’s suppliers do not use coconut shell charcoal

as an input, id. at 11.

       The Government contends that Commerce’s reliance on the specificity of the

tariff classification for coconut shell charcoal, used by some respondents, provides

support for Commerce’s selection of Malaysia as the primary surrogate country. Def.’s

Reply Cmts. at 12. The Government asserts that Commerce has the discretion to

“value coal-based carbonized material with either coconut shell or wood charcoal” and

the record indicated that “[DJAC] used coconut shell charcoal in the production of the




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subject merchandise.” Id. The Government also rejects Plaintiffs’ contention that the

aberrancy of Malaysian HS 2701.12 precluded Commerce from selecting Malaysia as

the primary surrogate country. Id. at 11. According to the Government, “Commerce still

had usable Malaysian data ‘covering nearly all of the bituminous coal input used by the

mandatory respondents,’” id. at 11–12 (quoting Remand Results at 36), and Plaintiffs

“provided no evidence to support discarding Malaysian data beyond the data under

Malaysian HS 2701.12,” id. at 12.

            B. Commerce’s Selection of Malaysia as the Primary Surrogate Country
               is Sustained

       In its Remand Results, Commerce determined that both Malaysia and Romania

were significant producers of comparable merchandise; thus, Commerce selected the

primary surrogate country based on data considerations. Remand Results at 11–16.

While Plaintiffs invite the court to second guess the agency’s determination, it is the

court’s task to determine whether Commerce has supported its determination with

substantial evidence. Huaiyin Foreign Trade Corp. (30), 322 F.3d 1369, 1374 (Fed. Cir

2003). Upon consideration of the Remand Results, the court finds that Commerce’s

selection of Malaysia as the primary surrogate country is supported by substantial

evidence.

       First, Commerce has provided a reasoned explanation as to why it selected

Malaysia as the primary surrogate country: the specificity of the HS number for a known

input (coconut shell charcoal) and data that was more contemporaneous with the POR.

See Remand Results at 15, 34–39. While Carbon Activated’s suppliers do not use




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coconut shell charcoal, Carbon Activated Resp. to Sec. D Questionnaire (Sept. 28,

2018), Att. B/Ex.D-5, Att. C/Ex. D-5, Att. D./Ex. D-5, PR 90, CR 50-74, CRJA Tab 2,

Plaintiffs ignore Commerce’s rationale for relying on the specificity provided by the

Malaysian HS data. See Pls.’ Opp’n Cmts. at 11 (focusing solely on Carbon Activated’s

suppliers to the exclusion of DJAC). Specifically, another mandatory respondent,

DJAC, used coconut shell charcoal in the production of the subject merchandise. See

Remand Results at 38 & n.159 (citations omitted). Because Commerce needed to

value coconut shell charcoal for at least one of the respondents, and because

Malaysia—and not Romania—was able to provide data at that level of specificity,

Commerce’s discussion of coconut shell charcoal supports its selection of Malaysia as

the primary surrogate country. Furthermore, Plaintiffs fail to identify any record

evidence suggesting that the Malaysian HS 4402.90.100 data is aberrational or

unreliable—they simply disagree with Commerce’s use of such data.

       Plaintiffs also object to Commerce’s consideration of the Malaysian surrogate

value information as more contemporaneous with the period of review than the

Romanian data. See Pls.’ Opp’n Cmts. at 10–11. While Plaintiffs aver that the

Romanian data they submitted were contemporaneous with the POR, id. at 10, those

data were presented to Commerce as covering the period “2016-2018.” See Final

Surrogate Value Comments by DJAC and [Carbon Activated] (May 13, 2019) (“Final SV

Comments”) at Ex. 2A, PR 207–16, CRJA Tab 7. Now, before the court, Plaintiffs seek

to clarify that, “the auto-generated heading was titled ‘2016-2018’ because the data

source is programmed to automatically download three years of data,” but before the




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data was submitted to Commerce, “a ‘macro’ [was] used to filter POR-specific data.”

Pls.’ Opp’n Cmts. at 10. This additional information is not part of the administrative

record, which otherwise supports Commerce’s finding that the Malaysian surrogate

value data is more contemporaneous with the POR than the Romanian data.

       The court also rejects Plaintiffs’ argument that Commerce was required to give

the respondent an opportunity to address any deficiency in the data. Potential

surrogate value data is submitted to Commerce on a party’s own initiative, not in

response to a request by Commerce. See, e.g., Shenzhen Xinboda Indus. Co. v.

United States, 42 CIT __, __, 357 F. Supp. 3d 1295, 1305 & n.25 (2018). Thus, 19

U.S.C. § 1677m(d) is inapplicable here. See id. In short, there was no apparent

deficiency in the Romanian data; Commerce accepted the data as presented; and

Commerce evaluated the quality of that data in comparison to the quality of the

Malaysian data. Commerce’s finding that the Malaysian data was more

contemporaneous with the POR is supported by substantial evidence.

       Likewise, Plaintiffs’ argument that the primary surrogate country should be

weighted toward the country from which the financial ratios are drawn is unconvincing.

Not only do Plaintiffs fail to cite to any provision of law or regulation requiring Commerce

to weight its analysis in such a way, but they rely on instances in which a production

input’s outsized impact on normal value led Commerce to prioritize that input in

selecting a surrogate country, not the financial ratios’ impact on the normal value; thus,

such reliance is inapposite. Pls.’ Opp’n Cmts. at 8–9 (relying on Issues and Decision

Mem. for the Final Results of the Third Antidumping Duty Admin. Review at 13–14,




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available at https://enforcement.trade.gov/frn/summary/prc/2013-06173-1.pdf (last

visited Oct. 22, 2021) (outsized impact of steel wire rod led to selection of Thailand as

the primary surrogate country); Jiaxing Brother Fastener Co. v. United States, 11 F.

Supp. 3d 1326, 1333 (2014), aff’d 822 F.3d 1289 (Fed. Cir. 2016) (sustaining

Commerce’s choice of primary surrogate country based on superior data quality despite

the relative weakness in financial statements from that country and the more limited

impact of the financial ratios on normal value)).

       Furthermore, Plaintiffs’ focus on Commerce’s previous reliance on the source of

financial ratios to select a primary surrogate country is misplaced. See Pls.’ Opp’n

Cmts. at 8–9. At most, these examples show that Commerce may consider the source

of financial ratios to determine the primary surrogate country, not that Commerce must.

See Tianjin Wanhua Co. v. United States, 41 CIT __, __, 253 F. Supp. 3d 1318, 1327–

29 (2017) (affirming Commerce’s selection of Indonesia as the primary surrogate

country based on the relative superiority of the Indonesian financial statements);

Ancientree Cabinet Co. v. United States, 45 CIT __, __, Slip Op. 21-87, 2021 WL

2931313, at *8–9, *11 (CIT July 12, 2021) (concluding that Commerce acted within its

discretion when selecting Romania as the primary surrogate country based on superior

financial data); Certain Cased Pencils from the People’s Republic of China, 78 Fed.

Reg. 42,932 (Dep’t Commerce July 18, 2013) (final results of antidumping duty

administrative review and determination to revoke order in party; 2010-2011), and

accompanying Issues and Decision Mem., A-570-827, (July 10, 2013),

https://enforcement.trade.gov/frn/summary/prc/2013-17160-1.pdf (last visited Oct. 22,




                                        Appx155
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2021) (selecting the Philippines as primary surrogate country because of the superiority

of Philippine financial data for deriving surrogate financial ratios). Indeed, Carbon

Activated has not cited, and this court cannot find, any authority indicating that

Commerce must base the selection of a primary surrogate country on the quality of

financial data. Accordingly, the court sustains Commerce’s selection of Malaysia as the

primary surrogate country as based on substantial evidence.

    IV.      Financial Ratios

          In Carbon Activated I, the court remanded the Final Results to Commerce to

reconsider certain adjustments to the financial ratios, including: (i) offsetting pre-tax

profits by the amount listed under “Gain/(Loss)” for adjustment and disposal of

investment property; (ii) offsetting sales, general and administrative expenses (“SG&A”)

by the amount listed under “Other Gains”; and (iii) allocating the amount listed under

“Social Contributions” and “Meal Tickets” to labor costs instead of SG&A. 503 F. Supp.

3d at 1294–95. The remand provided Commerce with the opportunity to address its

treatment of these issues in AR11 in light of its treatment of similar adjustments to the

financial ratios in the tenth administrative review (“AR10”) of this antidumping duty

order. See id. On remand, Commerce offset pre-tax profits by the amount listed under

“Gain/(Loss)” for adjustment and disposal of investment property and offset SG&A by

the amount listed under “Other Gains.” Remand Results at 17–19. With respect to

“Social Contributions” and “Meal Tickets,” however, Commerce continued to allocate

these line items to SG&A. Id. at 19.




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          A. Parties’ Contentions

       Plaintiffs contend that Commerce “erroneously allocated [ ] ‘Social Contributions’

and ‘Meal Tickets’ under SG&A” instead of labor costs. Pls.’ Opp’n Cmts. at 17.

Plaintiffs argue that, “[a]bsent evidence that Malaysian labor data excluded these costs,”

such “costs are presumed to be embedded within the reported labor cost.” Id.

       The Government contends that Commerce’s retention of “Social Contributions”

and “Meal Tickets” under SG&A is supported by substantial evidence and lawful. Def.’s

Reply Cmts. at 17.

          B. Commerce’s Allocation of “Social Contributions” and “Meal Tickets”
             to SG&A is Sustained

       In Carbon Activated I, the court instructed Commerce to reconsider or further

explain why “Social Contributions” and “Meal Tickets” should be allocated to SG&A

instead of labor expenses as was the case in AR10. 503 F. Supp. 3d at 1295. In the

Remand Results, Commerce explained that it will “avoid double-counting costs [when]

the requisite data are available to do so.” Remand Results at 40 & n.169 (citation

omitted). Thus, “when labor items . . . are clearly included in the [surrogate value] for

labor, [Commerce] will include such items in the labor category of the surrogate financial

ratios calculations to avoid double-counting such expenses.” Issues and Decision Mem.

for the Final Results of the First Antidumping Duty Admin. Review, A-570-985 (February

13, 2017) at 73, https://enforcement.trade.gov/frn/summary/prc/2017-03505-1.pdf (last

visited Oct. 22, 2021); see also Hangzhou Yingqing Material Co. v. United States, 40

CIT __, __,195 F. Supp. 3d 1299, 1310–1311 (2016) (citing agency decisions in which




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Commerce adjusted surrogate financial ratios to avoid double counting labor costs).

Commerce’s practice of adjusting financial ratios to avoid such double counting has

been accepted by the court. See Elkay Mfg. Co. v. United States, 40 CIT __, __,180 F.

Supp. 3d 1245, 1256–1258 (2016) (sustaining a determination Commerce made in

order to avoid the possibility of double-counting).

       In the Remand Results, Commerce explained that the source of the Malaysian

surrogate value for labor did not indicate whether “Social Contributions” or “Meal

Tickets” were included in that surrogate value and there was no record evidence

indicating “that the labor [surrogate value] used was overstated.” Remand Results at

41. Plaintiffs do not, and during the remand proceeding did not, point to any evidence

that these items are included in the surrogate value for labor. See Pls.’ Opp’n Resp at

17; Second Comments on Draft Remand at 23–24. Instead, Plaintiffs simply assert,

without citation to any prior Commerce determinations, court precedent, or Commerce

guidelines, that absent evidence that the Malaysian surrogate labor data excluded

“Social Contributions” and “Meal Tickets,” such costs “are presumed to be embedded

within the reported labor cost.” Pls.’ Opp’n Cmts. at 17. Commerce rejected this

unsupported assertion and noted the absence of record evidence demonstrating that

the labor surrogate value included these costs. See Remand Results at 41.

Accordingly, this court finds that Commerce has adequately explained the basis for its

allocation of “Social contributions” and “Meal tickets” to SG&A and sustains

Commerce’s adjustments to the financial ratios as supported by substantial evidence.




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                                     CONCLUSION

      For the forgoing reasons, the court will sustain Commerce’s Remand Results.

Judgment will enter accordingly.



                                             /s/   Mark A. Barnett
                                             Mark A. Barnett, Chief Judge

Dated: October 22, 2021
      New York, New York




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                                                                                                                                                                                            Department contact

                                                                                   Antidumping Duty Proceedings
                                              Carbon and Alloy Steel Cut-to-Length Plate from Austria A–433–812 (1st Review) .......................................               Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Belgium A–423–812 (1st Review) .....................................                 Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Brazil A–351–847 (1st Review) .........................................              Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from China A–570–047 (1st Review) .........................................               Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from France A–427–828 (1st Review) .......................................                Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Germany A–428–844 (1st Review) ...................................                   Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Korea A–580–887 (1st Review) ........................................                Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Italy A–475–834 (1st Review) ...........................................             Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Japan A–588–875 (1st Review) ........................................                Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from South Africa A–791–822 (1st Review) ..............................                   Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Taiwan A–583–858 (1st Review) ......................................                 Mary   Kolberg,   (202)   482–1785.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Turkey A–489–828 (1st Review) .......................................                Mary   Kolberg,   (202)   482–1785.
                                              Coated Paper Suitable for High-Quality Print Graphics Using Sheet-Fed Presses from China A–570–958                                   Mary   Kolberg,   (202)   482–1785.
                                                 (2nd Review).
                                              Coated Paper Suitable for High-Quality Print Graphics Using Sheet-Fed Presses from Indonesia A–560–                                  Mary Kolberg, (202) 482–1785.
                                                 823 (2nd Review).
                                              Heavy Forged Hand Tools, With or Without Handles from China A–570–803 (3rd Review) ..........................                        Thomas Martin, (202) 482–3936.
                                              Iron Construction Castings from Brazil A–351–503 (5th Review) ....................................................................   Mary Kolberg, (202) 482–1785.
                                              Iron Construction Castings from Canada A–122–503 (5th Review) ................................................................       Mary Kolberg, (202) 482–1785.
                                              Iron Construction Castings from China A–570–502 (5th Review) ....................................................................    Mary Kolberg, (202) 482–1785.
                                              Stainless Steel Plate in Coils from Belgium A–423–808 (4th Review) ............................................................      Jacky Arrowsmith, (202) 482–5255.
                                              Stainless Steel Plate in Coils from South Africa A–791–805 (4th Review) .....................................................        Jacky Arrowsmith, (202) 482–5255.
                                              Stainless Steel Plate in Coils from Taiwan A–583–830 (4th Review) ..............................................................     Jacky Arrowsmith, (202) 482–5255.
                                                                                   Countervailing Duty Proceedings
                                              Carbon and Alloy Steel Cut-to-Length Plate from China C–570–858 (1st Review) ........................................                Thomas Martin, (202) 482–3936.
                                              Carbon and Alloy Steel Cut-to-Length Plate from Korea C–580–888 (1st Review) ........................................                Jacky Arrowsmith, (202) 482–5255.
                                              Coated Paper Suitable for High-Quality Print Graphics Using Sheet-Fed Presses from China C–570–959                                   Mary Kolberg, (202) 482–1785.
                                                 (2nd Review).
                                              Coated Paper Suitable for High-Quality Print Graphics Using Sheet-Fed Presses from Indonesia C–560–                                  Jacky Arrowsmith, (202) 482–5255.
                                                 824 (2nd Review).
                                              Iron Construction Castings from Brazil C–351–504 (5th Review) ....................................................................   Mary Kolberg, (202) 482–1785.
                                              Stainless Steel Plate in Coils from South Africa C–791–806 (4th Review) .....................................................        Mary Kolberg, (202) 482–1785.
                                                                                  Suspended Investigations
                                              No Sunset Review of suspended investigations is scheduled for initiation in November 2021 ......................



                                                Commerce’s procedures for the                            business proprietary information, until                      DEPARTMENT OF COMMERCE
                                              conduct of Sunset Review are set forth                     further notice.1
                                              in 19 CFR 351.218. The Notice of                                                                                        International Trade Administration]
                                                                                                           This notice is not required by statute
                                              Initiation of Five-Year (Sunset) Review                    but is published as a service to the                         [A–570–904]
                                              provides further information regarding                     international trading community.
                                              what is required of all parties to                                                                                      Certain Activated Carbon From the
                                              participate in Sunset Review.                                Dated: October 18, 2021.                                   People’s Republic of China: Notice of
                                                Pursuant to 19 CFR 351.103(c),                           James Maeder,                                                Court Decision Not in Harmony With
                                              Commerce will maintain and make                            Deputy Assistant Secretary for Antidumping                   the Results of Antidumping
                                              available a service list for these                         and Countervailing Duty Operations.                          Administrative Review; Notice of
                                              proceedings. To facilitate the timely                      [FR Doc. 2021–23746 Filed 10–29–21; 8:45 am]                 Amended Final Results
                                              preparation of the service list(s), it is                  BILLING CODE 3510–DS–P
                                                                                                                                                                      AGENCY:   Enforcement and Compliance,
                                              requested that those seeking recognition
                                                                                                                                                                      International Trade Administration,
                                              as interested parties to a proceeding
                                                                                                                                                                      Department of Commerce.
                                              contact Commerce in writing within 10
                                              days of the publication of the Notice of                                                                                SUMMARY: On October 22, 2021, the
                                              Initiation.                                                                                                             Court of International Trade (CIT)
                                                                                                                                                                      issued its final judgment in Carbon
                                                Please note that if Commerce receives
                                                                                                                                                                      Activated Tianjin Co., Ltd. and Carbon
                                              a Notice of Intent to Participate from a
                                                                                                                                                                      Activated Corporation, et al. v. United
                                              member of the domestic industry within
                                                                                                                                                                      States, Consol. Court No. 20–00007,
                                              15 days of the date of initiation, the
                                                                                                                                                                      sustaining the Department of Commerce
                                              review will continue.
                                                                                                                                                                      (Commerce)’s remand results pertaining
                                                Thereafter, any interested party                                                                                      to the eleventh administrative review of
                                              wishing to participate in the Sunset
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                                                                                                                                                                      the antidumping duty (AD) order on
                                              Review must provide substantive                                                                                         certain activated carbon from the
                                              comments in response to the notice of                                                                                   People’s Republic of China (China)
                                              initiation no later than 30 days after the                                                                              covering the period of April 1, 2017,
                                              date of initiation. Note that Commerce                       1 See Temporary Rule Modifying AD/CVD Service              through March 31, 2018. Commerce is
                                              has modified certain of its requirements                   Requirements Due to COVID–19; Extension of                   notifying the public that the CIT’s final
                                              for serving documents containing                           Effective Period, 85 FR 41363 (July 10, 2020).               judgment is not in harmony with


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                                                                                                                             Appx160
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                                              Commerce’s final results of the                         reconsidered and further explained its                                                                    Weighted-
                                              administrative review, and that                         allocation of certain line items in                                                                        average
                                              Commerce is amending the final results                  valuing financial ratios using the 2017                                Exporters                           dumping
                                                                                                                                                                                                                  margin
                                              with respect to the dumping margin                      financial statements from the Romanian                                                                    (USD/kg) 9
                                              assigned to Carbon Activated Tianjin                    company, Romcarbon SA (Romcarbon).4
                                              Co., Ltd. (Carbon Activated), Datong                    Specifically, Commerce changed the                    Carbon Activated Tianjin Co.,
                                              Juqiang Activated Carbon Co., Ltd.                      surrogate value used to value                           Ltd ...........................................         0.94
                                              (Datong Juqiang) (collectively, the                     bituminous coal from the average unit                 Datong Juqiang Activated Car-
                                              mandatory respondents), Beijing Pacific                                                                         bon Co., Ltd ............................               0.55
                                                                                                      value of imports reported under                       Beijing Pacific Activated Carbon
                                              Activated Carbon Products Co., Ltd.                     Romanian HS 2701.12 to the average                      Products Co., Ltd ....................                  0.61
                                              (Beijing Pacific), Ningxia Guanghua                     unit value of imports reported under                  Ningxia Guanghua Cherishmet
                                              Cherishmet Activated Carbon Co., Ltd.                   Malaysian HS 2701.19 for most of the                    Activated Carbon Co., Ltd ......                        0.61
                                              (GHC), Ningxia Mineral & Chemical                       bituminous coal input used in the                     Ningxia Mineral & Chemical Lim-
                                              Limited (Ningxia Mineral), and Shanxi                   production of the subject merchandise                   ited ..........................................         0.61
                                              Sincere Industrial Co., Ltd. (Shanxi                    during the period of review. In addition,             Shanxi Sincere Industrial Co.,
                                              Sincere).                                                                                                       Ltd ...........................................         0.61
                                                                                                      Commerce made necessary changes
                                              DATES:  Applicable November 1, 2021.                    with respect to the allocation of certain
                                                                                                                                                            Cash Deposit Requirements
                                              FOR FURTHER INFORMATION CONTACT:                        line items in calculating the financial
                                              Jinny Ahn, AD/CVD Operations, Office                    ratios using the 2017 financial                          Because the mandatory respondents,
                                              VIII, Enforcement and Compliance,                       statements from Romcarbon.                            Beijing Pacific, Ningxia Mineral, and
                                              International Trade Administration,                     Accordingly, Commerce made changes                    Shanxi Sincere have superseding cash
                                              U.S. Department of Commerce, 1401                       to the margin calculations for the                    deposit rates (i.e., there have been final
                                              Constitution Avenue NW, Washington,                     mandatory respondents and revised the                 results published in a subsequent
                                              DC, 20230; telephone: (202) 482–0339.                   separate rate for Beijing Pacific, GHC,               administrative review), we will not
                                                                                                                                                            issue revised cash deposit instructions
                                              SUPPLEMENTARY INFORMATION:                              Ningxia Mineral, and Shanxi Sincere.5
                                                                                                                                                            to U.S. Customs and Border Protection
                                                                                                      On October 22, 2021, the CIT sustained
                                              Background                                                                                                    (CBP) for these companies. Accordingly,
                                                                                                      Commerce’s final redetermination.6
                                                On December 17, 2019, Commerce                                                                              this notice will not affect the current
                                              published its Final Results in the 2017–                Timken Notice                                         cash deposit rate for these companies.
                                              2018 AD administrative review of                                                                              For GHC, because it does not have a
                                                                                                         In its decision in Timken,7 as clarified           superseding cash deposit rate,
                                              certain activated carbon from China.1
                                                                                                      by Diamond Sawblades,8 the Court of                   Commerce will issue revised cash
                                              Commerce calculated a weighted-
                                                                                                      Appeals for the Federal Circuit held                  deposit instructions to CBP.
                                              average dumping margin of 0.86 U.S.
                                                                                                      that, pursuant to section 516A(a) and (e)             Additionally, with respect to GHC,
                                              dollars (USD)/kg for Datong Juqiang and
                                              a weighted-average dumping margin of                    of the Tariff Act of 1930, as amended                 Commerce will instruct CBP to refund
                                              1.02 USD/kg for Carbon Activated, and                   (the Act), Commerce must publish a                    the difference between the amount of
                                              assigned Beijing Pacific, GHC, Ningxia                  notice of court decision that is not ‘‘in             cash deposits paid as a result of the
                                                                                                      harmony’’ with a Commerce                             application of the Final Results and the
                                              Mineral, and Shanxi Sincere a separate
                                                                                                      determination and must suspend                        amount due as a result of the
                                              rate of 0.89 USD/kg.2
                                                The mandatory respondents, as well                    liquidation of entries pending a                      application of these amended final
                                              as Beijing Pacific, GHC, Ningxia                        ‘‘conclusive’’ court decision. The CIT’s              results.
                                              Mineral, and Shanxi Sincere                             October 22, 2021 judgment constitutes a               Liquidation of Suspended Entries
                                              (collectively, the respondents), appealed               final decision of the CIT that is not in
                                                                                                      harmony with Commerce’s Final                           At this time, Commerce remains
                                              Commerce’s Final Results. On April 2,                                                                         enjoined by CIT order from liquidating
                                              2021, the CIT remanded the Final                        Results. Thus, this notice is published
                                                                                                                                                            entries that were exported by Carbon
                                              Results, and directed Commerce to                       in fulfillment of the publication
                                                                                                                                                            Activated, Datong Juqiang, Beijing
                                              reconsider Commerce’s selection of                      requirement of Timken.
                                                                                                                                                            Pacific, GHC, Ningxia Mineral, and
                                              Malaysia as the primary surrogate                       Amended Final Results                                 Shanxi Sincere, and were entered, or
                                              country, Commerce’s selection of                                                                              withdrawn from warehouse, for
                                              surrogate data to value bituminous coal,                  Because there is now a final court                  consumption during the period April 1,
                                              and Commerce’s adjustments to the                       decision, Commerce amends the Final                   2017, through March 31, 2018. These
                                              surrogate financial ratios.3                            Results with respect to the respondents               entries will remain enjoined pursuant to
                                                In its remand redetermination, issued                 as follows:                                           the terms of the injunction during the
                                              in July 2021, Commerce: (1)                                                                                   pendency of any appeals process.
                                              Reconsidered and further explained its                    4 See Final Results of Redetermination Pursuant       In the event the CIT’s ruling is not
                                              determination to use Malaysia as the                    to Court Remand, Carbon Activated Tianjin Co.,        appealed, or, if appealed, upheld by a
                                              primary surrogate country; (2)                          Ltd. and Carbon Activated Corporation, et al. v.
                                              reconsidered its choice of HS code for                  United States, Court No. 20–00007, Slip Op. 21–35,       9 In the second administrative review of the AD
                                                                                                      dated July 1, 2021, available at https://
                                              the bituminous coal SV used in the                      enforcement.trade.gov/remands/21-35.pdf.
                                                                                                                                                            order on certain activated carbon from China,
                                              production of activated carbon; and (3)                   5 Id. at 1–2, 40–41.
                                                                                                                                                            Commerce determined that it would calculate per-
                                                                                                                                                            unit assessment and cash deposit rates for all future
                                                                                                        6 See Carbon Activated Tianjin Co., Ltd. and
                                                                                                                                                            reviews of this order. See Certain Activated Carbon
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                                                1 See Certain Activated Carbon from the People’s      Carbon Activated Corporation, et al. v. United        from the People’s Republic of China: Final Results
                                              Republic of China: Final Results of Antidumping         States, Court No. 20–00007, Slip Op. 21–149 (CIT      and Partial Rescission of Second Antidumping Duty
                                              Duty Administrative Review; 2017–2018, 84 FR            October 22, 2021).                                    Administrative Review, 75 FR 70208, 70211
                                              68881 (December 17, 2019) (Final Results).                7 See Timken Co. v. United States, 893 F.2d 337,
                                                                                                                                                            (November 17, 2010); see also Certain Activated
                                                2 Id.                                                 341 (Fed. Cir. 1990) (Timken).                        Carbon from the People’s Republic of China: Final
                                                3 See Carbon Activated Tianjin Co., Ltd. and            8 See Diamond Sawblades Mfrs. Coalition v.          Results of Antidumping Duty Administrative
                                              Carbon Activated Corporation, et al. v. United          United States, 626 F.3d 1374 (Fed. Cir. 2010)         Review; 2013–2014, 80 FR 61172 (October 9, 2015)
                                              States, 503 F. Supp. 3d 1278 (CIT 2021).                (Diamond Sawblades).                                  at 61174 n.21.



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                                              final and conclusive court decision,                      antidumping duty (AD) petitions                         Act, the Petitions are accompanied by
                                              Commerce intends to instruct CBP to                       concerning imports of oil country                       information reasonably available to the
                                              assess antidumping duties on                              tubular goods (OCTG) from Argentina,                    petitioners supporting their allegations.
                                              unliquidated entries of subject                           Mexico, and Russia filed in proper form                    Commerce finds that the petitioners
                                              merchandise exported by Carbon                            on behalf of Borusan Mannesmann Pipe                    filed the Petitions on behalf of the
                                              Activated, Datong Juqiang, Beijing                        U.S., Inc., PTC Liberty Tubulars LLC,                   domestic industry, because the
                                              Pacific, GHC, Ningxia Mineral, and                        U.S. Steel Tubular Products, Inc., the                  petitioners are interested parties, as
                                              Shanxi Sincere in accordance with 19                      United Steel, Paper and Forestry,                       defined in sections 771(9)(C) and
                                              CFR 351.212(b). We will instruct CBP to                   Rubber, Manufacturing, Energy, Allied                   771(9)(D) of the Act. Commerce also
                                              assess antidumping duties on all                          Industrial and Service Workers                          finds that the petitioners demonstrated
                                              appropriate entries covered by this                       International Union, AFL–CIO, CLC (the                  sufficient industry support for the
                                              review when the importer-specific                         USW), and Welded Tube USA, Inc. (the                    initiation of the requested LTFV
                                              assessment rate is not zero or de                         petitioners), domestic producers of                     investigations.5
                                              minimis. Where an import-specific                         OCTG and a certified union that
                                                                                                        represents workers engaged in the                       Period of Investigation
                                              assessment rate is zero or de minimis,10
                                              we will instruct CBP to liquidate the                     production of OCTG.1 The Petitions                        Because the Petitions were filed on
                                              appropriate entries without regard to                     were accompanied by countervailing                      October 6, 2021, the period of
                                              antidumping duties.                                       duty (CVD) petitions concerning                         investigation (POI) for these LTFV
                                                                                                        imports of OCTG from the Republic of                    investigations is October 1, 2020,
                                              Notification to Interested Parties                        Korea and Russia.2                                      through September 30, 2021, pursuant
                                                 This notice is issued and published in                   On October 7, 8, 14, and 19, 2021,                    to 19 CFR 351.204(b)(1).6
                                              accordance with sections 516A(c) and                      Commerce requested supplemental
                                                                                                        information pertaining to certain aspects               Scope of the Investigations
                                              (e) and 777(i)(1) of the Act.
                                                                                                        of the Petitions in separate                              The products covered by these
                                                Dated: October 26, 2021.
                                                                                                        supplemental questionnaires.3 The                       investigations are OCTG from
                                              Ryan Majerus,                                             petitioners filed responses to the                      Argentina, Mexico, and Russia. For a
                                              Deputy Assistant Secretary for Policy and                 supplemental questionnaires on October                  full description of the scope of these
                                              Negotiations, performing the non-exclusive                12, 13, 18, and 21, 2021.4                              investigations, see the appendix to this
                                              functions and duties of the Assistant                       In accordance with section 732(b) of
                                              Secretary for Enforcement and Compliance.
                                                                                                                                                                notice.
                                                                                                        the Tariff Act of 1930, as amended (the
                                              [FR Doc. 2021–23858 Filed 10–28–21; 4:15 pm]
                                                                                                        Act), the petitioners allege that imports               Comments on the Scope of the
                                              BILLING CODE 3510–DS–P                                    of OCTG from Argentina, Mexico, and                     Investigations
                                                                                                        Russia are being, or are likely to be, sold                On October 13, 2021, Commerce
                                                                                                        in the United States at less than fair                  spoke with counsel to the petitioners
                                              DEPARTMENT OF COMMERCE                                    value (LTFV) within the meaning of                      regarding the proposed scope, to ensure
                                              International Trade Administration                        section 731 of the Act, and that imports                that the scope language in the Petitions
                                                                                                        of such products are materially injuring,               is an accurate reflection of the products
                                              [A–357–824, A–201–856, A–821–833]                         or threatening material injury to, the                  for which the domestic industry is
                                                                                                        OCTG industry in the United States.                     seeking relief.7
                                              Oil Country Tubular Goods From                            Consistent with section 732(b)(1) of the                   As discussed in the Preamble to
                                              Argentina, Mexico, and the Russian                                                                                Commerce’s regulations, we are setting
                                              Federation: Initiation of Less-Than-                         1 See Petitioners’ Letter, ‘‘Petitions for the       aside a period for interested parties to
                                              Fair-Value Investigations                                 Imposition of Antidumping and Countervailing            raise issues regarding product coverage
                                                                                                        Duties: Oil Country Tubular Goods from Argentina,
                                              AGENCY:  Enforcement and Compliance,                      Mexico, the Republic of Korea, and Russia,’’ dated
                                                                                                                                                                (i.e., scope).8 Commerce will consider
                                              International Trade Administration,                       October 6, 2021 (Petitions).                            all comments received from interested
                                              Department of Commerce.                                      2 Id.                                                parties and, if necessary, will consult
                                                                                                           3 See Commerce’s Letters, ‘‘Petitions for the        with interested parties prior to the
                                              DATES: Applicable October 26, 2021.                       Imposition of Antidumping and Countervailing            issuance of the preliminary
                                              FOR FURTHER INFORMATION CONTACT:                          Duties on Imports of Oil Country Tubular Goods
                                                                                                                                                                determinations. If scope comments
                                              Dmitry Vladimirov at (202) 482–0665                       from Argentina, Mexico, the Republic of Korea, and
                                                                                                        the Russian Federation: Supplemental Questions,’’       include factual information,9 all such
                                              and Christopher Williams at (202) 482–                    dated October 7, 2021; and ‘‘Petitions for the          factual information should be limited to
                                              5166 (Argentina); James Hepburn at                        Imposition of Antidumping and Countervailing            public information. To facilitate
                                              (202) 482–1882 and Preston Cox at (202)                   Duties on Imports of Oil Country Tubular Goods
                                                                                                                                                                preparation of its questionnaires,
                                              482–5041 (Mexico); George McMahon at                      from Argentina, Mexico, the Republic of Korea, and
                                                                                                        the Russian Federation: Supplemental Questions,’’       Commerce requests that all interested
                                              (202) 482–1167 and Marc Castillo at                       dated October 19, 2021; and Country-Specific            parties submit such comments by 5:00
                                              (202) 482–0519 (the Russian Federation                    Supplemental Questionnaires: Argentina                  p.m. Eastern Time (ET) on November
                                              (Russia)); AD/CVD Operations,                             Supplemental, Mexico Supplemental, and Russia
                                              Enforcement and Compliance,                               Supplemental, dated October 8, 2021, and Russia           5 See infra, section titled ‘‘Determination of
                                                                                                        Second Supplemental, dated October 14, 2021.
                                              International Trade Administration,                          4 See Petitioners’ Letters, ‘‘Oil Country Tubular    Industry Support for the Petitions.’’
                                              U.S. Department of Commerce, 1401                         Goods from Argentina, Mexico, the Republic of
                                                                                                                                                                  6 See 19 CFR 351.204(b)(1).
                                                                                                                                                                  7 See Memorandum, ‘‘Petitions for the Imposition
                                              Constitution Avenue NW, Washington,                       Korea, and Russia: Response to General Issues
                                                                                                        Questionnaire,’’ dated October 12, 2021 (First          of Antidumping and Countervailing Duties on
                                              DC 20230.                                                                                                         Imports of Oil Country Tubular Goods from
                                                                                                        General Issues Supplement) and ‘‘Oil Country
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                                              SUPPLEMENTARY INFORMATION:                                Tubular Goods from Argentina, Mexico, the               Argentina, Mexico, the Republic of Korea, and the
                                                                                                        Republic of Korea, and Russia: Response to Second       Russian Federation: Phone Call with Counsel to the
                                              The Petitions                                             General Issues Questionnaire,’’ dated October 21,       Petitioners,’’ dated October 13, 2021.
                                                                                                                                                                  8 See Antidumping Duties; Countervailing Duties,
                                                On October 6, 2021, the Department                      2021 (Second General Issues Supplement); see also
                                                                                                        Petitioners’ Country-Specific Supplemental              Final Rule, 62 FR 27296, 27323 (May 19, 1997)
                                              of Commerce (Commerce) received                           Responses, dated October 13, 2021; and Russia           (Preamble).
                                                                                                        Second Supplemental Response, dated October 18,           9 See 19 CFR 351.102(b)(21) (defining ‘‘factual
                                                10 See   19 CFR 351.106(c)(2).                          2021.                                                   information’’).



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                                                                                                                           Appx162
